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                      DISTRICT COURT OF THE UNITED STATES
                   FOR THE FOR THE DISTRICT OF SOUTH DAKOTA,
                                    WESTERN DIVISION
                                                                    Civ. No.   21-5030
David Schied, one of the Sovereign American People; a totally
        and permanently disabled RECENT QUAD-AMPUTEE;               JUDGE
         CRIME VICTIM; Common Law and Civil Rights
        suijuris GRIEVANT/ CLAIMANT/BENEFICIARY
                                                                       BENEFICIARY'S /
                          ("BENEFICIARY"/RELATOR)
                                                                            RELATOR's
V.
                                                                    ORIGINAL "OU/ JAM'
UNITED STATES OF AMERICA
                                                                      WHISTLEBLOWER
Donald Trump,in his public capacity as former
                                                                      COMPLAINT FOR
         U.S. PRESIDENT for the UNITED STATES;
                                                                    REMEDY UNDER THE
Denise Page Hood,in her private capacity and public
     capacity as ^^chiefjudge" for the USDCEDM;                      FALSE CLAIMS ACT
Victoria Roberts,in her private capacity and public
     capacity as '"''seniorjudge"for the USDCEDM;                      On Case Involving
Avern Cohn,in her private capacity and public                         ^^Backward Looking'*^
                                                                    CONSTITUTIONAL and
     capacity as "seniorjudge" for the USDCEDM;
U.S. DISTRICT COURT FOR THE EASTERN DISTRICT                        COMMON LAW TORTS
    OF MICHIGAN("USDCEDM")                                         Inextricably Intertwined in
Kinikia Essix, in her private capacity and public capacity as       Compound ^^WheeV and
      "Clerk ofthe Court" for the USDCEDM;                            '"'•Chain'^ Conspiracies
OFFICE OF THE U.S. ATTORNEY FOR THE EDM                                 Against Totally and
Matthew Schneider,in his private capacity and public                  Permanently Disabled
                                                                         Ouad-Amputee
    capacity as former ASSISTANT AG for the STATE OF
       MICHIGAN and as U.S. ATTORNEY for the EDM;                      and Other Sovereign
Barbara McQuade,in her private capacity and public                     American People, as
     capacity as former U.S. ATTORNEY for the EDM;                 ''BENEFICURIES" of the
Terrence Berg,in his private capacity and public                    PUBLIC TRUST(s), Who
     capacity as former U.S. ATTORNEY and as                           Have Been Similarly
       U.S. District Court "judge" for the EDM;                    Situated in Being the Victims
Stephen Murphy,in his private capacity and public                  of Insurrection and Domestic
     capacity as former U.S. ATTORNEY and as                       Terrorism by ^''Government
    U.S. District Court "judge" for the EDM;                       Imposters" and "Usurpers of
Michael Horowitz,in his private and public capacities, as             the Sovereign Peoples*
                                                                               Power"
       USDOJ-OIG and CHAIR ofPANDEMIC RESPONSE
       ACCOUNTABILITY COMMITTEE,a DIVISION of the..
COUNCIL OF INSPECTORS GENERAL ON INTEGRITY                               DEMAND FOR
                                                                            JURY TRIAL
       AND EFFICIENCY
Nina Witkofski, in her private capacity, and
    in her public capacity as CHIEF OF STAFF,for the ...
CENTER FOR DISEASE CONTROL AND PREVENTION; DISABLED / BENEFICIARY
William Barr in his private capacity, and in his public capacity    David Schied - RELATOR
     as former U.S. ATTORNEY GENERAL("USAG");                       P.O. Box 321
Jeffrey Rosen, in his public capacity as former USAG;               SPEARFISH,S. DAKOTA
Merrick Garland,in his public capacity as USAG;                     57783
Eric Dreiband, in his private capacity, and in his public           605-580-5121
     capacity as former ASST. U.S. ATTORNEY GENERAL
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     for the CIVIL RIGHTS DIVISION of the ...
U.S. DEPARTMENT OF JUSTICE("USDOJ");
Christopher Cole,in his private capacity as the ''criminally accused''
      and in his public capacity as USDOJ FBI Task Force Officer
Christopher Tarrant, in private capacity as the "criminally accused''
      and in his public capacity as USDOJ FBI Special Agent
Ben Carson,in his private capacity and public capacity as
     former SECRETARY for the ...
U.S. HOUSING AND URBAN DEVELOPMENT("HUD")
Rae Oliver Davis,in her private capacity, and in her public
      capacity as INSPECTOR GENERAL for HUD
David Montoya, in his private capacity, and in his public capacity as
       INVESTIGATOR for the OFFICE OF INVESTIGATION of the ...
HUD OFFICE OF INSPECTOR GENERAL
Christi Grimm,in her private capacity, and in her public capacity as
       PRINCIPAL DEPUTY INSPECTOR GENERAL of the ...
UNITED STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES
Seema Verma,in her private capacity, and in her public capacity as DIRECTOR of the ...
CENTER FOR MEDICARE AND MEDICAID SERVICES("CMS")of USDHHS
Andrew Saul,in his private and public capacities as COMMISSIONER for the ...
SOCIAL SECURITY ADMINISTRATION
Sonny Purdue,in his private capacity, and in his public capacity
      as SECRETARY of the U.S. DEPT. OF AGRICULTURE;
Devon Westhill, in his private capacity, and in his public capacity as DEPUTY
       of the OFFICE OF ASSISTANT SECRETARY FOR CIVIL RIGHTS for the ...
UNITED STATES DEPARTMENT OF AGRICULTURE
Roberto Contreras,in his private and public capacities; DIRECTOR,CIVIL RIGHTS
DIVISION ofthe UNITED STATES DEPARTMENT OF AGRICULTURE;
Betsy Devos, in her private capacity, and in her public capacity as former SECRETARY for ...
UNITED STATES DEPARTMENT OF EDUCATION;
Steven Mnuchin,in his private capacity, and his public capacity as former SECRETARY of...
UNITED STATES DEPARTMENT OF TREASURY;
Eugene Scalia, in his private capacity, and his public capacity as former SECRETARY for the
UNITED STATES DEPARTMENT OF LABOR("USDL");

STATE OF MICHIGAN
Gretchin Whltmer,in her private and public capacities as MICHIGAN GOVERNOR;
Rick Snyder,in his private and public capacities as former MICHIGAN GOVERNOR;
Jennifer Granholm, in her private and public capacities as former MICHIGAN GOVERNOR;
Dana Nessel, in her private and public capacities as MICHIGAN ATTORNEY GENERAL;
Bill Schuette, in his private and public capacities as former MICHIGAN AG;
Mike Cox, in his private and public capacities as former MICHIGAN ASSISTANT AG;
Richard Cunningham,in his private and public capacities as former ASSISTANT AG;
CHARTER COUNTY OF WAYNE,a countywide crime syndicate, domestic terrorist
     network operating as a continuing financial crimes enterprise;
STATE BAR OF MICHIGAN;
Travis Reeds,in his private capacity and public capacity as "judge" for the ...
52-1 DISTRICT COURT OF MICHIGAN,operating as a continuing financial crimes
     enterprise;
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ATTORNEY GRIEVANCE COMMISSION
Dominic Sylvestri, in his private capacity, and in his public capacity as a MICHIGAN ^'officer
   ofthe courr for the "52-1 JUDICIAL DISTRICT" ofthe STATE OF MICHIGAN;
Ava Ortner,in her private capacity as the Criminally Accused^ and as an '^evictiod^ attorney;
AVA ORTNER,in her public capacity as a MICHIGAN ""officer ofthe courf
    and as LEGAL GUARDIAN for ...
Donald Thorpe, Jr., a disabled veteran and the Criminally "Accused^\
Kevin Skully, in his capacities as "ADMINISTRASTIVE LAW JUDGE"for the...
MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS
MICHIGAN DEPARTMENT OF ENVIRONMENT,GREAT LAKES AND ENERGY
Sally Talberg, Chairman of the...
MICHIGAN PUBLIC SERVICE COMMISSION
Jerry Labut, in his private capacity as former AMI PROJECT MANAGER for DTE ENERGY;
Beverly Buritz, in her private capacity as OPERATIONS SUPERVISOR for DTE ENERGY;
DTE ENERGY


Bill Gatt, in his private capacity and his public capacity as MAYOR of the CITY OF NOVI;
NOVI CITY COUNCIL,all members in their public capacities of the...
CITY OF NOVI
Paul Gobeille, in his private capacity, and in his CORPORATE capacity as SENIOR VICE-
     PRESIDENT for COLLIERS INTERNATIONAL;
Michael Yamada,in his private capacity, and in his CORPORATE capacity as PRINCIPAL
   for COLLIERS INTERNATIONAL;
COLLIERS INTERNATIONAL;

Everett Stern, in his private and CORPORATE capacities as "Intelligence Director" at...
TACTICAL RABBIT,a private CORPORATION;
Tom Masseau,in his private capacity, and in his CORPORATE capacity as former Director of
     MICHIGAN PROTECTION AND ADVOCACY SERVICE("MPAS" now
     "DISABILITY RIGHTS MICHIGAN")and PRESIDENT for ...
NATIONAL DISABILITY RIGHTS NETWORK
Robin Jones,in her private capacity, and in her CORPORATE capacity as DIRECTOR,and
Peter Berg,in his private capacity, and in his CORPORATE capacity as
       TECHNICAL AND PROJECT COORDINATOR for the ...
GREAT LAKES ADA CENTER at-tire INSTITUTE ON DISABILITY AND HUMAN
       DEVELOPMENT at the UNIVERSITY OF ILLINOIS ...
UNIVERSITY OF ILLINOIS
Susan Fitzmaurice, in her private capacity, and in her CORPORATE capacity
      as CO-FOUNDER of MICHIGAN ADA 30^^ ANNIVERSARY CELEBRATION and,
       CO-FOUNDER ofIDEAAS-SUSAN FITZMAURICE and TEDDY'S Ts AND
      BUTTONS along with ...
Lora Frankel, in her private capacity, and in her CORPORATE capacity as CO-FOUNDER of
       MICHIGAN ADA 30'^ ANNIVERSARY CELEBRATION and VSA MICHIGAN,
      along with ...
Christopher Fitzmaurice, in his CORPORATE as PRINCIPAL ofIDEAAS-SUSAN
       FITZMAURICE and TEDDY'S Ts AND BUTTONS


TRANS UNION,LLC.,a credit reporting CORPORATION;
EQUIFAX INFORMATION SERVICES,LLC.,a credit reporting CORPORATION;
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EXPERIAN INFORMATION SOLUTIONS,INC.,a credit reporting CORPORATION;
PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AUTHORITY("PHEAA"),a
     quasi-governmental student originator, servicer, and debt colleetor operating as the
     CORPORATE FICTION oV'FEDLOANSERVICING^
NELNET,INC., a student loan servicing CORPORATION;
EDUCATIONAL CREDIT MANAGEMENT CORPORATION("ECMC"),a student loan
       guarantor CORPORATION;

Richard Fairbank,in his private and his CORPORATE capacity as FOUNDER / CHAIRMAN
    / PRESIDENT / CEO of CAPITAL ONE FINANCIAL CORPORATION;
CAPITAL ONE FINANCIAL CORPORATION,an INACTIVE credit card, credit extension
     and debt collection CORPORATION otherwise doing business fraudulently and in the
       STATE OF MICHIGAN in discriminatory and predatory fashion in 2020 and 2021;

JANE AND JOHN DOES 1-30 (as may be named in subsequent ^^amended'filings)

       Counterclaimants /Defendants/Accused Criminal Perpetrators /Respondents/ Trustees
                                                             CCO-TRUSTEES")


BENEFICIARY David Schied, an alleged victim of an attempted murder (just recently in

2018)and criminal coverup by agents of the CO=TRUSTEES of the UNITED STATES,the

STATE OF MICHIGAN,and DTE ENERGY,was horrendously transformed into a totally

and permanently disabled quad-amputee. Thereafter - just this year (2021) while living as a

totally and permanently disabled man living peaceably and reasonably safely under self-quarantine

by sworn, notarized DECLARATION in compliance with the longstanding 2020-2021 "CDC

ORDER OF EVICTION MORATORIUM" - BENEFICIARY was subsequently criminally

'•^evicted*'' in the dead of Winter. He thus was forced - during a NATIONAL PANDEMIC and

without being provided required ADA '^accommodations'''' or constitutional "due process" by

STATE or UNITED STATES court officers-to flee the numerous crime syndicates and domestic

terrorists operating under the false auspices of being usurpers and insurrectionists otherwise

masquerading as the "government" ofthe STATE OF MICHIGAN.

       BENEFICIARY now is declaring himself as a "state refugee'''' living in safety with the

sovereign People of the STATE OF SOUTH DAKOTA jurisdiction. Herein below



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BENEFICIARY, as persistent'^CRIME VICTIM,''^ as repeated ^'GRIEVANT,'''' arid as long-lasting

common law "CLAIMANT" now STATES THE FOLLOWING:
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  The CO-TRUSTEES are operating in an hierarchical manner with multiple tiers of
  authoritative command that factually manifest as'^wheer and ''chain" conspiracies;
  which is effectively just the opposite of what is to be expected under Common Law
  principles, and otherwise mandated by the U.S. CONSTITUTION and the STATE
  and NATIONAL legislation that altogether require CO-TRUSTEES to comport vdth
  that"PUBLIC TRUST'document (i.e., the U.S. CONSTITUTION)as the'Supreme
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      With regard to dealing with the ^''predicate'' level of criminal RICO acts
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      RICO acts committed by TRUSTEES "STATE OF MICHIGAN'                          85
      BENEFICIARY has documented nearly two decades of "pattern and practice"
      of this STATE-NATIONAL "government" dynamic of affirmative acts of
      supported INSURRECTIONISM and DOMESTIC TERRORISM, the more
      recently documented "issue at hand' involves notice in June 2020 that
      MEDICARE would soon "kick in" and the SSA TRUSTEES would be starting in
      August (for September MEDICARE beginning) to be automatically subtracting
      "monthlypremiums"for"Part B"coverage from BENEFICIARY David Schied's
      only means offinancial sustenance by way of payments from TRUSTEES
      "SOCIAL SECURITY ADMINISTRATION"                                                86
       The agents ofthe TRUSTEES STATE OF MICHIGAN were continually treating
       BENEFICIARY in discriminatory and retaliatory fashion by refusing to
       cooperatively send him a proper written "application" for such premium /
       deductible payment assistance for "HELP PAYING COSTS" for MEDICARE;
       while similarly refusing to assist BENEFICIARY as he repeatedly requested
       services and help as a disabled man in completing these required "applications"
       over the phone                                                                  87
       Examples provided: spotlighting the names of these various TRUSTEES
       members, inclusive of their hierarchical subclasses of various bureaucratic
       "departments"^ "bureaus'\ "divisions", "sections", "units", "agencies", and
       "offices" at both STATE and NATIONAL levels that were informed about the
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       level of APPELLATE review,BENEFICIARY added a "cover sheet"to the 222-
       page correspondence which contained a TABLE OF CONTENTS pointing out the
       key segments and page numbers where the TRUSTEES as "addressees" should
       focus their varied "reviews", particularly as those reviews look into the
       "predicate" level of criminal RICO acts committed by TRUSTEES "STATE OF
       MICHIGAN'. This included a long history of BENEFICIARY David Schied
       having meticulously documented "administrative appeals","FOIA requestsfor
       documents","CRIMINAL COMPLAINTS', and gathering years of EVIDENCE
       against the TRUSTEES agents and officers usurping the sovereign power ofthe
       People at this STATE level                       i                              95
       On 10/22/20, BENEFICIARY David Schied addressed updated communications
       to TRUSTEES named herein as the USDOE, ECMC, NELNET, U.S.
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       FALSE CLAIMS being made by these TRUSTEES against BENEFICIARY
       David Schied                                                                    97
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       TRUSTEES have a long and well-documented (by BENEFICIARY David
       Schied) history of RICO and DOMESTIC TERRORIST activities, not only
       DISCRIMINATINGLY targeting BENEFICIARY David Schied, but also many
     other allesed student loan debt holders, against whom similar RETALIATORY
     activities have long been occurring                                               100
   • $541,862,521.39 in debt billing with a long track record of acquiescing by
     TRUSTEES USDOE, ECMC, NELNET, U.S. TREASURY, SOCIAL
     SECURITY ADMINISTRATION,PHEAA,and the THREE CREDIT
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   • The evidence of RICO crimes occurring by TRUSTEES U.S. DEPARTMENT
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     Perdue, and Devon Westhill                                                        101
   • The TRUSEES' "DENIAL" letter received 12/29/20 is blatantly fraudulent
     because it uses procedural ^^resulations^^ to overshadow the SUBSTANTIVE
     facts that the same TRUSTEES MDHHS "case manager" and "case manager"
     that BENEFICIARY has long been naming as the "criminally accused'- with
     EVIDENCE posted in the form of a 2016 documentary with a
     "hidden camera" showing the execution of their earlier CRIMES for which they
     STILL have not been held accountable - are still running roughshod over
     BENEFICIARY Schied's various needs at the STATE level as a recent totally
     and permanently disabled quad-amputee                                             104

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       DISCRIMINATORY                                                                  108
   • TRUSTEE Thorpe was simply MISREPRESENTING his and Ava Ortner's
     actual intent as a deceptive ploy by Ortner hiding in the shadows ofher car parked
      outside, so to trick BENEFICIARY simply into sign a contract intending to
     support nothing of the FRAUD that TRUSTEE Thorpe was verbally outlining in
     the lies that were RECORDED to digital media that very day of 9/9/20               Ill
   • TRUSTEE Thorpe was being coaxed - by his crooked STATE BAR OF
      MICHIGAN attorney guardian - as a deceptive instrument for securing a
     fraudulent contract with BENEFICIARY under corrupted "iSTMTE"jurisdiction
     in the control of her peer group of other domestic terrorists running a monopoly
      on the so-calledjudiciary usurping the power - even the title - of the so-called
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   •   ADDED FACTS EVIDENT OF"INTENT TO DEFRA UD"BY CO-TRUSTEES
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     Lease" within the first two weeks of September 2020, while refusing to
     provide BENEFICIARY the requested "reasonable accommodation" otherwise
     required by the ADA for BENEFICIARY to fully consider the legal implications
     of his signing and/or seeking alternative legal counsel before signing
       CONSTITUTED RETALIATION              an ADA VIOLATION                          113
   • TRUSTEE Ava Ortner asserting that she had been the one "in charge" all along,
     and that she had "had enough" from BENEFICIARY, and she intended to abuse

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       her assumed ''position ofpower and authority" by serving BENEFICIARY with
       an "eviction*' notice the following day forcing BENEFICIARY to move out by
       10/31/20 was yet ANOTHER ACT OF RETALIATION and ADA VIOLATION...114
       See the specific text screen shots ofthe dialogue that occurred on 9/17/20, which
       are to be compared and contrasted with BENEFICIARY'S RECORDED phone
       conversations with both TRUSTEES,Thorpe and Ortner, on this very day of
       9/17/20                  '                                                          114
       Here is the transcript of Thorpe telephoning BENEFICIARY Schied with
       agitation in his voice. BENEFICIARY RECORDED the ten(10) minute phone
       conversation that took place, beginning at about 2:39pm               117
       TRUSTEES      THORPE       AND    ORTNER       PROCEEDED        WITH     THEIR
       RETALIATORY         THREAT       OF      INSTANT      EVICTION       WITHOUT
       PROVIDING ANY REQUIRED ADA ACCOMMODATIONS EVEN AS
       BENEFICIARY'S INTEREST IN THE HOME AND THE EVICTION WAS
       MADE AN INSTRUMENTAL PART OF A COVERT COMMERCIAL"LAND
       DEVELOPMENT DEAL"                                                                   120
       As nearly always, BENEFICIARY Schied had RECORDED the brief phone
       discussion between his chore services worker and TRUSTEE Ava Ortner, from
       the moment Ortner answered "her husband's" phone thinking it was
       BENEFICIARY on the line, intending to treat BENEFICIARY with extreme
       disdain, and continuing to do the same with this chore services worker on the
       evening of 9/17/20 at 8:00pm                                                  125
       The details surrounding the LAND DEVELOPMENT DEAL and the INTENT
       TO DEFRAUD potential outside buyer(s), were provided by a KEY WITNESS.
       being BENEFICIARY'S next door neighbor, former ARMY INTELLIGENCE
       OFFICER and American Veteran (who like Thorpe, is also a victim of the
       UNITED STATES "government's" misuse of"Agent Orange"). He and his wife
       have been inhabiting the house next door and taking care of that property as
       tenancy renters of their landlord, Thorpe's and Ortners'"land deal" business
       partner,"CaW"                                                                 126
       THE CRIMINAL UNDERPINNINGS BEHIND DONALD THORP JR.'s AND
       AVA    ORTNER's "FRAUDULENT INTENT' STEM                    FROM      CERTAIN
       UNDERLYING FACTS HINGING UPON - AS THORPE HIMSELF HAS
       STATED "ON THE AUDIO RECORDING" OF 9/9/20 -"WHETHER 'ED'
       MOVES OUT OR NOT'                                                      ,       127
       The purported "land development deal" purportedly included the intent to work
       discreetlv with the CITY OF NOVI and a third party contractor, on trucking in
       enough fill dirt and heavy equipment to (illegally) fill in the "wetlands" and
       evenly grade the third property to the far West of BENEFICIARY'S home
       location                                                                            129
       The CO-TRUSTEES of NOVI CITY COUNCIL (including MAYOR Bill Gatt),
       and CITY OF NOVI have been deceptivelv engaged in separate "scheme" of
       looking the other way for many years while the GREAT OAKS LANDSCAPE
       ASSOCIATES, INC. has been engaged in "landscaping" activities that have been
       devaluing the property values along the South side of 12 Mile Road            129
       The CO-TRUSTEES of the CITY OF NOVI have had long term interest in
       devaluing these properties on the south side of Twelve Mile Road, so to cause
       those property owners to find more incentive in selling those "flooded out"
       sections of land to the CITY OF NOVI for a proverbial "song". The underlying
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        reason is because ofa futuristic plan ofthe TRUSTEES''NOVI CITY COUNCIL
        and CITY OF NOVI to build a '^feedef^ road next to the 96 Freeway, which may
        have a design to connect to 12 Mile Road at West Park, so that West Park will
        extend all the way to the 96 Freeway and relieve some ofthe heavy traffic at Beck
        Road to the west and Novi Road to the east                                           131
        The ^'tradeoff of services'^ with the aforementioned CORPORATE surveyor
        includes the future plan for the TRUSTEES ofCITY OF NOVI to similarly ^Hook
        the other way" again while the new buyers follow through with tentative plans to
        purchase the ^""thirct^ (problematic) property at bargain-basement price and get
        busy(most likely against COUNTY and STATE"DEQ" guidelines) filling in the
        '^wetland'' area with enough trucked in dirt to raise that third property surface
        level higher so that more COMMERCIAL buildings of three stories can be
        eventually built                                                                  132
        In return, since the land development surveyor will need to live on the property
        anyway to study the situation and help with the needed land grading and
        commercial building planning, the TRUSTEES of CITY OF NOVI would make
        similar use of this same surveyor for planning assistance in the constructing of
        the'feedef and connecting^''roads between West Park and the 96 Freeway, and
        the widening and reinforcing of 12 Mile Road itself while filling in the empty
        underground water caverns underneath Twelve Mile Road                             132
        The bottom line is that they have been acting conceitedly to unethically and
        illegally ''set up'' BENEFICIARY for a FRAUDULENT,DEFAMATORY,and
        a RETALIATORY "FALSE CLAIM' of being an "abuser" against TRUSTEE
        Donald Thorpe- merely because BENEFICIARY would not readily succumb to
        their initial effort to COERCE him into signing another of their WORTHLESS
        contracts, otherwise crafted for "transferability" to new buyers, and with
        BENEFICIARY'S signature indicating falsely that he was "voluntarily" agreeing
        to leave the premises within sixty(60)days in spite ofthe"STATE"and "Federal"
        protections against the abuse ofthe elderly and disabled, and in CRIMINAL spite
        of EVICTION MORATORIUMS ordering the American population to be "self-
        quarantined'                                                                      135
        The LOCAL LEVEL TRUSTEES and STATE LEVEL TRUSTEES banded
        together to issue a FRAUDULENT "HEARING NOTICE' commanded
       BENEFICIARY as a totally and permanently disabled quad-amputee to "appear"
       - with less than two business days of prior notice - in Ae jurisdiction of what is,
       according to reliable information and belief, the domain a "CONTINUING
        FINANCIAL CRIMES ENTERPRISE' otherwise referred to as the TRUSTEES
        "52-1 JUDICIAL DISTRICT COURT' operated by STATE BAR OF
        MICHIGAN       CRIME      SYNDICATE        AND     DOMESTIC        TERRORIST
       NETWORK members,of which TRUSTEES Ava Ortner and Dominic Sylvestri
       are card carrying and dues paying members                          136
       In panicked response under imminent "DANGER TO HUMAN LIFE\
       BENEFICIARY David Schied drafted the following written "NOTICE OF
       FRAUD" dated 12/21/20, delivered by a THIRD-PARTY WITNESS by
       "PROOF OFSERVICE'and sign in receipt by the TRUSTEES Dominic
       Silvestri's "reception" agent        ;                             138
        It was not until 12/29/20 that BENEFICIARY David Schied received the
        TRUSTEES 52-1 "Court" SUMMONS - showing that although it was run
        through a postage register with a date of 12/3/20, which was the day BEFORE
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        the time stamp and six days before the purported date of the unknown ''clerk's''
        initialing of the document on 12/9/20 on the it, AGAIN demonstrating the high
        level of FRAUDULENCE of this entire criminal operation - this fraudulent
        document was not actually mailed out until 12/18/20, which was the very same
        day that a copy ofthis fraudulent document was found taped to BENEFICIARY'S
        front door, less than two business days before the purported {^'railroaded")
        hearing                                                                140
        At the very same time that BENEFICIARY David Schied received the above
        FRAUDULENT other "SUMMONS" sent by the TRUSTEE 52-1 DISTRICT
        COURT,the so-called"JUDGMENT'ofthat same TRUSTEE was also delivered
        to BENEFICIARY                                                                      141
        While the above FRAUDULNT "Judgment" states that BENEFICIARY has
        "10 Days" in which to send an "avveaU filing and an "avpeal bond" to the
        TRUSTEES 52-1 DISTRICT COURT'S agents of this CONTINUING
        FINANCIAL CRIMES ENTERPRISE,the actual number of days was reduced
        to five(5)days given the delay ofthe post office to deliver this to a "totally and
        permanently disabled quad-amputee" until 12/29/20                                  142
        Furthering BENEFICIARY David Schied's accumulating DAMAGES over these
        many months ofjust the last halfthese of the 2020 calendar year, as shown below
        (on the next page), is EVIDENCE of yet other FALSE CLAIMS being
        established     as     OFFICIAL       MEDICAID     INFORMATION     by
        "JWoods/HOLLYWOODSJ".ajoint agent ofTRUSTEES MDHHS and STATE
        OF MICHIGAN that BENEFICIARY has long been naming as a CRIMINAL
        PERPETRATOR along with Benjamin Smith, her supervisor, since 2016     142
        The first official "decision of response" from TRUSTEES "CENTERS FOR
        MEDICARE AND MEDICAID SERVICES'("CMS"),the U.S. DEPARTMENT
        OF HEALTH AND HUMAN SERVICES ("USDHHS), and the UNITED
        STATES was mailed out on 12/17/20 as a MEDICARE SUMMARY NOTICE.
        This document shows not only that all of the TRUSTEES have affirmatively
        refused to do anything about any of BENEFICIARY David Schied's CLAIMS
        regarding the above detailed "causes" for this instant action in this ARTICLE III
        COURT OF RECORD - i.e., refusing to enforce BENEFICIARY'S Right to
        having his "apvUcation" for"HELPPAYING COSTS'for MEDICARE coverage
        -but also shows that these TRUSTEES' propensity for reinforcing the underlying
        "RICO" CRIMES of- forcing BENEFICIARY Schied to be unjustly paying for
        most all of the costs of medical treatment - which as occurring at precisely the
        same time that TRUSTEES were already made keenly aware that their
        TORTUOUS        conduct     and    criminal   GROSS       NEGLIGENCE         and
        MALFEASANCE would further deepen BENEFICIARY'S continual inability to
        pay housing and food costs, as well as the added medical billing costs  147
        To push the recent obtained EVIDENCE against the TRUSTEES STATE OF
        MICHIGAN even further, is the correspondence that was received by
        BENEFICIARY David Schied on or about 12/24/20, the day before Christmas
        2020. This was a letter dated 11/5/20 but sent bv the ATTORNEY GRIEVANCE
        COMMISSION to an address - a post office box - that BENEFICIARY Schied
        has not used since just before the ATTEMPTED MURDER in March 2018. This
        post office box had been referenced NOWHERE on the"DECLARATION'being
        referenced bv the AGC "ANSWER OF DENIAL" as BENEFICIARY'S
        "comvlaint" against Ava Ortner. As such,this correspondence is even more proof
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        that the TRUSTEES STATE OF MICHIGAN and its agents of the ATTOENEY
        GRIEVANCE COMMSSION - being an arm of the ultra-corrupt MICHIGAN
        SUPREME COURT - were basing their DISMISSAL of this '^complaint" about
        TRUSTEE Ortner on '"'backward looking^' previous cases of earlier
        COMPLAINTS rather than on the unique FACTS being presented by
        BENEFICIARY in October 2020                                                       153
    • See the testimonial of John Zupanc, another sovereign American who has
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        BENEFICIARY David Schied has levied herein a case chock full of
        ALLEGATIONS       and   EVIDENCE       of   a   "Pattern   and   Practice"   of
        unconstitutional DISCRIMINATION and RETALIATION against sovereign
        American People,of which BENEFICIARY Schied is herein acting on the behalf
        of himself (and others similarly situated), with CLAIMS IN COMMERCE
        against the SURETIES of all TRUSTEES, by way of the PUBLIC TRUST(s)
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                                JURISDICTION AND VENUE


       This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,1332 and 2201

and may exercise supplemental jurisdiction under 28 U.S.C. § 1367.

       Federal courts generally have exclusive jurisdiction in cases such as this one involving the

a) violations of the U.S. Constitution; b) violations of federal laws; c) suits against the federal

government; and, d) disputes between parties from different States. Herein, the amount in federal

question and controversy for this case far exceeds $75,000.

       This Court also has jurisdiction under the CARES ACT (and all expansive or extended

replacement legislation), the"AGENCY ORDER"dated 9/4/20 from the CENTER FOR DISEASE

CONTROL calling for "Temporary Halt in Residential Evictions To Prevent the Further Spread

of COVID-I9;' the "CONSOLIDATED APPROPRIATIATIONS ACT, 2021," and Criminal
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Penalties under 18 U.S.C. §§ 3559 and 3571, as well as 42 U.S.C. §271, 42 C.F.R. § 70.18, and

the Whistleblower Protection Act of 1989, 5 U.S.C. 2302(b)(8)-(9), Pub.L. 101-12 as amended.

       Further, under 28 U.S.C. § 1355,"district courts shall have originaljurisdiction, exclusive

ofthe courts ofthe States, ofany action or proceedingfor the recovery or enforcement ofanyfine,

penalty, or forfeiture . . . incurred under any Act of Congress" (emphasis added). The FALSE

CLAIMS ACT (31 U.S.C. §§ 3729 - 3733), of course, provides for the imposition of "a civil

penalty." See 1>\ U.S.C. § 3729(a)(1). And the FEDERAL CIVIL PENALTIES INFLATION

ADJUSTMENT ACT pursuant to which FCA penalties are calculated makes clear that it applies

to "civil actionjs]in the Federal courts." 28 U.S.C.§ 2461 note. In addition, the FCA's procedural

provisions(such as nationwide service of process) all speak to what happens in federal court.

       Subject matter jurisdiction for this Court is appropriate under 28 U.S.C. § 1346 because

the UNITED STATES is named as a ''Counterclaimants / Defendants / Accused Criminal

Perpetrators/Respondents/ TRUSTEE\

       Jurisdiction for ^''Removal ofCivil Actions''^ is incumbent upon this Court under 28 U.S.C.

§§ 1441 (a), (b), and (c). Injunctive Relief(both temporary and permanent) is provided against

allegations of Discrimination and Retaliation under 42 U.S.C. § 12188 (Enforcement), and 42

U.S.C. § 2000a-3 by claims of violations under the Americans With Disabilities Act("ADA"),

including the "Z)M(y to Investigate'^ and ''Enforcement'" by the U.S. Attorney General.

       Venue is proper pursuant to 28 U.S.C. § 1391.

       This Court has personal jurisdiction over each of the named "Counterclaimants /

Defendants / Accused Criminal Perpetrators / Respondents / Trustees"^ as each purposefully

availed himself, herself, or itself ofthe privilege of exploiting forum-based business opportunities

and/or official discretion, and the exercise of personal jurisdiction is consistent with the U.S.

Constitution. This Court also has personal jurisdiction over all "Counterclaimants/Defendants/

Accused Criminal Perpetrators /Respondents/Trustees" under 18 U.S.C. §§1962 and 1964.
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                                SUMMARY INTRODUCTION


1. RECENT QUAD-AMPUTEE / CRIME VICTIM / GRIEVANT / CLAIMANT /

   BENEFICIARY / hereinafter ''BENEFICJARYr is recognized by the CONSTITUTION OF

   THE UNITED STATES as one ofthe sovereign People who have Created and Ordained both

   STATE and UNITED STATES governments. Herein, BENEFICIARY files COMMON LAW

   CLAIMS        FOR      DAMAGES          and    an     ORIGINAL        COMPLAINT    against

   COUNTERCLAIMANTS / DEFENDANTS / ACCUSED CRIMINAL PERPETRATORS /

   RESPONDENTS / TRUSTEES, hereafter "TRUSTEES" and ''CO-TRUSTEES", and alleges

   as follows:


2. The CO-TRUSTEES, acting individually and collectively, have a long history of


   committing     civil   and   criminal   violations    against   the   COMMON   LAW, the


   CONSTITUTIONAL LAW, and the CIVIL RIGHTS LAWS. Many are operating as

   government "usurpers", quasi-govemment "NGOs",and taxpayer funded NONPROFITS for

   the purpose of using government funding in commerce for personal, political, and private

   economic gain using "color oflaw"and "weaponized" procedural due process to deprive varied

   populations of sovereign People of their various Rights otherwise guaranteed to these

   populations ofPeople under these three above-referenced primary divisions ofAmerican Law,

   as well as other forms of"cmT'law.(Bold and underline emphasis added)

3. BENEFICIARY is a "totally andpermanently disabled"^ native-bom American man,recently

   rendered incapacitated by a reported bioterrorist attack (2018) and living now as a

   ^'quad-amputee'^ entitled by Right to services from STATE and NATIONAL government

   DEPARTMENTS, BUREAUS, DIVISIONS, SECTIONS, UNITS, AGENCIES, and

   OFFICES.(Bold emphasis)
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4. Conversely, the CO-TRUSTEES are franchised CORPORATIONS, including govemment

   corporations doing business in commerce^ that are in business '^for profit or ^^nonproflr. This

   case spotlights some CO-TRUSTEES that are publicly marketing themselves to American

   disabled persons for various types.of assistance and accepting tax-deductions at the American

   taxpayer's expense for such advertised business purpose. As such, these corporate entities are

   obligated to treat all disabled People fairly and equally, without bias or discriminatory

   prejudice.

5. These CO-TRUSTEES are likewise obligated to uphold the '"''equal rights" of the disabled to

   Constitutionally guaranteed Life, Liberty, Property, and the Pursuit of Happiness; and to

   support FOURTEENTH AMENDMENT guarantees under Civil Rights laws - including the

   Right for disabled People to '''accommodations" and to "equal access". They are supposed to

   be compelled by both STATE and NATIONAL laws and public policies to support the

   American disabled People living as independently as possible in the ^^Least Restrictive

   Environmenf^^ with American disabled also receiving ^^equal treatmenf according to

   American Laws and applicable International Human Rights Laws.(Bold and under lined

   emphasis added)

6. The TRUSTEES, being also FRANCHISED "government" corporations and quasi-

   govemment corporations, private businesses for profit and corporate nonprofits, are a multi-

   tiered hierarchy of interconnected corporate ^'^persons" inheriting certain offices and

   carrying certain titles that purportedly are to coincide with corporate and government

   mission statements andfunctionary positions ofservice to the sovereign American People,

   subject to the "terms and conditions" of the individualfranchise agreements set up under

   the PUBLIC TRUST, being the U.S. CONSTITUTION as the "Supreme Law of the

   Lan(P\
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7. These CO-TRUSTEES may try to argue that they are the ^'sovereigns" however; by claiming

   that thev are independent ofone another and at least equal to-if not superior to -the sovereign

   American People in the "eyes of the law". This argument is flawed however, because

   CORPORATE "persons" and their "agents" are subject to their own corporate charters, their

   BOARD or DEPARTMENTAL policies, rules, regulations, and procedures. This is not the

   case for the sovereign People who - as the 9^" and 10^" AMENDMENTS memorialize -

   inherit their rights from God Almighty, not from "government". The sovereign American

   People - as the Creators and the Ordainers of governments - retain all Rights that We, The

   People do not delegate to the STATE,or to the UNITED STATES,as "TRUSTEES".In short,

   whether disabled or not, every one ofthe sovereign People of The United States of America

   are to be considered a             and "Beneficiary^^'., and all other legal entities formed as

   "persons^^ and serving under the government umbrella as franchises and corporate

   functionaries, are the "Servants^^ as "Co-Trustees"'^ in service to the sovereign People.(Bold

   and underlined emphasis added)

8. Hence, the integrity of governments and their franchised CORPORATIONS,especially those

   engaging in commerce - with respect to their mere existence and services to the sovereign

   People (a.k.a. "the public" manifesting in diverse categories of"populations") as subscribed

   by solemn Oaths and sacred Duties - must be bonded, insured, or otherwise financially

   guaranteed to provide sovereign Americans tangible "surety"', as such individual Oaths and

   Duties of public office are subject to civil and criminal "penalties ofperjury" no different than

   receivers of public assistance are regularly compelled to subscribe to "penalties ofperjury"

   when filling out government forms that effectively places sovereign Americans into "boxes"

   (for their legal signature to be placed) in order to receive "privileges and benefits" otherwise

   owed to them by law.
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9. In recent decades with the local voting district gerrymandering, the dumbing down of

   American youths in the government sponsored "pw^/zc" schools, and the watering down

   Americans' tradition, language, and knowledge of history through persistent and permissive

   illegal immigration - NOT ''white supremacy ~ the American populace, including those

   dumbed down and new to America who have risen to positions of government power, has all

   but forgotten that those in positions of power who have sworn Oaths to the STATE and the

   UNITED STATES constitutions, and who have pledged "faithfulperformance'^ to their sacred

   Duties to the sovereign People of the United States of America can be both civilly and

   criminally prosecuted in the same way as any other "fiduciary" under contract law and TRUST

   LAW.


10. In other words, governments daily issue contracts for the sovereign People to "sign'\ so to

   "box" them into a never-ending multitude of FORMS calling for voluntarily assurances that

   they are acting with honesty and integrity "under penalty ofperjury." Yet, those very same

   "public servants"- or"CO-TRUSTEES"-too often lose track ofthe FACT that governments,

   themselves, are born from a "box," being the four corners of the written STATE and UNITED

   STATES constitutions.


11. Moreover, because We. The People are not persistently and daily having these public servants

   "sign" or verbally "swear" their Oaths each day "under penalty ofperjury" that the Dutiful

   acts they perform each day will be, are being, or were constitutionally aligned and carried out

   honestly and with integrity, CO-TRUSTEES, as fiduciaries to PUBLIC TRUST,are held

   to the same daily account by the FACT that they are compelled every two, four, or six years

   (for elected public servants) and upon hiring to job duties (for appointed publics servants) to

   swear and deliver their written OATHS to the sovereign People - under the very same

   "penalty of[criminal]perjury".
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12. Depending upon the degree those fiduciary oaths and duties may be severely violated, and who

   finds out and undertakes doing something about it on behalf of the sovereign People, these

   individuals and groups of"CO-TRUSTEES" could be facing other criminal penalties as well,

   such as Sedition, Treason, Insurrection, and Domestic Terrorism. It all boils down to the

   degree of severity of the violations, the repercussive impact these CRIMES have upon the

   American populations,and the degree to which violations account for the ultimate undermining

   and destruction ofthe U.S. CONSTITUTION as the Supreme Law ofthe Land.

13. This case - being prosecuted by BENEFICIARY David Schied as "RELATOR" to the

   sovereign American People-aims to crystalize the definitions ofeach ofthese aforementioned

   crimes within the context of the provable FACTS and EVIDENCE about CO-TRUSTEES'

   "affirmative" acts,- both individually and collectively - including the failures to act, and/or

   acts committed with preventable "errors and omissions", and/or acts intended to overthrow the

   CONSTITUTIONAL REPUBLIC upon which this nation ofthe United States of America was

   founded, whether by perceived "dead white [supremacist]males" or not.


    The CO-TRUSTEES are operating in an hierarchical manner with multiple tiers of
authoritative command that factually manifest as ^^wheer and ^^chain^^ conspiracies; which
is effectively just the opposite of what is to be expected under Common Law principles* and
   otherwise mandated bv the U.S. CONSTITUTION and the STATE and NATIONAL
legislation that altogether require CO-TRUSTEES to comport with that ^^PUBLIC TRUSV
       document (i.e., the U.S. CONSTITUTIONS as the ^^Siwreme Law ofthe LanrT^

14. The most simplified description of the hierarchical structure of these multiple tiers of

    authoritative command points to the standard RICO {^''Racketeering and Corruption") model

    of operation in which both predicate and secondary level crimes are occurring successively,

    one covering up or "whitewashing"' over the crimes of the other. The appearance of this

   structure can be in administrative or procedural form and is popularly characterized as

   "form over substance", being also "procedure over substance" in violation of the RULES
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   ENABLING ACT OF 1934 and other similar legislation as applied to all THREE BRANCHES

   of STATE and FEDERAL (i.e.,'"'NATIONAL") governments otherwise designed to assure

   that Constitutional Due Process owed to the sovereign People is never to be undermined.

   (Bold and underlined emphasis added)

15. With the advent of private-public, quasi-govemment, and nongovernmental organizations

   extending into the broad spectrum of national and international commerce, and other contracts

   tying STATE and NATIONAL governmental entities together unconstitutionally in

   Commerce, in credit and debt instruments, in fiat currency, and in other ways that undermine

   STATE sovereignty through illicit and controlling edicts and contracts, these CORPORATE

   hierarchies masquerade as free and open market beneficiaries^^ operating in the complex

   democratic environment of laissefaire capitalism. This is a flawed misrepresentation of

   the actual hierarchical operation of these CO-TRUSTEES,however.(Bold emphasis)

16. Whether operating at the STATE,the NATIONAL, and/or at the INTERNATIONAL levels,

   these corporate, administrative hierarchies can follow a more simplified and easily-

   recognizable pattern andpractice^ with both private and public entities engaged in multi-tiered

   familiar forms of"predicate" and "secondary" levels of RICO activities:

    a) The structurally tiered design of the TRUSTEES then, starts with a base level of

       ADMINISTRATIVE STATE,some refer to as the "Fourth Branch"ofgovernment; which

       is supposed to be operating according to Constitutional principles and lawful policies and

       practices, rules andprocedures, etc. This is the base level at which the "predicate crimes"

       are occurring.

    b) The next higher level in the hierarchy is the ADMINISTRATIVE REVIEW or "Appellate"

       level ofthe multi-tiered operational design ofthese CO-TRUSTEES.In private and public

       corporations alike, these reviews are supposed to be conducted through various "Boards"
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       and '^Committees'^ or "administrative judges" and "special masters" who are supposed to

       be operating according to written constitutions, mission statements, policies, practices,

       rules, and procedures, etc. aligned with and dictated by the PUBLIC TRUST.This is where

       the "secondary[RICOl crimes" are occurring,

   c) The highest level of the hierarchy is supposed to be adjudicated by the sovereign People

       themselves as the true "beneficiaries"', however, that level of "final review" is being

       undermined and circumvented in ALL THREE BRANCHES of legitimate government by

       way of "flawed summary review" and "abuses of discretion" within the circularly

       rechanneled administrative hierarchical structure of the administrative FOURTH

       BRANCH (i.e., the "Administrative State"). In other words, the sovereign People have

       lost - and perpetually continue to lose - their rightful positions as final arbitrators

       and adjudicators of civil and criminal claims. These losses occur through the ^''circular

       review'^ process of this ADMINISTRATIVE STATE acting unconstitutionally as

       some sort of ^'Fourth Branch''' of government that is working for itself and NOT

       working for the sovereign American People.It is at this "third" level ofcriminal activity

       that "STATE INSURRECTION" and "DOMESTIC TERRORISM" is occurring by way of

       COERCION of both "government" operations and their intended "constitutional" support

       systems for the varied "populations" of our American society.

17. Essentially, without "lawfuV and "Constitutional" government supports being

    effectively in place and operational with proper "checks and balances" in the Separation

    ofPowers ofthe THREE BRANCHES of constitutional governance,the sovereign People

    are forced into THIRTEENTH AMENDMENT "slaverv" to the "Fourth fAdministrativeJ

    Branch" of the unconstitutional "DEEP STATE". In other words, the roles of the
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   ^'beneficiaries*'' and the "trustees'*'' are twisted and reversed.(Bold and underlined emphasis

   added)

18. "Slaverf in America -indeed worldwide - violates the Common Law(s), Human Rights

   Laws, and the Law(s) of Nations; therefore, the pattern and practice that is being

   described herein is a constitutional issue. Further, "domestic terrorism" is a matter of

   National Security calling forth the OATHS and DUTIES of the highest officers of every

   NATIONAL government"department","bureau","division","section","unit","agency",and

   "office". Hence, having been duly notified about the predicate and secondary levels of RICO

   crimes via sworn and notarized COMMON LAW                   AFFIDAVITS and CRIMINAL


   COMPLAINTS, and still acting "affirmatively" and "criminally" with a third level of

   administrative gross negligence, misfeasance, and malfeasance, the "persons" involved as

   high-ranking "officers" of the "ADMINISTRATIVE STATE" {"Fourth Branch") have

   been named in this instant case in their private as well as their public capacities, relative

   to the CO-TRUSTEES with which they are factually associated and positioned to be

   dysfunctionally operating.

19. With regard to the people named in this case as "TRUSTEES' being involved and operating

   these "CO-TRUSTEE' relationships in both their private and public capacities - and thus,

   being civillv sued in both capacities - this instant cause of action includes both

   BENEFICIARY'S DEMAND FOR ACCESS to the sovereign People of the FEDERAL

   SPECIAL GRAND JURY, and a PETIT JURY DEMAND. These "demands" arc to be seen

   as a compelling force by BENEFICIARY David Schied, as one ofthe sovereign People,to halt

   the unconstitutional "self-perpetuating" and "circular" activity of the overriding

   "ADMINISTRATIVE STATE', so to cause a cease and desist in this masquerading and the

   criminal coverup of what amounts to DOMESTIC TERRORISM.
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20. Beneficiary's goal then as a totally and permanently disabled quad-amputee - given the

   inevitable threat of the ADMINISTRATIVE STATE risking certain violent resistance

   from the population of sovereign People at large who are ready, willing, and able to take

   back their ^^highest level ofthe hierarchy*^ with a force far greater than that systematic

   COERCION               exerted by the ADMINISTRATIVE {^'Fourth Brandt")STATE-is to

   use practical reason, the still available U.S. CONSTITUTION, and the traditional

   systems of American (Common, Constitutional and Civil Rights) Laws instead. (Bold

   emphasis added)

21. NOTE that by exercising his FIRST AMENDMENT guarantees ofFreedom to Assemble^

   ofFreedom ofSpeech,ofFreedom ofthe Press,and ofFreedom to (Innumerable)Redresses


   of Grievances"^ BENEFICIARY David Schied is not acting as an insurrectionist himself;

   but rather, is acting to shine a light upon the CO-TRUSTEES as themselves being the

   ^^insurrectionists", the domestic terrorists", and the ^^nationalsecurity threats" to all other

   red-blooded, patriotic Americans.(Bold and underlined emphasis added)



           Overview of the Long Historv of Facts Behind This Instant Case-
        BENEFICIARY David Schied has long been ''TARGETED INDIVIDUAL"

22. One ofthe most important things to recognize from this instant'^ORIGINAL COMPLAINT..."

   is that - as matters of FACTS - there exists a plethora of EVIDENCE and ARGUMENTS to

   show that,BENEFICIARY David Schied has managed somehow to thus far survive nearly two

   decades of formal legal battles and documentary storytelling against certain spotlighted

   government usurpers, corrupt racketeers, seditious and treasonous insurrectionists and

   domestic terrorists.


23. Further - for the simple reason that he has survived this long in a CANCEL CULTURE

   environment aimed particularly against'"white'" males, and because he has fought back against
                                               9
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   those residing in the region of the United States known as the '■'EASTERN DISTRICT OF

   MICHIGAN (SOUTHERNDIVISION^ and beyond, who are politically empowered and have

   long been exercising CRITICAL RACE THEORY ("CRT") and unconstitutional strategies for

   illicitly forcing the social attainment of what the new U.S. PRESIDENT Biden now promises

   to be instituting nationally as "RACIAL EQUITY' - BENEFICIARY David Schied has

   become a ^^tarseted individuaV^ for an alleged ATTEMPTED MURDER; and thereafter

   deprived of his Rights as a Disabled American, and eventually criminally               from

   the only home he has known and paid for diligently this past nearly nine (91 years... to

   be thrown out by life and death threat of gunpoint, in the dead of blizzardly weathen

   during a national CORONAVIRUS pandemic^ and during an ^'"eviction moratorium''' long-

   established - but unenforced relative to protecting BENEFICIARY David Schied anyway


   - by the CO-TRUSTEES of the TRUMP ADMINISTRATION, the USDHHS, the CDC,

   and ultimately, by the UNITED STATES CONGRESS. (Bold and underlined emphasis

   added)

24. An appropriate metaphor for this instant case might be encapsulated by comparison to the

   recently produced and released, internationally popular documentary oVWhiteBovC about an

   atypical fourteen (14) year old male child in the CITY OF DETROIT who became

   surrounded and exploited by agents of LOCAL, COUNTY, STATE, and NATIONAL

   law enforcement agencies for both purposes of furthering crimes of Sedition, Treason,

   Insurrection, and Domestic Terrorism', and, only later, then investigating and prosecuting

   those RICO crimes in terms underlying social, political, and financial factors.

25. While terminology such as "cancel culture" and "racial equity" have only just recently risen

   to national attention in America, most particularly after the controversies of the 2020

   ELECTIONS, the ''TRUSTEES" CHARTER COUNTY OF WAYNE - host to the CITY

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   OF DETROIT and the ^'Federal District ofEASTERN DISTRICT OF MICHIGAN as home

   to the CO-TRUSTEES OFFICE OF THE U.S. ATTORNEY and the UNITED STATES

   DISTRICT COURT-has for more than afew decades been Ground Zero for organized crime

   as fostered by corrupt government officials discriminating against such people as the former

   government sponsored''white boy"child drug pusher(Richard Wershe,Jr.) and a former public

   special education schoolteacher "white man" BENEFICIARY David Schied, who twenty (20)

   years ago had just become an unwary new inhabitant of the EASTERN DISTRICT OF

   MICHIGAN.


26. The "White Boy" documentary focuses on the institutionalization of such a ^Uop-down"

   criminal protection racket of exaggerated proportion that it '^shocks the consciences^\ as

   the FBI and USDOJ reportedly resorted to exploiting the patent genius of Richard Wershe,

   Sr. as a purported illegal "gun-runner" while also unconstitutionally exploiting Wershe's

   adolescent child,"White Boy Rickss(Richard Wershe, Jr.)-referenced wrongly in the mid-to-

   late 1980s by corrupted media propaganda as a "drug kingpin"- all with self-awarded legal

   impunity.


27. The setting for all of these crimes referenced above (relative to the documentary movie "White

   50^") was just over three decades ago when an "Operation Greylord-style" cleanup was

   attempting to take place by the TRUSTEES "FBI/USDOT^ and the U.S. ATTORNEY FOR

   THE EDM were attempting to thin out those connected with the most notorious of those

   running the alleged RICO operations institutionally fostered by former DETROIT MAYOR

   Colman Young and former Detroit homicide cop and President of the DETROIT CITY

   COUNCIL, Gil Hill, and their respective domestic terrorist networks ... starting from the

   bottom and moving up. Notably, those at the top were never caught, prosecuted, or held

   accountable. In fact, the building that houses the county courthouse is still named today

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   in the honor of Coleman Young, the real criminal ^^kmsvin^\ (Bold and underlined

   emphasis added)

28. Importantly, the White Boy documentary reasoned that despite that laws sentencing children to

   life in prison - particularly on nonviolent drug-related offenses - had been repealed, the only

   rational explanation for White Boy Rick (i.e., Richard Wershe, Jr.) being denied even a parole

   hearing for over five(5)times that'"''standard ofreview'''for other criminal offenders, is because

   affiliates of those of African-American decent who were turned in and taken down by this

   Anglo-American child-exploited ''snitch" for the CO-TRUSTEES of the FBI and the USDOJ

   were still in many positions of government power and influence throughout the CITY OF

   DETROIT as the political and financial center for the thoroughly infiltrated surrounding ofthe

    TRUSTEE CHARTER COUNTY OF WAYNE.


29. Herein lies the backdrop to what has been popularly referred to in the STATE OF MICHIGAN

   as the "pipeline to Lansing" relative to the political promotions of government actors who

   know how to "go along to get along;" which basically, was also the theme of former

   MICHIGAN SUPREME COURT former "ChiefJustice" Elizabeth (^'Betty") Weaver, another

   whistleblower, in her book "Judicial Deceit: Tyranny and Secrecy at the Michisan Supreme

   Court." about top-to-bottom STATE court corruption channeled through WAYNE COUNTY,

   as on a"conveyer belt" to the state capital ofthe CITY OF LANSING.{See below as a snapshot

   of her title page autographed personally to BENEFICIARY in 2014.)




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30. The above presents the underlying context of this instant case, by concise overview of the

   socio-political environment of southeastern MICHIGAN from the 1980s to the present; and

    how its extremist level of ^'mafia-style" corruption was allowed to thrive by way of the great

    number of subversives in "law enforcement" and the "courts" operating in the EASTERN

    DISTRICT OF MICHIGAN who were privately profiting from the destruction ofthe sovereign

   People of Michigan,their property, and their government"by, of andfor"the sovereign People

    of the STATE and the UNITED STATES.


31. Importantly to recognize is the fact that such sedition and treason also leached it way into

    the STATE and FEDERAL judiciaries of WAYNE COUNTY (and neighboring counties),

    and the U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN,

    and into the offices of the TRUSTEES MICHIGAN ATTORNEY GENERAL,Md with

    the CO-TRUSTEES named as occupying the OFFICE OF THE UNITED STATES

    ATTORNEY as the "chieflaw enforcement officers*'' of the EDM region, both with well-

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   staffed offices prominently located within the CHARTER COUNTY OF WAYNE's

   corrupt political epicenter of DETROIT, where also is located the TRUSTEES of the

   OFFICE OF THE WAYNE COUNTY PROSECUTOR, the office most obviously active in

   arguing against Richard Wershe, Jr.'s very infrequent opportunity for parole, and for keeping

   this '''white boy^ locked behind bars for the remainder of his natural life. This is, again, even

   as these injunctive acts defied the eventual repeal ofthe''Juvenile lifef law and otherwise

   "shocked the conscience'^ of the local, state, national, and international populations that

   found out about the "White Boy*'' story over the decades.(Bold and underlined emphasis

   added)

32. Enter special education schoolteacher David Schied in 2003 - herein "CRIME VICTIM /

   GRIEVANT/ CLAIMANT/BENEFICIART* - who moved his beginning family to Michigan

   from California, where for the previous nearly two decades he had been pursuing careers in

   the film and television production industry, as a stuntman, a "home security and personal

   protection" expert, and book author; and subsequently, as a legal researcher and public

   schoolteacher.


33. BENEFICIARY David Schied arrived to the STATE OF MICHIGAN with two previous years

   of successful professional teaching experience, a certified "highly qualified* educational

   background as a USC doubled-major honors {cum laude) graduate, and having an instant job

   working in the above-referenced corrupt-style ol"governmenf* dominated by bigoted,Black

   power mongers (and their Marxist/Socialist/Anarchist so-called "White-sympathizer"

   supporters and criminal co-conspirators) exhibiting clear signs of employing what have more

   recently been coined as "critical race theory," "racial equity" practices, and -like the "White

   Boy" case reveals-flat out insurrectionism and domestic terrorists acts(as defined by the U.S.



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   CONGRESS) that shocks the conscience of unsuspecting victims and their third party

   witnesses.


34. After becoming just such a persistent crime victim late in 2003,BENEFICIARY David Schied

   spent down his life savings taking his victimization case(s)to both ^'judiciaV and '^executive''''

   branches of what he at first believed was actual government in the TRUSTEES' so-called

   ''STATE OF MICHIGAhr\ in search of some semblance of local, state, or federal level of

   competent constitutional "redress'^ of his well-reasoned compounding "grievances'^ over the

   following five to six (5-6) years.

35. After around 2008, having enough boxed evidence to prove that there is no legitimate

   "government operating in the entire region of North America known as the "SIXTH

    CIRCUIT'- where the "graduates'" ofthe corruptjudiciary in Michigan matriculates from the

   corrupt MICHIGAN COURT OF APPEALS and the USDC-EDM - BENEFICIARY David

   Schied spent the next decade (just prior to his becoming financially destitute, unable to

    continue supporting a disabled wife and dependent child as a professional public

    schoolteacher) reverting back to his legal research and professional film and television

    experience, as well as his previous experience as a crime victims' rights volunteer activist

    in Texas and California,while using PUBLIC ACCESS TELEVISION to publicly expose

    the corruption running rampant throughout the STATE OF MICHIGAN.

36. Focusing frequently on the seditious and treasonous crimes of insurrectionists and

    domestic terrorists operating in SE Michigan (i.e., the EASTERN DISTRICT OF

    MICHIGAN, SOUTHERN DIVISION), over the next decade BENEFICIARY David

    Schied had completed well more than twenty-five(25)fully detailed video documentaries;

    with mostlv Black victims of that "Wayne County corruption"*^ testifying against their

    perpetrators (i.e., committing "Black-on-Black crimes*'), most of whose criminal

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    perpetrators were operating as ^^usurpers^^ of the People's power in the judicial and

    executive ^^branches^^ of LOCAL,COUNTY and STATE governments. (Bold emphasis)

37. Throughout that above-referenced decade, BENEFICIARY David Schied also pursued other

    COMMON         LAW      and   CONSTITUTIONALLY            GUARANTEED          (i.e.,   ''FIRST

    AMENDMENT')remedies by joining various "town-hall" types offace-to-face assemblies and

    online national discussion groups, sharing ideas on what the sovereign People might do with

    out-of-control governments' Marxist/Socialist "revolution" against the traditionally

    constitutional form of American "Rule of Lawf and how to tactfully force wayward

    government "principals" and their "agents" back into their constitutional "boxes".-

38. Over this period of time, starting from late 2003 and lasting through the beginning of 2018,

    BENEFICIARY was the repeated victim of discriminatory treatment of STATE sponsored

    criminal corruption which included "legal" STATE and FEDERAL level drives to rid the




'When running for political office of the PRESIDENT OF THE UNITED STATES on the
LIBERTARIAN PARTY ticket in 2004, American patriot Michael Badnarik used the metaphor of
a home's fireplace to compare the dispositional difference between what constitutes a "good" fire
and a "bad'fire; and conversely, between a "good'government and a "bad'government. Using
the framework of a rigid fireplace to drive his point home, he compared the fireplace to the rigid
(i.e., "enunciated') bounds set forth upon government by the sovereign People (as the proverbial
"masters") upon the government "servants" of the STATE and (more particularly) the UNITED
STATES,stating that "whenever the government gets out ofthe 'box* constructed preciselyfor
its 'good* existence as intended by its original 'Framers,* it becomes indisputably a 'bad*
government".
       This metaphor MUST be remembered as the CONSTITUTION OF THE UNITED
STATES for the Sovereign People of the United States of America expressly requires Federal
judges to exhibit"good* behavior in order to continue to enjoy their judicial "independence"
through "lifetime employment" in judicial office. Nevertheless, BENEFICIARY David Schied
was documenting the degree to which both STATE and UNITED STATES judiciaries (and
executive branch operatives moving through an endless supply of"revolving doors" between its
three Branches and between government and the private sectors) in the region of the SIXTH
CIRCUIT were exhibiting extreme forms of"bad* behaviors coinciding with and "providins
aid and comfort" to the Black power monsers (and their Marxist/Socialist/Anarchist "White"
sympathizers and co-conspirators) involved in seditious and treasonous acts of DOMESTIC
TERRORISM in the EASTERN DISTRICT OF MICHIGAN.(Bold and underlined emphasis
added)
                                                16
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   region of corrupt unionized''' power — including the UNITED AUTO WORKERS and the

   MICHIGAN EDUCATION ASSOCIATION (teachers union)- and which was carried out,

   as was the instance with BENEFICIARY David Schied case as it was in "White Boy

   Rick's" case, in iUeeal fashion.(Bold and underlined emphasis added)

39. Also throughout this period oftime,BENEFICIARY had filed a litany oVattorney grievance'"

   complaints and ''judicial tenure'''' complaints with the oversight commissions of the corrupt

   MICHIGAN SUPREME COURT organized and operated by the equally corrupt STATE BAR

   OF MICHIGAN and their entourage of corporate-level crime syndicate supporters.

   beneficiary's complaints against these judges - which were all supported by

   overwhelming EVIDENCE- extended also to numerous cases that had gone to the "federar

   COURT OF APPEALS FOR THE SIXTH CIRCUIT, with letters also written to the OFFICE

   OF THE SIXTH CIRCUIT EXECUTIVE and to U.S. SUPREME COURT "Chief Judge"

   John Roberts himself, all without timely or proper responses (i.e., John Roberts never even

   bothered to respond, and neither did the federal level "court administrator^ in

   WASHINGTON, D.C., indicating how far these criminal coverups of this "locaC and

   "regional" insurrection and domestic terrorism reaches into the so-called "federal" level).

40. Between 2006 and 2009 numerous of BENEFICIARY'S court hearings against the LOCAL

   and STATE government agents were attended by other sovereign People as self-appointed

   "court-watchers" and "auditors of the People's courts". These were people who, after

   witnessing judges blatantly denying BENEFICIARY'S constitutional "right to access" the

   court - so to keep the "institutionalized corruption" issued stifled - completed individual

   sworn affidavits attesting to the FACTS of their witnessing criminal tactics to deprive

   BENEFICIARY of his rightful access to the courts, to pre-paid jury trials, and to grand juries

   that had been repeatedly demanded by BENEFICIARY when submitting his many compound

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   '^redresses''^ of cases at both STATE and UNITED STATES levels in the DISTRICT of

   EASTERN MICHIGAN and in the SIXTH CIRCUIT.

41. Beginning around 2008 and continuing through to the very present-and after BENEFICIARY

   David Schied had boldly filed his first yederaF court case against three fiduciarv '"judges'^ of

   the SIXTH CIRCUIT, and against numerous other national CO-TRUSTEES in offices of the

   FBI, the U.S. ATTORNEYS, and the USDOJ (including the USDOJ's ''OFFICE OF CIVIL

   RIGHTS'')- BENEFICIARY David Schied became a low-profile "target" of institutionalized

   efforts to destroy his life, his career, his family, his reputation, and his ability to sustain a

   respectable living in any professional field....the epitome of being the victim of "cancel

   culture" and "racial equity".

42. In 2012, and just after having earned his Master's Degree in Education and renewing his

   STATE teacher certification for another five years, BENEFICIARY David Schied was

   returning favors for others having supported his requests for court-watchers to "witness" his

    many previous court hearings being "railroaded' against him "under color oflaw". In one

    particular circumstance of his doing so for someone he had never met before - who was

   supposed to be having had an "informal hearing" before a CHARTER TOWNSHIP OF

    REDFORD "judge" (Karen Khalil) who had long been suspected (and reported by many

    victims to the MICHIGAN JUDICIAL TENURE COMMISSION) of being a "judicial

    usurper"-BENEFICIARY was seemingly recognized(while minding his own business in the

   "public" gallery while sitting silently observing and auditing the local             DISTRICT

    COURT); and he was criminally abducted, and summarilv "convicted' that very day of

    criminal "obstruction ofjustice" - without a trial, without an attorney, without even being

   "prosecuted'-and sent six(6)counties away without any form ofconstitutional due process.

    and without any opportunity for bail.

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43. In spite ofthe criminal abduction taking place before several other court-watchers at witnesses

   to these domestic terrorist events carried out in the People's court, each having submitted

   sworn, notarized AFFIDAVITS about these witnessed facts afterwards - like with the

   institutional DENIALS oVWhite Boy RicI^' Richard Wershe,Jr.'s denial offirst parole hearing

   for over 29 years to ensure he stayed ''out-of-sight'out'of-mind" - no judge would ''hear"

    numerous Habeas Corpus filings for the entire 30-days that BENEFICIARY David Schied was

    CRIMINALLY being FALSELY IMPRISONED by the TRUSTEES operating as the STATE

    OF MICHIGAN. Similarly, in the aftermath of BENEFICIARY'S eventual release, no

    attorneys would take the case against "judicial usurper''' Karen Khalil as their fellow STATE

   BAR OF MICHIGAN C'TRUSTEE") crime syndicate member.

44. Finding himself again without remedy or court access for three (3) years following his being

    victimized by this domestic terrorist event - and recognizing the unwritten ^^policy and

   practice*' of the STATE OF MICHIGAN to be self-Insured" instead of providing

    ^'^performance bonding"" of its ""government servants'" - BENEFICIRY David Schied filed

    his own "suijuris"(and/or "pro se") case against a host of named multi-tiered "government

    usurpers'''' who had participated in his criminal abduction. In doing so, he filed by declaring

    himselfin 2015 to be submitting his case in an "Article III Court ofRecord", using the federal

   "DISTRICT COURT' operated in the EASTERN DISTRICT OF MICHIGAN. The judicial

    usurper assigned to administer the case was 90+ (ninety-plus) year old TRUSTEE Avern

    Cohn, a ZIONIST Jew who had long been an institutional host to the inherently corrupt "law

    enforcement" surroundings of the EASTERN DISTRICT OF MICHIGAN. In bringing his

    case, BENEFICIARY David Schied also set forth his monetary claims against the

    corporate $100 BILLION "terrorism"(including "domestic terrorism") insurance "rider""




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   of the ("TRUSTEES") CHARTER COUNTY OF WAYNE's documented ''errors and

   omissions^* insurance "policy^\(Bold emphasis added)

45. The manner in which BENEFICIARY David Schied's ARTICLE III 'judiciar COURT OF

   RECORD case was undermined and turned into a series of unconstitutional ARTICLE I

   administrative events by two different ARTICLE I''magistrates'^ without lifetime employment

   to guarantee their "good behavior" as are ARTICLE III judges, is well documented in

   memorialization of the FACTS, as those formally date-stamped records have remained

   publicly posted on the Internet since 2015-2016 as BENEFICIARY'S own "COURT OF

   RECORD"^ at the following web-URL:

   https://constitutlonaIgov.us/sub/PoIiticalSubdivisions-Local/4-


   GrcatLakcsSS/Michigan/Cases/David-


   Schicd/2015 SchiedvJudgeKarenKhaliletalinUSPCEDM/


46. Notably, as the case continued to mark the ongoing advancement of criminal FRAUD UPON

   THE COURT by the co-Defendants and their respective attorneys as members of the

   {"TRUSTEE^') STATE BAR OF MICHIGAN (CRIME SYNDICATE and DOMESTIC

   TERRORIST NETWORK)in that case,additional "joinder Plaintiffs" entered that federal case

   through their own sworn, notarized AFFIDAVITS OF TRUTH testifying with details about




^ As those records reveal, the criminal acts of these two corrupted ARTICLE 1 magistrates
railroading those 2015-'16 proceedings in the EDM - in spite of BENEFICIARY'S persistent
protests in DENIAL of these unconstitutional actions by these insurrectionists and domestic
terrorists otherwise robbing BENEFICIARY of his constitutional guarantees to "ACCESS" the
federal Court - included repeatedly "striking''^ many of the documents BENEFICIARY had
filed into the record to counter the criminally FRAUDULENT assertions by the co-
Defendants^ government attorneys who had repeatedly tried to discredit BENEFICIARY
by painting the FALSE narrative of him as a "paper terrorist, by simultaneously referring
to BENEFICIARY'S prior decade of having filed numerous previous cases in STATE and
UNITED STATES courts(in attempt to hold the co-Defendants accountable for their many years
of documented pattern and practice of Sedition and Treason against the sovereign People of the
State and the United States).
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   how they too were the victims of the CHARTER COUNTY OF WAYNE's long history of

   sedition and treason, while establishing their own joinder CLAIMS against the ''terrorism"

   insurance rider purchased by the (TRUSTEES) CHARTER COUNTY OF WAYNE through

   the AMERICAN INSURANCE GROUP ("AIG") as otherwise guaranteed about eighty

   percent(80%)by the (''TRUSTEE'')"UNITED STATES",which is one and the same as

   the one named again herein as one of the many CO-TRUSTEES named in this instant

   new case. -



47. The criminal events taking place over the course of sixteen (16) months from mid-2015

   through late-2016, were outlined in seventy-four (74) pages as (again) posted publicly on the

   Internet as a"WRIT OF ERROR CORAMNOBIS". which additionally included reference to a

   previously filed "defaultjudgment" and "ledser ofdamases"- found together at the following

   URL for the past nearly five years as signed by PRIVATE ATTORNEY GENERAL Cornell




^ By the preponderance of publicly posted EVIDENCE pertaining to all of these many
"backward-lookins-access-to-court'" cases involving both "chain conspiracy" and "wheel
conspiracy" factual elements, the RECORD for this instant case includes, by reference,
EVIDENCE to substantiate these ongoing previous "CLAIMS IN COMMERCE" and
"CLAIMS OF CONSUSANCE'that remain today without the "remedies" otherwise due to
BENEFICIARY, who has been acting - and continues to be acting - lawfullv on his own
behalf, as well as on the behalf of other sovereign Americans.
^ This"LEDGER OFDAMAGES'^ did not at the time take into account the application ofTREBLE
DAMAGES against the TRUSTEE "UNITED STATES'^ based upon the tortuous criminal acts
committed by its agents of Avem Cohn and his co-conspirators in "dismissing" the proven
CLAIMS of BENEFICIARY and his "CO-GRIEVANTS / CO-CLAIMANTS" against the $100
BILLION "terrorism" insurance rider purchased from AIG and its named subsidiary agents, as
otherwise "guaranteed" by the ("TRUSTEE") UNITED STATES through the legislation from
CONGRESS in the aftermath of the "9/11" terrorist events in 2001. Therefore, as well-founded
by the referenced irrebuttable "WRIT OF ERROR CORAM NOBIS" that has never been
ehallenged in its past five years of public posting,the TRUSTEES"UNITED STATES" begin
this case minimally with those "treble damages" and "ledger ofdamages" amounts still being
levied herein today as lawfully applied and acquiesced to by "tacit agreement" of all parties
and the TRUSTEE "USDC-EDM" nearly five full years ago as totaling well over $300
BILLION.
                                                21
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   Squires and date-stamped by the TTJi/ST^i'USDCEDM on 10/17/16, which was just a year or

   two before Squires' subsequent untimely death:

   httr>s://constitutionalgov.us/sub/PoliticalSubdivisions-Local/4-

   GreatLakesSS/Michigan/Cascs/David-

   Schied/2015 SchiedvJudgeKarenKhaliletalinUSDCEDM/100416 WritofErrorCoramN

   obisContemptClaimsinCommerce/100416 ALLWritofErrorContemnt%26ClaimsFiled

   bvPAGSquires.pdf

                       UlifIKICT CUUKl UF IHK UiVri liJJ Sfl AI'ES

   (FOR THE EASTERN DISTRICT OF MICHIGAN,SOUTHERN DIVISION)

    David Schied and Gomel! Squiras,
    Grievants/CUzimants                                    •        Case No. 2:15-cv-ii840
                       Private Attorney Generals                    J^ge: Avem Cohn
    V.
    Karen KhaUl,et a!                  '

                                                   /


                       UPDATED(2^^ CERTIFICATE OF SERVICE
    On 10/11/16,the attorneys forihe co-I^ffaaiants in the above-caplioned case were sent a copy of
    the initM "Certiiicate ofService"regarding     ^"service" ofthe do^nnents lis^d below as they
    were deliv^n^ to the alleged ^criminals" opeialing as the "U-S. District Court.** Subseqt^tly,
    these defendaiUs inclusive ofthe nain^ **DO^ Ul-6y being attoxi^ys James Mellon,Jeffiey
    Cbdc,Cbarl^ Browning, Warren White,Zenna Elhasan,and Davidde Stella) were all served —
    along with the tinned '^criminals"opt^ting the "t/.S, Distrfci Coerf(inclusive ofAvcra Cohn,
    Michi^l Hluchanitik,Steplumie Davis,David Weaver, Marie VelindcX tlK: Kfichigan '^Assistant
    Auorney Gtners^^ iotax Clark, and the corporate"persons** ofthe Slate Bar ofMichigan,the
    United States District Court,and the UNITED STATES — with the Iniemet link to wl^re all of
    the following listed doctuncnts are publicly posted via iiKiividual URLs,

    The foHowtng four f4> eawtioned objects can all he found at the following link;
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48. Subsequent to the unlawful ''dismissing" of that CHARTER COUNTY OF WAYNE

   "domestic terrorism" case by Avem Cohn late in 2016 after over a year of persistent DENIAL

   OF MEANINGFUL ACCESS TO THE COURT. BENEFICIARY David Schied resigned

   himself to stick with "common law" strategies for pursuing and securing his remedies against

   the INSURRECTIONISTS and DOMESTIC TERRORISTS masquerading as LOCAL,

   STATE and UNITED STATES "governments". Such strategies included the continued

   production and use of video documentaries spotlighting "government corruption" openly

   naming those alleged to have committed these crimes, and expanding upon the venues for

   distributing the information about these crimes- and about the accumulating values of their

   UNRESOLVED DEBTS to the sovereign People.(Bold and underlined emphasis added)

49. Undoubtedly, as BENEFICIARY David Schied continued in pursuit of these common law

   strategies after 2016, as supported by guarantee of the FIRST AMENDMENT (i.e., Assembly

   / Speech / Press / Redress), it was increasingly evident to objective onlookers that

   BENEFICIARY had been getting more technologically skillful at each aspect of the

   documentary filmmaking process as each year progressed since he began with these activities

   around 2008-2009.


50. Then suddenly and without warning in late 2017, just shortly after producing and publicly

   posting video documentaries about LOCAL and STATE levels of corruption, a first attempt

   to force BENEFICIARY from his rented home was facilitated by ("TRUSTEES'^) DTE

   ENERGY (formally "DETROIT EDISON ELECTRIC) on behalf of itself and its co-

   conspirators in crime - being documented with EVIDENCE as various agents of TRUSTEE

   DTE acting (minimally) in collaboration with CO-TRUSTEE agents of the STATE OF

   MICHIGAN and agents ofthe STATE BAR OF MICHIGAN-cut power to BENEFICIARY'S



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   home during sub-freezing temperatures in SE Michigan at the onset of Winter (i.e., in

   November,2017).

51. Using his commitment to stick with common law methodology - BENEFICIARY David

   Schied provided the named DTE agents with individualized ^'NOTICE OF LIABILITY^ as

   formally ^'served" by the process oi'^Third Party Notary Presentment": while also producing

   and distributing public links to new documentary to place his claims and evidence into the

   public forum; and while persistently notifying both STATE and FEDERAL"law enforcement

   about these crimes adding to a long history of other crimes of"domestic terrorism'\

52. About that same time, in early 2018, BENEFICIARY directly and indirectly obtained

   further EVIDENCE that agents of the FBI and the STATE OF MICHIGAN were

   trolling, stalking, and terrorizing BENEFICIARY David Schied at his home. These

   criminal perpetrators were- identified both by third party notification, as well as by

   BENEFICIARY snapping photographs of his FBI/ USDOJ tormentors as they attempted

   to unlawfully enter his home by coercive threats and unwarranted force.{See a portion of

   this EVIDENCE in the graphics shown immediately below and on the next two pages.)

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                                        home.
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53. Inexplicably, except by reason of it being just a couple of days after the agents of the CO-

   TRUSTEES ''UNITED STATEN' above tried to threaten and coerce BENEFICIARY into


   allowing them to gain entry to BENEFICIARY'S rented home to do him grave harm,

   BENEFICIARY began to experience flu-like symptoms and was hospitalized after being found

   in bed disoriented. Resultingly, BENEFICIARY David Schied was diagnosed with "septic

   shocE\ the victim of an attempted murder.

54. A few weeks later, these same two CO-TRUSTEES,as agents of CO-TRUSTEES of the FBI,

   ofthe USDOJ,and ofthe UNITED STATES,entered the hospital where BENEFICIARY was

   recovering from multiple amputations ofboth legs and seven of his fingers making his a totally

   and permanently disabled quad-amputee. These agents (CO-TRUSTEES Tarrant and Cole)

   interrogated BENEFICIARY - without BENEFICIARY having any present and while

   BENEFICIARY was under the deep influence of numerous prescriptive pain relievers and

   other sedatives - as if he, himself, was a suspected "domestic terrorisf\ Only upon

   BENEFICIARY'S request did the interrogating agents identify themselves before leaving; but

   while also refusing to explain their actions other than by revealing that their visit was at the

   behest of TRUSTEE DTE ENERGY.


55. Subsequently, in spite of BENEFICIARY submitting multiple FOIA '^request(s) for

   documents^^ and receiving back ^^denia/s^^ followed by BENEFICIARY'S subsequent

   "appeals*^ and TRUSTEES' higher level ^^denials^^ of those request for documents

   pertaining to the illegal visit to BENEFICIARY'S home and the subsequent interview in

   BENEFICIARY'S hospital room, these CO-TRUSTEES and others in WASHINGTON.

   D.C. have affirmatively engaged in nothing less than a criminal coverup of this alleged

   ATTEMPTED MURDER ever since.




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56. Throughout the now nearly three full years since this attempted murder and subsequent

   collective coverup by the STATE and the UNITED STATES,BENEFICIARY David Schied

   has been dependent on ^'welfare"" from the STATE and the UNITED STATES.

57. Having long prior been rendered as a ^^pauper^^ by the criminal RICO activities

   referenced earlier while BENEFICIARY was a public schoolteacher fighting against

   public corruption until being finally devastated by the ending of his lifetime savings, his

   inability to continue supporting his family - having to end his long-sought-after teaching

   career and instead pursue a new reputation as an investigative journalist with a focus on

   '''"sovernment corruption'^ and ^^domestic terrorism*^ - BENEFICIARY David Schied has

   long been sacrificing his time and energv in return for nothing more than the public

   recognition of the TRUTH that the criminal operatives in various ^^eovernments*^ refuse

   to publiclv recognize or to admit. (Bold emphasis)



                          Overview of the Theories of This Instant Case


A. Wheel and Chain Conspiracy Theories

58. In law, a conspiracy theory is a theory of a case that presents a conspiracy to be considered

   by a trier of fact. Though in popular usage, a ^^conspiracy theory is considered a theory that

   invokes a conspiracy without credible evidence, the fact remains that the phrase '"^conspiracy

   theory^ has been used in this sense in court cases since at least 1900.[See Perkins v. Territory

   ofOklahoma. 1900; OK 98 (Sup. Crt of Ok., September 5, 1900)]

59. A basic tenet of traditional conspiracy theory is that each co-conspirator is liable for acts of

   other co-conspirators "during the existence ofand infurtherance ofthe conspiracy\ by which

   procedures and proof requirements for conspiracy theory litigation has its advantages as such




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   litigation is relative to aidins-and-abettins and joint tortfeasor case theories. [See Leach, T.J.

   (October 1999). "Civil Conspiracy: What's the Use". U. Miami L. Rev. 54 (1)\

60. In popular usage, the term conspiracy^ means a secret agreement of two or more persons,

   usually to commit a bad act. However, in a broad legal sense, it is an agreement to commit an

   unlawful act or acts, (e.g., lawful acts done in an unlawful manner; or conspiring to injure

   someone else). Whereas in a criminal conspiracy, the substantive offense is a crime, in civil

   law, the wrong is most likely a recognized intentional tort. [ibid\

61. A theory of a case ifcase theory") is "a detailed, coherent, accurate story ofwhat occurred'^

   involving both legal theory-i.e., claims/causes of action or affirmative defenses- and factual

   theory (i.e., an explanation of how a particular course of events could have happened). "Case

   Theory In A Nutshell",(benchmarkinstitute.org.)(As found on Wikipedia, entered as October

   28, 2018)

62. A prominent concept in conspiracy law is Pinkerton liability where a conspiracy theory can

   be used to hold a co-conspirator liable for a substantive offense committed by another co-

   conspirator "?/the offense was a reasonablyforeseeable consequence ofthe agreement".[See

    Collins V United States citing Wilson-Bey v. United States.'} In civil law, a conspiracy tlieory

    1) exempts co-conspirator testimony from the rule against hearsay; 2) exposes deep-pocket

   defendants to more liability than available under 2Ln aiding-and-abetting ihQory; 3) can

   impose joint liability on non-residents of the jurisdiction not liable underJoint tortfeasor

   theory.(See again,Leach, T.J. as cited above.) f United States ex rel. Anita Silinso v. WellPoint.

   Inc., 895 F.3d 619(United States Court of Appeals, Ninth Circuit 2018).]

63. "In the taxonomy ofconspiracy theories, a 'chain conspiracy' is one in which each person is

   responsiblefor a distinct act within the overallplan, while a 'wheel conspiracy'[aka''hub and

   spokes" conspiracy] involves a single member or group (i.e., the 'hub', separately agreeing

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   with two or more other members or groups, referenced as the 'spokes      \Howard Hess Dental

   Labs. Inc. v. Dentsvlv Int 7. Inc.. 602 F.3d 237,255 (3d Cir. 2010)]

64. The general criminal cases tend to require only a more general knowledge among the spokes

   that there is a larger overall imlawful scheme involving other actors who are cooperating with

   the hub in carrying out the scheme. Legally speaking, how much knowledge spoke actors must

   have of the conduct of other spoke actors - which is to say how much of a "n'm" (i.e., the

   comiecting agreements among the spoke actors) must be put around the "wheeL of the hub-

   and-spoke conspiracy for it to be deemed a single conspiracy rather than many separate

   conspiracies- is a matter of expected contention requiring further deliberation. Some express

    uncertainty over the legal status of ^'rimless" conspiracies - i.e., those with very limited

   interaction amongst the spokes.

65. A closely related concept to the hub-and-spoke conspiracy, or a variation on it, is the chain

   conspiracy, which is linear rather than wheel-shaped. To sustain a chain conspiracy charge,

   the evidence must establish "that each conspirator had the specific intent to further the

   common unlawful objective." \United States v. Tarantino. 846 F.2d 1384, 1392 (D.C. Cir.

    1988)] It is immaterial that the individual co-conspirators do not know each other or

   meet. "Courts have long recognized that varticivants in a continuous drug distribution

   enterprise can be parties to a sinsle conspiracy even ifthey do not all know one another, so

   ions as each knows that his own role in the distribution ofdruss and the benefits he derives

   from his participation depend on the activities ofthe others." Wnited States v. Childress. 58


   F.3d 693, 709-10(D.C. Cir. 1995)](Bold and underlined emphasis added)

B. Theory of *^three levels ofcircular association"*^

66. The PARTIES to this case designated as CO-TRUSTEES are herein categorized into three

   primary '^circles*' of association with one another, being each legally and lawfully accountable

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   to BENEFICIARY David Schied as one of the sovereign People recognized by both STATE

   and UNITED STATES constitutions as 'We, the People" having - through their Posterity,

   Birth, or Nationalization - created and ordained those governments and having conditionally

   delegated to those governments the People's ^'Sovereign Authority^^ to these CO-

   TRUSTEES under the PUBLIC TRUSTS of those STATE and UNITED STATES


   constitutions.(Bold emphasis added)

67. For purposes of simplifying this cause of action, the three "circles of association" of those

   involved as CO-TRUSTEES can be loeicallv categorized as follows:

   a) The "LOCAL" CO-TRUSTEES;

   b) The "STATE'and "NATIONAL" CO-TRUSTEES;

   c) The "QUASTGOVERNMENT                 CORPORATIONS" and "NON^GOVERNMENTAL

       ORGANIZATIONS' consisting of CO-TRUSTEES licensed to "do business" by both

       STATE and NATIONAL ''sovernmenis^':

68. The above categorization of CO-TRUSTEES follows the hierarchical path of "mutual

   enabling" of CO-TRUSTEES through common channels - usually always involving CO-

   TRUSTEES as being members ofthe infinitely corrupt STATE BAR OF MICHIGAN - at the

   local level where certain violations oflaws and constitutions are perceived to have first started.

   In pattern and practice, those wielding and abusing power and control seem to be doing so

   with impunity, ignoring simple reason and escalated protests as initially put forth by

   BENEFICIARY in response to some action taken.

69. In the most reason situation leading to BENEFICIARY having filed a case this past January 5,

   2001 in sood faith with CO-TRUSTEES of the U.S. DISTRICT COURT FOR THE

   EASTERN DISTRICT OF MICHIGAN, the action taken began with "local level" CO-

   TRUSTEES conspiring together to execute a"land development deal" between the landowners

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   (STATE BAR attorney Ava Ortner and court officer AVA ORTNER as legal guardian of Don

   Thorpe, Jr.), the real estate brokers (at COLLIERS INTERNATIONAL), and the agents of

   local city(CITY OF NOVI)in southeastern Michigan.

70. In following this latest well-documented real-life example,the consortium involved in the land

   development deal needed to implant a surveyor into the home that BENEFICIARY had been

   renting the previous eight (8) years. What was standing in their way of simply giving proper

   notice and taking the home was the STATE AND FEDERAL LAWS, being eviction

   moratoriums that had been strictly put into place by the CO-TRUSTEES of the (Donald)

   TRUMP ADMINISTRATION, being the CENTER FOR DISEASE CONTROL (hereafter

   "CDC")and the U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES (hereafter

   "USDHHS"), in response to a national and international ^^Coronavirus'^ (aka ^'COVlD-19")

   pandemic.

71. Currently, the debate on whether the human-engineered genome funding the research and

   creating the virus before releasing it and failing to contain it are still in heated debate

   worldwide; and therefore, beyond the scope of this instant ^'whistleblower" CQui Tarn")

   lawsuit. What is known and well documented is that, even as the homeowners were well

   aware that BENEFICIARY had more recently been transformed from healthy athletic

   male into a totally and permanently disabled quad-amputee, the other corporate and

   Qovernment CO-TRUSTEES were also made well aware of that fact in writing - as well

   as the fact about the eviction moratoriums - as BENEFICIARY was forced to escalate


   his reasoning again the threat offorce that the ^^land development deaP^ consortium began

   to be using against him using the homeowners as the frontline CRIMINAL operatives.

   (Bold emphasis added)




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72. From early on with the ''local lever CO-TRUSTEES moving forward criminally with the

   eviction in violation ofSTATE and UNITED STATES edicts calling for criminal penalties for

   violations oforders for Americans to be "self-quarantining^^ at home without threat ofeviction,

   BENEFICIARY mustered up enough - despite of his disabilities - to be telephoning and

   writing to both STATE and NATIONAL level "government'''' officials. As things were then

   happening, the period in which the criminal eviction events were occurring, were coinciding

   also nearly exactly with the persistent DENIAL of the CO-TRUSTEES STATE and UNITED

   STATES administrators of certain services owed to BENEFICIARY as was then being

   repeated by BENEFICIARY in response to becoming eligible for switching from MEDICAID

   to MEDICARE,whereby BENEFICIARY was seeing money automatically deducted BY CO-

   TRUSTEES from his monthly SOCOAL SECURITY allowance to pay for MEDICARE

   PART B,in spite of BENEFICIARY'S frustrated phone calls and resulting written protests.

73. Thus, BENEFICIARY'S own pattern and practice - as a result of his exhaustive past

   experiences in following the recommended and required pattern of "exhausting his

   administrative remedies^^ - was to meticulously document his taking the proper action of both

   calling (ON RECORDED LINES) and writing to the named STATE and NATIONAL level

   CO-TRUSTEES. The result was the same there, being NO RESPONSE to either the notices

   and protests about the unlawful deductions by CO-TRUSTEES from social security payments

   to pay other CO-TRUSTEES from money otherwise owed and needed by BENEFICIARY,or

   the notices and protests about the unlawful eviction proceedings that were threatening the life,

   property, and services being then provided to BENEFICIARY.

74. NOTE that at this time (being between around June 2020 and December 2020),

   BENEFICIARY was already literally years in dispute with the same and other CO-TRUSTEES

   as the principals and agents of the SOCIAL SECURITY ADMINISTRATION (hereafter

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   "SSA"), the principals and agents of UNITED STATES DEPARTMENT OF TREASURY

   (hereafter "U.S. TREASURY"), the principals and agents of the UNITED STATES

   DEPARTMENT OF EDUCATION (hereafter"USDOE")and its various multi-tiered '-'student

   loan servicin^^ principals and agents [this included the CO-TRUSTEES ofPENNSYLVANIA

   HIGHER EDUCATION ASSISTANCE AGENCY (hereafter "PHEAA"), NELNET, INC.,

   the EDUCATIONAL CREDIT MANAGEMENT CORPORATION (hereafter"ECMC"),and

   all three CREDIT BUREAUS (being TRANS UNION, EQUIFAX, and EXPERION)] who

   have long been refusing to honor PROMISSORY NOTE CONTRACT(s) guaranteeing that

   the "government'" racketeers' (FRAUDULENT) claims of debts and collections activities

   against BENEFICIARY should cease and be "discharged'' once BENEFICIARY had

   certifiably proven that he either "died'' or became "totally and permanently disabled', which

   had long previously had already done, to no avail.

75. Needless to say,the many various CO-TRUSTEES collectively comprising the TRUSTEE

   of the so-called ''UNITED STATES OF AMERICA" as well as the CO-TRUSTEES


   collectively comprising the so-called "STATE OFMICHIGAN'\ were familiar with both

   BENEFICIARY David Schied, as well as the vastly accumulating debts that he had been

   claiming against them as a result of all of his documented years of being DENIED

   MEANINGFUL ACCESS to the STATE and UNITED STATES courts of the EASTERN


   DISTRICT OF MICHIGAN (hereafter "EDM") between 2004 and 2016, and being

   subsequently denied food, housing, energy assistance, transportation,job rehabilitation,

   and even medical necessities in the aftermath of becoming a "totally and permanently

   disabled quad-amputee*^ in early 2018 after being first targeted for homelessness and

   ATTEMPTED MURDER by CO-TRUSTEES between 2017 and 2018.(Bold emphasis)




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16. Having sufficiently documented his having "exhausted his administrative remedies'" at the

   STATE and NATIONAL hierarchical levels of the categorical three "circles ofassociation".

   BENEFICIARY turned next to documenting his outreach (again) to the "QUASI-

   GOVERNMENT CORPORATIONS' and "NON-GOVERNMENTAL ORGANIZATIONS'

   consisting of CO-TRUSTEES licensed to "do business" by both STATE and NATIONAL

    governments'*^.

11. By the time these ^*criminal eviction** issues had arisen, BENEFICIARY was still in the

   process of challenging his being "targeted** by the "cancel culture** of the STATE and

   UNITED STATES using both DEBT (i.e., being wrongly claimed by CO-TRUSTEES in

   charge ofotherwise being legally mandated to "discharge" their claims oi"student loan debts"

   against Beneficiary David Schied) and DENAIL OF SERVICES coupled with CRIMINAL

   THEFT       OF SOCIAL SECURITY PAYMENTS otherwise legally                        owed    to

   BENEFICIARY by the STATE. In establishing his COMMON LAW CLAIMS then

   against the STATE and the UNITED STATES- and having previously "exhausted" those

   previous "administrative" challenges against the UNITED STATES (regarding the student

   loans counterclaims of debts owed to David Schied and to the unwary People at large)and the

   STATE OF MICHIGAN [i.e., regarding David Schied's claims against the MICHIGAN

   DEPARTMENT OF HEALTH AND HUMAN SERVICES (hereafter "MDHHS') and the

   MICHIGAN       DEPARTMENT OF LICENSING                AND   REGULAR=TORY         AFFAIRS


   (hereafter "LARA") as well as the MICHIGAN ATTORNEY GENERAL and MICHIGAN

   GOVERNOR)- BENEFICIARY had, in the year prior (2019) gone to CO-TRUSTEES

   marketing services publicly to disabled people, who had long been accepting donations

   and government grants for assisting the disabled who are experiencing various forms of




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    discriminatory and/or retaliatory treatment as BENEFICIARY David Schied had been


    claiming to be experiencing.


78. In 2019, BENEFICIARY had, again, previously documented the manner in which none of

   these ''nonprofit asencies'' licensed by the CO-TRUSTEE ''STATE OF MICHIGAN^'


    would assist BENEFICIARY in establishing his common law claims of debts owed to him


    by the CO-TRUSTEES of the STATE and the UNITED STATES. Similarly, those CO-

   TRUSTEES as agents that were tied to and receiving funding from their "'''national network(sX'

   that were, in turn, receiving their funding by large grants from the UNITED STATE

    CONGRESS,also refused to either provide BENEFICIARY with requested assistance or

   funds otherwise earmarked for people with disabilities who ^^did not exactly qualify^^ for

   the criteria set up by the organization for help, so to keep anyone with a disability from

    ^'fallme thromh the fbureaucraticl cracks (and other "era/?")". (Bold and/or underlined

   emphasis added)

79. So, in 2020 after having exhausted - or while exhaustins- his administrative remedies with

   the STATE and NATIONAL level of hierarchical "redress of grievances" regarding this latest

   issue of being "targetedfor eviction"-BENEFICIARY approached numerous ofthe same

   and different "nonprofit organizations" - at all four of the LOCAL, STATE,

   REGIONAL, and NATIONAL levels professing to provide services, activities,

   information, and advocacy for the disabled - only to be, again, repeatedly, and very

   shockingly and rudely, DENIED ACCESS to those services, activities, information, and

   advocacy.

80. As a result of the plethora of"affirmative actions" carried out by the multi-tiered hierarchies

   of the CO-TRUSTEES - who are inextricably intertwined with one another in, theoretically,

   three classifying "circles of association" - BENEFICIARY has well documented his not

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   only being a continuous CRIME VICTIM of corporate and government ^^conspiracies to

   deprive of rights (under color of lawf^ but also of a repeated pattern of illegal

   DISCRIMINATION and RETALIATION as a ^^targeted individuaP^ and victim of the

   ^^abuse ofpower^^ by those CO-TRUSTEES engaged also in a conspiracy to use ^^CANCEL

   CULTURE'^ theories and policies of instilling ^^RACIAL EQUITT^ to tortuously violate

   the constitutional guarantees and Rights of BENEFICIARY David Schied at not only

   great harm to him personally, but also at the ultimate cost of harming the sovereign

   People ofthe United States of America as ^^taxpayers^^ who have long been bankrolling all

   of this FIDUCIARY FRAUD.



                              PARTIES TO THIS LITIGATION
                     (PRESENTED BY CATEGORIAL DESCRIPTION)

                                   THE''LOCAL TRUSTEED'


81. In the contextual history of this case, the LOCAL CO-TRUSTEES have been involved

   with and are all financially profiting by the most recent action of an criminal

   of BENEFICIARY David Schied, from his home ofthe past more than eight years-in spite

   of his impeccable track record of monthly payments of"renf and otlier "consideration", in

   spite of his being medically certified as being a recent "totally and oermanentlv disabled

   auad~amputee"\ and in spite of multiple levels ofwidespread "eviction moratoriums^^ being

   implemented, both Statewide and Nationally, by both the LEGISLATIVE and the

   EXECUTIVE "branches" of both STATE and NATIONAL governments. (Bold and

   underlined emphasis added)

82.jln terms of their "conspiracy" and "circle" of CORPORATE affiliations, those named as

   "Counterclaimants /Defendants /Accused Criminal Perpetrators / TRUSTEES'^ comprising

   the "LOCAL CO-TRUSTEES''' include Ava Ortner in her private capacity and AVA

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   ORTNER in her public capacity as - according to information and belief - ^'LEGAL

   GUARDIAIV^ and '^TRUSTEE^^ for the ESTATE of Donald Thorpe,Jr.. Others ofthis first


   particular group of CO-TRUSTEES include the named agents and officers of COLLIERS

   INTERNATIONAL,the CITY OF NOVI,and Dominic Svlvestri in his private and public

   capacities as a MICHIGAN ^''officer ofthe courf for the CO-TRUSTEES ^'S^^l^^ISTRlCT

   COURT'' of MICHIGAN. This particular subset of LOCAL CO-TRUSTEES is the same


   that is forcing an unlawful eviction under the circumstances referenced in the paragraph

   immediatelv preceding this one above.(Bold and underlined emphasis added)

83. In the situation with Ava Ortner, these LOCAL TRUSTEES have grown their organization

   against BENEFICIARY David Schied through mutual associations with the CO-

   TRUSTEES STATE BAR OF MICHIGAN at the second fiduciary level, which

   BENEFICIARY can prove perpetually behaves like a crime syndicate,to include Dominic

   Svlvestri - in both his private and CORPORATE capacities - as well as other

   ''INSURRECTIONISTS" operating a continuing financial crimes enterprise from within the

   public building that houses the TRUSTEES "52-1 DISTRICT COURr hosted in OAKLAND

   COUNTY of the CO-TRUSTEES collectively calling themselves the "STATE OF

   MICHIGA]N\


84. At the base level, the LOCAL CO-TRUSTEES and OUASI-GOVERNMENT LEVEL

   CORPORATE CO-TRUSTEES associated with Ava Ortner, AVA ORTNER, Donald

   Thorpe,Jr.- being herein named as Paul Gobeille and Michael Yamada at COT J JERS

   INTERNATIONAL and the NOVI CITY COUNCIL members composing the CITY OF

   NOVI,inclusive of the NOVI MAYOR Bill Gatt. are - according to information and belief

   - inextricably involved with one another in a ''Hand development deaP^ that intermingles

   the agendas of private and public entities governing residential housing, commercial

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   development, and city planning, to the detriment of BENEFICIARY having a financial

   and other legal and lawful interests in the residential propert(ies) slated for development


   during a national pandemic.These underpinnings then,are at the root cause ofFRAUD being

   carried out by the named LOCAL, STATE,and QUASI-GOVERNMENTAL levels (being the

   ''predicate'' level of "jg/CO"') of CO-TRUSTEES against BENEFICIARY David Schied for

   the multi-tiered purposes of private profiteering, as also through the EMBEZZLEMENT of

   public (i.e., taxpayer)funds for illegal private use and political gain for these CO-TRUSTEES.


                          THE "STATE AND NATIONAL TRUSTEES"


85. In the contextual history of this case, the STATE AND NATIONAL TRUSTEES are

   involved with the malicious "cancel culture" policy and practice now formally instituted

   generally against Anglo-American men - referred to prejudicially by unsubstantiated CLASS

   as "white supremacists" - and tortuously through the BIDEN ADMINISTRATION'S

   commitment to institutionalizing "racial equity" through reverse-discrimination^ tolerance of

   open racial hatred, name calling, and even building, public and private destruction, and rioting

   against perceived "white power"); ultimately leading to the "deprivation ofrights" of Anglo-

   American males like "White Boy RicJc" and "White Man" David Schied "under color oflaw".

86. These blatant CRIMES executed against BENEFICIARY David Schied in both

   DISCRIMINATORY and RETALIATORY fashion because of his Anglo-American

   decent - and because of his having somehow survived the past nearly two decades of being

   "targeted" because of his oast and present political stand as an outspoken "Common Law" and


   "Constitutional" advocate - have also             been   affirmatively   perpetuated    against

   BENEFICIARY David Schied because of his demonstrated tenacity and leadership in

   proactive "self-advocacy*'' and "wltistleblowing** against STATE-level "RICO** activities.



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   even throughout his recent recovery as an alleged crime victim of a reported

   ATTEMPTED MURDER.(Bold and underlined emphasis added)

87. The documented activities of the STATE AND NATIONAL TRUSTEES involve multi-level

   CRIMES being perpetrated between the CO-TRUSTEES 'STATE OF MICHIGAN'

   operating as the alter-egos ofcertain"STA TE actors" engaged in EMBEZZLEMENT activities

   (i.e., using government funds and/or property for private purposes,such as by RICO corruption

   and racketeering for personal and/or political gain). This includes numerous named and

   unnamed STATE office holders of the last eighteen (18) years, the most prominent which

   include the past three (3) MICHIGAN governors and attorney generals specifically named

   herein as: Gretchin Whitmer, Rick Snvder. Jennifer Granholm. Dana Nessel. Bill

   Schuette. Mike Cox. Richard Cunningham (serving as "assistant attorney generar for the

   "Criminal Division")and Matthew Schneider(who after serving under Bill Schuette slithered

   through the "revolving door" to become the current U.S. ATTORNEY for the EDM).

88. These named "STATE actors" of the STATE AND NATIONAL CO-TRUSTEES have been


   and continue to be operating both individually and collectively as various "departments",

   "bureaus'","divisions","sections","units","agencies", and "offices" of the so-called "STATE

   OF MICHIGAN"; but doing so as described above within a widespread DOMESTIC

   TERRORIST NETWORK causing harm not only to BENEFICIARY David Schied, but also

   to others "similarly situated'\

89. Those others "similarly situaterP^ include the populations of elderly, poor, and disabled

   sovereign People who are otherwise dependent upon the obligations of these STATE and

   NATIONAL agents for their survival, their sustenance, and the enforcement of their

   Rights to live without discrimination, without prejudice and bias, without fear of

   retaliation and reprisals, and otherwise as assertive whistleblowers and civil rights

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   advocates who are within their Rights to exercise their Life, Liberty, and Pursuit of

   Happiness by living freely in the ^^Least Restrictive Environmenf\ (Bold emphasis)

90. Relative to this instant case,the STATE and NATIONAL CO-TRUSTEES operate at primarily

   the secondary levels of criminal RICO activities, being the recipients of BENEFICIARY

   David Schied's numerous sworn and notarized STATEMENTS presented as'^'AFFIDAVITS"

   and formal CRIMINAL COMPLAINTS; while also operating primarily as the

   "ADMINISTRATIVE STATE' (aka the illicit and unconstitutional "Fourth Branch" of

   government) as thev work both ^^verticallv'" and ^^horizontallv^^ in both ^'wheeP^ and

   ^^chairE conspiracies engaging tas described above) in the circular pattern of

   COERCING both governmenttsl and populationfsl through documented affirmative'*^

   acts(including ^^nonactions^^ when there is otherwise the rational and appropriate ^'•duties

   to act") ofINSURRECTION and DOMESTIC TERRORISM.(Bold emphasis added)

91. The members of the STATE and NATIONAL CO-TRUSTEES are named herein below

   according to their "c/>c/g ofassociatiotT\ in no particular order; and generallv speaking,

   for the ^^piain statements''^ and ^^concise reasons'" presented alongside their names;

   a) (MICHIGAN) ATTORNEY GRIEVANCE COMMISSION (hereafter "AGC"1 - is

       an arm of the corrupt MICHIGAN SUPREME COURT responsible for honorably

       investigating complaints against STATE BAR OF MICHIGAN (crime syndicate and

       domestic terrorist) members. This CO-TRUSTEE, seen collectively also as corporate

       "Board" and "Commission" members, have an unpublished mission statement of

       sweepingly but effectively using their powers of"discretion" to shield from discipline all

       those of their members who comply with the political agendas of the (criminal kingpins)

       of the so-called "MICHIGAN SUPREME COURT'and other chain conspiracy and wheel

       conspiracy setups; which are imbued within the so-called "courts" of the STATE at its

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       various corrupt levels from local "'DISTRICT COURTS''' through its agents at the

       "CIRCUIT COURTS\ and "COURT OF APPEALS', which are best characterized

       under the light ofINSURRECTIONISM as actually operating within the STATE as

       a conglomerate oVCONTINUING FINANCIAL CRIMES ENTERPRISES'.

   b) Travis Reeds and the 52-1 DISTRICT COURT - see the description above pertaining

       to the AGC and its role with the so-called "courts" operating in the STATE OF

       MICHIGAN. Travis Reeds is also the principal judicial usurper and criminal kingpin

       responsible for railroaded court "proceedings" behind the pressured threats against

       BENEFICIARY'S life and property by forced ORDER OF EVICTION, giving cause for

       BENEFICIARY to flee to safety of his rented home in Michigan and become now a

       declared refugee seeking asylum in South Dakota. The 52-1 DISTRICT COURT was

       additionally the subject of an investigative news story completed by BENEFICIARY

       David Schied in 2017 with the aid ofa hidden camera to explain and show how the taxpayer

       supported building housing this so-called "STATE court" is really being operated by RICO

       as a "continuing financial crimes enterprise". That documentary, captioned as "#27 -

       Financial Crimes Enterprises Are Operating in the Courts of Novi in Oakland County.

       Michisan" (01:04:43 minutes) is still found as of the date of this instant filing on the

       Internet at the following URL:

       httDs;//www,voutube,com/watch?v=kkom6BP3LQ


   c) COUNCIL OF INSPECTORS GENERAL ON INTEGRITY AND EFFICIENCY -

       The principals and agents of this fiduciarv entity are being named herein by reason of its

       criminal gross negligence and malfeasance by affirmative refusal to enforce the laws

       and the administrative "official" published duties and mission governing the actions of

       NATIONAL level "Inspectors General";

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   d) Nina Witkofski and the CENTER FOR DISEASE CONTROL AND PREVENTION

      ("CDC")- The principals and agents of this fiduciary entity are being named herein by

       reason of its criminal gross negligence and malfeasance by affirmative refusal to

       enforce the laws and the ^^officiaP^ published duties and mission of this agency of the

       UNITED STATES, of enforcing the policies protecting vulnerable American

       populations against disease by joint refusal with other CO-TRUSTEES to arrest,

       prosecute, fine, and imprison blatant violators of the NATIONAL EVICTION

       MORATORIUM;(bold emphasis)

   e) UNITED STATES DEPARTMENT OF JUSTICE (hereafter "USDOJ") and its

       BUREAU OF FEDERAL INVESTIGATIONS (hereafter "FBI") and its OFFICE OF

       CIVIL RIGHTS("OCR")and CIVIL RIGHTS DIVISION -The principals and agents

       of this fiduciary entity are being named herein by reason of their collective criminal

       gross negligence and malfeasance by affirmative refusal to enforce the laws and the

       ''officiar DUTIES of this DEPARTMENT of the UNITED STATES, which otherwise

       compel the investigation of reported crimes and enforcing the laws and the policies

       protecting multiple segments of the American populations against named STATE and

       NATIONAL"RICO" crime syndicates and domestic terrorists. These CO-TRUSTEES-

       who are joined in principal and agents by William Barn Jeffrey Rosen. Merrick

       Garland,Eric Dreiband, Christopher Cole, Christopher Tarrant Michael Horowitz,

       Barbara McOuade,Terrence Berg, Stephen Murphy, Andrew Arena, and a host of

       other yet unnamed JOHN and JANE DOES-jointly refuse to arrest, prosecute,fine,

       and imprison Seditious and Treasonous violators of STATE constitutions, violators

       of the U.S. CONSTITUTION, and violators of ^^FederaP^ laws and the PUBLIC

       TRUST,even as the ALLEGATIONS present compelling EVIDENCE of attempted

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       murder, along with a plethora of other crimes, and their subsequent coverups, as

       alleged by this instant case;(Bold emphasis added)

   f) Ben Carson and the U.S. HOUSING AND URBAN DEVELOPMENT (hereafter

       "HUD")- The principals and agents of this fiduciary entity are being named herein by

       reason of their collective criminal gross negligence and malfeasance by affirmative

       refusal to enforce the laws and the '^qfficiar positions of this DEPARTMENT of the

       UNITED STATES in investigating ''^COMPLAINTS'^ and enforcing the policies in place

       otherwise meant to protect the American population against named STATE and

       NATIONAL "R/CO" crime syndicates and domestic terrorists. These CO-TRUSTEES

       operating under the "HUD" umbrella - in patterns and practices of conspiracy with other

       TRUSTEES ofthe STATE and UNITED STATES named herein minimally to include Rae

       Oliver Davis. David Montova. and others of the HUD OFFICE OF INSPECTOR

       GENERAL - jointly refuse to arrest, prosecute, fine, and imprison Seditious and

       Treasonous violators ofSTATE constitutions, violators ofthe U.S. CONSTITUTION,and

       violators of""Federal" laws and the PUBLIC TRUST;

   g) HUD OFFICE OF INSPECTOR GENERAL - for the same reasons as articulated in

       paragraph 91(f) above; and for discriminatingly and persistently refusing to provide

       "SECTION 8" or other forms of affirmative ADA assistance and accommodations to

       BENEFICIARY David Schied as a disabled "applicant" otherwise qualifying for a "high

       priority" level of standing for Housing Assistance. The HUD-OIG - as well as other OIG

       of other STATE and UNITED STATES DEPARTMENTS - have exhibited such

       DISCRIMINATORY and/or RETALIATORY refusals over the course of multiple years.

       Notably, if SECTION 8 or other forms of Housing Assistance and/or ADA "access" and

       "accommodations" had been provided before BENEFICIARY David Schied was

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       criminally evicted from his home in Michigan, BENEFICIARY otherwise would have

       likely been enabled to take immediate, independent, and voluntary leave of the unlawful

       eviction proceedings being unknowinslv and unlawfully implemented by these others

       operating as the LOCAL TRUSTEES;

   h) Christi Grimm, Seema Verma, the CENTER FOR MEDICARE AND MEDICAIP

       SERVICES, and the UNITED STATES DEPARTMENT OF HEALTH AND

       HUMAN SERVICES (hereafter "USDHHS")- for the same reasons as articulated in

       91(d) and (f) above as it pertains to investigating BENEFICIARY COMPLAINTS and

       enforcing the laws and the ''offlciar DUTIES of this DEPARTMENT of the UNITED

       STATES as they are related to MEDICARE ['TART B" PREMIUMS] SAVINGS

       PROGRAMS and"EXTRA HELP"PRESCRIPTION CPARTD")PROGRAMS,"FOOD

       assistance:',"emergency Cutility costs") RELIEF', and other forms of available

       and obligated forms of"human services relief at the STATE level.

       1) This includes BENEFICIARY COMPLAINTS ofimproper oversight offunding to the

           STATE OF MICHIGAN TRUSTEES as these STATE agents committing RICO

           crimes of WASTE, ABUSE, and FRAUD while working in a conspiracy with the

           MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS


           TRUSTEES to "deprive" BENEFICIARY David Schied - and others "similarly

           situated'-oftheir "Rights".

       2) Such COMPLAINTS are additionally inclusive of BENEFICIARY David Schied

           reporting illegal and unconstitutional "color of administrative law being used to

           criminally executing "legal acts in illegal manners^^ over a period of multiple years.

       3) More recently, this also includes affirmatively conspiring with the SOCIAL

           SECURITY ADMINISTRATION TRUSTEES, the U.S. DEPARTMENT OF

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           TREASURY TRUSTEES, as well as the MICHIGAN DEPARTMENT OF HEALTH

           AND HUMAN SERVICES TRUSTEES to rob BENEFICIARY David Schied of


           monthly '^Social Security" payments to pay for recently implemented MEDICARE"co-

          pay" costs while refusing to first provide - then refusing to process -

           BENEFICIARY'S '^application" for "cost assistance" at the STATE level through

           MEDICAID,in spite of BENEFICIARY David Schied otherwise qualifying for such

           cost assistance. The monthly deductions by the SOCIAL SECURITY

           ADMINISTRATION TRUSTEES from                    owed    and    rightful deposits to

           BENEFICIARY David Schied's banking account was one of the elements

           prohibiting BENEFICIARY from securing independent housing elsewhere by a

           wrongful deprivation of his only financial resource for self-sustenance and living

           in the ^Heast restrictive environment^,(Bold emphasis)

   i) CENTER FOR MEDICARE AND MEDICAID SERVICES (hereafter "CMS") of

       USDHHS - for the same reasons as articulated in 91(f and h) above relative to a

       "conspiracy to deprive of rights" using affirmative acts of unconstitutional - even

       "weaponized"-forms of"due process" that use procedure to undermine^ nullify - and

       otherwise render as void- legitimate forms of due process, which these "departments"

       and "agencies" otherwise have obligations to provide, and are PAID to provide, as

       TRUSTEES.


   j) Andrew Saul and the SOCIAL SECURITY ADMINISTRATION - for the same

       reasons as articulated in 91(h) and (i) above relative to a "conspiracy to deprive ofrights"

       using affirmative acts of unconstitutional-even "weaponized''-forms ofdue process that

       use procedure to undermine^ nullify-and otherwise render as void-legitimate forms




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      of due process these '"'"departments^' and ""agencies" have obligations to provide and are

     PAID to provide, as TRUSTEES.

      1) Further, the SSA trustees are working in a second criminal conspiracy along with the

         UNITED STATES DEPARTMENT OF EDUCATION TRUSTEES and the U.S.


         DEPARTMENT OF TREASURY TRUSTEES to saddle BENEFICIARY David

         Schied with well over $85,000 in student loan debt that has never been proven as

         actually owed when challenged over multiple years, even decades; and which is

         otherwise subject to debt discharge by BENEFICIARY David Schied having

         repeatedly proven that he is "totally and permanently disabled' in accordance with

         previous contract(s) of PROMISSORY NOTE(s) being grossly dishonored by the

         UNITED STATES TRUSTEES and causing HARM to BENEFICIARY David

         Schied's otherwise good credit; which in turn, is (again) prohibiting

         BENEFICIARY from securing independent housing elsewhere by a wrongful

         reporting to all MAJOR CREDIT BUREAUS who, as information TRUSTEES,

         are similarly engaged in the same ^^deprivation of rights" to BENEFICIARY

         ^^challenging and correcting" the inaccuracy of information being publicly

         disseminated by these MAJOR CREDIT BUREAUS,

  k) Betsy Devos and the UNITED STATES DEPARTMENT OF EDUCATION -for the

      same reasons as articulated in 29(j) above relative to a "conspiracy to deprive ofrights"

      along with the SOCIAL SECURITY ADMINISTRATION TRUSTEES, the U.S.

      DEPARTMENT OF TREASURY TRUSTEES,and the MAJOR CREDIT BUREAUS to

      saddle BENEFICIARY David Schied with well over $85,000 in student loan debt that is

      otherwise subject to debt discharge by BENEFICIARY having repeatedly proven that he

      is "totally andpermanently disabled'", which in turn, is prohibiting BENEFICIARY from

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       securing independent housing elsewhere in attempt to evade further ILLEGAL EVICTION

       proceedings.

   1) Steven Mnuchin and the UNITED STATES DEPARTMENT OF TREASURY — for

       the same reasons as articulated in 91(j-k) above relative to a conspiracy to deprive of

       rights'' along with the UNITED STATES DEPARTMENT OF EDUCATION

       TRUSTEES, the SOCIAL SECURITY ADMINISTRATION TRUSTEES, and the

       MAJOR CREDIT BUREAUS to saddle BENEFICIARY David Schied with well over

       $85,000 m.student loan debtihsiXis otherwise subject to debt discharge by BENEFICIARY

       having repeatedly proven that he is totally and permanently disabled', which in turn, is

       prohibiting BENEFICIARY from securing independent housing elsewhere in attempt to

       evade further ILLEGAL EVICTION proceedings,

   m)EDUCATIONAL CREDIT MANAGEMENT CORPORATION("ECMC")-for the

       same reasons as articulated in 91(j-l) above relative to a '''^conspiracy to deprive ofrights"

       along with the UNITED STATES DEPARTMENT OF EDUCATION TRUSTEES, the

       SOCIAL SECURITY ADMINISTRATION TRUSTEES, and the MAJOR CREDIT

       BUREAUS to saddle BENEFICIARY David Schied with well over $85,000 in student

       loan debt that is otherwise subject to debt discharge by BENEFICIARY having repeatedly

       proven that he is totally and permanently disabled', which in turn, is prohibiting

       BENEFICIARY from securing independent housing elsewhere in attempt to evade further

       ILLEGAL EVICTION proceedings,

   n) PENNSYLVANIA             HIGHER        EDUCATION          ASSISTANCE          AUTHORITY

       ("PHEAA") - As a quasi-governmental student loan originator, servicer, and debt

       collector, PHEAA also operates deceptively as the CORPORATE FICTION of

       "FEDLOANSERVICING". It is named herein for the same reasons as articulated in 91(j-

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       m)above relative to a ''conspiracy to deprive ofrights''' along with the UNITED STATES

       DEPARTMENT          OF    EDUCATION           TRUSTEES,   the   SOCIAL      SECURITY

       ADMINISTRATION TRUSTEES, and the MAJOR CREDIT BUREAUS to saddle

       BENEFICIARY David Schied with well over $85,000 in student loan debtthat is otherwise

       subject to debt discharge by BENEFICIARY having repeatedly proven that he is totally

       and permanently disabled', which in turn, is prohibiting BENEFICIARY from securing

       independent housing elsewhere in attempt to evade further ILLEGAL EVICTION

       proceedings.

   o) NELNET,INC.- OPERATES as student loan servicing TRUSTEES that, at the end of

       2020, was publicly touted as having lost its contract with the U.S. DEPARTMENT OF

       EDUCATION TRUSTEES for processing accounts of student loan debts. It is named

       herein for the same reasons as articulated in 91(j-n) above relative to a "conspiracy to

       deprive ofrights'' along with the UNITED STATES DEPARTMENT OF EDUCATION

       TRUSTEES, the SOCIAL SECURITY ADMINISTRATION TRUSTEES, and the

       MAJOR CREDIT BUREAUS to saddle BENEFICIARY David Schied with well over


       $85,000 in student loan debt that is otherwise subject to debt discharge by BENEFICIARY

       having repeatedly proven that he is totally and permanently disabled', which in turn, is

       prohibiting BENEFICIARY from securing independent housing elsewhere in attempt to

       evade further ILLEGAL EVICTION proceedings.

   p) TRANS UNION, LLC.- operates as credit information reporting TRUSTEES, and is

       named herein for the same reasons as articulated in 91(j-o)above relative to a"conspiracy

       to deprive ofrights'" along with the UNITED STATES DEPARTMENT OF EDUCATION

       TRUSTEES, the SOCIAL SECURITY ADMINISTRATION TRUSTEES, and the other

       MAJOR CREDIT BUREAUS to saddle BENEFICIARY David Schied with well over


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      $85,000 in student loan debt that is otherwise subject to debt discharge by BENEFICIARY

      having repeatedly proven that he is totally and permanently disabled^ which in turn, is

      prohibiting BENEFICIARY from securing independent housing elsewhere in attempt to

      evade further ILLEGAL EVICTION proceedings.

  q) EOUIFAX INFORMATION SERVICES, LLC. - operates as credit information

      reporting TRUSTEES,and is named herein for the same reasons as articulated in 91(j-p)

      above relative to a ^'conspiracy to deprive of rights'^ along with the UNITED STATES

      DEPARTMENT          OF    EDUCATION           TRUSTEES,   the   SOCIAL     SECURITY

      ADMINISTRATION TRUSTEES,and the other MAJOR CREDIT BUREAUS to saddle

      BENEFICIARY David Schied with well over $85,000 in student loan debt that is otherwise

      subject to debt discharge by BENEFICIARY having repeatedly proven that he is totally

      and permanently disabled^ which in turn, is prohibiting BENEFICIARY from securing

      independent housing elsewhere in attempt to evade further ILLEGAL EVICTION

      proceedings.

  r) EXPERIAN INFORMATION SOLUTIONS. INC. - operates as credit information

      reporting TRUSTEES,and is named herein for the same reasons as articulated in 91(j-q)

      above relative to a "conspiracy to deprive of rights" along with the UNITED STATES

      DEPARTMENT          OF    EDUCATION           TRUSTEES,   the   SOCIAL     SECURITY

      ADMINISTRATION TRUSTEES,and the other MAJOR CREDIT BUREAUS to saddle

      BENEFICIARY David Schied with well over $85,000 in student loan debtXhsit is otherwise

      subject to debt discharge by BENEFICIARY having repeatedly proven that he is totally

      and permanently disabled; which in turn, is prohibiting BENEFICIARY from securing

      independent housing elsewhere in attempt to evade further ILLEGAL EVICTION

      proceedings.

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  s) TRUSTEE former U.S. PRESIDENT Donald Trump as well as other fiduciary co-

      trustees ofthe UNITED STATES CONGRESS and the U.S.SENATE have all been fully

      apprised in writing on numerous occasions and still affirmatively acted in gross negligence

      and   malfeasance     in   allowing    this    overwhelming   EVIDENCE        of STATE

      INSURRECTION, RICO ENTERPRISES, and DOMESTIC TERRORIST NETWORKS

      to flourish unabated within the metes and bounds of the UNITED STATES; therefore the

      TRUSTEE PRESIDENT and TRUSTEE UNITED STATES are also named here in this

      lawsuit categorically as members of the '''STATE AND NATIONAL TRUSTEES".

  t) Sonny Purdue(Commissioner),Devon Westhill and Roberto Contreras(of the CIVIL

      RIGHTS       DIVISIONI,      and    the    UNITED     STATES      DEPARTMENT           OF


      AGRICULTURE-for the same reasons as articulated in 91(f and h-m) above relative to

      a "conspiracy to deprive of rights" using affirmative acts of unconstitutional - even

      "weaponized"-forms of"due process" that use procedure to undermine, nullify - and

      otherwise render as void-legitimate forms of due process, which these "departments"

      and "agencies" otherwise have obligations to provide, and are PAID to provide, as

      TRUSTEES. The TRUSTEES of "USDA" have oversight of FOOD BENEFITS

      PROGRAMS distributed by the STATE LEVEL TRUSTEES, and their joint refusals to

      arrest, prosecute, fine, and imprison Seditious and Treasonous violators of STATE

      constitutions, violators of the U.S. CONSTITUTION,and violators of"Federal" laws, is

      prohibiting BENEFICIARY from securing independent housing elsewhere in attempt to

      evade further ILLEGAL EVICTION proceedings because he is having to use what monthly

      deposits he receives from the SSA TRUSTEES to instead pay necessarily for food that he

      is otherwise entitled to receive as paid for through his eligibility for"FOOD BENEFITS"

      from the STATE TRUSTEES.


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92. Notably, members of the UNITED STATES DEPARTMENT OF JUSTICE as

   TRUSTEES - inclusive of those members employed as operatives and agents of the

   FEDERAL BUREAU OF INVESTIGATIONS("FBI")TRUSTEES have been named in

   sworn and notarized AFFIDAVITS and CRIMINAL COMPLAINTS as ^Uhe Accused'^ -

   in the ATTEMPTED MURDER of BENEFICIARY David Schied. with ''secondary''

   levels of "cover-ups" by associates at the FBI and the USDOJ running interference as

   "Accessories After the Fact" and in FELONY "obstruction ofjustice" of FREEDOM OF

   INFORMATION ACT inquiries and demands submitted during Common Law

   investigations when the TRUSTEES of the FBI and USDOJ have affirmatively refused -

   repeatedlv - to execute their Duties to investigate these reports of crimes in such similar

   fashion that they have openly and summarily refused more recently to investigate

   widespread allegations across America regarding ELECTION FRAUD after 11/3/20, in

   spite of the plethora of EVIDENCE supporting those assertions.(Bold emphasis added)

93. Eugene Scalia and the UNITED STATES DEPARTMENT OF LABOR — for the same


   reasons as articulated in 91(f and h-m) above relative to a "conspiracy to deprive ofrights'"

   using affirmative acts of unconstitutional- even "weaponized"-forms of"due process" that

   use procedure to undermine, nullify- and otherwise render as void-legitimate forms of

   due process, which these"departments" and "agencies" otherwise have obligations to provide,

   and are PAID to provide, as TRUSTEES. The USDOL,is responsible for oversight of STATE

   rehabilitation programs to the disabled; and when notified that the TRUSTEES MICHIGAN

   DEPARTMENT OF LABOR was persistently denying BENEFICIARY rehabilitation services

   at his appropriate level of educational qualification, the USDOL simply acquiesced without


^ It is to be noted here that "The Accused" involved in the alleged ATTEMPTED MURDER also
includes varied officers and agents - some known and others unknown - of yet other "QUASI-
GOVERNMENTAL" and/or "FOR PROFIT'CO-TRUSTEES operating as DTE ENERGY.
                                                52
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   further comment and in tacit agreement with' the STATE TRUSTEES' criminal GROSS

   NEGLIGENCE and MALFEASANCE,compounding the problem for BENEFICIARY.

94. Sally Talberg and the MICHIGAN PUBLIC SERVICE COMMISSION -These two CO-

   TRUSTEES - along with others named both above and below as Jerry Labut Bill Schuette.

   Beyerly Buritz. and PTE ENERGY-were all instrumentally involved in a well-documented

   and audio-RECORDED series of domestic terrorist acts in an initial concerted effort in

   November 2017 to force BENEFICIARY (as other renters and homeowners) using ''AMI

   METER'' replacement as their widespread instrumental remedy (i.e., not unlike governments

   using the Coronavirus pandemic as their unconstitutional ploy for shutting down private

   businesses and fleecing taxpayer funding for various legislative "porl^' and "slush funds" as

   solutions) and means for criminally targeting BENEFICIARY the first time as he lived

   peacefully in his rented home in Novi, Michigan. This is yet another story for which

   BENEFICIARY used his firsthand experience and RECORDED EVIDENCE to produce a

   video documentary proving insurrectionism and domestic terrorism under criminal coverup as

   "accessories after the facf\ and with the "aiding-and-abetting" of these and other CO-

   TRUSTEES operating as the so-called "STATE OF MICHIGAN". The URL link for that two

   (2)hour video documentary is currently captioned "RICO Busters #22 - Detroit Thomas Edison

   (PTE) domestic terrorists"(1 hr. 58 min.) located below where it has been since 2017:

   https;//www.youtube.com/watch?y=uOncdSeglXk

95. NOTE:As BENEFICIARY was informed directly as he lay helpless in a hospital room without

   legs and fingers - by information provided directly by CO-TRUSTEES Christopher Tarrant

   and Christopher Cole who had tried to force their way into BENEFICIARY'S home just before

   the ATTEMPTED MURDER, and who subsequently interrogated BENEFICIARY in his

   hospital room in violation of his FIFTH AMENDMENT constitutional guarantees - this

                                                53
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   ^^DTE ENERGT^ terrorist event was the immediate precursor to the CO-TRUSTEES of

   the FBI and the USDOJ becoming also involved in the ATTEMPTED MURDER of

   TRUSTEE in the immediate aftermath of completing his two-hour video documentary

   captioned as above with the accompanying link where this video can still be found on the

   Internet as of the date of this instant case filing.(Bold emphasis added)

96. MICHIGAN DEPARTMENT OF ENVIRONMENT. GREAT LAKES AND ENERGY

   (hereafter "MICHIGAN DEO"')- This STATE-level TRUSTEE is being named because, in

   spite of its agents having been fully apprised in writing about the criminal activities playing

   out in the ^^land development dear involving the eviction of BENEFICIARY David Schied

   and also involving a suspected illegal plan to steal a third property with PROTECTED

   WETLANDS for ^''peanuts'" and fill it in with trucked in dirt while the TRUSTEES ofthe CITY

   OF NOVI look the other way by profiteering, the MICHIGAN DEQ still affirmatively acted

   in gross negligence and malfeasance in allowing this overwhelming EVIDENCE of STATE

   INSURRECTION, RICO ENTERPRISES, and DOMESTIC TERRORIST NETWORKS to

   flourish unabated within the metes and bounds of the STATE OF MICHIGAN and the


   UNITED STATES.




                    THE''QUASI-GOVERNMENTCORPORATIONS' AND
         'NONGOVERNMENTAL ORGANIZATIONS'as CORPORATE TRUSTEES
                 LICENSED by both STATE and NATIONAL "Governments"

97. The"OUASI-GOVERNMENTCORPORATJONSr'NONPROFIT'and "FOR PROFIT'


   CORPORATE TRUSTEES that are licensed bv both STATE and NATIONAL

   ''sovernments^^ are involved with the malicious and tortuous"deprivation ofrights under color

   of law", executed against BENEFICIARY David Schied in both DISCRIMINATORY and

   RETALIATORY fashion because of his past and present political stand as an outspoken

                                               54
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   Common Law and Constitutional advocate; and against BENEFICIARY David Schied because

   of his demonstrated leadership in proactive self-advocacy and whistleblowing against STATE-

   level RICO activities, particularly as these criminal activities involve STATE BAR OF

   MICHIGAN crime syndicate and domestic terrorist network members associated with all of

   the other CO-TRUSTEES.


98. The members of the''OUASI-GOVERNMENT CORPORATIONS:'''NONPROFIT'and

   "■FQjR PROFIV CORPORATE TRUSTEES are named again here as follows:


       A) CHARTER COUNTY OF WAYNE - This is ''Ground Zero'' in the EDM as setting

           for the documentary film, " White Boy", which is still under the "DEEP STA TE" control

           of bigoted "white men" haters still operating widespread "Operation Greylord-style"

           crime syndicates and domestic terrorist network throughout government offices that

           are also heavily involved in "Black-on-BlaclC crimes. Five of those principals still

           formally unnamed in this case but to be included as JOHN AND JANE DOES

           include: Kvm Worthy (still in office as "WAYNE COUNTYPROSECUTOR" who was

           spotlighted in the documentary about "White Boy RicJ^'), Robert Gonzales (Worthy's

           criminal "assistant"), Virgil Smith, Sr. (former legislator who slithered through the

           "revolving door" from the MICHIGAN LEGISLATURE to become "chief judge" of

           the "WAYNE COUNTY CIRCUIT COURT' before being replaced by another judicial

           usurper...), Robert Columbo (Smith's replacement as             judicial usurper), and

           the WAYNE COUNTY CORPORATION COUNCIL, for starters.

       B) Kevin Skullv. in his private and public capacities as a member of the CO-TRUSTEES

           of STATE BAR OF MICHIGAN and acting as an "ADMINISTRASTIVE LAW

           JUDGE' (hereafter "ALJ") for the MICHIGAN DEPARTMENT OF LARA and

           the MDHHS - Skully was the most recent of numerous ALJ under fraudulent employ

                                                55
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         by the MDHHS / LARA consortium ofracketeers covering up domestic terrorism along

          with former MDHHS "directors" Nick Lyons(who was indicted and being prosecuted

         for   the   FLINT     WATER       CRISIS) and      Robert    Gordon (an      OBAMA

          ADMINISTRATION key player who suddenly resigned in earlier this year in February

         2021 without stating reason) who have not been held accountable for the widespread

         financial crimes committed against the People ofthe State ofMichigan,and particularly

          committing a documented ten year (10 years) history of other documented felony

          crimes against the poor, the elderly, and the disabled in Michigan.

      C) Tom Masseau and others vet unnamed of the NATIONAL DISABILITY RIGHTS

          NETWORK-are named herein because they comprise an interconnected RICO crime

          syndicates and domestic terrorist networks of people offering specific services to the

         {"Elderiy\ the ''Poor" and) "Disabled" Communities who, when approached by

          BENEFICIARY David Schied in request for ADA access and accommodations aligned

          with publicly promoted mission statements oftheir CORPORATE personas,responded

          back against BENEFICIARY in both DISCRIMINATORY and criminally

          FRAUDULENT manners to deny BENEFICIARY "access" to specifically earmarked

          federal funding for which he was otherwise qualified to receive.

      D) Robin Jones, Peter Berg, and the GREAT LAKES ADA CENTER at the

          UNIVERSITY OF ILLINOIS' INSTITUTE ON DISABILITY AND HUMAN


          DEVELOPMENT-are named herein because they comprise an interconnected RICO

          crime syndicates and domestic terrorist networks of people offering specific services

         to the (^'Elderly"^ the "Poor" and)"Disabled" Communities who, when approached by

          BENEFICIARY David Schied in request for ADA access and accommodations aligned




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           with publicly promoted mission statements oftheir CORPORATE personas, responded

           back against BENEFICIARY in DISCRIMINATORY manners.

       E) Susan Fitzmaurice, Lora FrankeK and Christopher Fitzmaurice as named in both

           their private capacities and in their public capacities as CORPORATE entity Founders

           and   Executive    Officers, with    their alter-egos such   as "IDEAAS-SUSAN

           FITZMAURICE", "TEDDY'S Ts AND BUTTONS", and "VSA MICHIGAN: THE

           STATE ARTS ORGANIZATION AND DISABILITY" that are licensed - according

           to information and belief- under the umbrella as franchises of the thoroughly corrupt

           "7?/CO" ENTERPRISES comprising the so-called ''STATE OF MICHIGAN"' as

           government TRUSTEES.

       F) TACTICAL RABBIT - which, although publicly promotes itself as an international

           "PRIVATE INTELLIGENCE AGENCY",consists -according to information and belief

           - of "intelligence" TRUSTEES licensed to do business locally in the EASTERN

           DISTRICT OF MICHIGAN as well as other locations within the STATES and across


           the international globe.


           i tacticalrabbit.com


            Private Intelligence Agency
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99. TRUSTEE Everett Stern, principal at TACTICAL RABBIT, personally solicited

    BENEFICIARY                  David        Schied        for      ^'"verifiable^''   information   that   supported

    beneficiary's public assertions that the MICHIGAN DEPARTMENT OF HEALTH

    AND HUMAN SERVICES TRUSTEES - headed in 2018 (to the present) by STATE BAR

    OF MICHIGAN CRIME SYNDICATE member Robert Gordon - was engaged in a past

    decade ofsystemic FRAUD by the STATE OF MICHIGAN TRUSTEES,causing incalculable

    damages against the populations of sovereign People consisting of the poor, the elderly, and

    the disabled, by these '"government actors'' as actual STATE insurrectionists and domestic

    terrorists.



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       .       0

[$10,000 RWD)The
(MOHHSi has been cited for                S pcten^ai #aud agamstlekjed^
patiente. if you nave venhabse mfo detailing such activity h) MPtHS. we're
offering $10K regard (!ink. hitp ';b\\ iv2Y6!^bC3j bf ly'2V6HbC3 ^fieg-eci




                                   SIMiflflnHjnD BlSliil



100.     TRUSTEE TACTICAL RABBIT is being named herein because BENEFICIARY

    David Schied responded to Everett Stern's both public and private solicitations for such

    verifiable information under promise of a $10.000 REWARD. Subsequently, upon

    BENEFICIARY providing the requested ^"veriftable^^ Information and establishing his
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   CLAIM upon the $10,000 REWARD, Everett Stern withdrew his offer unlawfully,

   refusing to surrender the $10,000 REWARD payment. BENEFICIARY herein asserts

   that, had Everett Stern honored his own broad terms for compensatory ^^rewarrT^ for the

   verifiable information      he solicited    from      BENEFICIARY      David    Schied, that

   BENEFICIARY would otherwise have a cash amount that would allow him to act


   independently as a totally and permanently disabled quad-amputee in securing housing

   elsewhere in the attempt to evade the furtherance of criminal LIFE AND DEATH

   eviction proceedings. (Bold and/or underlined emphasis added)

101.   Richard Fairbank and CAPITAL ONE FINANCIAL CORPORATION - are being

   named herein because during a December 2019 phone call being RECORDED by unknown

   and unnamed principals and agents of CO-TRUSTEES CAPITAL ONE FINANCIAL

   CORPORATION^ BENEFICIARY informed an argumentative and uncooperative agent

   ''"CAPITAL ONE'agent that he had RECORDED evidence of his own from a previous phone

   conversation with another CAPITAL ONE agent to validate his claims against a former agent

   that had added charges back to a bill after BENEFICIARY had paid the balance in full on the

   account by a previous agreement. This unreasonable CAPITAL ONE agent admitted that

   although CO-TRUSTEES indeed have a policy ofrecording all incoming calls and an outgoing

   recording at the onset of all calls stating "this call may be monitored or recorded.. that this

   TRUSTEES' agent also repeatedly asserted a correlating policv of TRUSTEES "CAPITAL

   ONE" which discriminatinglv held that BENEFICIARY clients may NOT record calls


   with TRUSTEE CAPITAL ONE agents, even if the BENEFICIARY clients are totally


   disabled and have no other way to take notes.(Bold and underlined emphasis added)

102.   These acts by Richard Fairbank and CAPITAL ONE FINANCIAL CORPORATION,

   along with other FRAUDULENT acts committed by Richard Fairbank and his agents -

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   extending these ADA and criminal violations into August 2020 - in response to

   BENEFICIARY requesting to reasonably settle this Civil Rights matter out of court, are still

   unresolved and resulted in BENEFICIARY David Schied losing use of his only credit card

   and line of credit altogether, in snite of his having paid the balance in full bv agreement

   from TRUSTEES to end any controversy about the matter being resolved with the tire

   vendor months prior. The DISCRIMINATORY and RETALIATORY actions by these

                  CO-TRUSTEES not only damaged BENEFICIARY'S credit integrity, but

   also prevented BENEFICIARY from being able to use his otherwise excellent track

   record of timely payments and credit history with TRUSTEES ^^CAPITAL ONEP^ many

   months later, so to evade Ava Ortner and her associates member TRUSTEES unlawful

   ^Hand develovment deaP negotiations that included Beneficiarv's         eviction*'* during a

   ''Federar CDC EVICTION MORATOTIM as part of that land contract and

   development deal. (Bold emphasis added)

103.   The members of these above-listed ''QUASI-GOVERNMENTAL;' and "NON

   GOVERNMENTAL ORGANIZATIONS" as CO-TRUSTEES are named herein because they

   comprise interconnected RICO crime syndicates and domestic terrorist networks of people

   offering specific services to other certain vovulations of the "Elderly"^ the "Poor" and the

   "Disabled" Communities; who, when approached by (elderly, poor and disabled)

   BENEFICIARY David Schied in request for ADA access and accommodations aligned with

   publicly promoted mission statements of their CORPORATE personas, responded back

   against BENEFICIARY in both DISCRIMINATORY and RETALIATORY manners.

104.   The documentation of all the CLAIMS against the discriminatory, retaliatory, and

   criminal "predicate[RICO]acts" of all of these three (3) categories of CO-TRUSTEES

   were repeatedly placed into writing as sworn and notarized statements in AFFIDAVITS

                                              60
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   and CRIMINAL COMPLAINTS as submitted to ^'higher levels^^ of administrative

   oversight only to again result in added documentation of the breadth and depth of

   corrupted administrative'^ mishandlings and the COERCION of both government and

   the noDulations of sovereign People through '^weaponizetP^ due process, and these

   '•''secondary-levels^^ - of RICO activities, and even higher          exhausting''' levels of

   demonstrated INSURRECTION vmd DOMESTIC TERRORISM.

105.   In light of the above written ^'summary" descriptions, it should suffice to assert - in the

   spirit of practical expediency -      that the above reasonably described three primary

   categorizations of the CO-TRUSTEES, which adequately informs the TRUSTEES members

   of the general reasons for their being named herein and SUMMONED to appear before this

   ARTICLE III'EederaF COURT OF RECORD.


106.   The specific FACTS about each individual member of the above-referenced TRUSTEES

   are to be exposed through due process of ^'DISCOVERT' in accordance with the law. For

   purposes of this instant filing of ORIGINAL COMPLAINT, the following set of FACTS

   should compliment the fact that the available EVIDENCE suggests that each ofthe members

   ofthese TRUSTEES should already be familiar with the allegations herein as they had already

   been placed properly         notice" - multiple times and in multiple ways - about these


^ A common law term describing these successively higher levels of administrative authority is
^'respondeat superior", which was established in seventeenth- century England to define the legal
liability of an employer for the actions of an employee. The doctrine was adopted in the United
States and has been a fixture of agency law. It provides a better chance for an injured party to
actually recover damages,because under respondeat superior the employer is liable for the injuries
caused by an employee who is working within the scope of his employment relationship. The legal
relationship between an employer and an employee is called agency. The employer is called
the principal when engaging someone to act for him. The person who does the work for the
employer is called the agent. The theory behind respondeat superior is that the principal controls
the agent's behavior and must then assume some responsibility for the agent's actions. NOTE:
The terms ^^principaF and ^^agent" are words that may appear frequently throughout this
text. When they appear, it is likely to be in the same context and meaning as explained here
as this '•'•respondeat superior" type of liability relationship.(Bold emphasis)
                                               61
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   allegations by EVIDENCE of previous various levels of written COMPLAINTS,appeals, and

   even sworn, notarized CRIMINAL COMPLAINTS that will be presented during the

   "'Discovery'^ phase ofthese ''due process'' proceedings.



                                  STATEMENT OF FACTS


107.   BENEFICIARY David Schied herein states the following as sufficient to establish proper

   "standing" in this civil action; and likewise sufficient to notify the CO-TRUSTEES, with

   reasonable specificity, the reasons for their being SUMMONED to respond to the various

   CLAIMS of offenses and their associated list ofliabilities to BENEFICIARY in damages.

108.   BENEFICIARY David Schied reiterates paragraphs 1-106 above as if written herein

   verbatim insofar as these paragraphs provide reasonable explanations for naming each of the

   member CO-TRUSTEES and providing generalized explanations for their categorical

   inclusion in tliis instant lawsuit by way of allegations against their affirmative acts of

   discrimination, retaliation, RICO crimes, insurrection, and domestic terrorism.

109.   As a certified "disabled' American, this "Federal" Court and all ''''officers ofthe Court"

   and other government officials are required by law to provide "reasonable

   accommodations" to BENEFICIARY in accepting the following "form" of effective

   communication most comfortable, familiar, and available to him, which combines

   graphics and words for the most effective means of BENEFICIARY David Schied to

   independently communicate the basis of his CLAIMS while remaining as true as possible

   to the specific "Rules" for presenting cases "digitally" or"on paper" to this ARTICLE III

   "Court ofRecord^.(Bold and underlined emphasis added)




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              General Overview of the FIRST Most Relevant YEAR of FACTS
                          and Available Supporting EVIDENCE

110.   BENEFICIARY David Schied was rendered a ^'totally and permanently disabled quad-

   amputee'' on or about 5/5/18 after entering the hospital on or about 3/25/18 in a near state of

   physical and mental incapacitation. Throughout that two-month period, BENEFICIARY

   David Schied escaped death only through Divine Intervention and doctors amputating both

   legs and seven fingers by surgical removal as a last possible resort. (Photos below are post-

   amputations.)




111.   The suspected cause of the disease has been medically ruled as biological, the cause of the

    amputations being the result of secondary complications to the disease of ^'sepsis''.

112.   The primary cause of the disease cannot specifically rule out any links to the FACT that in

    the preceding very few days before being deadly stricken, third party forensic records showed

    EVIDENCE that members of TRUSTEE ''STATE OF MICHIGAE''' had been "trolling'' the

    Internet for information about BENEFICIARY David Schied. Additionally, photographic and

    other records hold compelling EVIDENCE that the CO-TRUSTEES FBI and USDOJ
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   attempted to force their way into BENEFICIARYS home through locked entry doorways,

   while telephoning BENEFICIARY with verbal threats and demanding entry into the home

   without presenting any form oflegal cause or written''warranf. The two FBI/USDOJ member

   TRUSTEES have been since identified as''Task Force Officer' Christopher Cole and "Special

   Agent" Christopher Tarrant.

                                                                               There Is
                                                                               another entiy
                                         Also,on                               door het^.

                                      March 20,2018
                                     FBI ""home visif
                                            shows:


                                   a)Setup for
                                     surprise attack;
                                                                    mm
                                   b)Attempted timed              mmmrn

                                      forced entrv-^^

                                    Tarrant is the one
                                    at the door. Cole
                                    lavs back in wait.


113.   Around two months in late May 2018, as BENEFICIARY David Schied lay incapacitated

   in a hospital bed alone and on a cocktail of pain medications, TRUSTEES Cole and Tarrant

    entered the hospital room and forcibly interrogated BENEFICIARY for about an hour without

    providing him the opportunity to seek legal counsel, while probing him with questions and

    demanding answers in an attempt to link him with - or label him as - a member of suspected

    domestic terrorist groups. These unconstitutional acts in violation against the FIFTH

    AMENDMENT were purportedly carried out because BENEFICIARY had produced and

    published 2-hours of documentary video spotlighting agents of DTE ENERGY as engaging in
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   domestic terrorism activities. The video also presented EVIDENCE that BENEFICIARY

   David Schied had promptly and properly filed numerous CRIMINAL COMPLAINTS in

   multiple jurisdictions while referencing the same evidence as presented in the 2-hour video.




                                        Tarrant cased nut the


                                        frustratwn while Cole
                                         checked the side of the
                                         house.




                                         and th reats fo me to
                                         open the door
                                         them come In*
                                         home.




114.    Hospital records from this period also reveal that the TRUSTEES member ''STATE OF

   MICHIGAN''' - namely their agents operating as the MICHIGAN DEPARTMENT OF

   HEALTH AND HUMAN SERVICES ("MDHHS") CO-TRUSTEES - were affirmatively

   acting in gross negligence and malfeasance in disregarding many weeks of "emergency

   requests for authorizations'' by doctors and hospital staff in providing life-saving medical

   treatment to BENEFICIARY David Schied, which were altogether unanswered by the

   purported STATE agents of the CO-TRUSTEES' insurers.
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115.   In the months - even years - that followed to the very present, BENEFICIARY David

   Schied meticulously documented the discriminatory and retaliatory treatment that he

   received from the MDHHS TRUSTEES, from its ''appellate'' sister agency of the

   (MICHIGAN DEPARTMENT OF) LICENSING & REGULATORY AFFAIRS ("LARA")

   TRUSTEES.That documentation substantially proves that these TRUSTEES persistently used

   criminal tactics for "weaponizing" due process and prejudicially denying BENEFICIARY

   services otherwise owed to him as a new "quad-amputee" who had been first requesting, then

   demanding, assistance in accessing, accommodations, and equal treatment in fulfilling his

   daily needs for STATE services as an unemployed indigent "citizen" dependent upon a legally

   obligated but unresponsive,       unaccountable, and nontransparent form of FOREIGN

   governance.


116.   During this period of trauma recovery, BENEFICIARY had no time to secure "grief

   counseling" or Employment Rehabilitation Services because he was thrown into a perpetual

   state oi"survivalist" need by the criminal acts committed by TRUSTEES' various members

   collectively named herein as the STATE OFM/C/f/G^TV TRUSTEES.

117.   One example of the above with the CO-TRUSTEES of the STATE OF MICHIGAN was

   whereby BENEFICIARY David Schied submitted a FREEDOM OF INFORMATION ACT

   "requestfor documents" to LARA TRUSTEES at the end of December 2018 to gain some

   insight about the ADMINISTRATIVE CODES being used against him when filing numerous

   "administrative appeals". In response, LARA TRUSTEES turned around and charged an

   UNCONSTITUTIONALLY EXCESSIVE FEE OF $1.5 MILLION for gaining

   knowledge of what his administrative adversaries were clearly weaponizim against him

   as an unfair advantage during '^appear proceedings. As shown below, on the next page by

   graphic representation (i.e.,"a picture is worth a thousand words"), the TRUSTEES' actions

                                                66
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     to keep BENEFICIARY David Schied from even becoming ^'self-sufficient in even knowing

     about and addressing the "policies and procedures'^ being used against him, were a gross

     constitutional violation according the SCOTUS' February 2019 case ruling in TIMES v.

     INDIANA.




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Yaiejafflifaib!*

1 continue to assert thatthe S1.5 MILLION used to prevent mefrom getting access to the
specific written policies being used        me at the time was an unconstitutional
violation of the ^OTUS ruling in ti February 2019 case of'"TIMBS K INDIANA".
 fOTE:I am lookii^ specifically for YOUR answer to ray criminal allegations and NOT
to the F0L4 aspects of the letter dated 12/19/19.

  118.    Notably, the MICHIGAN DEPARTMENT of LARA TRUSTEES under the leadership of

      TRUSTEE "Governor" Gretchen Whitmer's appointed "Director" Orlene Hawks, was the

      TRUSTEES' mishandling of up to twenty-two (22) "administrative appeals" filed by

      BENEFICIARY David Schied; while TRUSTEES LARA and their "administrative judges"

      admittedly were acting on the behalves of the TRUSTEES MICHIGAN DEPARTMENT OF



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   HEALTH AND HUMAN SERVICES ("MDHHS"), acting under the leadership of Gov.

   Gretchen Whitmer appointed ^""Director'' Robert Gordon.

119.   Throughout the following first year from the time BENEFICIARY first entered the hospital

   and through early 2019, BENEFICIARY was filing ''^administrative appeals'''' and sending

   other detailed letters and filing CRIMINAL COMPLAINTS with the TRUSTEES

   MICHIGAN "governor" Gretchen Whitmer and "attorney general" Dana Nessel,the MDHHS

   and LARA "directors"(i.e., TRUSTEES Robert Gordon and Orlene Hawks respectively), and

   with the "MICHIGAN PROTECTION AND ADVOCACY SERVICE' TRUSTEES as a

   taxpayer-funded nonprofit CORPORATION connected with TRUSTEES "NATIONAL

   DISABILITY RIGHTS NETWORK!'and its "president", TRUSTEE Tom Masseau.^

120.    Over the course of this first year time frame, BENEFICIARY David Schied continued to

   meticulously document his "survival" actions and the oppositional criminal acts perpetrated

   against him by the affirmative acts of the TRUSTEES operating as the "STATE OF

   MICHIGAN' in RICO conspiracy to deprive of rights (under color of administrative laws,

   policies, rules, and procedures); while additionally documenting the TRUSTEES billing

   BENEFICIARY excessively in FOIA processing costs rising to the amount over $1.5

    MILLION.




^ Note that there were numerous other NONPROFIT agencies and STATE OF MICHIGAN
TRUSTEES contacted and solicited by BENEFICIARY David Schied for help in getting
representative assistance from CORPORATE licensees of the TRUSTEES STATE OF
MICHIGAN,conducted in recorded phone conversations since BENEFICIARY had all but one
{"pinky") finger surgically amputated and could not write with paper and pen or pencil to take
standard notes. Those recordings have been archived and are still available in EVIDENCE today.
Such other NONPROFIT agencies and STATE OF MICHIGAN TRUSTEES contacted in 2018
through 2019 were the AREA AGENCY ON AGING in ANN ARBOR, the DISABILITY
NETWORK of OAKLAND AND MACOMB COUNTIES, the ANN ARBOR CENTER FOR
INDEPENDENT LIVING, the AMERICAN FREEDOM LAW CENTER. MICHIGAN
REHABILITATION SERVICES and, of course, the TRUSTEES named in this instant
"ORIGINAL COMPLAINT'.
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121.   Additionally, BENEFICIARY uncovered public notices and an ^'Open Letter to the

   MICHIGAN Governor written by a purportedly renown ^'Federal financial crimes

   whistlebloweC residing in WASHINGTON,D.C., having CO-TRUSTEES in DETROIT and

   making known that criminal tactics such as what BENEFICIARY David Schied was

   experiencing with the MDHHS TRUSTEES had been happening to many other "'populations''

   of"poo/-, elderly, and disabled'- in RICO fashion and to the detriment of personal safety and

   "ERE" {"Least Restrictive Environment") independence of these populations - which had

    been going on for the previous TEN (10)YEARS.(Bold emphasis)




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122.    BENEFICIARY David Schied also responded to a public posting by the ^''Tactical Rabbit

   whistleblowef\ TRUSTEE Everett Stem, offering a $10,000 REWARD for "'verifiable

   information detailing FRAUD against elderly patients by the MDHHS", only to be deprived

   of that reward once having provided the information directly to the requestor, to Everett Stem

   himself, through well-documented email communications readily available to this instant case

   as EVIDENCE for ""Discover^'.




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            General Overview of the SECOND Most Relevant YEAR of FACTS
                           and Available Supporting EVIDENCE:

123.   From the beginning of the new administration of the Governor and Attorney General for

   the TRUSTEES ''STATE OF MICHIGAN"' in January 2019 through early Summer 2019,

   BENEFICIARY David Schied continued to meticulously document the numerous varieties and

   occurring "counts" of RICO crimes being perpetrated both in ongoing new "predicate" level

   activities and "cover-up" activities at the "secondary" levels of this illegitimate STATE

   "government". Many ofthose crimes were associated with the two-tiered "appellate" activities

   whereby "weaponized due process" was implemented by "administrative law judges" acting

   under employ of TRUSTEE LARA Director Orlene Hawks, but acting literally on the behalf

   of TRUSTEE MDHHS Director Robert Gordon.               A portion of these crimes were

   RECORDED in both open audio and hidden camera video recordings - showing CO-

   TRUSTEES committing criminal acts characterized as violations of both the MICHIGAN and

   UNITED STATES constitutions, and violations of MICHIGAN'S PENAL CODE. One such

   example was a case BENEFICIARY had brought before a "licensed" STATE BAR OF

    MICHIGAN crime syndicate member, Kevin Skully, named herein as a member of the

    STATE LEVEL ofthese TRUSTEES.{See the graphic photo ofSkully on the next page below

    as a frame from the hidden video camera BENEFICIARY had brought into that meeting along

    with his nextdoor neighbor as his transportation driver and criminal WITNESS.)




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124.    The above graphic elements were first captured from the hidden camera video then

    embedded in numerous                  of FIRST AMENDMENT ^'Redress of Grievances'^

    submitted to the "'predicate'''' level of RICO criminal TRUSTEES at the level of STATE and

    NATIONAL levels of "appellate" administrative review where these Redresses were

    affirmatively and repeatedly stopped in their tracks by CO-TRUSTEES acquiescing to (i.e.,
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   again by TACIT AGREEMENT) to secondary-level and third-level ^''cover-ups" by the

   STATE insurrectionists and the Seditious and Treasonous ^'domestic terrorists'^ - as named

   herein already above — operating at both the STATE and NATIONAL levels of these CO-

   TRUSTEES.


                         CAPITAL ONE FINANCIAL CORPORATION

125.   Chronologically speaking, around November 2019, the DETROIT METRO area received

   its first major snowstorms, stranding numerous automobiles and taxing the AAA towing

   system in which BENEFICIARY David Schied had been a near forty-five (45) year member.

    At this precise time, BENEFICIARY had used his good credit and a credit card contract with

   TRUSTEES Richard Fairbank and CAPITAL ONE FINANCIAL CORPORATION to assist

    his ''chore services'" helper in getting a flat tire fixed, which resulted in the tire store charging

   for two new tires under a faulty maintenance garage's diagnosis ofthe problem. The result was

    BENEFICIARY'S inability to get a tow truck to return the car back to the garage; as well as

    BENEFICIARY David Schied making a phone call to the credit card company to place an

    instant "stop payment" and "reversal ofcredit" on the purchase ofthe two tires. The agents of

    the TRUSTEES,"CAPITAL OYE",had assured BENEFICIARY that the request was honored;

    and in return, BENEFICIARY assured that he would be retuming the tires back to the store by

    his already calling to notify of their failure to honor the purchasing agreement.

126.    Over the course of the following week, BENEFICIARY David Schied followed through

    with his verbal assurances with TRUSTEES "CAPITAL ONE", informing the garage vendor

    that there was no need to issue a credit since a "stop payment and credit reversal" had already

    been arranged with the TRUSTEES at the credit card company. Nevertheless, later in the

    month, the monthly billing statement of the TRUSTEES "CAPITAL ONE" showed an

    unauthorized reversal and the addition of the unauthorized charge for the two tires, so

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   BENEFICIARY immediately telephoned -while recording the call-to inform the agents of

   the TRUSTEES CAPITAL ONE of the error and the need for TRUSTEES to reverse those

   charges. In a verbal contract, BENEFICIARY also agreed to pay the past balance in full

   by telephone; but only on condition that CAPITAL ONE agree to instantly finalize the

   ^'•chailenge''* to the charges being added back on as based upon the original phone

   agreement made earlier in the month during the snowstorm. On the recorded line, after

   securing the finalization of that agreement with TRUSTEES ^'CAPITAL ONE*^,

   BENEFICIARY David Schied authorized the transfer offunds from his bank account to

   zero out any balance claimed to be owed to TRUSTEE CAPITAL ONE.(Bold emphasis)

127.   Subsequently, TRUSTEES CAPITAL ONE deceptively added the charges back along

   with interest as they both appeared on the December billing cycle; so BENEFICIARY again

   telephoned an agent of TRUSTEES CAPITAL ONE to reiterate the two-month old story and

   the fact that twice before TRUSTEE CAPITAL ONE agents had failed to honor their telephone

   agreements.

128.   During this RECORDED December 2019 phone call, BENEFICIARY informed the

   argumentative and uncooperative TRUSTEES CAPITAL ONE agent that he had recorded

   evidence of his own to validate his claims against the former agent that had added the charges

    back to the bill after BENEFICIARY had paid the balance in full on the account by the previous

    agreement. The CAPITAL ONE agent admitted that although CAPITAL ONE has a policy of

   recording all incoming calls and an outgoing recording at the onset ofthe call stating '"'"this call

    may be monitored or recorded ..." this TRUSTEE as agent for CAPITAL ONE repeatedly

    asserted a correlating policy of TRUSTEES CAPITAL ONE^ which discriminatinglv held

   that banking clients such as BENEFICIARY mav NOT record calls with TRUSTEE



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   CAPITAL ONE agents, even if the banking clients are totally disabled and have no other

   way to take notes.(Bold emphasis added)

129.     During that RECORDED December 2019 call, BENEFICIARY David Schied informed

   the TRUSTEES agent that he disagreed with that policy, stating that he needed the ADA

       accommodation'^ of being able to record calls, particularly in light of the disclaimer

   outgoing recording by CAPITAL ONE stating that all calls may otherwise be recorded.

   Subsequently, on that same recorded December 2019 call, TRUSTEES ^''CAPITAL ONE"

   agent refused to further service BENEFICIARY unless BENEFICIARY agreed to stop

   recording that instant call; and when BENEFICIARY reasserted his needs to record the

   call by his inability to use pen and paper for notetaking, the CAPITAL ONE agent

   RETALIATED by hanging up on BENEFICIARY without correcting the erroneous

   hilling amount.

130.     This tortuous and malicious act of DISCRIMINATION as amatter of TRUSTEES' public

   "policy^ resulted in BENEFICIARY David Schied losing use of his only credit card and line

   of credit altogether, in spite of his having paid the balance in full by agreement from

   TRUSTEES to end any controversy about the matter being resolved with the tire vendor

    months prior. This RETALIATORY action by TRUSTEES CAPITAL ONE not only

    damaged BENEFICIARY'S credit integrity, but also prevented BENEFICIARY from

    being able to use his excellent track record of timely payments and credit history with

    TRUSTEES CAPITAL ONE many months later,so to evade CO-TRUSTEES Ava Ortner

    and her associates' unlawful land development negotiations that included Beneficiary's

   "ev/c/w/i" during a ^^FederaP' CDC EVICTION MORATOTIM as part of that land

    contract and development deal. (Bold emphasis added)



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 LOCAL and STATE "jg/CO" CRIME SYNDICATES ISSUING THREATS OF VIOLENCE

131.   For the latter half of 2019 and through the first half of2020- which concluded the end of

   the first two years post-release from the MEDILODGE OF FARMINGTON HILLS nursing

   home, which is a franchised licensee of the TRUSTEES STATE OF MICHIGAN -

   BENEFICIARY was working on an autobiography that traces the roots of STATE and

   NATIONAL insurrectionism and domestic terrorism back more than two full decades, as

   meticulously documented (i.e., 1650 unpublished pages so far in unfinished memoirs chock

   full ofsupported EVIDENCE dating back to the early 1990s as linked to the public funding of

   international terrorisml with links to other STATE RICO CRIME SYNDICATES and

   NATIONAL-leyel DOMESTIC TERRORIST NETWORKS giying the fuller background of

   Sedition and Treason of CO-TRUSTEES FBI and USDOJ agents, as linked to the ^''OBAMA

   ADMINISTRATION^ and notables such as Rod Rosenstein. Hillary Clinton. Jake Sullivan.

    MICHIGAN'S Senator Debbie Stabenow. the CLINTON FOUNDATION, and numerous

   others linked to the CO-TRUSTEES but not directly named herein in their priyate capacities.

132.   This above-referenced 1650-page ^^autobiographical book manuscripf^ - as well as all

    documents supporting its organized contents in both digital and paper format — is now

    to be considered ^^FEDERAL EVIDENCE^'' protected by NATIONAL whistleblower

   laws, being subject onlv to ^^in-camera''* exposure to this ARTICLE III DISTRICT

    COURT OF THE UNITED STATES under strict conditions meant to protect the secured

    interests of BENEFICIARY David Schied going forward from here.(Bold emphasis)

133.   From the end of August 2020 unto February 22^ 2021. the LOCAL TRUSTEES

    consisting of Ava Ortner, her public persona as STATE ^^guardian^^ over homeowner

    Donald Thorpe, Jr., COLLIERS INTERNATIONAL, the CITY OF NOVI, Dominic

    Sylvestri,along with other members ofthe STATE BAR OF MICHIGAN crime syndicate

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   and domestic terrorist network, had been using a plethora of tortuous acts in the attempt

   to force BENEFICIARY David Schied from his rightful home. They initially did so by

   attempting to fraudulently solicit a new ''month-to-month^' LANDLORD-TENANT contract,

   by falsely affirming that an otherwise NONESISTENT previous ''month-to-month" contract

   existed when no such contract had existed since November 2017 as provided by EVIDENCE.

134.   When that first fraudulent strategy was unsuccessful, Ava Ortner, et al resorted to

   repeatedly taking unlawful other actions to force an '^evictiorC from BENEFICIARY David

   Schied's home of the last 8 Vz years - despite BENEFICIARY being a totally and

   permanently disabled amputee and in spite of BENEFICIARY having paid more than the

   agreed reasonable amounts in consideration each month for the previous year for

   inhabiting this property under a Common Law Right and Human Right - during both

   STATE and NATIONAL ^'•moratoriums^'' on executing such types ofILLEGAL evictions.

135.   Examples of the LOCAL CO-TRUSTEES executing the aforementioned CRIMINAL

   ACTS in defiance of the TRUMP ADMINISTRATION'S"CDC ORDER" placing a national

    moratorium on evictions is shown below in the following dated EVIDENCE:

    a) On 9/18/20.the Ava Ortner,et al LOCAL TRUSTEES issued their first eviction notice

       approximately three weeks after soliciting a fraudulent"'month-to-month'" Landlord-Tenant

       contract and having her "mentally disabled" cohort, Donald Thorpe, Jr. hand-deliver it

       along with his ovm fraudulent oral assurances- which were RECORDED on digital aiidio

       tape -that it would be at least a year, likely two, before the land development planned

       with the CITY OF NOVI and COLLIERS INTERNATIONAL TRUSTEES would

       need BENEFICIARY David Schied to actually surrender the property:




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                STATE OF MICHIG^                                                                                .•Vv a le.sjilt of_the^CRI>IES
                                                                NOTICE TO QUIT
                                                      TO RECOVER POS^SSION OF PROPERTY.                          committed -agaiust - me - as
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               you ^ould not be ousted.

          4. H you believe you have a good reason why you should not^%>^^ed.you may have a iawyW.advise you. Call him or h<
               soon.




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                                                              HOW TO GET LEGAL HELP
           1. Call your own lawyer.

           2. if you do not have an atlorr^ but hara money to retain one. you may locate an attorn^ through the StSe Bar ofMichlga
               lawyer Referral Ser^oe at 1>€00-9&8-0738 or through a local lawyer retorral service. Lawyer referral seivi(»s shMiid b
               listed In the ydtoiv pages of your telepfme c^redory or you can find a local lawy^ referral service afwwwjnb^bar.org

           3. If       do not have an attorney and ^nnot pay forlegai help, yoi may qualify tor assistance through a bc^llega!aid ofllo
               Legal aid oRices should be listed to toe yellow pages of your toleplrone directory or you can find a local legal aid olRoe <
               www.mlchiganlegato^.org. If you do not have Internet access at home, you cansc^ssthe Internet at yojrlCKaj librer



   b) In an immediate response to the above ^''NOTICE TO QU1T\ BENEFICIARY David

       Schied complied with the terms of the CDC ORDER of Eviction Moratorium by


       drafting- on 10/15/20-a formal sworn and notarized DECLARATION in the length

       of forty (40) pages outlining the entire history of this case to date. This formal

       ''DECLARATION"^ included the details about how the jurisdiction for this case was

       grounded in the COMMON LAW and/or the ''FederaF jurisdiction because, contrary to

       the fraudulent assertions of the TRUSTEES, there was no continuing '"''month-to-month"

       rental agreement in existence beyond November 2017 - just four month prior to an

       ATTEMPTED MURDER on the life of BENEFICIARY David Schied - when CO-


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       TRUSTEES conspired with DTE ENERGY to intervene and nullify that contract

       with the ^^landlor(r\ by way of committing DOMESTIC TERRORIST ACTS upon

       the population at large, which effectively forced new contracts between renters and

       DTE ENERGY instead of renters and their landlords.


      Sabsequentiy,on October 15.2020.1 submitted my **Stvorn an^d Notarized DECLARATION** to the
      Udlowing LOCAL, COUNTY, and STATE agencies with absidute proof that the ^landlm^
      I>ona]d Ihorpe. Jr. and his STATE BAR attoniey/wife Eva Orlner received a copy of tiUsj
      "DECT^RATION" via "^Certified Mail Delhvrv"two days later,on 10/17/20.                                      jM
           DECLARATION of David ScMed(dated 10/15/20)
               Invokhig tftie ^Cammon Law^ Jurisdiction
              and/or the          Federal"Jurisdiction in Halting Eviction
            via QUO WAREANTO,Notice of""INTENT TO LIEN", ^
        Claims of""DISABILITY"and ""MEDICAL FRAILTY",and
                        ""To Prevent Further Spread ofCOVID-19'*
      I,David Schied, an Amcrkaa nan and a'^quad-ampuue'" living within Michigan                              one of
      the sovereign People of the United States of America, heteln and hereby declare the


 1. Since Auj^t 1, 2012, X have been m inhabitant of a home located a 46675 W. 12 Msk Road in the
     CITY OF NOVL a municipality located in the COUNTY OF OAKLAND, in the STATE OF
     MICHIGAN.
 2. Sixn^e Novaid)ar 2017,1 ha^ been living in tibe abovc-fefCTCCwed faHsme widsout uiy **Landlord-Tmumf*
    contract whatsoever. Previously, no written ccmtract for monthiy rent had been established since that
    wtitten in 2014 as a '^matdt'to-mondC, which etq^d m August 2015.

                                                                                 The        details     of       my
               Ticking'                                                          DECLARATION are depicted In
                                                                                 the pi^es below; and dei^ite my
                                                                                 having       "^served"       my
             I«» da«wM 10 an   at the addrea atfit pm on Oc«nr 17,2(eo n NOM,M   DECLARATION to this so-called
                                                                                 *^landIonr and his STATE BAR
                                                                                 attorney wife on 10/17/20, they
                                                                                 have DEFIANTLY corrected ^e
                                                                                 mIsspelliBg on their Septemb^
                                                                                 "^Notice   to   Ouif* and   reissued
       oeBt»t7.giBoat;amw                                                        another one against me, m-deiing
                                                                                 me to EVICTION again on short
                                                                                 notit^ beins beforo 12/1/20.
       MMpdaltav



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   c) On 10/31/20, the Ava Ortner, et al LOCAL TRUSTEES issued their second eviction

       notice, exactly two weeks following their receipt of the CDC ""DECLARA TIOhF' giving

       sworn and notarized STATEMENTS (i.e., certified by a licensed notary of the STATE
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       TRUSTEES''STATE OF MICHIGAIT')that BENEFICIARY David Schied was invoking

       the Common Law and/or                            jurisdiction(s), while also placing the CO-TRUSTEES

       on notices about both his "Intent to Lien''' the property at issue, and to "HalF the STATE-

       LEVEL eviction process based upon the 9/4/20 "CDC ORDER"" that had been issued -

       UNDER PENALTY OF MINIMUM $100.000 FINE AND A YEAR IN JAIL - "to

       prevent the spread ofCOVID-IT.(Bold and underlined emphasis added)



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     STATE BAR OF MCHIGAN member Eva Ortaer's
     Issuance of this "Agw Evkiion Notice'" AFTER the
     proven    ''Certified             Mair   receipt   of   my
     DECLARATION is a blatant slap in the face of the
     IGNITED STATES CONGRESS and the TRUMP
     ADMINISTRATION'S "CDC ORDER"" protecting
     the public - and me - from the spread of the
     "Coronavirus^.

     Such a violation was a purposefully done by a legal
     professional -- an "officer of the Court" licensed by
     the STATE OF MICHIGAN {"SUPREME COURr)
     as an "Obstruction of Justice"": and knowingly as an
      act   of DOMESTIC                TERRORISM, meant to




    d) Subsequently, on Friday 12/18/20 at 4:00PM, Ava Ortner's LOCAL CO-TRUSTEES -

        acting by and through the STATE BAR OF MICHIGAN crime syndicate and domestic

        terrorist network cohort, Dominic Silvestri- scotch-taped the following FRAUDULENT
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     '^SUMMONS" on a NONEXISTENT '^Landlord-Tenant Land Contracf^ calling for

      BENEFICIARY David Schied to surrender jurisdiction to the "STATE-LEVEL^

      TRUSTEES by command that BENEFICIARY, as a "totally and permanent disabled

      quad-amputee" attend a formal"EVICTIONHEARING"with less than two business days

      to respond. This was a blatant ADA violation.(Bold and underlined emphasis added)


                                                                    1st copy-TiMtanl                                      3nj e^y-lendlordtoiQiaay
       Affxtsved, 8CAO                                              2nd copy-MfMUng                                       4th copy- Proof of Mtvfce
              STATE OF MICKIQAN                                                                                                  CASE NO.
                                                                     SUMMONS
     52-1              JUDICIAL DISTRICT                                                                        20     20-C04694 LTlt
                                                           Landtord-Tenant/Land Contract
     Cmirt Kddrosa                                                                                                                          CcHiittst^hofM no.
     48150 Grand Rivo- Ave. Novi. MI 48374                                                                      248-30S-6S1[

                nainbS'a naine, addi^s,and tslephone no.                                     nalnttff's attorney, bar no., addresa, and telephone no.
                Donald A.nioipe,Jr. and
                                                                                             Farmisgton Hills. Ml 48331
                                                                                             248.246.6323




                □etondants lum. ad&ess. and telephone
                David Sclu^ aid all other occi^unts                                                                                   0^-.^ , .
                46675 West 12 hfile. Rd.
                Novi, Ml 48377 '
                                                                                         1g[ Rental unnevfetion
                                                                                             O Land con^ct forfeiture


      NOTICE TO THE DEPENDJUtlH In the nanne of tfte people                   the State of Michigan you are notified:
                                                                              D to recover possession, after land contract forfeiture, of
      1. The ptalndlThas filed a complaint against you and wants              Da money judamait,"*                      r'HEARtNG:.VIA'iroc^ -
                                                                               Sltowict you from                         —• ' —                           •»
         Address crdsecr^ition ot premises
         46675 West 12 Mile. Rd.
         Novi.Ml 48377



      2. You are summoned to be in the dlsWct court on           Tuesday. December 22. 2020                                            ai     1;3D pm
                                                               Day and date                                                                 Ttao

        n at (tie address above,D at                                                                                         ., courtroom.
                                             LocaUofi

      3. You have the righlfoajury IHaL^you donoldemandajury thai andpaygrerequire^uryfoe In your first defense ^ponse,
         you wlillose this right.
      4. if    are in district court on time, you wi have an opportuifity to give the re                                 S|l you should not t>e evl^ed.
         Bring witoesses, receipts, and othernerassary papers wath yvu.
      5. If you are not lndl^c(c<»jrton time,           may be evicted without a trial aid j              [teyJudgrAentri^iy t>e stored agatosi you.
        I2/9/2O20
                                                                               court cterk

                                                                                                                                seated by the seal      Ota court
                                                              HOW TO GET HELP

      You have received an hnportsnt legal document from a court. Your landlord is tftine^ toad^ you. This means you could lose
      your housing and you cwld owe your landlord money. It Is Important to respond to                        quickly.

      You      hire an attorney to help you answer the complaint and prepare defenses, if you cannot atfc^ en attorney, you can gel
      help at MidifganLegalHeip.org or you might qualt^ for assistame through a lo^i legal aid office. If you do not have Intamel
      access at home, you can access the inl^net at yotff focal library.

      If you do not havs an attorney, but have money to hire erne, you can find an attorney through the State Bar of Michigan Lawyer
      R^erral Service at 1-800-968-073S or a local law^ referral service at michb^.org.
      If you require ^ecld acrommodations to use the court because of a disablfity or If you require a fore^n language interpreter to
      help you foHy partldpate m court proceedings, ptease contact the court immediate^ to make arrangements.
                                                                                                                                                   MCL600.673S.
     DC1(M (6/17) SUMMONS, LANDLORD-TENANT/LAND CONTRACT                                                             MCR2.l02.MCR4J»1(C).hK»t4.203(E)



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136.   Meanwhile, as these ^''predicate" level crimes continued to put BENEFICIARY David

   Schied's immediate household under direct threat in ''danger to human             in constant

   THREAT to BENEFICIARY David Schied's Rights to Life,Liberty,and Pursuit ofHappiness,

   BENEFICIARY has been continuing to exercise his FIRST AMENDMENT guarantees to

   Redress ofGrievances at the "secondary^ levels of STATE and NATIONAL reviews, only to

   be affirmatively provided with compounding EVIDENCE that STATE INSURRECTION and

   DOMESTIC TERRORISM at these "higher" levels of TRUSTEES continue to run rampant

   and out of any form of administrative, legal, or constitutional controls.


 MORE RECENT FACTUAL EVIDENCE OF "RICO" CRIMES,STATE INSURRECTION,
 AND DOMESTIC TERRORISM AT THE"SECONDARr(ADMINISTRATIVE)STATE
                           AND NATIONAL LEVEL OF TRUSTEES


137.   With regard to dealing with the ^^predicate^^ level of criminal RICO acts committed


   by TRUSTEES Richard Fairbank and "CAPITAL ONE?''- at the beginning of the 2020

   calendar year after being discriminated against then retaliated against by the CAPITAL

   ONE agent on a recorded phone line, BENEFICIARY David Schied wrote a letter of

   grievance COMPLAINT directly to TRUSTEE Richard Fairbank as private "Founder" and

   CORPORATE"CEO"ofTRUSTEES"CAPITAL ONE\ In that letter, BENEFICIARY David

   Schied asserted that his credit had been damaged by the public policy and retaliatory acts of

   the company's numerous agents, magnanimously offering to settle the claims of

   discrimination and retaliation against BENEFICIARY (and other disabled persons

   similarly situated) in the amount of $10,000.(Bold emphasis)

138.   Throughout this period of time while awaiting an "answer" to BENEFICIARY'S

   "settlement offer", BENEFICIARY had been quite unaware that TRUSTEES CAPITAL ONE

   had long been involved in misrepresenting itselfto the public as a business that was otherwise


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    showing itself in STATE records as being "INACTIVE" as a legitimate ''financial

    corporation'^ business.(See below)

 Compani6S located at 2980 Fairview Park Or
        i corporationwiki.eom/Virginia/Mc-l-ean/capital-one-financial-corporation/64206057.aspx

 Name                                                                                     Status          Incorporated                                   Key People

                                                                                                                                           A Richard D. Fairt>ank
                                                                                                                                           AUavid2ett
                                                                                                                                           A James Inzetta
      i] Capital One Financial Corporation                                                Inactive
                                                                                                                                           A Kevin McCormack

Key People (or Capital One Financial Corporation                                              CompenieS iocated at 2980 Fairview Pati< Dr

                                                                                                                                           Stahs         bKoqmaled        Key Fteople
                                                                                                                                                                     A Doj^B.Shane
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                                                                                                                                                                     A Timely J. Fret
 A Waiter D.RaMnO                                                                                                                                                    A JenvL. S{HiJlU
                                                                                                                                                                     A R«t6ddD Sugar
                                                                                                                                                                     A FredFHtfik
  A Ftcbed M. Aleirandar|                                                                                                                                            A Thomas Vsfbedi
                                                                CMefl^miaofl Officer                                                                                 A Steve Self

                                                                                                                                                                     A RKharo D. Fairtfank
                                                    Sccretttyl I Coiporae Cowtset/Legal
  A JtftnC. Fmn&w 0
                                                                                                                                                                     A James Inzetta
                                                                                               EH Caplal One Frnercial Coraaatwi
                                                 GeiNral Coontti Aad Corporm Seeretny                                                                                A iteWt McCormadc



 Known Addresses
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                                                                                                Overaew             KeyFteopte        •       ■«■■■ I Fings
   2980 Farview Park Dr       Chuith, VA 22042
                                                                                                KnOVi/n AddrCSSOS forCarrit^OneFinanaatCo^Kratjon
   11013 W Broad St Glen Allen, VA 23060

   502 CfedelaKJ Rd Hariingen, TX 78552                                                           29«) FaKwew Part! Or Fate Church, VA22042

                                                                                                  11013 W Broad S (Soi Alan, VA 23060
   1580 Cepital       Dr McLean, VA221(^
                                                                                                  502 Dhneiand Rd Hatlngen, TX 78»2
   IMflO Ca[^ One Or Richnic*id, VA 23238
                                                                                                  1680 Capital One amean, VA 22102

   12072-0300 Becky Dimmett 15000 C^l One Or Rictmond, VA23238                                    1S000 Capnai Ctee Or Richfflond, VA 23238

                                                                                                  12072-0300 Bedw »nn^ 150(» Capita One Dr RKhmond, VA23238
   12061-046011013 West Broad a Glen AHen, VA 23060
                                                                                                  12061-046011013'West &08d St Glen Allen. VA 23060
   12072-03(K)Mg^a Isabel1^ Csptal One Or Rdvnond, VAZ^
                                                                                                  12072-0300 Angela lsat>^ 150CO C^l One Dr F^ctvnond, VA23238

   12077-0270 Becky Dirrinetl 15000 Capital One Or Rlclin^                                        12077-0270 Becky [^ivn^ 15000 Capital One Or Richniond,         23238
                                                                                                             «      fx—.e* 4CAnn                  rvt
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139.   After stringing BENEFICIARY along for the first few months of 2020, the TRUSTEES

   as agents of ''CAPITAL ONE FINANCIAL CORPORATION'' - acting without full

   disclosure of their true actual headquarters address or status of being "INACTIVE*^ -

   refused to answer the specifics either of BENEFICIARYS written COMPLAINT letter

   or his "SETTLEMENT OFFER^\ Instead, the TRUSTEES issued a worthless apology with

   an investigative determination about their accounting wrongdoing, but still claimed a"balance

   owed" by BENEFICIARY David Schied on the STILL CLOSED ACCOUNT which was

   scheduled for commercial "discharge"" in Spring 2020. Since executing that discharge, the

   TRUSTEES Richard Fairbanks and his other agents at "CAPITAL ONE FINANCIAL

   CORPORATION^ have ceased any further contact with BENEFICIARY while leaving

   BENEFICIARY'S discrimination CLAIMS unaddressed and without proper remedy.


140.   TRUSTEES Richard Fairbank and "CAPITAL ONE FINANCIAL CORPORATION

   have yet to respond to BENEFICIARY David Schied's outstanding claims that the

   TRUSTEES are operating openly and illegally, with a documented and recorded public

   policy that plainly discriminates and retaliates against persons with physical disabilities,

   in violation of AMERICANS WITH DISABILITIES ACT "Federal'' requirements.

   Damages thus, remain outstanding and are now in "debt collections^^ against the CO-

   TRUSTEES for the negative impact these illegal acts have had upon BENEFICIARY

   having been prevented from using his good credit and contracted credit card with

   CAPITAL ONE as a means to live independently and to readily avoid or escape "eviction"'^

   activities of the other criminal CO-TRUSTEES allowing this company to continue to do

   business with RECORDED official company policies that both DISCRIMINATE and

   RETALIATE against persons with proven disabilities and needs for certain

   accommodations.


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141.   Under these conditions, BENEFICIARY is pursuing CLAIMS under the FALSE CLAIMS

   ACT against CO-TRUSTEES Richard Fairbank and CAPITAL ONE FINANCIAL

   CORPORATION on behalf of both himself and other sovereign American People as

   ''beneficiaries'" under the PUBLIC TRUST; by acting through both STATE and NATIONAL

   government corporations that have been duly presented with these FACTS and CLAIMS and
   still refuse to act with accountability to rectify these discriminatory public policy issues and

   corrupt retaliatory         acts of TRUSTEES "CAPITAL ONE'\ Richard Fairbank, and all

   others oftheir agents and officers.(Bold emphasis added)

142.   With regard to responsibly dealinp with the predicate''^ level of criminal RICO acts

   committed bv TRUSTEES ''STATE OF MICHIGAN"' - inclusive of a long history of

    meticulously documented "administrative appeals", "FOIA requests for documents",

   "CRIMINAL COMPLAINTS'\ and BENEFICIARY David Schied having gathered years of

   EVIDENCE against the TRUSTEE GOVERNOR(s), the TRUSTEE ATTORNEY

    GENERAL(s), the TRUSTEES LARA and MDHHS "Directors" and innumerable other

    agents of the TRUSTEES - BENEFICIARY David Schied has documented the incessant

    levels of ^fiawed summary review'^ and '^abuses of discretion" of this illegitimate

    government by way ofthe TRUSTEES STATE OFMICHIGAN*s circularlv rechanneled

    administrative hierarchical structure of the Fourth Branch (i.e., the Administrative State)

    as it is designed and implemented by insurrectionists and domestic terrorists to cause

    actual harm to the sovereign People as the population at large; These *^crime victims" are


    many other "beneficiaries" of the PUBLIC TRUST.(Bold and underlined emphasis added)

143.   Thus, TRUSTEES operating individually and collectively as the STATE OF

    MICHIGAN - who are acting in ways that run opposite of their OATHS and DUTIES to

    BENEFICIARY David Schied and other beneficiaries in spite of TRUSTEES being otherwise

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   compelled by fiduciary contracts and laws with the many ''Federar government entities,
   fiduciary contracts in the PUBLIC TRUST (whether as a compact or contract), and fiduciary

   contracts with the sovereign People themselves - are now being sued herein for gross

   misconduct, malfeasance, and the refusal to otherwise uphold the sovereign Rights of

   BENEFICIARY David Schied and other sovereign People as beneficiaries^^ of STATE

   and UNITED STATES constitutions, and refusing to uphold the TRUSTEES' solemn

   Oaths and Duties to both.(Bold emphasis added)

144.   The higher ("NATIONAL"! levels of these TRUSTEES have been painstakingly

   notified bv BENEFICIARY David Schied in numerous-and illustrative-ways about the

   insurrectionist and domestic terrorist acts taking place within the ultra-corrupt ''"STATE OF

   MICHIGAFP\ in spite of certain allocations of funding from CONGRESS for services to the

   many populations ofthe sovereign American People inhabiting the land known as "Michigan"';

   to include health and human services to the poor, the elderly, the disabled, and "law

   enforcement" services to the entire population oftaxpayers and other "citizens" ofthe STATE

   being so mistreated by the STATE-level TRUSTEES. Nevertheless, those others (at the

   NATIONAL level) have affirmatively declined BENEFICIARY David Schied's requests

   and subsequent demands to take appropriate actions to remedy these problems.

   Therefore, BENEFICIARY David Schied, as ^^Federal WhistlebloweF\ is stepping up

   with CLAIMS against all levels of these TRUSTEES under the FALSE CLAIMS ACT,

   for recovery of costs to taxpayers of salaries and other "benefits^" paid.

145.   While BENEFICIARY has documented nearly two decades of"pattern and practice"

   of this STATE-NATIONAL "government" dynamic of affirmative acts of supported

   INSURRECTIONISM and DOMESTIC TERRORISM,the more recently documented

   "issue at hand"^ involves notice in June 2020 that MEDICARE would soon "kick in" and


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   the SSA TRUSTEES would be starting in August (for September MEDICARE

   beginning) to be automatically subtracting ''monthly premiums" for "Part B" coverage

   from BENEFICIARY David Schied's only means of financial sustenance by way of

   payments from TRUSTEES "SOCIAL SECURITY ADMINISTRATION". These grossly
   negligent and malfeasant acts of these TRUSTEES nevertheless continued for many months
   despite that BENEFICIARY had long been otherwise eligible to have those premiums paid at

   the STATE level through MEDICAID's "MEDICARE SAVINGS PROGRAM' and "EXTRA

   HELP" programs.

146.   Yet at the STATE TRUSTEES level, the agents of the TRUSTEES STATE OF

   MICHIGAN were continually "targeting" BENEFICIARY in discriminatory and

    retaliatory fashion by refusing to cooperatively send him a proper written "application"

   for such premium / deductible payment assistance for the "MEDICARE SAVINGS

   PROGRAM'' to stop the automatic SSA monthly deductions; while similarly criminally

    grossly neglecting to assist BENEFICIARY as he repeatedly requested services and help

    as a disabled man in completing these required "applications" over the phone.

147.   Therefore, after nearly two full months of being subjected to TRUSTEES "runarounds"

    and "affirmative refusals" to cooperate with such simple requests, BENEFICIARY began

    using the "administrative appeaF process - first by phone in June and July 2020, then in

    writing beginning August 2020- by contacting both NATIONAL "government" TRUSTEES

    and "NONPROFIT^ TRUSTEES purportedly specializing in services to the disabled. All of

    these "governmental" and nongovernmental" entities brandished public mission statements

    promoting the "independence" of the disabled population, by reinforcement of their Rights to

    Life, Liberty, and the Pursuit ofHappiness and property ownership while living as equal to the

    way other sovereign American People live - in the Least Restrictive Environment("LRE").

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148.    The examnles orovided below spotlighting the names of these various CO-

    TRUSTEES, inclusive of their hierarchical subclasses of various bureaucratic

    ^^deDartnients^\ ^^bureaus^\ ''''dmsions^\ ^^sectwns''\                  ^''a9encies^\ and ''^offices^'' at

    both STATE and NATIONAL levels that were informed about the ALLEGATIONS

    against TRUSTEES of''STA TE OF MfCHIGAN"':

    a) EXAMPLE 1 - dated 8/2/20 (finished on 8/10/20) numbering 39 pages with fully

        supported and illustrated FACTS giving good cause for responsible higher-level action.

                                  This letter — written by a quad-amputee^ with an
          David Schied            ,
          46675 W, 12 Mile Rd.
                                  ^acquired** total and permanent disability — contains
          Novi, Michigan 48377    CLAIMS, FACTS and EVIDENCE supporHng good
                                  '
          248-974-7703            faith NOTICE about government crimes of gross
          (all calls recorded)
  (written responses preferred)   negligence, dereliction of duties, malfeasance, RICO,
                                  '
                                  Sedition, Treason, and ^domestic terrorism** (by
          8/1/^20(finished on     <
                                  Congress' definition).
                       8/10/20
                                        UNITED STATES CONGRESS               UNITED STATES SENATE
   NATIONAL DISABILITY
                                        ATTN: UalE5L^mn&- Repres.            ATTN: D^ble Stabenow - Rep.
   RIGHTS NETWORK
                                        MICHIGAN, 11"^ DISTRICT              MICHIGAN
   ATTN: Tom Masseau. President
   820 First St. NE. Suite 740          227 Cannon HOB                       731 Hart Senate Office Building
                                        WASHINGTON. DC 20.515                WASHINGTON. DC 20510-2204
   WASHINGTON. DC 20002
             niiLTnniiin                Phone:(202)225-8171                  Hione.(202)224-4822
                                        https://stevens.house.gov/contact/
  ATTN: Wniiam P. Barr                 email-me
  USAG. U.S. DEPT. OF JUSTICE                                                ATTN: Seema Verma Director
                                        ATTN: Eric Drelband. Assist.AG
  950 Ftennsylvania Avenue. NW                                               Centers for Medicare and Medicaid
                                       USDOJ - Civil Rigljts Divisitai       Services(CMS)- USDHHS
  WASHINGTON,DC 20530-0001
                                       (M2)514-4609/(202) 514-3847           200 Independence Avc.. S.W,
  https://www.iastice.cov/doi/webfor
                                       https://www.lustice.eov/doj/webfo     WASHINGTON. DC 20201
                                        my'vour-inessage-depaitment          877-696-6775
                                                                             OCRCorimla int/ff>hlis.sov
 ATTN: Andrew Saul. Cominissiouer
                                                                             Seema.Veiina@cnrs-hhs.gov
 SOCIAL SECURITV ADMIN.
                                                                             https://www.uK?dicare.gov/Medic
 800-772-1213
 linps://,secnre.ssa.gov/emailus/
                                                                         ADA NATIONAL NETWORK
 ATTN; RoMn Jones. Director / Petw Bent. Technical & Project Coord.
                                                                         1-800-949-4232
 GREAT LAKES ADA CENTER - UNIVERSITY OF ILLINOIS
 INSTITUTE ON DISABILITY & HUMAN DEVELOPMENT.
 1640 West Roosevelt Rd.,Room 405                                                lUFTIffill'TJ ifcJI 1'Bii LF'-Ciii)
 CHICAGO,IL 60608
  ttp://www.adaereatlaRes.or^WebForm&/C..'o&tactlJs/

          WARNING! You may be a STATE or NATIONAL agency of the FcodIc*»
          "government" that is constrictiug the intake of '*complaints'^ and **notic0S**
           through "FORMS" that disregard and/or systematically                         or '■'^deleie'*
           Information provided to vo« through technology being used bv disabled
           People to enhance the effectivene-ss of their communicafing FAC^FS and
           E'V^IDENCE of government crimes of gross negl^ence, dereliction of duties,
           malfeasance, RICO, and '*domestic terrorism** (by Congress* own definition).
           IGNORANCE OF THE FACTS by use of these automated '^constraint'*
           devices IS NO EXCUSE for thwarting government ^^accountability**,
           '^responsiveness**, and *^transparency^*.

                                       PUBLIC NOTICE
          of CONSTITUTIONAL and CIVIL RIGHTS violations
                                                .naoo l.oL.aa
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b) EXAMPLE 2 - dated 8/17/20 (finished on 10/10/20) numbering 222 pages with fully

   supported and illustrated FACTS giving ample ^yust cause""for responsible higher-level action.

                                     This letter - written by a ^''quad-amputee*^ - is a
          David Schied
          46675 W. 12 Mile Rd.
                                     FOLLOW-UP to previously submitted CLAIMS,
          Novi, Michigan 48377       FACTS and EVIDENCi: suppor^g good faith
          248-974-7703               NOTICE kbout government crimes of gross negligence,
          (ail calls recorded)
  (written r^ponses prefeired)
                                     dereliction of duties, malfeasance, RICO, Sedition,
                                     Treason, arid domestic, terrorism^^ (by Congress'
          9/17/20(finished on        definition). .                                                         .
                     10/10/201
                                           UNITED STATES CONGRESS             UNITED STATES SENATE
  UNITED STATES SENATE
                                           ATTN: Stenv Hover-                 ATTN:IVlltch McConnell-
  ATTN: Lindsay Graham.Qiah
                                                           Majority Leader                   Majcnity Leader
  SENATE JUDICIARY COMMmEE
  290 Russell Senate Office Building       1705 Longworth House Office Bldg. 317 Russell Senate Office Bldg.
                                           WASHINGTON,DC 20515                WASHINGTON,DC 20510
  Wasliiiigton, DC 20510
                                           Phone:(202)225-4131                Phone;(202)224-2541
  Phone:(202)224-5972

UNITED STATES CONGRESS                     ATTN: William P.Barr               ATTN: Sonnv Perdue. Secretary
 ATTN: Matt Gnetz-Absolute Wajrior, USAG,U.S.DEPT. OF JUSTICE                 U.S. DEPT.OF AGRICULTURE
 HOUSE JUDICIARY COMMITTEE                 950 Pennsylvania Avenue,NW         Office ofthe Assistant Secretary
 1721 Longworth House Office Bldg.         WASHINGTON,DC 20530-0001           for Civil Rights
 Washington,DC 20510                                                          and,
 Phone:(202)224-4136                                                          Devon Westhlll, Deputy-OASCR
                                          ATTN: Eric Drelband Assist.AG
                                         USDOJ-CIVIL RIGHTS DIVISION          1400 Independence Avenue,SW
  UNITED STATES CONGRESS
                                                                              Washington,D.C. 20250-9410
 ATTN: Jim .Tordan. Ranking Member 950 Pennsylwmia Avenue,NW
 -HOUSE JUDICIARY COMMITTEE        Washington,DC 20530-0001
 2056 Raybura House Office Bldg.   (202)514-4609 /(202)514-3847               ATTN: Andrew Saul. Commissioner
 WASHINGTON,DC 20515                                                         SOCIAL SECURITY ADMIN.
 Phone:(202)224-2676                       NO NAME.laspector General: and,   1100 West High Rise
                                           Cfaristi Grimm.Principal Deputy   6401 Security Blvd.
   ATTN:Steven Mnnchin. Secretary          Inspector General                 Baltimore, MD 21235
                                           OrnCE OFINSPECTOR GENERAL
   U.S. DEFT.OF TREASURY                                                     800-772-1213
                                           USDHHS
   1500 Pennsylvania Avenue,NW             330 Independence Ave..SW
                                                                             and,
   Wasliington, D.C.20220                  WASHINGTON.B.C.,20201
                                                                             27650 FARMINGTON RD
                                                                             FARMINGTON HILLS, m 48334
       Donald Trump,U.S.PRESIDENT                                            866-331-2210
       THE WHITE HOUSE                            WASHINGTON,D.C.
       1600 PENNSYLVANIA AYE,NW                                 20500

 Robert Gordon.Director                Rachael Eubauks, Treasurer
 NUCHIGAN DEPT. OF HEALTH                                                    Gretcben Wliifmer, C^TCincr
                                       ^^CHIGAN DEPARTMENT OF                STATE OF MICHIGAN
 & HLTVIAN SERVICES
                                       TREASURY                              P.O. Box 30013
 P.O. Box 30195
                                       LANSING,MICHIGAN 48922                LANSING,MICHIGAN 48909
 LANSING. MICHIGAN 48909


         UPDATE TO PREVIOUS PUBLIC NOTICE OF 8/10/20
          of CONSTITUTIONAL and CIVIL RIGHTS violations,
          and (again)CRIMINAL COMPLAINTS of DOMESTIC
                          TERRORISM BY STATE AGENTS
                                                     page 1 of 222

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149.   The 222-pages of the above-referenced 10/10/20 dated '^FOLLOW-UP ... TO THE

   PREVIOUS PUBLIC NOTICE ..." (from two month earlier as completed and sent out on

   8/10/20) included a thorough address ol^^secondary^ level FACTS leading to NEW (multi-

   tiered) COMPLAINTS about the following ^^ADMINISTRATIVE STATES''' as the CO-

   TRUSTEES named herein. The FACTS outlined in this dated correspondence was complete

   with an explicit accounting for dates and persons acting as the agents and functionaries of the

   several named CO-TRUSTEES now summoned to answer to these COMPLAINTS because of

   their affirmative refusals to address these issues and their similar refusals to process certain

   applications accompanying these COMPLAINTS anytime after 10/10/20 up until the date of

   this instant filing.     secondary level(i.e., NATIONAL level)FIDUCIARIES addressed

   by this 222-page correspondence referenced above included the following(depicted below

   with page numbers):

   a) The CO-TRUSTEES of the UNITED STATES DEPARTMENT OF AGRICULTURE

       - beginning on page 3 and continuing through page 7 in overview of the ''appeals'' on

       unresolved COMPLAINTS against the STATE LEVEL TRUSTEES of the MDHHS,

       LARA and the STATE OF MICHIGAN;

   b) The CO-TRUSTEES of the UNITED STATES DEPARTMENT OF JUSTICE -

       beginning on page 7 and continuing through page 8, also in review of the same, inclusive

       also of the criminal gross negligence, the dereliction, and the malfeasance of the

       "governor" Gretchen Whitmer,the "attorney general" Dana Nessel, and other State-Level

       TRUSTEES otherwise acting as leaders RICO crime syndicates and domestic terrorist

       networks;

   c) The CO-TRUSTEES of the CENTERS FOR MEDICARE AND MEDICAID

       SERVICES and the UNITED STATES DEPARTMENT OF HEALTH AND HUMAN


                                               90
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       SERVICES - hepinnin^ on page 9 and continuing through page 26 in overview of the

       ''''appeals''' on unresolved COMPLAINTS against the STATE LEVEL TRUSTEES of the

       MDHHS,LARA and the STATE OF MICHIGAN pertaining to MEDICARE "kicking in''

       and nobody providing BENEFICIARY David Schied with the requested "access" and

       "accommodations'" for "applying" to have financial assistance in payment of premiums

      ■ and   copays   as   opposed    to   having   the   TRUSTEES    SOCIAL     SECURITY

       ADMINISTRATION tortuously disregarding requests and demands to "do the right thing"

       while instead subtracting those MEDICARE "Part B" amounts from monthly SOCIAL

       SECURITY payments otherwise owed to BENEFICIARY by those agencyfiduciaries; ^

    d) The CO-TRUSTEES of the SOCIAL SECURITY ADMINISTRATION beginning on

       page 27 and continuing through page 42 in overview of the "appeals" on unresolved

       COMPLAINTS against the NATIONAL LEVEL TRUSTEES of the UNITED STATES


® Important to note here is the FACT that by the date of BENEFICIARY David Schied's
completion of this 222-page "appeaF letter of secondary-level RICO complaints, he had
finally acquired a link to the downloadable TRUSTEES MDHHS's"FORM"for completion
and filing of the "APPLICATION FOR HEALTH COVERAGE & HELP PAYING
COSTS" for the MEDICARE monthly premiums and "Part B" that was otherwise being
deducted from monthly SOCIAL SECURITY deposits into BENEFICIARY'S banking
account by the SOCIAL SECURITY ADMINISTRATION fiduciaries as TRUSTEES.
Therefore, after completing this FORM, BENEFICIARY took steps to ensure that ALL
RECIPIENTS ofthis "appeaP'correspondence were literally "on the same page"" and without
excuse for not knowing that this FORM was being provided - by their inclusion as
"additional addressees'' for the entirety of the 222 pages going to EACH of (as shown
graphically two pages back!-the TRUSTEES of the MDHHS through is "Director" Robert
Gordon as "addressee", to the TRUSTEES of the STATE OF MICHIGAN through its
"Governor" Gretchen Whitmer as "addressee", and TRUSTEES of the MICHIGAN
DEPARTMENT OF TREASURY through its "Treasurer" Rachael Eubanks as "addressee".
(Bold emphasis)
        Nevertheless, all STATE and NATIONAL recipients to this correspondence, as
TRUSTEES named herein, continued in the SAME PATTERN AND PRACTICE of still
affirmatively refusing to process that application; with all still choosing instead to continue
robbing BENEFICIARY David Schied of his monthly banking deposits from SOCIAL
SECURITY and thus,causing BENEFICIARY to be unable to continue living independently
and affordablv as a home renter and grocery shopper as his needs then otherwise perpetually
dictated.(Bold emphasis)
                                                91
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       DEPARTMENT OF EDUCATION, the EDUCATIONAL CREDIT MANAGEMENT

       CORPORATION, the NELNET, INC., the THREE CREDIT BUREAUS (TRANS

       UNION, EXPERIAN, and EQUIPAX) in continually saddling BENEFICIARY with

       '^student loan debr otherwise owed except for the FACT that all ofthese TRUSTEES were

       '^conspiring to deprive ofrights under color oflaw [and procedure^ instead of honoring

       the previous"PROMISSORYNOTE'^ contract to "discharge" the alleged debts based upon

       the terms of the previous contract(s) otherwise fulfilled by BENEFICIARY. Next, these

       designated pages of overview (pp/27-42) also provided factual description of the

       TRUSTEES       SSA's     role   in   wrongfully   subtracting   monthly   amounts   from

       BENEFICIARY'S monthly SOCIAL SECURITY deposits to pay for MEDICARE while

       disregarding BENEFICIARY'S repeated notices about how these RICO CRIMINAL

       ACTS were jeopardizing BENEFICIARY'S previous ability to remain independent in his

       home living environment by paying fair "consideration" as a Common Law renter and

       while purchasing food and medical items as needed and desired;

   e) The CO-TRUSTEES of the OFFICE OF INSPECTOR GENERAL of the U.S.

       DEPARTMENT OF HEALTH AND HUMAN SERVICES, and ''NATIONAL NON

       PROFIT CORPORATIONS^^ funded by sovereign People as "taxpayers" ofthe STATES

       and UNITED STATES,beginning on page 43 and continuing through page 65 in overview

       of the "appeals" on unresolved COMPLAINTS against the TRUSTEES of the MDHHS,

       the STATE OF MICHIGAN, the CENTERS FOR MEDICARE AND MEDICAID, the

       SOCIAL SECURITY ADMINISTRATION, and the USDHHS, relative to the refusal of

       any and all to properly provide BENEFICIARY with ADA required "access" and

       "accommodations" in completing an application for MEDICAID to be paying monthly

       copays and deductibles for MEDICARE "Part B" coverage. Importantly, the "appeals" to

                                                92
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       the USDHHS-OIG about these many other TRUSTEES resulted in NEW COMPLAINTS

       about the ^^secondary-leveV personnel and the WEBSITE ofthe OIG itself in altogether

       having the effect of affirmatively DENYING ACCESS to BENEFICIARY David

       Schied to even the ^^intake process''' for reviewing BENEFICIARY'S "predicate-ieveP'

       COMPLAINTS.(Bold emphasis added)

   f) The CO-TRUSTEES of the UNITED STATES (i.e., of the U.S. CONGRESS -

       consisting of named members of the HOUSE and the SENATE)- beginning on page

       65 and continuing through page 72- in overview of the very same elements as articulated

       above in ^''appear to the TRUSTEES of the USDHHS-OIG; and revealing in the pattern

       and practice of similar results as what occurred with the USDHHS-OIG personnel and

       WEBSITE in altogether DENYING ACCESS to BENEFICIARY through a

       prohibitive ''intake process" for BENEFICIARY to use his preferred and needed

       means of communicating with both text and graphics, and submitting his ^''predicate-

       leveP' COMPLAINTS in ^^standardPDFformat" by ^^standard email delivery" systems.

       (Bold emphasis added)

   g) Because these NEW (^^secondary-level RICO") COMPLAINTS involved the Offices of

       Halev Stevens and Debbie Stabenow (^^stab-me-now"\ an expose of pages of

       BENEFICIARY'S 1650-page autobiography manuscript exposing the identities of

       DOMESTIC TERRORISTS operating as agents of the UNITED STATES and

       presenting NATIONAL SECURITY THREATS was presented - beginning with

       Debbie Stabenow on page 71-and continuing through exposes of the TRUSTEES of

       U.S. DEPARTMENT OF AGRICULTURE (under leadership of former DORSEY-

       WHITNEY law firm lobbyist Thomas Vilsak, who is horrifyingly now back in power

       under the new BIDEN ADMINISTRATION) and the USDOJ (under Eric Holder,

                                                93
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       Loretta Lynch, and Rod Rosenstein) during the OBAMA ADMINISTRATION,and

       their links to certain named TRUSTEES lobbyists and publicly traded

       CORPORATIONS with a history of multi-level RICO crimes and a documented

       history of widespread interstate crimes designed to funnel money to fund

       INTERNATIONAL TERRORISM in the MIDDLE EAST. Notably, to date, all the

       above-referenced TRUSTEES named in this case as recipients of these insightful and

       Incriminating 40 pages, which ended on page 101, remain affirmatively SILENT in

       response to all of this CRIMINAL EVIDENCE showing these TRUSTEES as being

       an ongoing THREAT to America's NATIONAL SECURITY.(Bold and underlined

       emphasis added)

   h) The TRUSTEES of the ''NONPROFIT' and "FOR-PROFIV CORPORATIONS -

       beginning on page 102 and ending on page 175 - in overview of TRUSTEES ''STATE OF

       MICHIGAN'S^' perpetual support of its ""licensee" and "subset" CRIMINAL

       ENTERPRISE of the MICHIGAN STATE BAR, whose attorneys are in control of

       decision-making at the ANN ARBOR CENTER FOR INDEPENDENT LIVING, the

       MICHIGAN PROTECTION AND ADVOCACY SERVICE (which changed their name

       to DISABILITY RIGHTS MICHIGAN), the AMERICAN FREEDOM LAW CENTER,

       and the NATIONAL DISABILITY RIGHTS NETWORK),which BENEFICIARY David

       Schied provided "reasonable cause to believe" that all are engaged in a "Continuing

       Financial     Crimes     Enterprise"     disguised    as   "NATIONAL     NON-PROFIT

       CORPORATION(s)" funded by sovereign People as "taxpayers" of the STATES and

       UNITED STATES. These are "persons" who are otherwise required by law, and/or by

       CORPORATE charter and other publicly disseminated "mission" statements, to provide

       support and      assistance to     disabled       Americans who   need   ADA-required

                                                94
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       '•'^accommodations''' and ADA-required '•'•accessibility" for ^'submitting" civil,

       administrative, constitutional      and/or       CRIMINAL    COMPLAINTS          drafted

       independently by disabled people, or with the "legal representation" of an attorney as

       a "judicial court officer",-

150.   In effort to simplify things even further for the addressees at the NATIONAL level of

   APPELLATE review, BENEFICIARY added a "cover sheef to the 222-page correspondence

   which contained a TABLE OF CONTENTS pointing out the key segments and page numbers

   where the TRUSTEES as "addressees" should focus their varied "reviews", particularly as

   those reviews look into the "predicate" level of criminal RICO acts committed by TRUSTEES

   "STATE OF MICHIGA:N". This included a long history of BENEFICIARY David Schied

   having meticulously documented "administrative appeals","FOIA requestsfor documents",

   "CRIMINAL COMPLAINTS", and gathering years of EVIDENCE against the TRUSTEES

   agents and officers usurping the sovereign power ofthe People at this STATE level.




^ Notably, the remaining pages between pages 176 and 222 consisted of the sworn and
noi^mek AFFIDAVIT ofBENEFICIARY Titkvid. Schied attesting to the truth of the entire
contents of the entire 222 pages, which additionally included the relevant items as primary and
supplementary support documents consisting of the following which have also been "affirmative"
but "criminally gross negligently" dismissed and ignored by all recipient TRUSTEES as recipients
of this 22-page correspondence dated 10/10/20. The only exception might be the USDA as it
pertained to the aceompanying submission of BENEFICIARY'S completed "USDA PROGRAM
DISCRIMINATION        COMPLAINT FORM" ("0MB                CONTROL NO. 0508-0002"') that
formalized BENEFICIARY David Sehied's COMPLAINT against the TRUSTEES MDHHS and
STATE OF MICHIGAN regarding the deprivation of FOOD BENEFITS. As a matter of
significant FACT, even after BENEFICIARY David Schied appropriately responded in
thorough and verifiable accounting of FACTS answering the USDA's request for
clarification and/or for additional information,the TRUSTEES of USDA continued -like all
other fiduciary TRUSTEES of the UNITED STATES - in the criminal pattern and practice
of allowing the predicate RICO and domestic terrorist crimes to continue unabated by the
many named agents and officers of the STATE LEVEL TRUSTEES of the MDHHS and the
STATE OF MICHIGAN.(Bold emphasis added)
                                               95
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Evidence of currentstatus of being EVICTEO from my home- p.42

Eviden^fBrist witten mmpiairtsubmitted to USDIIHS OiG(abbreviated)-pp.46-65
    ^Onf^^^freSipSparateS^^enife 59-pages of COMPlAiNT as completed
 online on ^25/20 in a faulty system that barred acceptance after mmpletion)

IMPORTANT TO NATIONAL SECURITY:"WE NEW mERICAN CRIME SmOlCATF(copyrighted material)-
Evidence presented of my connecting the dots between FBI and USDOJ coverup of CORPORATE funding of
International terrorism and DFL-DNC lobbying of(XINGRESS(with MICHIGAN SenatorStabenow and others)
for disease/pandemic research linked to the FARM Billand the DBAMA ADMINISTRATION (just die "tip of
theIceberg"ofthe fuller story)as'domestic terrorism"-pp.71-102

Bdde^rf^OTatecomndttedbyMDHF^^                         against the most vulnerable
Sn^Ssof elJefTy,"lor^nTSsSS;fieing aSTSereS'uplryffSTATE BAR OF MICHIGAN crime
syndicate attorneys and NATIONAL NONPROFITS receMng"Federal"hindsfor"Protection and Advocacy"-
pp.102-176

The"MDHHSAPPUaWN FOR HEALW COVERAGE& HELP PAYING COSTS"-pp.177-179(copied to MDHHS)

The"USDA OmiMmTION COMPLAINTFOR^ was also sent separately as 3-pages ONLY to the USOA

The "ORIGINAL(81




                                                                 l-pJ22

 151.   On 10/22/20, BENEFICIARY David Schied addressed updated communications to

    TRUSTEES named herein as the USDOE, ECMC, NELNET, U.S. TREASURY, SOCIAL

    SECURITY ADMINISTRATION,PHEAA, and the THREE CREDIT BUREAUS as shown

    below; written again in opposition to the FALSE CLAIMS being made by these TRUSTEES

    against BENEFICIARY David Schied. Additionally, this correspondence reasserted the

    COMMON LAW CLAIMS being assessed against these TRUSTEES based upon a

    longstanding "FEE SCHEDULE" being applied for numerous previous years against each
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      action these TRUSTEES that were affirmatively undertaking, as they advanced their RICO

      '^'conspiracy to deprive ofrights''' while using various forms of FRAUD to harass, COERCE,

      and retaliate against BENEFICIARY David Schied in their ongoing efforts to ruin

      BENEFICIARY'S reputation and his credit worthiness; while also "doubling-down'"'on forcing

      BENEFICIARY as a disabled man out of living independently in the Least Restrictive

      Environment, and into an authoritative '■Hnstitutionar form of living arrangement as a

      result of other TRUSTEES actions to cause an illegal eviction during a CDC

       moratorium'^ on evictions. (Bold emphasis)

                                                   THIS IS AN ATTEMPT XO COLLECT UPON
       FROM:                                      DEBTS         OWED.     ANY      INFORMATION
       David Schied — the tniured party as "Crrdhnr" OBTAINED WILL BE USED FOR THAT.
                                                  '■ptJRPOSE.
       Novi, Michigan 48377                        YOUR ACQUIESCED DEBT HAS BEEN IN
       248-974-7703 (all calls recorded)          DEFAULT FOR 1VHJI.T1PUE YEARS. YOU AlUSt
                                                  ISOWFAY THIS DEBT INFULL.'
        10/22/20


 TO: The Public-Private ENTERPRISE of the follovdng fictionally named entiti^ acting as a sjungle
                    OF "DEBTORS" hi Fraud,Extortion, Identity Theft, Racketeerhig, and Terrorism

  A                                                     DEBTOR; U.S. DEPART. OF THE TREASURY
                                                        ATTN: Steven Mnuchin. SECRETARY
                                                            Pennsylvania Avenue, NW
 BALTIMORE, MD 2123d                                    Washington, D.C. 20220
  DEBTOR: EDUCATIONAL CREDIT MNGMT CORP
  ATTNiFEDERALOFFSET
 PO 16288                                               DEBTOR: NELNET
  ST. *PAUT.,MN 55116-0288                              Total and Permanent Disability Unit
  800-367-1590                                          P.O. Box 87130
 DEBTOR: PENNSYLVANIA HIGHER EDUCATION
                                                        68501-7130
               ASSISTANCE AUTHORITY (PHEAA)
 ATTN: OFFICE OF CONSUMER ADVOCACY
 nOONORfHTrHST. HARRISBURG, PA 17102                   DEBTOR: U.S. DEPT. OF EDUCATION
                                                       400 Maryland Avenue, SW .
       DEBTOR: EXPERIAN                                Washington, D.C. 20202
       P.O. BOX 9701
       ALLEN. TEXAS 75013
                                                          DEBTOR: TRANS UNION, LLC
       DEBTOR: EQUIFAX (INFORMATION SVCS, LLC: P.O. BOX 805
       P.O. BOX 105069                                  ' WOODLAND, PA
       ATLANTA, GA 30348-5069                             19094-0805

SUBJECT: YEAR-END REVIEW / DEMAND REDACTION OF ''ZOMgJF' DEBT

                                                  98
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 PRIVATE PUBLIC PROXY
                                       FEE SCHEDULE AND INTEREST COMPOUNDED(QUARTERLY)
                                                (updated 11/1/19 to begin in effect immediately and included in
 NovijilCraGAN4837?                                                       the next bilBng cycle for 2020)***

 OUAST-GOVERKMENT AGENTS                         REP. ACCNTNos./AGENCY aAlMS
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                                                  4277790B43FD0****.                             FAILURE TO RESPOND/
     • NELNET          ■                          Any others'(toown orunkno™)                    CONTINUED DEFAULT
     • SSA                                                                                       REFUSAL TOPAYON                      $2,000,000
     • US.DEn.OFTREASURY                          Any claim ofDebt Refereacing Anv               DEBT COLLECTION                    (each billed aaencv)
     • All other                                  of the Following;                              NOTICES**

                                                 •■ USDOE                                        COMPOUNDED QUARTERLY
                                                 • FEDERAL STUDENT                               INTEREST ATTHELOWRATE
                                                      AD                                                                                     5%
                                                  • EDF1M)/PHEAA
                                                  - SALIIBMAE/NAVIANT
                                                  • NELNET
                                                  • Any agents ofthe above

 PRIVATE CREDIT BUREAUS                          All "File Numbers"and/or "Account                                  SAME AS ABOVE
 (known and unknown)                             Numbers"Associated with the ID of
    • BQUIFAX                                     David Schied ID.DAVID SCHIED 0.
     • TRANS IMOK                                or Anv Other Reasonable Facsimile
     • EXPERIAN
     • Any others reporting false
       infonnalion after being put
       "on Ko/fcg" and challenge
       oftheir reporting inaccuracies

 * Bus cost is ev^y distributed amongst the Coasoitnim of Al!Lbtel"Oua^-GmrmaitAmtf and "Private Credit garmf Paitidpalicg in the Common
 ObjectivesofDamaang the^ofDavM Schid © in Ar^'W^- Wh^ver,including"h? ComsK^'
 *•This fee is a puridve amount addd ftir die continaai(inmon LawIon"vioiadom b dam^|«ra)nal credit and pessdng frmiifon the public for wfuch
 future lirigatfoti   aeceaa^.
    ► Additioaaliy,"(ki/kAQim^M!fi^mhe magnammoosiy ofteredb good fiiithb effort to "settle" the "scmats" on aa (Eidrndua! bases at the discretionof


 Yoa have als« ehosen to disrawrd
  m? gtMcl faith eff»rts t® resolve
            vowr debts cnuicMv aad easiv!
                                                                             2

                                                                              99
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152.   As shown, on 10/22/20 and thereafter, the named TRUSTEES continued to affirmatively

   ACQUIESCE(by'TACIT AGREEMEND to the charges ofthe FEE SCHEDULE issued that

   previous year, as updated from the previous many years of private BILLING and DEBT

   COLLECTION ACTIONS under the COMMON LAW,because these fiduciary TRUSTEES

   have a long and well-documented (by BENEFICIARY David Schied) history of RICO and

   DOMESTIC        TERRORIST        activities, not      only   DISCRIMINATINGLY   targeting

   BENEFICIARY David Schied, but also many other allesed student loan debt holders, against

   whom similar RETALIATORY activities have long been occurring.

 As such, your previous debt compounded quarterly ^vith an interest rate of 5% was
 calculated as follows from 11/1/19:


 1" QUARTER=$375,600,698.76
    QUARTER=$380,295,707.50
 3^''QUARTER = $385,049,403.84
 4»''QUARTER =                         $389,862,521.39 = New Subtotal

         8389,862,521.39(PAST DUE - -'Subtotal #1")
         + 130,000,000.00(NEW CLAIMS OF DAMAGES--Subtotal #2^')
         + 22,000,000.00(NEW CL.4IMS OF DAMAGES -"Subtotal #3")


         s 541,862,pi.39 = TOTAL NOW OWED

       YOU MUST PAY IMMEDIATELY AND IN
       FULL TO AVOID FURTHER CLALMS AND
       ADDITIONS                 TO        THESE                CHARGES, IN
       ACCORDANCE                           WITH                 THE        "FEE
       SCHEDULE''                    YOU                 RECEIVED            AND
       ACQUIESCED TO ONE YEAR AGO (a copy of
       which is embedded herein above for your future
       convenience)
                                               100
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153.    As referenced above, TRUSTEES of the U.S. DEPARTMENT OF AGRICULTURE

   ("USDA")were the only ones to respond to any ofBENEFICIARY David Schied's secondary-

   level letters of APPELLATE COMPLAINT. That response occurred by written

   correspondence dated 10/28/20 (containing USDA "^^Correspondence Number: 2021-COR-

   1355d sent by an agent ofTRUSTEE Roberto Contreras, acting as the agent for TRUSTEE

   '"USDA SECRETARr Sonny Perdue and TRUSTEE Devon Westhill of the USDA "OFFICE

   OF DEPUTY SECRETARY FOR CIVIL RIGHTS'. Without addressing anything whatsoever

   about the ALLEGATIONS and EVIDENCE of BENEFICIARY'S previous 222 pages of

   previous correspondence sent out on 10/10/20, the 10/28/20 letter had only to command,"The

   date you were denied Supplemental Nutrition Assistance Program (SNAP) benefits."

154.   Acting immediately, but subject to the physical limitations typical of a totally and

   permanently disabled quad-amputee,BENEFICIARY David Schied completed his reply letter

   dated 11/18/20, again having to sport the printing, packaging, and mailing costs for sending

   out an additional 18 pages (beyond the first 222 pages) in practical "answeV to the USDA's

   solicitation for even more information.


155.   Again,in order to ensure that all TRUSTEES-operating individually in private and public

   capacities along with collectively as the TRUSTEES "UNITED STATES'~ remain literally

   "on the same page" in full knowledge and with FIDUCIARY accountability as TRUSTEES of

   BENEFICIARY'S various constitutional, legal, and Civil Rights guarantees,the "Reply" to the

   USDA's narrow and conditional inquiry was sent to all of the previous addressees of the

   10/22/20 correspondence of 222 pages as shown below in graphic format, as is the preferred

   "form" of communicating of this BENEFICIARY David Schied.




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       David Schied                           A^essees also recipients of Uiis same infonnation at:
       46675 W. 12 Mile Rd.                  FOOD AND NUTRITICN SERVICE
       Novi,Michigan 48377                    OFHCE OF CI\TL RIGHTS
       248-974-7703                           3101 PARK CENTER DRIVE                    ROOM       1200
       (all calls recorded)                   ALEXANDRIA,VA 22302-1594
                                              NOTICE TO AGENT IS NOTICE TO PRINCIPAL;
       11/3/2020
                                              NOTICE TO PRINCIPAL IS NOTICE TO AGENT.

       Attnr Roberto Contreras,Dlr^tor of CIVIL RIGHTS DIVISION
       Acting on behalf of Sonnv Perdue and Devon Westhill
       UNITED STATES DEPARTMENT OF AGRICULTURE
       FOOD AND NUTRITION SERVICE
       BRADDOCK PLACE OFFICE
       1320 Braddock Place
       ALEXANDRIA,VIRGINIA 22314


                                       UNITED STATES CONGRESS                UNITED STATES SENATE
   UNITED STATES SENATE
                                       ATTN: StCTV Hover-                    ATTN: Mitdi McConnell-
   ATTN:Lindsay Graham.Chair
                                                           Majority Leader                   Majority leader
  SENATE JUDICIARY COMMITTEE
                                       1705 L^gworth House Office Bldg.      317 Russoll Senate Office Bldg.
  ^0 Russell Senate Office Building
                                       WASHINGTON,DC 20515                   WASHINGTON,DC 20510
   Washington. DC 20510
                                       Phone:(202)225-4131                   Phone:(202)224-2541
  Phone:(202)224-5972

 UNITED STATES CONGRESS                ATTN: WffliamP. Barr                  ATTN:Sonnv Perdue. Secretary
 ATTN: Matt Gaeti-Absolute Warrior,    USAG,U.S. DEPT.OF JUSTICE             U.S. DEPT.OF AGRICULTURE
 HOUSE JUDICIARY COMMITTEE             950 Peimeylvania Avenue, NW           Office ofthe Assistant Secretary
 1721 Long\yorth House Office Bldg.    WASHINGTON,DC 20530-0001              for Civil Rights
 WaHliinglon, DC 20510                                                       and,
 Phone:(202) 224-4136                                                        Devon WesthiU, Depidy- OASCR
                                      VTfN: Eric Drciband. A5sist.AG
                                      USDOJ-CIVIL RIGHTSPmSTON               1400 Independence Avenue,SW
  UNITED STATES CONGRESS
                                                                             Washington, D.C. 20250-9410
 ATTN:Jitn Jordan. Ranking Member 950 Pennsylvania Avenue,NW
 - HOUSE JUDICIARY COMMITTEE          Washington,DC 20530-0001
 2056 Raybum House Office Uidg.       (202)514-4609/(202)514-3847            ATIN: Andrew Saul. Commissioner
 WASHINGTON,DC 20515                                                         SOCIAL SECURITY ADMIN.
 Phone:(202) 224-2676                  NO NAME.Insnector Gencfat: and,       1100 West High Rise
                                       Christ! Grimm,Principal Deputy        6^1 Sccurily Blvd.
                                       Inspeccor General                     Baltimore, MD 21235
   ATTN: Steven Mnuchtn. Secrctarj'
                                       OFFICIC OP JNSPtXrrOR GENERAL
   U.S. DEPT.OF TREASURY                                                     800-772-1213
                                       USDHHS
   1500 Pennsylvania Avenue,NW         330 Independence Avc.,SW
                                                                             and,
   Washington,D.C. 20220               WASHINGTON,D.C., 20201                27650 F.ARMINGTON RD
                                                                             FARMINGTON HILLS,MI 48334
       Donald Trump. U.S. PRESIDENT                                          866-331-2210
       THE WHITE HOUSE                        WASHINGTON,D.C
       1600PENNSYLVANIA AVE,NW                                20500




       Rc; CorrespondMcc Nmnhcr:2021"CQR-13556- Request
       for additional infonliation:                    . The date vou were denied
       SuDPlemental Nutrition Assistance Fweram (SNAP)bmefits^^

156.     As ofthe date ofthis instant "Federar lawsuit filing, NONE ofthe fiduciary TRUSTEES have

    responded back to BENEFICIARY,except TRUSTEE Roberto Contreras who has affirmatively

    DISMISSED all of BENEFICIARY'S CLAIMS using ''FRAUD BY OMISSIONS'', leaving


    ALL COMPLAINTS "///gff' by BENEFICIARY still without remedy.(Bold emphasis added)
                                                            102
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157.    On 12/29/20, BENEFICIARY Schied received the following FRAUDULENT correspondence

   from TRUSTEES USDA,being agent Roberto Contreras, and his ""respondeat superiors'' of Sonny

    Perdue and Devon Westhill, as dated 12/14/20 and date stamped as mailed on                      12/17/20:

 ysi^                                                                                      THIS LETTER IS ''FRAUD BY
 tfflH Unted 8Mn DapstiMntof Afftoidia*                                                    OMISSIONS''         and       itself
                                                                                           discriminates against
                                                                                           BENEFICIARY         David    Schied
                                                                                           for the following reasons:
                                                                     Food and
 December 14,2020                                                                          1) The letter uses procedure
                                                                     NuMkm
                                                                     Santo*                   over substance by wrongly
 David Schied                                                                                 focusing on 2018 and 2019
                                                                     Braddock Rac* Oflkx
                                                                                             when        the    TRUSTEES
 Novi, Ml 48377
                                                                     1330BraftiQekPlBca      MDHHS were reported to
                                                                     AtoxandriaVA 22314
                                                                                             have first STARTED their
 Correspondence Number: 2021-CX)R-13556
                                                                                             discriminatory acts (in ^he
 Dear Mr. Schied:                                                                            immediate aftermath of the
                                                                                             ATTEMPTED             MURDER
 This letter is in reference to your cmnplaint received by the U.S. Department of            and amputations of both legs
 Agriculture(USDA),Food and Nutrition Sravke(FNS)Civil Ri^ts Division                        and seven fingers, rather than
 (CRD)on October 22,2020.In a letter dated October 28,2020,FNS requested                     putting proper focus in the
 Mlditioi»i infonnatioo from you in order to proceed \ridi an investig^im. Your              FACT that the "deprivation o
 respcmse to that letter was received on I^ventoer 3,2020.                                   rights'" to **Food Benefits" has
                                                                                             been   an     ongoing     process
 VtHg ctHBplaiat is untimely filed, and we are unable to t>rocess it In your
                                                                                             through "sham      appeals
 complaint, you alleged that in 2018 and 2019 the Michigan Department of Health
 and Human Services d^oiminated asamst ymt regarding the administnftion of
                                                                                             throughout this time to the
                                                                                             very oresent!
                                                                                   2) Note the criminal tactics used
 filed withmlSO                                     .ed ^scrimin^ry event Your        by the TRUSTEES USDA (as
                                               eddi                                   a "pattern and practice'"' also
                                                                                      used by TRUSTEES at the
 If you submit evidence to support a **good cause" explanation for the delay in       MDHHS) to          place the
 filing your complaint, we will consider re-opening our c&x file. Please note diat    disabled at a disadvantage, by
 lack of knowledge about the filing lequirments does not constitute "good cause.      withholding dated materials
 Accordingly, y(Hi have 20 days from the date of this letter to submit an
                                                                                      mailings for multiple days
 <»planaticm for your dela;^^>M«[,,^e will remain clewed                              before actually sending. In
 Thank you for brin^g your d^ems to ow attdtttea.,«,Kyou have any qu^tioa                    this case COVID-19, election
 please contact the      Civil lu^ts OivisioQ at(703)                                        fraud,and the holidays add to
                                                                                             the "timing" problems.
 Sincerely,                                               hadMNtiMieoSMMM

                                                kfiatun   Soti



                                                                                                                       m'&h
          fvr
 Roboto Contraas
 Director, Civil Rights Diviskm
 Food and NutritioQ Serv^
 U.S. Departmcm of Agriculture
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158.   The above''DENIAL" letter is blatantly fraudulent because it uses procedural"regulations'^

   to overshadow the SUBSTANTIVE fact that the same TRUSTEES MDHHS "case manager"

   and the "case manager"that BENEFICIARY has long been naming as the "criminally accused"

   - with      EVIDENCE       posted    in   the   form   of a   2016    documentary    with   a

   "hidden camera" showing the execution of their earlier CRIMES for which they STILL have

   not been held accountable - are still running roughshod over BENEFICIARY Schied's various

   needs at the STATE level as a recent totally and permanently disabled quad-amputee. That

   documentary - by which another hidden camera was used by BENEFICIARY David Schied to

   capture the criminal undermining and deprivation of BENEFICIARY'S constitutional rights

   under color of(administrative) law, has been posted since 2016 at the following URL link by

   reference to the accompanying title captioning: RICO Busters #20 Fraudulent Administrative

   Law Proceedinss in Michi2an. PTI(44:40 minutes)

   httns://w>vw.voutube.eom/watch?v=tM7TJJ4TNUw


159.   Finally, on 11/15/20, BENEFICIARY took further pains and great unaffordable financial

   costs in writing, printing, and sending out to TRUSTEES yet another "THIRD NOTICE" of

   correspondence shown as "finished" on 11/12/20 addressed again to the following TRUSTEES.

160.   As shown by EVIDENCE of the "cover page" of that 24-pages of added correspondence

   addressed to a large number of named TRUSTEES,BENEFICIARY had believed then to be

   acting under extreme duress and THREAT OF VIOLENCE by the TRUSTEES led by Ava

   Ortner who were pressing forward with "eviction" proceedings in CONTEMPT OF

   CONGRESS and/or in "CRIMINAL CONTEMPr of the TRUMP ADMINISTRATION'S

   "CDC ORDER"ofEVICTION MORATORIUM,which had long been known to be extending

   through the end of the 12/31/20 calendar year. This is an eviction moratorium that-according

   to information and belief - now promises to be further extended into 2021; but with the

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   TRUSTEES persistently disregarding those ''Federar CDC ORDER in spite ofthe inherently

   stiff CRIMINAL penalties for it being a criminal violation, by moving forward anyway against

   BENEFICIARY David Schied with the FORCE of the TRUSTEES at the 52-1 DISTRICT

   COURT and its power to send people with guns to the home to force eviction of

   BENEFICIARY David Schied without first addressing his needs and Rights as a totally and

   permanently disabled quad-amputee, in gross disregard of the AMERICANS WITH

   DISABILITIES ACT.


                                          This     letter      includes         added       CI.AHVIS, FACTS                 and
            David Seined
            46675 W. 12 Mile Rd.
                                          EVIDENCE               about          government          crimes            of   gross
            Novi. Michigan 48377          negligence, dereliction of duties, malfeasance, RICO,
            248-974-7703                  Sedition,Ti'eason, and                              terrnrismThis follo^V-
            (all calls recorded)
    Twritleu responses preferretl)        up., iidds ^''Obsfruc/ion of .Tustice'"' \Yy '-**17\'HKRIiNT
            J 1/8/20 mntshed on           CONTItMPT OF                     CONORi-SS'' and               **THRKA T
                                                               against a auad-amnutee. ■ .                        r
       AITN: N'ina                   Chieforstan;        ATTN: Ken Cni-<fii>. Secretary           IIlT>-OIG - Rao Oliver Davis
       C13Cantl Prevention,                              V.S. DEPT. OF HUD                        c/o Kathleen Hatcher. Director
       1600 Clifton Road NE. MS H21- i O,                451 7"> Street SAY..                     of Consressional AlTaiis
       Atlanta, d/V 30329;                               WASHINGTON. D.C. 20411)                   KHatchor(ff:hu«lolG.gov
       Teleplione: 40-1-639-7000:                        Tel; 202-70S-1112                        contactfff'hudolg
       Eiiiail: alcrvTiiihifiottsiS^cilc.aov
                                                   X^-NITED STATES CONGRESS
       cdc%vastilngKm@cdc.g<>v                                                                  HUD OIG. David Montava
                                                   ATTN: SignvHover-
                                                                                                Office of Investigation
     t'NITED STATES SENATE                                                Majoiity Leader
                                                                                                Patrick McNaniara Federal
     ATFN: l-intlsav Orahani- Cliair               1705 Longwortli House Oflicc Bldg.
                                                   W.ASHINGTON. DC 20515
                                                                                                Btiilding. Rooiir 1700, Field Office
     SENATE JUDICIARY COMMITTEE
                                                                                                477 Michigan Avenue
     290 Russell Senate oniee Building             Phone; (202) 225-4131
                                                                                                Detroit, MI '18226
     Washington. DC 20510
     Phone;(202)224-5972                           ATTN: WtHlam P. Barr
                                                   USAG, XLS. DEPT. OF JUSTICE                  ATTN; Michael Horowitz. Chair
    I'NTTED STATES CONGRESS                        and. KHc nreil»an<l. Avsisl.AG               PANDEMIC RESPONSE
     ATTN: Matt Gaetz — Absolun> IVort-ior,        USDO.I - CIVIL RIGHTS DIV.                   ACCOUNTABILITY COMMITTEE
    HOUSE JllDICIARY COMMITTEE                     950 Pennsylvjuiia Avenue. NVV                INSPECTOR GENERAL, USDO.I
     1721 Longworth House Office Bidg.             WASHINGTON. DC 20530-0001                    c/o COUNSFI. OF TG ON
     Wasbingion. DC 20510
    Phone; <202)224-4136                            ATTN: F.ugeneScaHa. Secretary'              INTEGRITY 6^ EJ-FTrTENCV
                                                    U.S. DEPT. OF E^VBOR                        1717 H Street. NW. Suite 825
       UNITED STATES CONGRESS                       200 Coi'^iimtion Ave, NW                    Wasliington, DC 20006
     .ATTN:.Itm .Tor«lnn. Ranking Member            WASHINGTON. DC 20210                        cigle.informatlonfa'ctole.qQV
      -■ HOUSE JUDICIARY COM^nXTEE                  S66-1S7-2365
      2056 Rayburu Honse OlTlce Bldg.                                                         UNITED STATES SENATE
      WASHINGTON. DC 20515                                                                     ATTN; Mitch McConnell -
                                               NO NAMF.. Inspector General: aud.
      Phone: (202) 22-1-2676                                                                                   Miyoiiiy Leader
                                               Cliristi Gtiiiiin. Piiiicipal Deptuy
                                               hispector Geiicial                              31? Russell Senate Office Bldg.
    ATTN; Steven Mnuchin. SEecietaiy                                                           WASHINGTON. DC 20510
                                               OFFICE OF INSPECTOR GENERAL
    U.S. DEPT. OF T-RE^VSURY
                                               USDiniS                                        Phone: (202)224-2541
    1500 Pennsylvania Avemte. NW                   Tiideitendeiice Ave.. S\V                .ATTN: Andrew Saul. Commissioner
    Washington, D.C. 20220                     WASHINGTON. D.C.. 20201                      SOCIAL SECURITY ADNHN.
                                                                                            1100 West Higli RLse
        Donald Trump. U.S. PRESIDENT                                                        6-101 Secmitv Blvd.
        THE WHITE HOUSE                                 WASHINGTON, D.C.                    Baltimore. MD 21235
        1600 PENNSYLVANIA AVE, N\V                                         20500
                                                                                            800-772-1213

          XIPDATE TO PREVIOUS P1;BL1C NOTICES OF 8/10/20, of
           10/10/20. and of 11/3/20 of OONSTITUTIONAE and CIVIE
         Sights vidIations,;ahd (again) CRIMINAL COMPLAINTS
           4       of pOlVrESTIOTERlRORISM BV STATE AGENTS
                                                                page 1OF 24

              TO; Donald Trump, .Michael Hoi^wltz, Ben;C;u-?»ot», Rae Oliver DaVls,'Nina'Wlfkor?.ky. T.lnd.say
              Graham, Steuy Iloyei,Mitch-McConneli, >Iatt Caetz. Jim Joi-itlaiif EugeneSc'aiia; PWHIiam Bard
             PKrIc Dreibiind,.-Andrew Saul, Steven Mhtichlh, ,NO NAME Inspector- General of the
             U.S.D.II.ILS.; Ghrlstl Giimin. and Othcrs of the PANT>E>nG RESPONSE .ACCOINT.ABILITV
             CO.MMIITEE            and    COUNSEL        OF     INSPECTORS            GENERAL       O.N - LNTEGRI IYANh
             EFFICIENCY


                                                                    105
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        FACTS AND EVIDENCE ON HOW THE MOST RECENT                              CRIMES
                            GOT STARTED AND PLAYED OUT


161.   The factual details support the premise of this case in that the acts of the CO-TRUSTEES

   Ava Ortner, "Lega/ Guardian^' AVA ORTNER and her mentally deranged ''ward' Donald

   Thorpe, Jr., had engaged in provable acts offraud and misrepresentation in the attempt to trick

   BENEFICIARY into signing a"New Lease" which would be immediately transferrable to any

   third party withing to use the enforcement of that newly signed contract to "evict"

   BENEFICIARY during a nationwide, indeed an international "Coronavirus" pandemic by

   BENEFICIARY'S own "signed consent".

162.   That act itself may seem innocuous if not for the FACT that the intentionalfraud and

   misrepresentation were captured by audio RECORDING of other '^oraV^ promises being

   made, which were meant to be carried out in conjunction with the signing ofthe "New Lease"

   otherwise stating just the opposite. In other words, while AVA ORTNER had coerced her

   "ward" - the demented war veteran Donald ThorpCj Jr. to assuring BENEFICIARY that

   signing the contract was irrelevant given his oral assurance of BENEFICIARY staying in the

   home until the following Spring (2021) at minimum, and likely for yet another year beyond

   that, CO-TRUSTEES Ava Ortner and AVA ORTNER meanwhile had constructed a "New

   Lease" contract to be fraudulently presented by her CO-TRUSTEE Donald Thorpe in

   "transferrable" terms with only 60-days "notice to quit" by by solicitation of

   BENEFICIARY'S own signed consent. These joint acts constitute both civil and criminal

   ABUSES ofthe elderly and the disabled, by law.

163.   While the "conflicting terms" between the written and verbal contract offers were clearly

   planned with the intent to DISCRIMINATE against BENEFICIARY as a "totally and

   permanently disabled quad-amputee" in effort to COERCE him into signing a contract that

   could be used against him by anyone wanting BENEFICIARY evicted from the home, without
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   regard to any existing STATE or NATIONAL ^''eviction moratoriunC\ when BENEFICIARY

   asked for more time to consider the legal ramifications of his signing such a contract

   under such misleading and/or confusing conditions, the actions of CO-TRUSTEES

   Ortner and Thorpe turned RETALIATORY,with TRUSTEES ordering the immediate

   "ev/W/o/i" of Beneficiary during a Federal moratorium on such evictions as a matter of

   both personal and societal safety.

164.   BENEFICIARY having fiilly apprised about the eviction moratorium made no difference

   whatsoever to CO-TRUSTEES Ortner and ORTNER - as member of the STATE BAR OF


   MICHIGAN crime syndicate and domestic terrorist network, who subsequently stepping up

   her criminal activities to successfully evict BENEFICIARY David Schied, in spite of the

   FACT that disabled renters are entitled by Right to "^'reasonable accommodations''' under the

   AMERICANS WITH DISABILITIES ACT.In this case, despite the many opportunities to do

   so, CO-TRUSTEES have never once proffered any such accommodations. There reason for

   NOT doing so is strictly financial, being also deceitful and thus,FRAUDULENT;as the basis

   is explained below as linked to a "land development deaV that also involves a "criminal

   conspiracy to deprive of rights'" along with CO-TRUSTEES named as NOVI CITY

   COUNCIL, CITY OF NOVI and COLLIERS INTERNATIONAL in a continuing financial

   enterprising scheme to raise the real estate values of adjoining properties by filling in

   designated "environmental wetlands" with imported fill dirt and grading three adjoining

   properties together for commercial building construction as soon as BENEFICIARY David

   Schied is "evicted" from the property...and in the view of co-TRUSTEES,"the sooner the

   better" and "by whatever means necessary"^ even ifit involved incorporating TRUSTEES "52-

   1 DISTRICT COURV agents and fellow STATE BAR OF MICHIGAN crime syndicate and

   domestic terrorist network members.


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165.    The scheme was documented by sworn and notarized STATEMENTS in the

   ''^DECLARATION'^ signed by BENEFICIARY David Schied on 10/15/20 before then being

   also ^''served" upon the CO-TRUSTEES by "'Certified MaiF. The details of that scheme are

   outlined as follows, demonstrating the high level of tortuous egregiousness exhibited by the

   criminals herein identified as CO-TRUSTEES.

    THE CO-TRUSTEES'CRIMINAL SCHEME OF FRAUD WAS DISCRIMINATORY

166.    On one particular occasion of9/9/20 while BENEFICIARY was monitoring the interior of

   his home with a recording device, CO-TRUSTEES Ava Ortner/AVA ORTNER and Donald

   Thorpe, Jr. showed to BENEFICIARY'S rented home with a second copy of CO-TRUSTEES'

   "New Lease" contract and a copy of a previous lease from 2014-2015, while pressuring

   BENEFICIARY to sign the new lease contract"as is" and without providing BENEFICIARY

   the time he said was otherwise needed to consider the legal ramifications and/or to seek other

   legal counsel, even as the contract itself had otherwise stipulated a recommendation of

   BENEFICIARY doing so. CO-TRUSTEES Ortner and Thorpe worked in "tag-team" fashion,

   Ortner remaining in the driveway with the car running and Thorpe, an army veteran, walking

   into the home on short notice to pressure BENEFICIARY into signing.

167.    At the time, BENEFICIARY recorded the 13-iiiinute conversarion - which was

   verbally slated for RECORD dating - and TRUSTEE Thorpe entered BENEFICIARY'S


   kitchen, after which Thorpe asserted and/or admitted to the following, as a matter of


   record:


  a) That he was fine with BENEFICIARY having informed him right away that despite

       BENEFICIARY having a long, impeccable, track record of magnanimously paying him

       monthly throughout all of the previous months of COVID-19-and despite the TRUSTEES

       STATE OF MICHIGAN having for several previous                  months been screwing

                                              108
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     BENEFICIARY'S chore services worker by refusing to provide her with owed

     '^unemployment benefits''' - once she got over that battle the TRUSTEES STATE OF

     MICHIGANYidd subsequently begun destroying BENEFICIARY'S own precarious finances

     by illegally garnishing money (i.e., to pay for MEDICARE PART B premiums) from

     BENEFICIARY'S monthly banking deposits needed for paying BENEFICIARY'S usual

     monthly expenses; and thus, BENEFICIARY might begin to have difficulties in making

     future rent consideration payments, starting with the month of October as a result.

  b) That for some reason, TRUSTEE Thorpe was only too willing to evade answering

     BENEFICIARY'S question presented to Thorpe about the first paragraph of said "New

     Lease"^ which contained a written "NOTICE'' in reference to "rights and obligationsfor

     parties to rental agreements'''' and recommending such that "[BENEFICIARY] seek

     assistance from a lawyer or 'other qualified person"'. When BENEFICIARY asked

     (mentally demented) Thorpe to explain the verbiage of what "other qualifiedperson'"" meant

     to him,TRUSTEE Thorpe went offon a tangent and evasively never answered that question.

     This showed BENEFICIARY that Thorpe was either not cognizant enough himself to have

     understood the language that his own STATE BAR crime syndicate partner, Ava Ortner, had

     drafted to entangle BENEFICIARY in a "transferrable" contract with a potential future

     stranger; or that Thorpe was once again demonstrating his past propensity of engaging

     BENEFICIARY into contracts which he personally had no intention of fiilly honoring

     himself.


 c) That(quoting Thorpe)"[Even]if[TRUSTEES Thorpe and Ortner]were to sell thisproperty

     tomorrow, it would be a year before he [the unnamed new buyer] would break ground,

     'cause it takes a year to get by NOVI inspection plans". That when BENEFICIARY David

     Schied asked Thorpe specifically if he would mind BENEFICIARY including that

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     stipulation into the written contract so to have that assurance also be 'Uransferrable"" to any

     new buyer of the property, Thorpe flatly refiised, stating only, ^^That's an unknown.

     at least a year, ifnot more^\ as if it were a ^'good dear for BENEFICIARY to '"'"consenf for

     anyone to throw BENEFICIARY out ofthis home anytime during the winter,in his condition

     of severe physical disability, and at a time in which a statewide and nationwide pandemic

     presented emergency level health risks to the elderly and immune-deficient people like

     BENEFICIARY has been certified as being. (This is also an example of the '^gross

     omissions" of Ortner's writing of that contract with thefraud and deception expected in the

     last two decades of TRUSTEES STATE BAR OF MICHIGAN crime syndicate and domestic

     terrorist network members like Ortner).

  d) That '^the guy who is handling the real estate end'' of the "Yew Lease" who, according to

     TRUSTEE Thorpe          very knowledgeable about" how the CITY OF NOVI handles land

     contracts in residential and commercial real estate deals, and had assured TRUSTEE Thorpe

     that, "/7 would be at least a year" before the TRUSTEES CITY OF NOVI "approves the

     site plan [because] they would first have to change the zoning, then go for 'site plan

     approval', and it might be kicked back to them." As TRUSTEE Thorpe put it, in his own

     words,"Ye// it might be two years before they break ground."

 e) Thorpe proffered all of this above information fraudulently as his assurance that

     BENEFICIARY David Schied would be enabled to continue living in this home until at least

     the end of the Spring 2021, a stark contrast with the TRUTH OF ABUSE AND

     FRAUDULENT INTENT revealed just a very few days later by Thorpe's CO-TRUSTEE

     and legal guardian, AVA ORTNER, acting in corrupt control over the illegitimacy of

     contract law applications in this crime-ridden and lawless land otherwise known by as the

     ''STATE OF MICHIGAN'.


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 f) TRUSTEE Thorpe asserted in the RECORDED discussion that '^everything depends upon

       'Ed' moving out andfinding a new house''''. [Ed is BENEFICIARY'S next-door neighbor,

       friend, and BENEFICIARY'S self-appointed "transportation driver"". Ed and his wife have

       a landlord who apparently is in a similar business relationship as TRUSTEE Donald Thorpe

       with the "Realtor" being CO-TRUSTEES Paul Gobeille and Michael Yamada, agents of

       principal COLLIERS INTERNATIONAL, who also are apparently good friend of

       TRUSTEE Thorpe. Prior to the attempt to force BENEFICIARY from his home, apparently

       "next-door neighbor Ed' and his wife had been informed about the "land development

       scheme" also involving CO-TRUSTEES of COLLIERS INTERNATIONAL and the CITY

       OF NOVI;and Ed had volunteered to forgo the remainder of his "Landlord-Tenanf lease as

       it stood until the following July 2021; but ONLY on the condition that Thorpe, Ortner and

       the Realtor NOT DO precisely what they subsequently turned around and then affirmatively

       DID DO (as outlined herein and also in BENEFICIARY'S"DECLARATION")in attempting

       to unlawfully "evict" BENEFICIARY using the unscrupulous tactics and the unclean hands

       of STATE BAR crime syndicate member Ava Ortner.]

168.     Of course, whatever TRUSTEE Thorpe may have actually meant by his statements

   as detailed in the above paragraphs,was never of any significant meaning or consequence

   since several days later the             was exposed that TRUSTEE Thorpe was simplv

    MISREPRESENTING his and Ava Ortner's actual intent as a deceptive plov by Ortner


    hiding in the shadows of her car parked outside, so to trick BENEFICIARY simplv into

   sign a contract intending to support nothing of the FRAUD that TRUSTEE Thorpe was


    verbally outlining in the lies that were RECORDED to digital media that verv day of

   9/9/20.




                                               Ill
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 169. At around 12:30 minutes into this same audio recorded conversation between

     BENEFICIARY and TRUSTEE Thorpe in BENEFICIARY'S kitchen, Thorpe began taking

     self-aggrandizing credit for his having annually provided the septic cleanup and the

     heating/furnace check and filter change. Yet TRUSTEE Thorpe had little to say when

     BENEFICIARY Schied reminded Thorpe that BENEFICIARY had been amply paying

     Thorpe every single month - without fail - for every month of every year that

     BENEFICIARY had been inhabiting the home.

  170. TRUSTEE Thorpe did also admit- on RECORDED audio - to having fully informed the

     potential new buyer ^^Dan'\ but purportedly only verbally, about what a '^good guy that

     BENEFICIARY had been in making such consistent payments of rental consideration; but

     he only made such an admission however, after BENEFICIARY had pointed out near the

     end ofthat audio-recorded discussion that such an accomplished history oftrust was truly on

     beneficiary's part, and that TRUSTEE Thorpe had conspicuously failed to so

     acknowledge this history in the content of his proposed written "'New Lease^\ as essential

     information that BENEFICIARY otherwise thought should be "transferrable" to any

     potential new buyer without that firsthand knowledge about BENEFICIARY'S unblemished

     credit and payment history as otherwise revealing BENEFICIARY as having a high level of

     personal and/or business integrity.

  171. According to TRUSTEE Thorpe, on the RECORDED discussion, that potential "new

     buyer'"' to the home named "Dan" was someone well known to the CO-TRUSTEEs as

     brokers of COLLIERS INTERNATIONAL, whom Thorpe considered a "good oldfriend';

     and that this guy "Dan" may wish to gain access to BENEFICIARY'S home to "inspecf it

     ... at which point (as documented on the audio recording) Donald Thorpe, as the ONLY

     person appearing on the contract that he was asking BENEFICIARY to sign that dav in spite


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       of his mental disabilities. FORGOT COMPLETELY WHAT HE WAS TALKING

       ABOUT,needing BENEFICIARY'S reminder of where he was at in that conservation. This

       simply presented BENEFICIARY with even further EVIDENCE that TRUSTEE

       Thorpe was being coaxed — by his crooked STATE BAR OF MICHIGAN attorney

       guardian - as a deceptive instrument for securing a fraudulent               contract with

       BENEFICIARY under corrupted                    jurisdiction in the control of her pggr srom

       of other domestic terrorists running a monopoly on the so-called judiciary usurping the

       power- even the title - of the so-called ^^People ofMichisan^\



       ADDED FACTS EVIDENT OF''INTENT TO DEFRAUD''BY CO-TRUSTEES
        DONALD THORPE,JR. AND ''STATEBAR'' ATTORNEY AVA ORTNER

172.    Just after the above (recorded) conversation, and over the course of the following week

   leading up to 9/17/20, TRUSTEE Donald Thorpe began exhibiting erratic behaviors while

   acting under the pretense of wanting to make ''needed home repairs'^ and "property

   maintenance""^ but with the underlying intent of "harassing" BENEFICIARY and

   BENEFICIARY'S chore services worker with unannounced near daily visits to the home,

   cutting and changing a back gate lock, spontaneously asking for entry to the home (or

   requesting such entry and then not showing as planned), and peering into windows ofthe house

    under pretense of checking the eves of the house for intrusive "vines". These intensified visits

   to the home followed - in RETALIATORY fashion - in the immediate aftermath of

   BENEFICIARY first questioning the need for any "NEWLEASK^ contract, and then declining

   Thorpe's persistent pressure for BENEFICIARY to sign such a binding agreement within the

   first two weeks of September 2020, while refusing to provide him the "reasonable

   accommodation" otherwise required by the ADA for BENEFICIARY to fully consider the




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       implications of his signing such an impromptu agreement and/or seeking alternative legal

       counsel before signing. THIS RETALIATION WAS AN ADA VIOLATION.

173.      On 9/17/20, TRUSTEE Thorpe's behavior, coupled with his apparent inability to

   effectively communicate by text messaging and by telephone as he was operating in the back yard

   and around the outside of the home without prior notice or explanation, led BENEFICIARY to

   requesting - via the following EVIDENCE of text messaging conversation - that TRUSTEE

   Thorpe and BENEFICIARY come to a peaceful understanding that, to save any confusion and to

   honor BENEFICIARY'S privacy and the privacy of BENEFICIARY'S chore services worker,

   Thorpe needed simply to provide BENEFICIARY with the common courtesy of 24-48 hours of

   advanced notice of his desired visits to the home. It was at such point that STATE BAR crime

   syndicate and domestic terrorist network member - TRUSTEE Ava Ortner - took over

   Thorpe's phone and clariHed that she had been the one ^Hn charge*'' all along, and that she

   had "/larf enough^* from BENEFICIARY,and she intended to abuse her assumed position of

   power and authority by serving BENEFICIARY with an ''^eviction notice*'' the following day

   forcing BENEFICIARY to move out by 10/31/20.

174.      THIS ESCALATED LEVEL OF RETALIATION bv TRUSTEE Ava Ortner WAS ALSO


   ANOTHER      ADA     VIOLATION. It was violative of numerous of BENEFICIARY'S


   ^^unalienable** Sovereign     Rights (under       the    Common   Law   and    the   American

   CONSTITUTION)' and violative of BENEFICIARY'S "C/v// Rights*' (under                 UNITED

   STATES CODE OF CIVIL PROCEDURES'* ("USC") and the ''CODE OF FEDERAL

   REGUIA TIONS** ("CFR"). See below as the specific text dialogues that occurred on 9/17/20,

   which are to be compared and contrasted with BENEFICIARY'S RECORDED phone

   conversations with both TRUSTEES,Thorpe and Ortner,, on this very day of 9/17/20.



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                                                                                                                          '9^^57%i2;17PM

                             Don Thorpe                                               / Don Thorpe                                 CALL
                                                               CALL        -
                             248S685874
                                                                                       ■   2485686874

                                                                                                   How about 9 am

                         j? / Dave(need to get into the
                           ' garage to check the breaker                                                   ^ Jjinaj^haveanot^^
                                for the pole barn. What time                                              : around that time, and if so
                              , can I come over.
                                                                                                          ; will probably be leaving for
                                                                    3:50 PM
                                                                                                          ; awhile for coffee somewhere.
                                                                                                          ' Perhaps 11:00 or so might be
                                                        S:SB PW
                                                                   Tonight?                         9:Q7PM' a safer bet

                                                                                           A       How about 8:30 it will take a
                                No tomorrow morning.
                                                                                               :                                        S;10PM


                                         Something strange is that
                                         Barbara and 1 just discovered                                9:10 PM That works perfectly for me.
                                       ' the attic light on over the
                                         garage, it was going to come                                    ■3:10PM

                                           over with a ladder tomorrow
                                           morning about 8 to see if                                   Thjjre8a^SegtembeM0^020
                                           we could figure out why is
                                                                                                                      5:42 AM.
                                                                                                                                 Got an ETA?
                                           that light got on. You want
                                           to come over about 8 in the
                                           morning?                                                Leaving in 5

                                                                  Ed, not "it"                              1 am finished if you still need
                                                                                                            the gate key that gave me
                                How about 9 am
                                                                                      ^ fcritcr message                            ©^.
Don Thorpe                                               ■ want to help.                              1:56 PM
                                                                                                                           unlocked.
                                                                                                                                                      Uo-'S •
2485585874
                                                                                                                                      Are you refusing to allow me
     ^Wednesday, September 15,,2020                                    ; I guess the question is when?                                to keep protecting against
                                                                         They who? The same man                                       unwanted entry to the rear
             Sorry I missed your call. I got                         , ; that has come year after year                              ^ ofthepropertyaslhave
          ' your message and will be                                  : with his truck, shovel, and                                 : been doing these past more
             expecting Homer. Thanks for                                                                                            ; than eight (8) years? Why
                                                            1:59 PM ^OSe?                                                           ;   are you creating this new
   1:39 PM ietting me know.                                                                                                         ;   safety vulnerability now, and
                                                           [don't knowyetthey will call                                             ;   knowing that I am disabled
  He is probably done by now                               me with a time and day.I                                                 I   and already with a physical
                                                           don't know who will be there,                                            ■   handicap relative to an armed
                                                                                                                                    ;   or physical response to in-
                                           Ok. ■
                                 1:45 PM                                                                                            i   traders to the property when
                                                                      :   Did you iockthe gate back                                 ;   nationally many people are
      Thursday, September 17,2020                                                                                                   ;   out of jobs and homes and
                                                                      '   up? Is the key you gave me
                                                                      :   to the new lock you put on                                :   acting desperately through
             I got your phone message                                                                                               ■ chaotic violence? I want that
          - and saw you at the gate this                              ;   last month still good? You
                                                                      ^   seemed to have lost your key                      2:28 PM . 93^®          hack up!
             morning while eating my
            breakfast. Did the septic                       2:08PM',a few days ago.                                        After the septic tank people
            tank people give you a time                                                                                    finish we will lock It up            .2:33 PM
          . window they would be by? Is                    I didn't lose my key,I was
             it today?                                     asking about the key that Ed                                                 We who?.Who are you with?
                                                           used on the back yard do you ;                                               Who are "they" that you say
  No not yet butthey will take                                                                                                          you don't know? "They" may
                                                           have a key for his lock,do not •;                                            not come for days, weeks,
  care of everything unless you                            lock the back gate and I left it ■
  want to help.                                                                                                                         or months according to you.
                                                           unlocked.                                 ^220 pm                            Are the "septic people" the



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       Are the "septic people" the      Don Thorpe                                                    1 must insist that while 1
       same as "they" who you say       2.485685874                                                   don't mind your attentiveness
       you do not know that you say                   Wso,with you unannounced                        to your obligations to your
       will come by at some time                      visit to the home today,                        property, I will require you to
       diat neither of us have a clue                 purportedly to 'cut your lock                   provide me in writing with
       about?                                         off the back fence" as left                     your intentions for any future
                                                      there by you these last over                    visits outside the home by
       Don:
                                                      eight(8) years since I moved                    you or your agents, with 24-48
                                                      here - and following your'No                    hours notice. Text Is still
       Due to your implied threats
                                                      advanced notice" about your             7.c^    sufficient for that purpose.
       about my two consumer                          friend Homer coming over to
       products of automobiles                        "clear the lines off the roof"
       parked - as usual -In the                      yesterday, Barbara told me                      I will leave the gate unlocked
       drive near the house and far                   today that she also saw you                     as you set It so, all night
       away from the road, Barbara                    peering through our back                        Hopefully since you did
       has today changed her auto                     laundry room window as she                      not call me tonight with an
       policy to take the Land Rover                  was only partially dressed.                     answer to the septic people
                                                      Please be advised that, given                   coming by, you can let me
       out of storage and off her
                                                      your assertion today to "not                    know by noon tomorrow so
       policy. She said the cost will                 give a shit" whether anyone
       now be an additional $50 per                                                                   I will know whetier or not to
                                                      comes here unannounced
       month to her debit, occurring                                                                  lock it before the Weekend
                                                      to do your annual septic
       at a time she remains                          tank cleaning - while you               7 33 PM begins.
       unemployed as a result of                      unlocked the gates for an
       die man-made "ptandemic" of                    indeterminate time for that            This is Ava, Doris wife. This
                                                      stated purpose and without             time you have simply gone to
7;30PM "coronavirus".
                                                      regard for my safety or the            far. We will be providing you
                                                      safety of this rented property,        notice to quit tomtxrow. My
       Also,with you unannounced                      I must insist that, while I            hiichanH hac nowar rvoaraH



           This is Ava, Don's wife. This                          This              is   a   malicious                 act           of
          time you have simply gone to                            unwarranted retaliation against
          far. We will be providing you
          notice to quit tomorrow. My                             a disabled man who asked too
          husband has never peered                                many questions in the attempt
          through any body's window.
                                                                  to uncover FRAUD constructed
          You will get no notice of
          anything from us except for
                                                                  by a STATE BAR crime
          notice to quit. You've taken                            syndicate member Ava Ortner.
          advantage of Don for far too
          long. In case you don't know                            This is '''"blame the victim'''', a
          it, most of the things he does
          around that house were your                             ploy frequently    used   by
          obligation under the lease,
          not his. You'll get my letter
                                                                  criminal abusers, especially
          tomorrow.                                               when    they    have    been
                                                                  discovered.
           We will cancel the septic tank
          clean out and lock the back
          gate tomorrow as no one will                            This shows no plan to rent out
          need the septic tank once                               the home once BENEFICIARY
          you're gone.
                                                                  is "gone'".
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175.      On 9/17/20. prior to the text messages being sent between TRUSTEE Thorpe and

   BENEFICIARY Schied, Thorpe left BENEFICIARY a phone message stating that he had

   unlocked the gate accessing my backyard. He stated his reason was for'V/za septic tankpeople...to

   do their thing...in the front and bacf^\ He left no time on the voice message as to when

   BENEFICIARY was to expect them. His voice message also presented BENEFICIARY with yet

   another ^^reminder"that BENEFICIARY needed to ''do something with that trucJC^ in the driveway

   (sitting near the house and at least sixty feet away from the street). BENEFICIARY decided to text

   TRUSTEE Thorpe rather than to call him back because BENEFICIARY wanted to again document

   that Thorpe was pressuring him personally while frequenting the home, presumably to taunt and

   intimidate BENEFICIARY into signing his FRAUDULENT "New Lease". That was where the

   text messaging (above) began in response, starting at l;48pm that early afternoon.

176.      On 9/17/20, right after BENEFICIARY sent his text message to TRUSTEE Thorpe

   marked (above) as sent at 2:38pm,Thorpe telephoned BENEFICIARY Schied with agitation in

   his voice. BENEFICIARY RECORDED the ten (lOt minute phone conversation in which the

   following dialogue took place, beginning at about 2:39pm:



  Thorpe: Hey Dave, Ileft the gate openfor the septic tank people. They might be there today.Ifyou
          don't like that, then go and lock the gate and we'll skip doing the septic tank, ... It's
          $4501 can save out ofmv pocket,
  Schied: Why didn't you say that in answer to thefirst question thatIasked?
  Thorpe: What was that?
  Schied: You have the text messages andIhave the text messages. Ibasicallyjust asked when they're
          coming by ... today or when(?) ... and you said you have no clue...
  Thorpe: I don't know yet!I don't know yet! They haven't called me back. Iput a call in to 'em and
          they haven't called me back
  Schied: Ok Alright. Well then ...
  Thorpe: Arrrrrrrgggggssssshhhhhh
  Schied: You could havejust said that.

  Thoipe: I did say that!
  Schied: Welljust now!
  Thorpe: On the text message Isaid that!

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Schied; Not really. Urn...I'll read it to you. J said, 1got your phone message and saw you at the
        gate this morning while eating my breahfast. Did the septic tank people give you a time
        window that they would be by. Is it today?'And you said, No, not yet; but they will take
        care ofeverything unless you want to help.'Then Isaid, T guess the question is when?'
Thorpe: Idon't know yet, Dave!Idon't know yet. As soon as they call me, I'll call you and let you
        know!
Schied: Ok. So we're talking about the septic people only then.
Thorpe: Yeah! Who in the hell else do you think would be coming there?
Schied: Well, you had Homer here yesterday and you didn't give me any notice about it. ...
Thorpe: Arrrrrrrgggggssssshhhhhh
Schied: And as soon as Ifound out about it, you said that he was probably gone already. I don't
        even know what he did. ...
Thorpe:Ileft you a message that he was coming over.
Schied: Yea. He ...
Thorpe:/left you a voicemail. I left you a voicemail that he was coming over. By the time you got
        bock to me, he had done his work and was gone.
Schied: Ok. I thought you said he was doing something ... the way the message sounded ... it
        sounded like you said he was doing something on the roofto tale the lines down. ...
Thorpe: He took care ofthe 'vines'... the rest ofthe vines on the roof
Schied: Ok. Ithought...
Thorpe: He was taking care ofthe rest ofthe vines on the roof.
Schied: Ok It sounded to me like you had left a message saying 'the lines on the roof because
        we've got that satellite and the lines that are never being used. I thought that those
        electrical lines ... you were ...
Thorpe: Vines! Vines!
Schied: Ok Ok Alright. Well, so, you know...it wasjust short notice yesterday and ... short notice
        today ... andjust a miscommunication apparently.
Thorpe: Yep.
Schied: Ok. Well, ... you know ... Feelfree to call me anytime ... and ... talk to me ...and ...instead
        ofjust... you know ...telling me at short notice that something's happening.
Thorpe: Arrrrrrrgggggssssshhhhhh
Schied: You know, I...
Thorpe: I...I can't! Ifyou don't answer the phone, all I cans do is leave you a voicemail. I can
         move my schedule around vou!
Schied: Right. And Iguess vice versa. You know, I can try to do the best thing, but you know ...
Thorpe: Ifyou don't need to be ... You don't need to be ... Your not... If...ifyou don't answer the
        phone when Ileave a voicemail, ... and I've got this... 'opportunity'... I had oh...Homer
        over doing a couple things and he had time then. So Isent him over to do the vines.
Schied: Igot a ...It sounded to me like it was lines and Ijust didn't see any evidence that removed

Thorpe: Arrrrrrrgggggssssshhhhhh
Schied: So, I wasn't sure ifHomer was expected back again today, or, ... I had no idea why you
         were out there with ... unlocking the gate... andmandating that it stay unlocked and ...
Thorpe: Yeah, I was cleaning up the rest ofthe vines.
Schied: Oh. Ok Alright. Well, ... and Barbara thought you were cutting a lock offthe back gate or
        something. She ... She ...
Thorpe:I did. Icut the one lock offthe back gate that there's no keyfor.
Schied: Right. That's been that way ...
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Thorpe: The keys Igave you isfor the new lock.
Schied: Ok.
Thorpe: And then there's also the lock that ... Ed's is on there. I want to put the two loose ends
        together ... by using the lock. That way, they actually got a key ... He would ...for his lock
        ... to get into the back. And I've got a keyfor my lock to get into the back.
Schied: Ok.
Thorpe:I wasjust ah ...trying to make this easyfor everybody.
Schied: Well, the ... To me it seems like...one lockwouldbe sufficient. Ithought youhad basically
        taken all locks offand put a lock on and gave me the key. Igave Ed a copy ofthat key so
        that he could get in through the gate in case it was locked. And to me it seems like only one
        ...one lock is sufficient.
Thorpe: Well you ... You didn't tell me ...You didn't tell me that! You didn't tell me that! Dave!
       How am Isupposed to know? Igo ahead and do all the work, and ... and cut the one lock
       offwhere there's no key; and set it up so that ... both parties can get into backyard. And
        you don't tell me?!
 Schied: Well, Itold you he was mowing the lawn. ... and that I've been giving a key to him to mow
        the lawn,(pause for no response) Yeah, I told you. (another pause for no response) And
        that lock that had no key on it has been there since I moved in, in 2012.(another pause)
Thorpe: So, Icut it off.
Schied:(laughing) Makes sense to me!
Thorpe: So ... Ifyou want, you can go ahead and lock that gate; but when those septic tankpeople
        come there, they need access to the backyard.
Schied: Well, that makes sense. But it'sjust helpful to know when they're coming. When I... You
        could ... When you 're not knowing, you could say ... you know ... 'It could be today, or
        maybe tomorrow morning; andI'II let you know when. Butyoujust said T don't know'and
        left it at that. You know, what does that mean?
Thorpe: Isaid I would let you know what time and dav!
Schied: No, you didn't.
Thorpe: Yes, I did!
Schied: Let me see ... (thumbing through texts while long pause) ... I don't know ... Youjust said,
         7don V know yet. They will call me with the time and day. Idon't know who will be there'.
        ...You never said you were going to give me a time and day; you said they might give you
        one.(pause) ... But you never said ...
Thorpe: But you asked me what time ... that...Here, I'm not going to argue this anymore. Dave.
        Either he... either ...either you give him access to the backyard or you don't. I don V sive
        a shit!
Schied: Well, you start cussing there now too. But... I... Youjust left the door .. gate...open. So,
        you know, I'm ok with that ifyou're expecting them today, (long pause with no response)
        ...Ifyou'II let me know ...
Thorpe: I'll let... I'll let you know as soon as I... know.
Schied: Yeah.
Thorpe: I don't... Ileft them a message an hour ago. So...
Schied: Yeah. ... So, they'll probably get back with you and ... If it looks like it's going to be
        tomorrow, let me know. Maybe...I'll...have Barbara ... ifthe gate lock is open or whatever,
        I'll ask her to close it and we 'II make sure its openfirst thing in the morning ... ifthey can
        mve vou a time. ... or a window. I think I askedfor a window of time...and you didn't
        answer that.
Thorpe:I don't know!!
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  Schied: Ok. Alright. ... Sorryfor any miscommunication there. ... ButIdon't think it's ... you know
          ... anything to be ....not giving a shit about. ... You know,I do care about my protection
             and the protection of vour property ... and that's always we've always kept it locked
         for the last eight years, (long pause with no response) So, I don't think now would be the
          time to start ngl giving « shit. You know, so... (more long pause with no response) But,
          you're afree man to do whatever you want.
  Thorpe: Thanks.
  Schied: Ok. Alright. Bye, Don.(Thorpe hung up without saying another word)

177.      Later on this same afternoon of9/17/20,BENEFICIARY'S chore services worker informed

   BENEFICIARY that she had taken the Land Rover off of her insurance policy and that the auto-

   insurer had informed her that they were penalizing her $50 per month for not insuring two

   automobiles, but one instead. By 7:30pm, BENEFICIARY had also seen that, in spite of

   lengthy discussion about his needing to be informed about the gate for security reasons,

   TRUSTEE Thorpe still never even let BENEFICIARY know anything anyway about when

   ^Uhe septic tankpeopW^ would intend to come by. Therefore,BENEFICIARY sent a day-end

   text to TRUSTEE Thorpe to set the terms that BENEFICIARY would be operating from

   without the needed information that Thorpe should have otherwise provided. This,

   obviously, was when STATE BAR crime syndicate member,TRUSTEE Ava Ortner, broke

   in on Thorpe's phone to RETALIATE by "/ay//ig down the law"*^ in threatening to ^^evlct"

   BENEFICIARY on short notice; while TORTUOUSLY blaming BENEFICIARY for her

   own malicious and DISCRIMINATORY ^^predicate" intents and her own RETALIATORY

   ^^secondary^^ follow-up actions.(See again the final text message from Ortner a few pages back.)


              TRUSTEES THORPE AND ORTNER PROCEEDED WITH THEIR
        RETALIATORY THREAT OF INSTANT EVICTION WITHOUT PROVIDING
              ANY REQUIRED ADA ACCOMMODATIONS EVEN AS BENEFICIARY'S
                  INTEREST IN THE HOME AND THE EVICTION WAS MADE AN
                       INSTRUMENTAL PART OF A COVERT COMMERCIAL
                                     ''LAND DEVELOPMENTDEAV


178.      On 9/18/20, STATE BAR crime syndicate member Ava Ortner followed up on her

   retaliatory threat ftom the preceding day by issuing a DISCRIMINATORY'NOTICE TO QUIT'
                                                  120
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referencing the ''Intent to Evicf^ BENEFICIARY from his home with NO ACCOMMODATIONS

WHATSOEVER. This meant that NONE of the following possible accommodations were

intended to be provided:

   a) That the RECORDED fraudulent assurances that TRUSTEE Donald Thorpe were not

       going to be provided after all so to have BENEFICIARY in the home until the followirlg

       SPRING 2021 or possibly another year after that(2022) giving BENEFICIARY plenty of

       time to work the remainder of the following out bv himself:

   b) That TRUSTEE Ortner would not offer up her majestic status as an "officer ofthe courf

       and member of the TRUSTEES "STATE OF M/C/f/G^Vs" STATE BAR OF


       MICHIGAN crime syndicate and domestic terrorist network to assist BENEFICIARY in

       any wav whatsoever with anv the following:


        1) Compelling TRUSTEES"Him'to honor BENEFICIARY'S two years of being on a

            "SECTION 8" waiting list for a housing voucher good for moving elsewhere;

        2) Compelling co-TRUSTEES USDOE, NELNET, ECMC, PHEAA, the SSA, U.S.

            DEPARTMENT OF TREASURY, and the "THREE CREDIT BUREAUS" to move

            forward with the needed "discharge" of their FALSE CLAIMS that BENEFICIARY

            still owes "student loan debt" and instead pay upon the accumulated debts that these

            same CO-TRUSTEES have come to owe through their many years of acquiescence

            and tacit agreements with the FEE SCHEDULE and added charges for costs to

            BENEFICIARY for administratively doing the work of correcting the criminal

            "RICO" activities of these co-TRUSTEES as they continued to engage one another in

            conspiracy fashion as a continuing financial crimes enterprise, so to clear

            BENEFICIARY'S otherwise good credit history to enable BENEFICIARY to enter a

            new home independently.

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        3) Compelling the co-TRUSTEES of CAPITAL ONE FINANCIAL CORPORATION

           to ''settle" financially with BENEFICIARY on his persisting CLAIM against this

           "inactive" CORPORATION that openly DISCRIMINATES against the disabled by

            professed corporate policy and practice refusing to allow any disabled person to

            record calls that the CO-TRUSTEES themselves record; while RETALIATING

            against disabled people like BENEFICIARY who attempt to receive proper

            reasonable ADA accommodations when dealing with and trying to correct the

            CORPORATE FRAUD already recorded by BENEFICIARY that is also damaging

            BENEFICIARY'S credit history, also preventing BENEFICIARY David Schied Ifom

            entering a new home independently.

        4) Pay BENEFICIARY directly for his interest in the "conditions" for the COVERT and

            ILLEGAL "LAND DEVELOPMENT DEAL" with the CO-TRUSTEES of CITY OF

            NOVI and COLLIERS INSTERNATIONAL,of CO-TRUSTEES conspiring together

            to place a professional surveyor onto the home being occupied by BENEFICIARY

            during a national "emergency" and Coronavirus Pandemic, for the purpose of

            evaluating the property and helping to orchestrate the illegal and discrete filling in of

            WETLANDS to increase the value of adjoining properties for increasing the value of

            the eventual development and sale of this illicit REAL ESTATE ENTERPRISE; with

            the "condition" being that BENEFICIARY SHOULD BE MADE TO MOVE OUT

            IMMEDIATELY (i.e., with only six weeks of notice) DURING A NATIONAL

            "CORONA VIRUS"          PANDEMIC.           and     WITHOUT         ADA-REOUIRBD


            ACCOMMODATIONS EVEN BEING CONSIDERED for a totallv and nermanentlv

            disabled Quad-amnutee. and WITHOUT compensation for his other "property"

            interests.


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                  SCAO

                STATE OF MICHIGAN
                                                             NOTICE TO QUIT
                                                   TO RECOVER POSSESSION OF PROPERTY
                                                             landlord-Tenant




       JO*         DsvulScfaeid •
                   46675 West Twelve Mile Rd.
                   Novi, MI48377.




         1. Your landlord/landlady, PonaldA.-niorpe.Jr.                                 ,is seetdng to recover|K)Ssession of property pursuant to
                                        Name {type or print)

             EJ MCL 554.134(1)or(3)(see              side)      H Other Residential Lease,s^is.3,18                    wants to evict you from:
             Addiess or d^cripUon of premises ren^ (tf Afferentfrom mailing address):
             Address above

                                                                                                                             t
         2. You must move by Date
                             October  31.2020                                     .or your landlordflandlady may take you to court to evict you.
                                  ('see note)
         3. If your landlord/landlady takes you to court to ewct you, you will have the oppofbjnity to present reasons why you believe
             you should not be ewcted.

         4. If you believe you have a good reason vtdiy you shouki not be evdt^ed. you may have a lawyer advise you. Call him or her
             soon.




   ^     Dale
         September 18,2020
   r     CbtnahirA Af rtoimar nf fi




         25289 Sutton Court,Novi, Mi                             248-798-9647
         City, state,zip                                             Telepiione no.
         *NOTE: Unless otherwise allows by izw,the tandlord/landiady must give notice equal in time to at teast one rental period.

                                                               HOW TO GET LEGAL HELP
         1. Call your own lawyer.

         2. if you do not have an attorney but have money to retain one, you may locate an attomey ttirough the Stale Bar of Michigan
            Lawyer Referral Service at 1-800-968-0738 or Orrough a local lawyer referral service. Lawyer referral serwces should be
            listed in Oie yellow pages of ymir telephone dlret^ry or you can find a focal lawyer referrsd servi^ at www.michbar.org.

         3. if you do not have an attomey and cannot pay for legal help, you may qualify for assistance through a local legal aid office.
            Legal aid offlces ^ould be listed In the yellow pages of your telephone dtrer^ry or you can find a {oca! legal aid office at
             www.michiganiegalhelp.org. If you do not have Internet access at home, you can access the Intemet at your local library.

179.             The above actions of co-TRUSTEES Ortner and Thorpe are clearly DISCRIMINATORY

   and RETALIATORY based upon BENEFICIARY'S ''^political background^ as this move by

   Thorpe and Ortner was intended to deprive BENEFICIARY of the '^right to vote" in November's

   NATIONAL ELECTION taking place less than a week after the so-called ^''eviction date". The


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  eviction was predicated on the FACT that BENEFICIARY'S political beliefs are rooted in a

   CONSTITUTIONAL REPUBLIC with ^'accountability in government, while TRUSTEE Ava

   Ortner's political posture is one of belief in a ^'Nobilitv^^ class of STATE BAR membership

   usurping and controlling ALL THREE BRANCHES of the People's government bv means

   of a Seditious MONOPOLY of power Treasonouslv replacing the People's government with

   a ^^Continuins Financial Crimes Enterprise'''' embedded within a DOMESTIC TERRORIST

   NETWORK of so-called ''•BAR attornevs^\


180.      The above is clearly DISCRIMINATORY RETALIATION based upon "disability" as

   these offensive moves by CO-TRUSTEES Thorpe and Ortner were intended "target"

   BENEFICIARY, and to force BENEFICIARY into homelessness on short notice while knowing

   that he was unemployed,living solely on limited monthly payments ofSOCIAL SECURITY,and

   still under intensive medical care as a recent "quad-amputee" that continues to be robbed of his

   "beneficiary" status by the agents and principals of the CO-TRUSTEES of MDHHS,the STATE

   OF MICHIGAN, by the U.S. DEPARTMENT OF TREASURY, the SOCIAL SECURITY

   ADMINISTRATION, MEDICARE and the UNITED STATES DEPARTMENT OF HEALTH

   AND HUMAN SERVICES, the U.S. DEPARTMENT OF EDUCATION, and a host of other

   peripheral agents and principals of "governments" and NONPROFIT CORPORATIONS

   otherwise obligated to assist and provide to BENEFICIARY,as a totally and permanently disabled

   man, who had been recently rendered into a "quad-amputee" through reported ATTEMPTED

   MURDER that nobody in delegated (by the sovereign People) government power is doing

   anything about to provide BENEFICIARY with proper remedy!

181.      In the immediate aftermath of TRUSTEE Ava Ortner taking over TRUSTEE Donald

   Thorpe's phone and issuing the above-referenced FALSE CLAIMS against BENEFICIARY about

  "going too far" and "taking advantage ofDon for far too long", BENEFICIARY informed his

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   Chore Services Worker C'witness") about this retaliatory act. Having been the one to inform

   BENEFICIARY that she was undressed and placing clothes into the washing machine when

   TRUSTEE "Z)o«" Thorpe appeared at or near the window and look in unexpectedly, this chore

   services provider asked to use BENEFICIARY'S phone to telephone TRUSTEE Ava Ortner to

   recant what Ortner       appeared   to   use as FALSE CLAIM for wrongly


   BENEFICIARY for being the cause of the eviction even though BENEFICIARY was really


        victim^\ (See asain the above-referenced ''texting screen shots'' in which TRUSTEE Ortner

   asserted - without supporting witnesses and in ^''conclusory" terms only - that,    husband has

   never peered through any body's window" amidst her RETALIATORY threats.)

182.      As nearly always, BENEFICIARY Schied had RECORDED the brief phone

   discussion between his chore services worker (Barbara) and TRUSTEE Ava Ortner, from

   the moment Ortner answered "/ler husband's''^ phone thinking it was BENEFICIARY on the

   line, intending to treat BENEFICIARY with extreme disdain, and continuing to do the same

   with this chore services worker. That conversation thus carried out as follows, again on the


   evening of 9/17/20 at 8:Q0pm:



   Ortner: What exactly do you want?
   CSWorker: Oh hi. This Barbara. Ijust wanted to tell you that there was a misunderstanding with
          David...
   Ortner: No. No, there is no misunderstanding there. I'm perfectly capable ofreading. ...
   CSWorker: Oh no, no ...
   Ortner: And I'm also aware and I'm perfectly capable ofunderstanding my rights; and you are
          going to be gone!
   CSWorker: Ok...then...
   Ortner: Enough is enough!
   CSWorker: Well wait. Can Ijust say something, please? 1 didn V say anything about...
   Ortner: You can knock yourselfout.
   CSWorker:I didn't say anything about Don looking through the window. There was a mis ...
          David... There was a misunderstanding with what David said. So, ... sojust so you
          know.




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   Ortner: Yeah, well that'sfine. But 1 have had it! He d...Dave seems o think that my husband-
          who has (unintelligible) dementia, is responsiblefor his well-being. He is not. We are not
          responsiblefor ...for Dave's well-being. And I've had enough ofhis nasty emails...Text!
          I will be providing NOTICE TO QUIT tomorrow effective the end ofOctober!Period!
          You got it?
   CSWorker: Uh...Ok...
   Ortner: Mv husband,..has been abused bv vour husb...bv your ex-husband to no avail.I have
          had enough!
   CSWorker: Alright. I'm not...I'm not on the contract, so I'm out ofthis whole thing. But... that's
          between you guys.
   Ortner: Yeah, well...that'sfine. Hey, you know... Whatever!
   CSWorker: Alright. Ok.
   Ortner: Yup. Goodbye.
   CSWorker: Bye.

183.      Again, this entire scenario playing out is an ^^orchestrated setup^^ by STATE BAR

   crime syndicate member, TRUSTEE Ava Ortner, with an ^HNTENT TO DEFRAUD'*^- not

   only BENEFICIARY - but of others who are potential ^^buyers^^ of this property.

184.      Clearly, Ortner is so greedy and so anxious to sell off her husband's property, that she is

   willing to assign to others the very CRIMINAL INTENT with which she herself operates, as a

   wife and ESTATE GUARDIAN, as a STATE BAR attorney member of a domestic terrorist

   network, and as a partner to a property ^""sellef who will LIE AT ALL COST to make a sale on

   property that has been purportedly fforsale^^ for close to two decades.

185.      The details surrounding this INTENT TO DEFRAUD were determined from the following

   information, as provided by a ''KEY WITNESS", BENEFICIARY'S next door neighbor, former

   ARMY INTELLIGENCE OFFICER and American Veteran(who like Thorpe, is also a victim of

   the UNITED STATES "government's" misuse of"Agent Orange"). His name is Ed Kottke; and

   he and his wife have been inhabiting the house and taking care of the property of their landlord,

   "Carl".




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       THE CRIMINAL UNDERPINNINGS BEHIND DONALD THORP JR.'s AND AVA
   ORTNER's''FRAUDULENTINTENT'STEM FROM CERTAIN UNDERLYING FACTS
         HINGING UPON - AS THORPE HIMSELF HAS STATED ''ON THE AUDIO
               RECORDING''OF 9/9/20 -"WHETHER *ED'MOVES OUT OR NOT'


186.      Apparently, over the course of the past few months since the mid-summer 2020, certain

   negotiations had been going on pertaining to the sale of not only TRUSTEES Thorpe's property,

   but also the two adjacent properties where ^Witness'^ Ed Kottke lives next door owned by '^CarF,

   and the property next to that to the West, where certain landscaping and water runoff problems

   have been longstanding and deterring the sale of any or all of these three properties for the past

   nearly two decades.

187.        According to information and belief, the property furthest West on this South side of the

   street from where BENEFICIARY inhabits, has been subject to flooding due to purported actions

   that had long been taking place at the'^GREA T OAKSLANDSCAPE ASSOCIA TES, INC." business

   across the street. These business owner(s) may have been finding ways to divert underground

   water for feeding his acres of nursery trees and plants; and causing hollowed out caverns

   beneath the street ofTwelve Mile Road.That business may also have been involved in cutting

   and/or depositing timber and brush in the path ofthe underground waterways so as to cause

   blockage of water flow toward WALLED LAKE, adding to the flooding and giving cause

   and need for the land on that property to be too low and in need of topsoil to be trucked in

   and graded before that property is to be made ^^sellable" and ^^buildable"» (See aerial graphic

   below)




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                                                                                                           i
                                                                  irLw.eiy.e

                             i^lTSWi^Rc!      TiwelwMilejR

                                                                                  ^i/omen
                                                                                   Gpnsul^^
   Cougar Sales.&Rental




The blockage of water just north                                               This water runoff pond on the south
and/or south of Twelve Mile Rd.                                                side of the freeway has a drain that
creates massive flooding in these                                              was supposed to be divert water under
"wetland" areas of darker green.                                               the freeway northward to Walled
                                                                               Lake.




                           Cheyerin
                                                                                          Michigan Statn Fair


      GeoShack - Detroit                                                               a)i3mo-rid:Banqur    ^
                                                         Google                                I
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188.   According to information and belief, the negotiations taking place between the two primary

   property owners as ''sellers'''(being Thorpe and "Carl"), and CO-TRUSTEES Paul Gobeille

   and Michael Yamada-the brokers from COLLIERS INTERNATIONAL who purportedly

   has been a lifetime friend of Donald Thorpe, Jr.-and the "buyer(s/\ has been complicated by

   the fact that the purported ''land development deal" purportedly included the intent to

   work discreetly with the CITY OF NOVI and a third party contractor, on trucking in

   enough fill dirt and heavy equipment to (illegally) fill in the "wetlands^^ and evenly grade

   the third property to the far West of BENEFICIARY'S home location. The problem

   initially complicating that plan was the fact that WITNESS Ed Kottke had a lease

   agreement with his landlord (Carl) extending to next July 2021. The alternative was for

   the new owners to take over TRUSTEES Thorpe's home instead, and to replace the

   inhabitants of either home with some CORPORATE survevor(s) intending to work with


   the CITY OF NOVI on a tradeoff of services.


189.   Also, according to information and belief, the CO-TRUSTEES of NOVI CITY

   COUNCIL (including MAYOR Bill Gatt), and CITY OF NOVI have been deceptively

   engaged in separate "sc/re/ne" of looking the other way for many years while the GREAT

   OAKS LANDSCAPE ASSOCIATES,INC, has been engaged in ^Uandscaping^^ activities

   that have been devaluing the property values along the South side of 12 Mile Road, west

   of West Park Road along the three properties that have long been listed for sale by CO-

   TRUSTEES Paul Gobeille and Michael Yamada at COLLIERS INTERNATIONAL.


   CSee the aerial photos below for further details on how this scheme was to play out to "weasel

   out''' BENEFICIARY'S interest in this plan for the sake of his own "life and death" salvation

   during a STATE EMERGENCY and NATIONAL EMERGENCY associated with a nation




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          and international disease PANDEMIC and self-quarantining ORDERS for an EVICTION

          MORATORIUM.)


Drain blockage caused
flooding In wetlands on
the    third   property
furthest West.




                                                               ifWEbVEaMIL-EiRD




                                 /
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190.     Purportedly, the TRUSTEES of the CITY OF NOVI have had long term interest in

   devaluins these Drooerties on the south side of Twelve Mile Road, so to cause those


       ronertv owners to find more incentive in sellin2 those ^''flooded ouf^ sections of land to


   the CITY OF NOVI for a proverbial                 The underlying reason for this interest by

   the CO-TRUSTEES ''NOVI CITY COVNCIV in purchasing these large tracks of

   properties that all three extend from 12 Mile Road all the way to the 96 Freeway - and

   particularly at the eastern border of TRUSTEES Thorpe's property bordering the

   medical and professional building to the east - is because of a futuristic plan of the

   TRUSTEES"NOVI CITY COUNCIL and CITY OF NOVI to build a "feeder" road next


   to the 96 Freewav, which mav have a design to connect to 12 Mile Road at West Park,so


   that West Park will extend all the wav to the 96 Freewav and relieve some of the heav


   traffic at Beck Road to the west and Novi Road to the east.




                                                                 GREAT OAKS
                                                              LANDSCAPING,INC.




                  M                                      .12 MILE RD



                                                                                        Plan to build a
                                                                                         "connector"
                                                                                          road from
                                                                                         West Park to
                                                                                        "feeder" road
                   9b,                                                                  along freeway
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191.   According to information and belief, the ^'"tradeoffofservices" with the aforementioned

   CORPORATE surveyor includes the future plan for the TRUSTEES of CITY OF NOVI

   to similarly '"Hook the other way" again while the new buyers follow through with tentative

   plans to purchase the ^^third*^ (problematic) property at bargain-basement price and get

   busy (most likely against COUNTY and STATE "DEO" guidelines) filling in the

   ^^wetlaiKP^ area with enough trucked in dirt to raise that third property surface level

   higher so that more COMMERCIAL buildings of three stories can be eventually built.

   In return, since the surveyor will need to live on the property anyway to study the situation and

   help with the needed land grading and commercial building planning, the TRUSTEES ofCITY

   OF NOVI would make similar use of this same surveyor for planning assistance in the

   constructing of the ^feeder" and '^connecting" roads between West Park and the 96

   Freeway, and the widening and reinforcing of 12 Mile Road itself while filling in the

   empty underground water caverns underneath Twelve Mile Road.

192.   According to information and belief, this grand scheme of (legal or illegaH

   "enterorisins" had only two snags: the first was that Ed Kottke had a lease with his

   landlord "Carr extending to July 2021. The second snag was the fact that

   BENEFICIARY David Schied had been recently rendered a "totally and permanently

   disabled quad-amputee"; and with the"EMERGENCY ORDERS^''of the so-called STATE

    and Federal "governments"^ it was clear that forcing BENEFICIARY to leave could be

    quite difficult, and a violation of numerous "federaF and human rights laws reflected in

   the AMERICANS WITH DISABILITIES ACT,the "CARES" ACT,and other standing

    ORDERS against "evictions" due to health concerns,the COVID-19 pandemic, and "self-

   quarantining".(Bold and underlined emphasis added)




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193.   According to information and belief, the solution was - as TRUSTEE Donald Thorpe,

   Jr. has stated on 9/9/20 in a RECORDED conversation - resting upon Ed Kottke's and

   his wife*s good graces and their thoughtfully caring so much themselves about the

   interests ofBENEFICIARY as their friend and next door neighbor,that thev agreed with

   their landlord "Carf^ to surrender their own home as a grand gesture of peace to save

   BENEFICIARY from having to instantly face the reality of the following;

       1) As a recently disabled man with no resources whatsoever for battling the greed of

           CORPORATE giants, the Kottkes sought to save BENEFICIARY from having to be

           forced into corrupt litigation with STATE BAR attorneys and judges already

           backlogged in the courts and with all of these co-TRUSTEES of the STATE OF

           MICHIGAN in accord as a ^'nonjudiciaF STATE for conducting evictions (like

           foreclosure evictions).

       2) Since it is well known that STATE BAR crime syndicate member, TRUSTEE Ava

           Ortner has a long history of deriving her income from working at DYKEMA-GOSSET

           - a foreclosure "w///" with a long history of forcing ''little guys" out of their homes -

           it was safe to assume that, with MICHIGAN being a"nonjudiciar STATE for privately

           executing evictions, TRUSTEE Ava Ortner was already skewed toward abusing

           her disposition as a STATE BAR domestic terrorist member, to first

           FORCEABLY take all of BENEFICIARY'S worldly possessions and then force

           him into homelessness and institutionalization in the name of personal greed and

           CORPORATE ^^progress^^-^ and to compel BENEFICIARY Schied to become

           ''■subject   her "peer group" of corrupt judges and other "officers ofthe court" in

           a hopeless effort by BENEFICIARY to at least get back something of value from

           his stolen belongings, if any might still be found at the end of a legal battle lasting for

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           years in TRUSTEES STATE OF MICHIGAN'S renown ''just us" system. The Kottkes

           sought to save BENEFICIARY from all of this bv their own sacrifice of their secured

           housing contract with their landlord."Carl".

194.   According to information and belief, on considering all of the above, the WITNESS

   Kottkes decided to negotiate terms of their moving out - within 60 days - with the brokers,

   CO-TRUSTEES Paul Gobeille and Michael Yamada and COLLIERS INTERNATIONAL,

   with the Kottke's landlord "Car/", and with TRUSTEES Donald Thorpe, Jr. and his

   "guardian", STATE BAR crime syndicate member Ava Ortner. Those terms included the

   joint commitment of all involved in the "new land contract- being particularly the seller

   Thorpe and the new "buyer" - to "leave BENEFICIARY alone" and to "/la/ even tell

   BENEFICIARY^^ about the selfless sacrifice being made bv the Kottke couple. It was

    WITNESS Ed Kottke's heartfelt intent to continue donating his time and services to

   BENEFICIARY for as long as possible - as BENEFICIARY'S "lifeline to mobility^^ — as

   Kottke had been - and continues to be today - this previous two years as

   BENEFICIARY'S transportation to wherever he needs to go, doing so without cost to

   BENEFICIARY because the co-TRUSTEE ofSTATE OF MICHIGAN have continually

   and tortuously DENIED BENEFICIARY'S repeated requests and demands to have the

    WITNESS Kottkes compensated for even iust their mileage, given that the TRUSTEES

    of the STATE otherwise have that financial obligation to its disabled citizenry.

195.   As such, according to information and belief, by mid-summer,the Kottkes were rushing to

    get their credit and finance documents in order so to be able to quickly apply for a mortgage;

    and they also began looking for a home ...That is, UNTIL .... around 9/18/20, when STATE

    BAR crime syndicate member, TRUSTEE Ava Ortner and her "fraud accomplice"


    TRUSTEE Donald Thorpe informed everyone engaging in the secret and underhanded


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       '^land contract^ enterprise, that BENEFICIARY would instead be out of the home by the

       forcible eviction date of 10/31/20.


   196.   Apparently,co-TRUSTEES Ortner's and Thorpe's fraudulent scheme - to predicate

       the sale ofthe properties and to create a         land contract^ upon BENEFICIARY being

       forced into homelessness and/or into institutionalization — brought a change to the

       previous plan for the CORPORATE surveyor to be living in the Kottke home for the winter

       while the plan to bring in fill dirt and heavy equipment for filling in the wetlands was to be

       executed. Based upon the new but FRAUDULENT information being disseminated by

       STATE BAR domestic terrorist network member, TRUSTEE Ava Ortner, the belief of

       all other parties to this ^^new land contracf^ changed, with a new narrative that this

       CORPORATE survevor would instead he taking over and living in BENEFICIARY'S

       home, allowing the Kottkes to once again relax and eniov their own lease contract until

       Julv 2021 as originallv planned.


197.      The bottom line - as essentially provided by the EVIDENCE of BENEFICIARY'S

   audio RECORDED phone and personal conversations and text messages taking place at

   BENEFICIARY'S home and involving this STATE BAR domestic terrorist network member

   TRUSTEE Ava Ortner and her demented husband Donald Thorpe, Jr. - is that thev have

   been acting concertedlv to unethicallv and illegallv ^'set              BENEFICIARY for a


   FRAUDULENT, DEFAMATORY, and a RETALIATORY ''FALSE CLAIM' of being an


   ^^abuser" against TRUSTEE Donald Thorpe - merely because BENEFICIARY would not

   readily succumb to their initial effort to COERCE him into signing another of their

   WORTHLESS contracts, otherwise crafted for ^^transferability^^ to new buyers, and with

   BENEFICIARY'S signature indicating falsely that he was ^^voluntarily^^ agreeing to leave the

   premises within sixty (60) days in spite of the "S'TMTE" and ^^FederaP^ protections against

                                                   135
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the abuse of the elderly and disabled, and in CRIMINAL spite of EVICTION

MORATORIUMS ordering the American population to be ^^self-quarantined^\ (Bold and/or

underlined emphasis added)

198.   As explained in detail above, the acts of CO-TRUSTEES have been blatantly and

   CRIMINALLY - violative of the AMERICANS WITH DISABILITIES ACT and the CDC

   ORDER OF EVICTION MORATORIUM,at minimum.

199.   For these violations, BENEFICIARY is due his ^''day in Courf with ACCESS to both a

   PETIT JURY and a GRAND JURY of the sovereign People as the ^'fmal arbitrators^'' of the

   many civil and criminal matters placed before this instant ARTICLE III COURT OF

   RECORD.


200.   Moreover, given the background history and the impending THREAT OF

   VIOLENCE from CO-TRUSTEES and their agents involved in ILLEGAL EVICTION

    proceedings with deliberate defiance of BENEFICIARY'S rights as a recently totally

    disabled man and in spite of BENEFICIARY having still "pu/d infulP monthly rent, this

    Court has the additional reason to EXPEDITE the matters forward to JURY TRIAL and

    GRAND JURY INVESTIGATION,rather than to follow the cwrvenipattern andpractice

    of''^kicking the can down the roarP^ and furthering the maxim of ^''justice delayed isjustice

    denie(P\


201.   Subsequently, because these ''secondary(RICO)lever CO-TRUSTEES - as STATE and

    NATIONAL fiduciaries ofthe PUBLIC TRUST-affirmatively engaged in the same continued

   "circular pattern" of tacit asreement with the reported RICO "predicate" CRIMES and even

   the NEW "secondary" CRIMES being reported by multiple previous CRIMINAL

    COMPLAINTS and other "Notices" submitted by BENEFICIARY David Schied, the

   LOCAL LEVEL TRUSTEES and STATE LEVEL TRUSTEES banded together to issue


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   a FRAUDULENT ''HEARING NOTICE"'. They did so by first TRESPASSING UPON

   BENEFICIARY'S possession of rented real property, then taping it to the front door of

   that property late in the day on Friday, 12/18/20.

202.   This fraudulent ^'notice of hearing^^ commanded BENEFICIARY as a totally and

   permanently disabled quad-amputee to ^^appear'^ - with less than two business days of

   prior notice - in the jurisdiction of what is, according to reliable information and belief,

   the domain a''CONTINUING FINANCIAL CRIMES ENTERPRISE'' otherwise referred

   to as the TRUSTEES "52-i JUDICIAL DISTRICT COURT' operated by STATE BAR

   OF MICHIGAN crime syndicate and domestic terrorist network members. {See again

   another copy of that fraudulent'SUMMONS" as shown on the next page below.)




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               STATE OF CfllCHlQAN                                                                                                CASE NO.
                                                                           SUMMONS
       52-1          JUDICIAL DISTIUCT
                                                                  Landford-TenanVLand Contract                   2Q     20~C04694
       Court addnss                                                                                                                         Courttelephone no.
       48150 Grand Rh-o-Ave. Novi, Ml 48374                                                                      248-305-6SII

                     PiaintiS's name,address, end telephone no.                                Plaintiirs attorney, barno., ade^8&s,snd telephoreno.
                     Donald A.Tboipe,Jr. and

                             nHtrs Attoroey                                                    Fannington Hills, MI48331
                                                                                               248.246.6323




                     Oerendanrs name,addnss.and telei^tMw no.
                     David Schied at^ all other occupants                                                                             0^^ .=-'<!       -r.
                     4«75Wesl 12 Mile. Rd,
                     Novi,Ml4M77 '
                                                                                               MRenlajtinUevlction
                                                                                               □Land contact forfeiture


       NOTICE TO THE DEFENDANTS In (tie name of the people of the Stafe of Michigan you are notified:
                                                                                     □ to recover possession, after land contract forfeiture, of
       1. Theplalntiff has filed a complaint against you and wants                   Da nwney judgment,"^                rHEARlNliA^'ZOQM -
                                                                                     Rto evict you fcjm                   •"           . v ^- ........ .
           46675 West 12 Mile. Rd
                                                                                                                      r 'MPraMfi^tDSfiS 98a168^ -j
           Novi, Ml 48377



       2. You are summoned to be In the district court on               Tuesday. December 22. 2020                                     Ht     1;30 pm
                                                                      Day and date                                                          Tirna

          □ at the address above,□ at                                                                                          ..courtrcHDm,
                                                Cocatton
       3. You have Ae right to a Jury trIaL If you do no! demand a ^iry trial and pay the required jury fee In your first defense response,
          ycHJ wfll lose this right.
       4. if you are in distrt^ osurt on time, you will have an opportunity to give the re£                              S|l you should not be evicted.
          Bring vtrilnesses, rec^'pts, and other necessary papers Mnlh you.
       5. If you are not In district court on time, you may be                  lA^out a trial and j                            ay be entered against you.
          12/9/2020
       08(9 tesued                                                                   Court ciwir
                                                                                                                                 seated by the seal of the court
                                                                     HOW TO GET HELP

       You have received an Bnportant legal dorarmenl from a cdurt. Your landtord is                                 I you. TTiis means you coutd lose
       your Imising and yiHi oxtld owe ^ur landlord money. It is imprxtant to respond to                      I quid<^.

       You may hire an attorney to help you answer the corhplaint and prepare defenses. If you cannot afford an attorney, you can get
       help at (tftic^lganLeg^Help.oig or you might qualify for assistance through a local legal aid office. If you do not have Internet
       access at hone, y^j can access the Internet at your local library.

       if ^u do not have en att<xn^, iMJt have money to hire erne, you can find an attorney through the Stafe Bar of Mldi^an Lawyer
       Ri^rral Service at 1-800-968-0738 or e local lawyra- referral service at mlchbar.org.
       If you require specif accmnmodattons to uss the c<Mjrt because of a disability or if you require a foreign language interpreter to
       help you felly participate in court proceedings, please osntact the ciHjrt tmnradtately to make arrangements.
                                                                            Tenant's C(W
                                                                                                                                                    MCLeM.5735,
       DC1S4 (sriT) SUMMONS, LANDLORO-TENANT/LAND COfrmACT                                                            MCR 2.102, MCR 4JM1(C),            4.202(e)



203.   In panicked response under imminent ^''DANGER TO HUMAN LIFE\ BENEFICIARY

   David Schied drafted the following written ^NOTICE OF FRAUD" dated 12/21/20, delivered

   by a THIRD-PARTY WITNESS by ''PROOF OF SERVICE' and sign in receipt by the

   TRUSTEES Dominic Silvestri's "reception" agent. (See below on the next page)
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             David Schied         I certify that on Monday, 12/21/20 I "servetT the 52-1 District Court for
             46675 W. 12 Mile Rd. QAKIAND COUNTY through its court '^officer'', Dominic Silvestri, with
             Novi,Michigan 48377 tlw foliowing official "NOTICF\ being sufficiently equal to proof of
             248-974-7703        previous service of a ""Federal DECUIUTION'\ in compliance with the
             (ail calls recoided)                  CDC's ORDER fiom the TRUMP ADMINISTRATION issued under
                                                   penalty of$100,000 uid up to a YEAR IN JAIL for violators.
             12|ly2020       This NOTICE and accompanying "PROOF OF SERVICE" were delivered
     —            ^
                      0^4
                      W , 4iltogether by hand to tlw 52-1 Court through a third-party delivery mefood as
                                                   witiwssed by me.
      Attn: Dominic Silvestri,""Officer ofthe Court for the 52-1 District ofOAKLAND COUNTY and ""agent for STATE
      BAR OF MICHIGAN fellow crime syndicate member, Ava Ortner, and her legal ""want,Donald Thorpe, Jr.
       Mr. Siiwstri and All Other ""Officers^ ofthe 52-1 ""Court of Novi In OAKLAND COUNTY:
            On Friday aftemomi at 4:00PM, not even one full business day ago, an agent of your office, and your fellow
         STATE BAR member as both ""qffu^s ofthe Court for the above-referenced 52-1 District, taped upon my front
         6oot a FRAUDULENT""SUMMONS^ for a NONEXISTENT ""Landlord/Tenant Contract,disclosing a""HEARING
         VIA 7nnu" u/ith    than twn /2t busing(favs in ""mtice" of tflis FRAUDULENT ccanmand to ""be in court.
             Your document is FRAUDULENT for many reasons, the least of which mvolves a gross violation ot all kiiKis
         of"Court Rules" govetiing "/h/r notice"" and ""due process"", particularly that which is to be legally provided in die
         fonn of ""assistance"" and ""accommodations"" to persons with disabilities - such as me - under the AMERICANS
         WITH DISABILITIES ACT("ADA"). Additional signs ofdeliberate FRAUD is by the FACT that your document-
         ifindeed vours(since it does not bear your si^ture or Miy other verifiable form ofictentifying eldier the {n^parer ot
         the sender)- reflecte an illegible dato^tamp ofthe ""court that falls five full days BEFORE the purported date this
         document was merely initialed by someone, or sOTnething. masquerading as a ""court clerit wte* jiut under the
         signature line reads, ""This document must be sealed by the seal ofthe court, and whereby yoOT.FRAIJpyLENT
         document bears no such seal. Moreover, your ""action"" bears no accompaniment ofa"ProofofSCTvice" si^^ture as
         odierwise required by law, excef^ in cases where the acts liluf die instent one arc intended to be CRIMINALLY
         FRAIlDllI PNT in die at^ot to caoUiie iurisdktiOTLifaat othOTwise DOES NOT EXIST.
                You are hereby ""on NOTICE" also that the matter of my h^tatKHi rt me reterenced hOTiie m NUVl is
         WITHOUT CONTRACT:and is a matter to be settled according to the COMMON LAW.Should you and your fellow
         crime syndicate membCT, Ava Oitiwr, decide to push this matter further, you are herein advised th^ this b otherwise
         a FEDERAL matter in the FEDERAL JURISDICTION, by the FACT that 1 had issued on 10/15/20- via ""certified"
         mail delivery on 10/17/20 - a sworn ""DECIARATION ... HALTING EVICTION ... TO PREVENT FURTHER
         SPREAD OF COVID-IT. 1 have noted that you otherwise have committed a fpross OMISSION by your
         intenrional foiiure to notify the court as Ks ""officer^, when otherwise oMqgated to do so. Therefore,I berma
         formalize that reminder by the f<dlowuig EVIDENCE,whkh von are now ifoUgatcd to share widi the Conrt,
         unless yon wish to continue your crumia^ cfaanule on your baddies at the ""court too.

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       204.      It was not until 12/29/20 that BENEFICIARY David Schied received the TRUSTEES 52-1

           ''Courf SUMMONS - showing that although it was run through a postage register with a date of

           12/3/20, which was the day BEFORE the time stamp and six days before the purported date of the

           unknown ^'clerk's" initialing ofthe document on 12/9/20 on the it, AGAIN demonstrating the high

           level of FRAUDULENCE of this entire criminal operation - this fraudulent document was not

           actuallv mailed out until 12/18/20. which was the verv same day that a copv of this fraudulent

           document was found taned to BENEFICIARY'S front door. less than two business davs before the

            purported C'railroaded") hearing. {See below and on the next page for the                                                                             in these details''')
                                                                                                            Notice that the faded date stamp To the
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                                                                                                    door by the agent for TRtJSTFES pirovmg these
                                                                                                    are NOT two copies of the same document. ^ ^
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        205.         At the very same time that BENEFICIARY David Schied received the above
             FRAUDULENT other''SUMMONS" sent by the TRUSTEE 52-1 DISTRICT COURT,the so-
             called "JUDGMENT" of that same TRUSTEE was also delivered to BENEFICIARY. {See
             below.)
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                                                                                                                                       Further, whereas this unidentified
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                                                                                                                                       jclerk" in the document above, it
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                                                                                                141
                                                                                                                                       GET HELP
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206.     While the above FRAUDULNT''Judsmenr states that BENEFICIARY has ^^10 Days'^ in

    which to send an '^appear filing and an ''appeal bond"' to the TRUSTEES 52-1 DISTRICT

    COURT's agents ofthis continuing financial crimes enterprise, the actual number of days was

    reduced to five (5) days given the delay of the post office to deliver this to a totally and

    permanently disabled quad-amputee until 12/29/20.

207.     About the same day the above "NOTICE OF CRIMINAL FRAUD BY DOMINIC SILVESTRI"

    was delivered to both TRUSTEE Silvestri and to the TRUSTEE 52-1 "court" on 12/21/20,

    BENEFICIARY David Schied received EVIDENCE of more FALSE CLAIMS stemming from

    the STATE LEVEL of these RICO ENTERPRISES and expanded domestic terrorist networks.

    Furthering BENEFICIARY David Schied's accumulating DAMAGES over these many months of

    just the last halfthese ofthe 2020 calendar year, as shown below(on the next page),is EVIDENCE

    of yet other FALSE CLAIMS being established as OFFICIAL MEDICAID INFORMATION

    by "JWoods/HOLLVWOODSJ". a joint agent of TRUSTEES MDHHS and STATE OF

    MICHIGAN that BENEFICIARY has long been naming as a CRIMINAL PERPETRATOR

    along with Benjamin Smith, her supervisor, since 2016.


 DHS.2^(R9V.2.1S)
                                                            /W Bridges              Flf^OASSm
                                                                                     a&pr^AGE
                                                              A^forBei^                PAID
                                                                  Your Case           mmui
                                                              B^^Resoi^s            IM-Na 12110




                                 m laHsins hi m i2/22m m




                                                142
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                                                                 Cam Nam«:     Qavld SchM
                                                                 CaMNumbar 113641162
OAKLAND CO DHS S0UTHFIEU3 DISTRICT
                                                                 Oat*;     12/18/2020
25620 W 8 MILE RD
SOUTHRELDMI48033
                                                                                                    i SOUTHFiaD 0

                                                                              j.yfwaiaMi
                                                                 Phoiw        {248)282-6455
                                                                 Fw;          {517)346^88
                                                                 BwioldaiylD; 23076631


                OTAw                                           «youdono^l«Jwltandt^h.oa^anMC*«S(3«wln)Olrar••.
                STATE OF MICMGAN                            MOHH8afnpto)«wamprohUMt)ylmtrampnivM»«l«s««M»
   DMMtmMlt of tkuiHh
   uepanmem 01        and Human
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                                  AmvImi*                   6liM»dno«f8tenclaetto. Nuiie&unaoAckB<toM{>*«ens;anNL
                                                          uisyproMwatoawntWadosdelymtSpmporaDfafaae^itale^
                                                  .ilWhil^        MOHHS              t.ill.lil' Ij* ^^    -' it'j
                                                                  .VjUf W-fli •Ui^'I MDHHS ,>b>.^

       DAVID EUGENE SCHIED

       NOV! Mi 48377
                          HEALTH CARE COVERAGE DETERMINATION NOTICE

  If you have|^«vtMtsly rec^vMl a detormlnatkm noOce ragwrdtng h«alth cara co^Mrago for Individuals not
  listMi on tils nodes.^*17covwags has not changad..


                                                Approval Informadrm

   David Eugene Scaled -Beneficiary ID 23076631 Is ells^ble:
 . O1/O1^21-Ongoing (wifi) a S 506.00 mon^ly deducdbie)            MEDICAID FRAUD
                                 More information about your heirith care covwage

  If      are und^ 21 or pregnant ^d believe^or anyone consumed vrater from the Flk^t water system AND
  nved, worked, or rec^ved chltdcae or educaboi ^ an »ldre$s dteU was rarved by                Rlnt vr^r system at any
  time from Apnl 2014 frirough present day, ptea^ cmtact your case worker.

  Informadon about OeducdMe Anwunto


  You meet ^ of the rsquirements to receive MedlcsM except Income. Ymi may become eliglbla for Medlcald
  when ycKtr viewable expenses are more than your deducfit^ amount. The deductibie amount Is monthly
  countaMe taicorrre minus the monUify amount we can allow f(»^ Iving expw^s. Your deducllt^ amount or
  ^^billty may char^ If th^ are changes In your ckcumstances, such as changes In income, ^ets or femlly
  size. Therefore, you rmjA report each chSHige In your drcumtiances wHhln 10 days of die change.

   Elli^bllltyCi            Dental Reason                      Legal CItatton
   Rlnt                     IndMduai does not nreet the        Rlnt 1115<b)Waiver
                            age tequlrwnent of under 21.       IntsmBluMonlyoode; IR7421


  mlhealth card
  If you are ^^ble for Medicaid, the HeaWiy Michigan Rw or you receive Medicare Sawngs Program lienefits
  vi4iich cmrer M^icare colnsur^ces and deducfibl^, your plastic mlhealth card vriX be mailed to you wtlhbi a few
  days. Y(xi must present the card each time ^ ^i^ble person tefod m the card i^uests medlck services. Ute
  card may be used only for the eligible person whose name is li^ed on dre card. ITie               rrf the »Pd to obt^
  services for oth^ pwsons Is fraud. Do n<A throw your card away. Use the swne card every month as long as
  you receive benefits.

  Rapordng ChangM
  Changes should be reported within 10 days. Ymj may report r^anges to your spedallst by
  or online by vl^tlng www.michlgan.gov/mltxjdf^. It is your resprxnsibllfty (or diat of thi^sit48oni^'!|^K^)to
  nr^ your spedaSst within 10 days of any changes In your dioumstaices                                      for
  assistance. This Indudes changes in employmait, income or health insua^cx^^^^iSS/'you or members of
  your family, the number of persons living In your home, and ch»i£^if                           to report changes may
  make you li^3le to pwiafties provided by law ft*fraud.


  TheMich^ D^)artment rrf Hedth and Human Services(MDHHS)does not disa1idn^eagair»t any Indlvidu^
  or group because c4 race, reRglon, age, national ortgin, coior, hei^, weight, marital status, gw)sfic informMon,
  sex, sexual orisntatlw. gendw identitv or expression, poiitlcai beNefs or disabiity.
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208.   Note that the ''disclaimer'" at the bottom of the page (above) makes the FALSE CLAIM

   that the MDHHS "does not discriminate against any individual ... because ofrace, religion,

   sex, gender identity ...political beliefs, or disability" when BENEFICIARY'S mounds of

   EVIDENCE dating back to around 2013 - as well as the EVIDENCE of TRUSTEE Everett

   Stern dating back to around 2008 - altogether prove this MDHHS claim as patently

   FRAUDULENT.


209.   Further, tlie above HEALTH CARE COVERAGE DETERMINATION NOTICE

   demonstrates that the documentation sent by the agent of TRUSTEE Robert Gordon, being

   Terrence Beurer as both being the top-ranking "officials" of the TRUSTEES MDHHS and

   the TRUSTEES STATE OF MICHIGAN, on 5/20/19; and that despite BENEFICIARY

    being assured that a ^^newly assigned case worker^^ was to be taking the place of

   "JWoods/HOLLYWOODSJ" nearly two years prior, in fact those two criminal

    perpetrators (including Benjamin Smith) that BENEFICIARY had been naming at the

   ^^predicate^^ level of STATE INSURRECTION were still involved in retaliatory decisions

    about BENEFICIARY'S heath care needs. This includes APPLICATIONS and


    DECISIONS pertaining to the ""HELP PAYING COSTS'^ application (for the

    MEDICARE SAVINGS PROGRAM),and affecting all of the other FALSE CLAIMS of

   these CO-TRUSTEES and their innumerable agents.(Bold emphasis added)

210.   Below is a letter from agents and principals ofco-TRUSTEES of MDHHS and the STATE

    OF MICHIGAN that BENEFICIARY has, since May 2019 been embedding into his many

    levels of written "COMPLAINTS'^ and "APPEALS^ at the "secondary" levels of both STATE

    and NATIONAL "CO-TRUSTEES^ throughout 2019 and 2020,to no avail. The letter, written

    on the behalf of TRUSTEE MDHHS "Director" Robert Gordon, by TRUSTEES' agent of




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                Terrence Beurer. FRAUDULENTLY pretended to have offered the assurance that neither

                JWoods/HOLLYWOODSJ nor supervisor Benjamin Smith would ever again be involved

           with further interactions with BENEFICIARY,nor be in control of his medical''case'' management.
                     r); I additionally                            Isquith - and by and tlirongh her Mv informed tU
                    .T^nCfflGAN PROTECTION AND ADVOCACY SERVICE - that I had
furtiier proof, byforevlously fiilly informed the above-referenced LARA and ^LDHHS
screen^ shot froml
one of the letters|                .                 ^         .        L        i            :
written         bet\veeri|)'inpal activitlesLan(l?thev each and everv one duL nothing but to take
Sept- November                                  actions Vto cilminallv covei' ui) mv "c/v//" and ^'crimhwP^
2020,that when this|,Q,^jpL^j{j5'                                                    'ietaliailoti'VM'''RI&./(lo^^
information         wasi—                                      —         ,■ •   •,           —                   -       7-7:
presented to            mrrorhm'\ Further,Iadded that despite                                Directo having mstruried hjs
TRUSTEES cmPsiibwdwoteageiif-m-^^
             . that
USDHHS^as agentsj                the 1\1DHHS '^case worker'- was- replaced
                                                                    T      anfthe ^^distrki office moMgei^
for       TRUSTEESppdd never be inteitenng iii'vpj" case(s) agaipj those assurances turned out to
UNITED STATES,pbe iiist more LIES of corruDtion.
nothing still was yet
done       to
BENEEICIARY atl
                   he
                             i                                                       ^^ te   eI   viAa ssis/n^ m
these . ^^secondary"]        tTinortomit"!

levels;




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           lh&ia^fa^8Sg^t8terrB.mifigg^hayait^f9iBgs
                                                                                      kO^^mn



                                                               page 117 of 222
                                                                         145
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211.    In FACT, as shown from a page of BENEFICIARY'S 09/17/20 correspondence to

   numerous addressees as CO-TRUSTEES in ''"follow-up''' to BENEFICIARY'S 8/10/20

   COMPLAINT to the same CO-TRUSTEES, the history of documented CRIMES by

   "JWoods/HOLLYWOODSJ" and Benjamin Smith go back many years showing both

   DISCRIMINATION and RETALIATION by the CO-TRUSTEES MDHHS and LARA as

   connected to CO-TRUSTEES STATE OF MICHIGAN going back to previous racketeering

   crimes that BENEFICIARY had reported, as supported even then by "HIDDEN CAMERA"

   video footage showing their constitutional torts and common law torts amounting to proof of

   STATE insurrection, a RICO Crime Svndicate, a Continuing Financial Crimes Enterprise, and

   domestic terrorism being otherwise covered up at the "secondary" level of agents and officers

   of the STATE OF MICHIGAN. (See below for another page from that 09/17/20

   correspondence to numerous addressees as CO-TRUSTEES in "follow-up" to my 8/10/20

   COMPLAINT to the same CO-TRUSTEES.)


       taking care of mv dependent chiid in 2016. 1 had used a bidden caitui a when
       dealing with the same two CRrMIN.A.LS of ""hollvwoodsr and ""Benjamin SmillC
       — completing a Dufaliciv posting a video documentary about mv <lirect exDeriences
       with the ""violation'^ ofihe RICO ACT" bv MDHHS and L.4R.\: while reasoning
       that after mv amnutatlons. this was whv that SAME "'cme manaser" and ""District
       Office Manaser" had been retaliating against me ever since, and whv MDHHS
       and LAR.\ and the STATE OF MICHIGAN were tiwing to get me "om ofthe
       way" for exposing these verv seiious '"wheel consniracY'' and "chain conspiracv^^
       FEDER.\L and COMMON LAW crimes against me and against innumerabie
       others of the ""mosf vulnerable iwviilaJions" of MICHIGAN, including the
       ELDERLY,the DISABLED,and the POOR.
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''(y)iuwliniiiy'\                and           "n-lwrewiilmP
                         ) Ml RDI !■{ ii|)oii iii\ lilt' in cai i\ 2(I1(S,
 212.   Also, about the same day the above-referenced '^NOTICE OF CRIMINAL FRAUD BY

    DOMINIC SIL VESTRF was delivered to both TRUSTEE Silvestri and to the TRUSTEES "52-

    I DISTRICT COURT' on 12/21/20, BENEFICIARY David Schied received yet additional

    EVIDENCE of more FALSE CLAIMS stemming from the NATIONAL LEVEL of these

    RICO enterprises and expanded domestic terrorist networks.

 213.   As shown below, a first official ''decision ofresponse" from CO-TRUSTEES "CENTERS

    FOR MEDICARE AND MEDICAID SERVICED' ("CMS"), the U.S. DEPARTMENT OF

    HEALTH AND HUMAN SERVICES ("USDHHS), and the UNITED STATES, that was

    mailed out on 12/17/20 as a MEDICARE SUMMARY NOTICE. This document shows not


    only that all of the CO-TRUSTEES have affirmatively refused to do anything about any of
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   BENEFICIARY David Schied's CLAIMS regarding the above detailed ''causes'' for this

   instant action in this ARTICLE III COURT OF RECORD - i.e., refusing to enforce

   BENEFICIARY'S Right to having his ''appiication" for HELP PAYING COSTS^^ for

   MEDICARE coverage answered - but also shows that these TRUSTEES' propensity for

   reinforcing the underlying ""RJCO" CRIMES of forcing BENEFICIARY Schied to be

   unjustly paying for most all of the costs of medical treatment, which was occurring at

   precisely the same time that TRUSTEES were already making BENEFICIARY keenly

   aware that their tortuous conduct and criminal sross neelisence and malfeasance would


   further deepen BENEFICIARY'S continual inability to pay housing and food costs, as


   well as the added medical billing costs.(Bold and underlined emphasis added)

214.   The Seditious and Treasonous criminal acts of named CO-TRUSTEES Seeraa


   Verma, Christi Grimm, Kevin Skully, Gretchen Whitmer, Robert Gordon, Orlene

   Hawks, Everett Stern, Sonny Perdue, Devon Westhill, Tom Masseau, Rae Oliver Davis,

   William Barr,Eric Dreiband,Nina Witkofski, Michael Horowitz then -each acting in their

   private capacities OUTSIDE of their official duties and functions to AFFIRMATIVELY

   SUPPORT THE LOWER "predicate" crimes oftheir fellow CO-TRUSTEES(which followed

   the familiar pattern ofmany oftheir predecessors ofthe previous many years that this has been

   going on in top-down fashion with CO-TRUSTEES of the STATE OF MICHIGAN with the

   likes ofJennifer Granholm,Rick Snyder,Bill Schuette, Mike Cox,Richard Cunningham,

   Matthew Snyder, Barbara McQuade, Terrence Berg, Stephen Murphy, Denise Page

   Hood, Avern Cohn, and so many others of the named and unnamed of the "chain

   conspiracies" and "wheel conspiracies" operating against the sovereign People in Michigan at

   the STATE and UNITED STATES levels - is obvious. This is because the tacit agreement


   and malfeasance in CO-TRUSTEES functioned to give all those other CO-TRUSTEES


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   the "gfggH fishf^ to continue furthering more of their FALSE CLAIMS against

   BENEFICIARY, causing him even further DAMAGES.(Bold and underlined emphasis

   added)(See below through the next several pages of embedded EVIDENCE).

                         Medicare Summary Notice                                                                 pageiof4
                        for Part B (Medical Insurance)
                        'l'hcOt'riCi»l Summary of Yout MeUicare(bairns(Vom the Ooters for Medicare Sc Medicaid



           DAVID E SCHIED
          46673 W 12 MILE RD                                                     THIS IS NOT A BILL
           NOVI.MI4«377-2425




        Notice for D^vid E Schied                                   Your Claims & Costs This PeHod
        Medic.jre Number            2TT:2J-V4A025                   Did Medicare Approve All Items and                   YEl
                                                                    Services?
        Pate;o1 This Not;ce          D*c*mb«r 11.2020
                                                                    See pjge 2 for itow to doubie-cltcck this notice.
       C athVs Proc.pssed.          September12 - '
        Belweon     •, ;„ _         lOecember'l 1. 2O20             Total You May Be Biited                       .S214.S:


      Your Deductible Status                                       Suppliers witfi Claims This Period
      Your deductible is what you tnust pay for most health         September 16. 2020
      ■iervtces before Medicare l>egijis to pay.                   Wright &Pilippi» Inc

      Part B Deductible: You have now met your
      $198.00 deductible for 2020.

      Be Informedl

      Medicare eBooks - Fast and free infoiination
      airyt^ierc! View tliem <»ii all lyj'es of eReaders, like
      iui iPad or Kindle. New ones are added alt the time!
      Co to https;//wwwMncdicare.gov/pulj^elx»oks.

        David E Schied                                                                        THIS iS NOT A BILL |Page 3 of 4

        Your Claims for Part B (Medical insurance)

        Part B Nh-dicai IniurarRT helps pay for durable               aniouii! as f'uli paymcnl for covered items or servicea
        aiedical eguipmeni and other health care services.            Medicare usually pays 80% of the Medlcare-^iproved
                                                                      lunouni.
       Definitions of Columns
                                                                      Amount Medicare Paid; This is the amount
       Itcm/Servicc Approved?: Tins column tells you if
                                                                      Medicare paid the supplier. This is usually 80% of the
       Medicare covered tltc item or service.
                                                                      Medicare-approved amotmi.
        Amount Supplier Charged: 'Phis is your suppliw's fee          Maximum You May Be BiBed: This is the total
        for this item or service.
                                                                      amount the ^pplicr Is allowed to hill you aitd can
       Mvdicarv-Approved Amount; 'lljis is the amount a               include a deductible, coinsurance, and otiier charges
       supjTlicr can be paid for a Medicare item or service.          not covered. If you have Medicare SufT>Iemcnt
       It may be le&s than the actual amount the supplier             Insurance (Medigap policy) or other Insurance, It
       charged. Your suj>plier has agreed to accept this              may pay all or part of this amotim.



       f:-:Vyrlght a Filippis Inc. 12481356-2630 .
       tf--2-7!67a,Micaiebelf R«i. Farmington^HillrMl4a!334-

                                                        ttMIV      Amount;       Medtcar«-       Amount          MdAimum
        QusiiOty, Item/Service Provided                Setvtce     Supplier      Approved       Medtcnre         You May
        6 eOHng Code                               AppfovdT        Charoed        Amount             PattI        Be Bilieil

        6 Prosthetic sheath, bekiw knee,                                           S94.26          SO.OO
        each (L8400-RT)
        6 Prosthetic sheath, below knee,                             99.07          94.36          29.85
        each (L8400-LT)
        I Prosthetic shrinker, below knee,                           49.18          46.79          37.43
       each (L8440-LT)
       1 Prostltctic shtitiker, below knee,                          49.18          46.79
       each <L8440-RT)
       Total for Oalm #20262808388000                             5296.50         5282.10         S6/.28
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          c/o GG8 Administrators, LLC
          POBOX20Q10
          ^asy!Ie,TN372Q2-001Q

          OFFICIAL MEDICARE INFORMATION


215.   The above OFFICIAL MEDICARE INFORMATION constitutes "FALSE CLAIMS"

   statements causing additional damages against BENEFICIARY'S relationships with medical

   providers — reflected above as WRIGHT & FILIPPIS, a servicer for BENEFICIARY'S

   ''prosthetic legs" - as well damages done against BENEFICIARY'S credit and payment

    history, which will be compounded by the CRIMINALS operating as the THREE CREDIT

   BUREAUS of TRUSTEES TRANS UNION,EQUIFAX,and EXPERIAN, which altogether

   furthered BENEFICIARY David Schied's inability to evade the LIFE AND DEATH

   '''THREAT OF VIOLENCE*'* being criminally perpetuated by CO-TRUSTEES Ava

    Ortner,     Donald         Thorpe,    Paul   Gobeille,   Michael   Yamada,   COLLIERS

   INTERNATIONAL,Bill Gatt, CITY OF NOVI,NOVI CITY COUNCIL,and the CITY

    OF NOVI,who have all been criminally involved in the LAND DEVELOPMENT DEAL

    predicated upon the FORCED EVICTION of BENEFICIARY Schied.(Bold emphasis)

216.   The same is true for similar other statements sent to BENEFICIARY David Schied as

    shown below. These other MEDICARE SUMMARY NOTICE(s)show that not only was

    BENEFICIARY being wrongfully forced to pay premiums, copays, and deductibles for

   "Part B" MEDICARE coverage by way of the persistent CRIMINAL "CONSPIRACY to

    deprive of rights'" between co-TRUSTEES MDHHS / STATE OF MICHIGAN and the

    CO-TRUSTEES CMS / USDHHS / UNITED STATES,but so too were doctor-prescribed

    medical services and needed diagnostic testing being DENIED by TRUSTEES agents in

    the claims authorizations departments.
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                                                                                                                   472771884

                         Medicare Summary Notice                                                                   Page 1 of5

                         for Part B(Medical Insurance)
                               Official Summary of Your Medicare Claims from the Centm

              DAVID     E SCHIED
              46675 W 12 NILE RD
              NOVI NI  48377-2425                                                      THIS IS NOT A BILL


             I||||.,I|II||IImi.ii.|||i|.IIi|i|||i|mi|Ii{im|I|II||.||   II


                                                                            Your Claims & Costs This Period
                                                                            I Did Medicare Approve All Services?
                                                                             Number of Services Medicare Denied




      Your Deductible Status

      Your deductible is what you must pay for most health                  Providers with Claims This Period
      sertices brfore Medicare begins to pay.                               October 28,2020
      Part B Deductible: You have now met your                              Ascension Med Grp Michigan
      $198.00 deductible for 2020.
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 David E Schied                                                                           THIS IS NOTA BILL I Page4 of5

 October 28,2020/Ascension Med Grp Michigan continued.
                                                                 Amount      Medicare-      Amount       Maximum
                                                    Service      Provider    Approved      Medicare        You May
 Service Provided & Billing Code          Approved?              Charged       Amount           Paid       Be Billed

 Handling and/or conveyance of
 specimen for transfer from
 physician office to laboratory
 (99000)
 Vaccine for influenza for
 administration into muscle,OS ml
 dosage(90688)
 Screening for depression Is
 documented as negative,a
 follow-up plan is not required
 (G8510)
 Administration of Influenza virus                                                                                     E,F
 vaccine(G0008)
 Total for Claim #18-20310-201-360                              $247.00       $151.92       $130,89         $22.54 H


                                                                      Your Claims & Costs This Period
 I             Number         2TT2JV4Ap2S'^^^^^ Old Medicare Approve All Services?
                                                                                                             -




                                                                      NumberofServlces Medicare Denied
                                                                   'SW UUilliy IjiafUllg Oil pugti J. LWk m?IKG til
                                                                      the"^rv^e Api^oved?" column,        the last
                                                                    ■ Pageforhowtohandleadeniedclaim.
                                                                      Total You May Be Billed




                                                                                    iBiSlnsilllKlmL

  ■^Hererreo         SitlKl0in~r ~     ' '.'V'■ ■             -7r-, V '                      %Hwill
                                                                  Amount      Medicare-     Amount       Maximum
                                             Service              Facility    Approved     Medicare        You May
 Service Provided & Billing Code          Approved?              Charged       Amount           Paid      Be Billed

 Blood test, comprehensive group                       Yes         $42.00       $42.00       $10.56
 of blood chemicalsmOQ53)
 Blood test, (iplds (cholesterol and                   Not           49.00        0X)0          0.00
 triglycerides) (80061)
 Claim #22033900923407M1A
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 .David Schlad                                                              THIS IS NOT A BILL
                                                                                             |Page 4 of 5

 Octobar 28,2020/Asc«r»slon St John Hospital eontlnuod..
                                                    Amount      Medicare*      Amount    M.iximiitn
                                          S«rvlc«    Facility   Approved      Medicare    You May
 Sarvice Provided & Billing Code
 Service                                Approved?
                                        Appro       Charged      Amount           Paid

 Urine mlcroalbumln (protein)level
 (82043)
 Vitamin D-3 level(82306)                                                                     O.OO E,F
 Creatinlne level to test for kidney                                                          0.00 E
 function or muscle injury(82S70)
 Ferrltln (blood protein)level                                                                O.OO G,H,I
 (82728)
 Hemoglobin A1C level(83036)                          40.00        0.00                       O.OO G,H,J
 Iron level(83540)                                    18.00         0.00                      0.00 G,HJ
                                                      33.00         0.00                      0.00 G,H,I
 Magnesium level(83735)                               18.00        18.00                      O.OO    E
 Parathormone(parathyroid                            184.00      184.00                       O.OO
 hormone)level(83970)
 Phosphate level (84100)                                                                      O.OO
 Total protein level, urine(84156)                                                            O.OOl E
 Uric acid level, blood(84550)                                                                O.Ooj E
                                                                                              0.00
 ceils, white blood celt, platelets),
 automated test(85025)
 Total for Claim #22033900923407MIA                 $667.00     $471.00       $124.98




217.     To push the recent obtained EVIDENCE against the TRUSTEES STATE OF MICHIGAN

    even further, is the correspondence that was received by BENEFICIARY David Schied on or

    about 12/24/20, the day before Christmas 2020. This letter shown below and dated 11/5/20,

    for some wholly malicious and tortuous reason, was initially sent to an address - a post

    office box - that BENEFICIARY Schied has not used since just before the ATTEMPTED

    MURDER in March 2018. This post office box had been referenced NOWHERE on the

   "•DECLARATION"' being referenced by the AGC "ANSWER OF DENIAV" as

    beneficiary's "complaint" to the AGC against BAR member Ava Ortner. As such,

    this correspondence is even more proof that the TRUSTEES STATE OF MICHIGAN and its

    agents of the ATTORNEY GRIEVANCE COMMSSION - being an arm of the ultra-

    corrupt MICHIGAN SUPREME COURT - were basing their DISMISSAL of this

    "complaint" about TRUSTEE Ortner on unrelated "backward lookins" previous cases of

    earlier COMPLAINTS rather than on the unique FACTS bein


    BENEFICIARY in October 2020.
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218.    The FACT that the ATTORNEY GRIEVANCE COMMISSION ("AGC") used this

   address when writing its FRAUDULENT ''decision'' about its FALSE CLAIM of doing a

   "thorough review" of BENEFICIARY'S sworn and notarized DECLARATION and

   EVIDENCE that STATE BAR OF MICHIGAN crime syndicate and domestic terrorist

   network member,TRUSTEE Ava Ortner, was CRIMINALLY carrying out an eviction against

   BENEFICIARY while a NATIONAL "EVICTION MORATORIUM' was happening, shows

   more that the AGC agent(s) behind this DENIAL were PREJUDICIALLY basing their

   DENIAL OF ACCESS upon previous unrelated cases BENEFICIARY had filed with

   the AGC several years ago when he had a mailbox. This DISCRIMINATION is

   undoubtedly based upon BENEFICIARY'S outstanding "politicaP^ views about the

   ^^sovereign American People''^ and the ^^constitutions of the STATE and the UNITED

   STATES" reigning '"^supreme" over the Seditious and Treasonous STATE BAR members

   as STATE INSSURRECTIONISTS and DOMESTIC TERRORISTS.(Bold emphasis)
                                                       39


        Conies of this DECLARATION arc licine m ovided to;




        mQMucl         io                           fop/ofecl/fis putk ite courts, and^legalpto^m
         TheASCfBspiisdiWonomMmj/skensedtopfscteiM^tlw^MM^manddit^^^


                  Attom©y Griovanc© Commission
                  535 Gr-ywold, Suite 1700 Detroit, Ml 48236
                                                                         Above is the screen shot of the graphic that
                                                                         appeared on the final page ofthe notarized sworn
                                          «"         $H9iit55e33
                                                       ODO.SO®
                                                                         ''DFCL/lIJ/ir/OA'f of BENEFICIARY that wak
                                         MOJaaisjj
                                                                         distributed amoiigst the LOCAL 4i^EVE;L
                                                                         TRUSTEES Tnyolved with the RICO "land
                                                                         development scheme" 2ii the root cause of Ava
                                                                         Ortner, Donald Thorpe, the CTTY OF= NOVI,
    ^     1
                                       >wt-6V'    :-                     and COLLIERS INTERNATIONAL moving
                             «2 PE 1             O91l/l8/i0              forward with the evictiOn.Tt shows the AGC was
                                  TG SEBUgH
                          "S!e:i»t5 f8i,Br                               also provided with the full set of FACTS
                                                    J-67-Bi
                                                                         involving its member Ava Ortner. Imnortantlv.
                                                                         none of those pages referenced -the Post Office
                                                                         Box that BENEFICIARY had used many years
                                                                   154   prior.                  /
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                                                                                      AssocuTtaj0au
  MicKAav.%)arz
 Oiitymtci Ammsham                                                              mJtOASPBHCStP02Em.
   ROBERT EEDIOC                                                                    EMBLYA-DOWhlEY
  osKmAomamATOi                                                                    KIMBEKLYLUKURU
                                                                                      DINAR.DAlAHl
CYKTIfiA C BUUiNOTC»l
AsssamottmimamtaoiL                                                                 X)HNK.BI;K(^
                                                                                   CHARISELAm^RSQN
                                                                                    SARAHCUNI^Y
                                                                                   XXIDAND.PAIBUU
                                                                                    NATHAN a PTILlflC
                                            BUm.8UIU>IN0                           MICHAEL K.MAZUR
                                        S3SORiSWOLD.SUrTEi700                      CRAlOaPAVUXK
                                        DETROIT.MICHIGAN 48226
                                        TELEI>HOKEpI3)96)-6S85



                                                The only way these corrupt TRUSTEES, as
                                                representatives of the TRUSTEES operating as
                                                TRUSTEES of the MICHIGAN SUPREME COURT
                                                of the TRUSTEES STATEOF MICHIGAN was to
                                                disregard the actual content of BENEFICIARY'S
                                                "DECLARATION" as the basis for the                      AGC
   David Schted                                 opening up a new "^i/e N<?." against their member
  lyrtll:?:T!lRn:i                              Ava Ortner, is to place even more focus on the
                                                address BENEFICIARY             had       used   in   making
                                                previous AGC complaints about other "BAR"
   RE:    David Schied as to Ava KL Ortoer      members several years prior in matters totally
          AGC File No.20-2029                   unrelated to the CRIMINAL acts of Ava Ortner et al
                                                during an EVICTION MORATORIUM.
   Dear Mr.Sdued:

   This office received your Request for Investigation, however, the all^dcffls in yoig
   are insufficient to ^^rrant review bv the CommissioD. Acco
          s roett» is being closed uiuler the authcHnty of die Onevance Administrator pursuant to
   Michigan Court Rule 9.112(C )(l)(a).

   Your Reoue^ for bivestieation has hem thormadilv reviewed The focts as vou have s^td in
    our Request for Investigation do mt constitute professicmai misoMiduct. We regret that we can
   •'JiUtMiflitber assistance to you.


   Ava K. Omwr has be«i provided with a copy of your Request for hivcstigatioo. If my ^affa I
   m be of service to ycm in die future, pl^e do not hesitate to contain us again.

                                                   Very truly ymirs,



                                                  Cynthia C. Bullington
     CCB/mcg ▼
                                                  Assistant Deputy Adnunistrator
     cc: Ava K. Ortnw (w/eack^ure)
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                                                            21 DEC 20^ PM2 L

   PERSONAL AND COmENTiAL




                                                         ^ovi. MI 48377




219.    As a matter of FACT, the credibility of the TRUSTEES of the AGC has long been

    unquestionably defunct, as has been the credibility of Cynthia Bullington. and Paul Fischer

    as the former corrupt Executive Director of TRUSTEES MICHIGAN JUDICIAL TENURE

    COMMISSION.




                  Michigan Attorney Grievance Commission
                  Detroit, Michigan

                   Cynthia C. Builington is the assistant deputy administrator with the Michigan Attorney
                   Grievance Commission, where she has been employed since 1982. A graduate of
                   George Washington University Law School, she is admitted to the U.S. District Court
 and the U.S. Sixth Circuit Court of Appeals. Ms. Bullington serves as an regular member of the State Bar
 of Michigan's Standing Committee on Character and Fitness. She teaches professional responsibility at
 Michigan State University College of Law as an adjunct professor.
  Michigan Court of Appeals Judge David
  Sawyer, who chairs the nine-
  member Judicial Tenure Commission,
 said commissioners voted to remove Paul
  Fischer as executive director and name                      mBT               r
  Glenu Page, a veteran .rrc staff attorney,
  as Fisieher's interim replacement at a                   '                ,       /
 closed meeting last Monday.                                  ;i;: J£           4
  Sawyer declined to discuss what had led
  to Fischer's dismissal and said he
  doubted the commission would issue a
  news release acknowledging it.                                        ^

  Paul J. F^cher, Executive Dir^tcs'
    Michiaan Judicial Commission                 ise
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220.      See for example the testimonial of John Zupanc(below), another sovereign American who

     has recognized that the TRUSTEES' agents — AGC of the MICHIGAN SUPREME COURT

    of the STATE OF MICHIGAN - are insurrectionists and domestic terrorists.


 On today, December 28,2020,06:52:20 PM EST,John Zup^ <i(                              icom>wn^:



 Attorney Grievance C(Mn^on.

        Forwarded message
 From: John Zupanc <iohn.zyDanc@qmail.com>
 Date: Sat Sep 26.2020 at 11:48 AM
 Sut^:Your Testimony At The September 17,2020 Senate Judiciary and Public Safety Committee Hearing For S81%
 To: <McCmmackB@courts,mi.aov>
 Cc: <Mafl(manS@cou[ts.mi.gov>. <ZahfaB@courts.mi.gov>. <VivianoBteyrts.mi.gov>, <BemsteinRt5icourts.mi-y)v>.
 <ClementE@CQurts.mi.gQV>. <CavaBQt^^Qurts.mi.gov>


 Deg Chief Justice McCormack:

 In your testimony regarding SB 790 iysSerten^ML2020Serg^^                                                             you spoke about
 the need fry iransp^ncy,accountabilriy, ana the public's trust and confiderKie in the courts, the   currency they have.The link for the
 hearirigvideQis as follows, your testimor^begi^^^


 Judiciary and Public               ommittee




                                                                                                                                /17/20
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 felow are twoeyit^sent last"gnft to you aijtie otoix Supm Couft JiBtics It was FMardinq the Attorney Gfievance


 I never received a reply to my e-mails, nor to my follow-up telephone call. Much less has anythir^ yet been done to address my concerns
IffllieliTCi^ncy,accounffilyaSWepilblifscifK and trust in the^. I [deviously explained to you,feAGC
 blocked my e^i address, outright refuses to talk to me,^d much less wil answer my simple quesSons.

 Also, as I previously explained, my quKtions were regarding the negligent manner thaU complaintj/as handled that I submittd to the
 AGC.I also need to km if I can re-submit tfie sarr® complaint aOTtensiffiFciiplahSagffi

 So,was yourtestimony anything more than just words? It spears that it was not How can one expect the lower courts, especially the



 Thank you.

 Sincerely



 BecMcal Engineer


 From: John 7um^ <iohn.zu^nc!S!omail.com>
 Sent: Sunday.August 30.2Q2Q 11:21 PM
 McSrrmackBtoirteM MarkmanS@courts.mi.QQv:ZahraB@courte.mi.gQv: WgnoBgcourtemgE
 BemsteinR@courte.mi.gQv:ClemenlE@courte.mi.gov: CavanaQhM@courte.mi.gQV
 Subject: FW:Attorney Grievance Commission ofichpn

 [^arHonoral^e Judges

 I have nc^ yet received a reply to n^ beiwAugust 16,2020 e-mail. However, I did receive a letter from Cynthia Bullinqton P-^989 ofthe
 Atay Gnevance Commission ^).It is attached.

        ni manner as was me como ain                      suDmineQa            omevKanQaiiiyi.


 Why can't she answer that quesion? What is she trying to hide? As I explained in my last e-mail, attorneys are universaliy disliked, if not
 outright hated. Ms. Buiinqton's disguskiipon"diJcl                  make anyone less dislike/hate altom^s.

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                                                                                            As is being argued in this instant
                                                                                            case against CO-TRUSTEES Ava
 Scientific Studv Concludes No One Trusts
                                                                                            Ortner et al^ it is the type of
 Lawyers                                                                                    insurrectionist        and         domestic
 Lawyers are ranked on par with prostitutes when it comes to trust. Lovely. terrorists acts that are taking place
 BySIAa/AWlSCY                                                                          under color oflaw" and the ^^cloak
                                                                                      of legitimacy^'' that are at the root
  abovettiel3WXO[ii/2fll4/M/^ienic-stydfconcludes-fio^                                cause       for   many     sovereign
                                                                                      Americans to not only distrust
 Sep24.2014                                                                           attorneys as ^^officers of the
 Many people enter the legal profession with the expectation that the public will see courts''''^ but to also completely
 them as members of a noble trade to be revered and admired. Unfortunately,that's     distrust ^^governmenf^ altogether
 simply not the case at all. For every would-be Allicus Finch,there exists an off-color     because      STATE         BAR        crime
 lawyerjoke. If you'd call 5,000 dead lawyers at the bottom ofthe ocean "a good start,"
                                                                                            syndicate and domestic terrorist
 then ^u'rc not alone.
                                                                                            members dominate the decisions
 According to a new study, although lawyers are viewed by the public as part ofan           of every      branch       of America^
 "envied" profession, no one really likes them. Sure,lawyers may gain a scant amount        STATE          and           NATIONAL
 of respect from some, but when you're viewed generally as heartless bastards, no one       government           operations
 will trust you...                                                                          because      the     ^^revolvin
                                                                                            between      branches and          between
 Thesearejust some of the conclusions drawn from a Princeton University study               government and CORPORATE
 conducted by Susan Fiske and Cydney Dupree. You may want to have a stiff drink             private        enterprises            make
 before taking a look at Fiske and Dupree's warmth v. competence fhart to see how           corruption     and      racketeering a
 lawyem are rated compared to other professions:                                            central      focus         for       private
 While lawyers are peit%ived as some ofthe most capable and competent professionals profiteering                     and            the
 — behind only doctors,scientists, and engin^jrs — they're almost on par with       CORPORATE                     lobbying       of the
 prostitutes when it comes to warmth. Let that one sink in as you read what Fiske and       ^^centralized''' administrations of
 Dupree have to say about similarly situated professionals:                                 both    STATE        and     NATIONAL
                                                                                            governments.

  ##       The[rightmost] corner lists the ambivalently perceived high-competence,
 *^ low-warmth,"envied" professions;jaw^ers, chief executive officers,                      BENEFICIARY              David       Schied
           engineers, accountants, scientists, and researchers. They earn respect but       refers to this as:
            nottr^. Being seen as competent but cold might not seem problematic                    '"BRANCH JUMPING".
            until one recalls that communicator credibility requires not Just status and
           expertise (competence) but also trustworthiness (warmth). People report
           envy and jealousy toward groups in this space. These are mixed emotions
            Uiat Include both admiration and resentment.


 lawyers,ofcourse,can't blame aD of their perceived untrustworthincss on jealousy
 and resentment. Perhaps if they'd like to stop being seen as "cold, nithJessIy efficient
 machines," they should try to pay the same amount ofattention to their social
 interactions with clients as they do their billabte hours.
                                                                                            BruDch-.lumpers are ^^e/angerous to
 What's the les^n to be learned here? The next time someone asks you what the
                                                                                            human          (to               and to the
 difference between a lawyer and a hooker is, it's notjust that the hooker will stop
 trying to screw you when you're dead.                                                      according to widely accepted bona fide
                                                                                            research - promote foreign corruntion
 Gaining trust as well as respect in communicating to motivated audiences about       and     racketeering   from   n-iihin
 science topics[Proceedings of the National Academy of Sciences of the United States] ^'■gorernmcnr: being acts of Scdiiion
 This Chart Will Show How Respected Your Profession Is[Science of Us / New York            treason against the many varied
 Magazine)                                                                                  ponuli/hom    of     Americans.       Thcyf
                                                                                                           acts - by definition of
                                                                                            CONGRESS-oU'cioififuh-
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Ms. Bullinoton in her letter says that her office will only communicate with n© in writing. VWiy Is that? Is it because it is much harder to lie
when you are talkir^ to someone? Furthermore communicating in writing can only be via U.S. mail. As 1 previmisly explained,&ie^
blocked my eroil address. I guess that was done because I was asking questions that were too hard to answer honestly.                        ■
1 need to re-subnii my complaint against Iwlr. Lewis. It takes a lot of work and much emotional energy to submit a complaint So 1 need to
know that it won't be handled in the same negligent manner.
As I explained to Ms. BuJIirigtgn. I also need to submit complaints gainst attorneys in public service virho also dealt with me in a
IshoriesC S^i^linq'anj'^       rnahnef.'sincelhey we're noiactually repr^emlr^'me, can I siili fc compla'rK'apnsttlTem? ■
 loIOTiiyfe not i^'^eB^^                            injurious to me.They are former U.S.Attorney Barbara McQuade P45423,
and Wayne Coun^ Prosecutor1^Worthyl^-iySb.seeatlacneacom'fiairits!'''''                                                «
I also need to submit a complaint against fitichigan Department of Health and Human Services Attorney Angela Povilaips P-58430.She
                                                                                                               ne^he also oidright violated
my first amendment rights. See attached e-friinolfflflSTK

All of the complaints that I submit will implicate the same
law, out also are aoove'rigm an
As I explained to MS. Bullinqton. another bad actwls^ Grievance Administrator Michel &eb.In the at^hed e-mail to the Detroit

connected and prdected people So how do I knowH he^l'not KpSingIKS attheAGC? '"
Also, how can I submit a com                     .Byjlington.whQ
lawyer? Please let me Know.

 My experiences continue to lead me to very easily conclude that the following statementfrom the home p^e of the AGGs wetaite is
 nothing but an outright outrageous lie.

    TTie Affomey Gnevance Comm/ss/o/i(AGO is theinves^ga^e andprosecutmlarm ofthe Michigan Supreme Courtfor
    allegations ofattorney misconduct The AGCserves to maintain andpromote the integrity offfie Barand to prot^ the
    public, the courts, and the legalprofessfon.

The last sentence should instead read as fcllov^;

                                                                                                               /c.ff}ecourfs.a        e eaa

    proiession.

Thank you very much for ycHjr continued consideration of this most important and urgent matter.Any help M you give me will be most
sincerely appreciated.

Sincerely



 Electrical Engineer

John,Zupanc@GMail.com

248703^22


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From: John Zupanc <iohn.zuDane(5jginaiLcom>
Sent: Sunday,August 16,2020 9;44 PM
 roTHS^cmou^                       MarkmanS@coufis.mi.Qov:ZahraBicourts.mi.Qov: VivianoB(gcourts.nii.gQv:
Subject: Attorney Grievance Commission of Michigan

to Honorable Judges:

 Since the Attorney Grievance Commission of Michigan(^)is a Component of the Michigan Supren^ Court, please consider Piping
 me with this most important and urgent matter.

 As 1 well explained in my first ofle two belowAugust 5,2020 e-mails to Cynthia Bullinqton (P-33989),the Assistant Deputy Administrator
 ofle^,ifs no secret whatsrsver that attorneys are universaiiy disliked, if not outright hated. Contn'buling to that is Ms.Minfe
 She quite apfsrently uses her poshion atthe^to ignore complaints of, if not defend unethical, morally decrept conffi^pB|
 atornp®
 The^refuses to as much as consider investigating attorneys, including those who very deliberately and malicirxrsly provide injurious

 my inquines aoouta complaint against an attofn^aT^^^ffiSIs^^
            lomake ihe Hfaiss negative

The egr^ious misconduct, deliberate injurious represenlation, by Attorney Randall M Lewis,(P-46134) blessed by the^,ofsned
ffleoShedooriotlieseny'atee'm                                   representation, by other attorneys ullimWlMW¥Q^r ten years
                                                                                         llsande7p«ienceM
 Tigfffiand.'Rowever,tlian!(s¥what I callle P-1®mber Cartel, I am ssenbally if not deliberately prohibited from making a living. If it
wasn'tfor my retired sister from Canada fiilly supporting me. I would have become homeless over eight years a^.

Ms. Bullinqton cannot even do as much as let me know if I can re-subni M complaint, nr^ m\\ she give me some re-assurance, much
less a guarantee that it will not again be handled in lesame deliberately negligent manner. She also will not teli me if oler complaints
that 1 need tosiU will also not be handled in le same deliberately negligent manner.They all implicate the same welkonnected
protected individuals, sick bastards,v/ho use le law as a weapon to fulfill some twisted and [srverted self-serving need to harm innocent
people who for some inane person that theyjust don't like.

My exfffiriences have led me to very easily conclude latle follr^r^ statement from the home page ofle AG£s website is noling but
an outright outr^eous lie.


   al/ega^o/isofstaey m/scondt/cL The A6Cserves to maintain ancf promote the integrity ofle Sarancf to profed fhe
   public, the courts, and the legal profession.

Just as it would outrage me to learn lat Larry Na^ar was given ajob examining sex assault victims, ft qutped rne to learp lat Ms.
      [ton is also is an Adjunct Professor of Law at le MSU CollMe of Law. She teate ProfessitmarRisDQnsrblp^
leacn ourrumreaaomeysrnowtbdeiiiieraieParm'le!'rciienS'?™b'pe                                                        be abisive wil
leir clients? How to steal their client's money?
                                                                  161
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  Serarjpjter
In her response to my t^low e-mails, Ms. Byliington said
   "Please send in written corre5[xindence,only."

Isn't an e-rmil written correspdence? Is she^a stupid person,or is shejust g stupid just tostedl me? Thatis typical of her
third time ifoinife                                              2020,it was postmarked August 11,2020.The firsttwo times she sent it
via e-mail, in that letter she did not do as much as give me simple yes or no answers to my simple questions. She also would not return a
follow-up telephone call.

 I once believed that attorneys earned their bragging righte, their feelings of self-worth, by successfully representing their cli^ts. Novd
 appears
 L inni i I M. attomevs. Ms. Bullinaton included,.1^1.Mil
                                                   oat tfreir
                                                           l feelings
                                                                I I ..1of,self-worth bv harming
                                                                                         . innocent
                                                                                                . .. trusting people. The\
                                                                                                         ^asSlfvQUrKlQirS^
 jullinqton arKl tiie many attomevs In Michigan v^o know of my legal situa'                     I it amusing HmfeSnSlessI'

 Some of the many atrocities which I was subjected to are discussed in the ^ched attorney cover letter. The two supfK)rting documents
 mentioned there should available in abouttwo or ttiree weeks. They are not neded to review the letterwithoul loss of continuity
 The entire AGO stalf and commissioners,the Attorney Discipine Board staff and commissioners, Members of ttie Judicial Tenure
 Cdthmi^ioni^ Bar or Mich^an wmmissioners,and the executive staff of the Michigan AG's office wereallcopidonmye-mafe
 sent to Ms. Bullinaton. Not one ofthem exoressed even the sliahtest interest in helrfinq me,not even asmucnasrkmnqmeloan
 honest attmy,ifthereissucnathing.

 One would think that anyone who is truly interested in justice would lave been outraged by the many atrocities I was suljecled to and
 would have imn^iately commenced taking action againstle wrongdoers. Quite af^arenlly, pa^le with law degrees are notinterested
 injustice.                                                                                                                 —

 We've all heard the joke about 5,000 lawyer at the bottom of the ocean beir^ a nice start Do you know what would be an even a nicer
 start? 5,000 dead lawyers atle bottom ofle Straits of Mackinac.

 Perhaps you can help me getle help lat I very badly need? Since you are Supreme Court JudgK,you may k immune to gettii^ le
 backlash from the judges and prosecutors lat I discuss in my first e-mail below to Ms. Bulington. Please let me know if you can help me.

 Thank you very much for your consideration oflis most Important and urgent matter. I h(^ to soon hear back from you.

 Sincerely



 Eleclca! Engineer

                                                                     162
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221.   Therefore, herein, BENEFICIARY David Schied asserts that, given the reasonable outline

   of the FACTS and the available EVIDENCE supporting those facts, the ALLEGATIONS

   and CLAIMS running throughout this case are NOT FRIVOLOUS^'' and NOT

   ''unsupported by FACTS UPON WHICH RELIEF MAYBE GRANTED''.

222.   The CLAIMS and ALLEGATIONS are, instead, involving FACTS that reveal

   EVIDENCE OF "STATE INSURRECTION"' and "DOMESTIC TERRORISM", by

   definition being composed oi"ACTSDANGEROUS TO HUMANLIFE""^ that are proven

   - even by recognized "Federal whistleblower''" Everett Stem and TACTICAL RABBIT as

   other member CO-TRUSTEES - to be "ACTS OF COERCING THE GOVERNMENT"

   being operated by fellow CO-TRUSTEES of the "MDHHS", the "LARA"\ the "OFFICE OF

    THE MICHIGAN GOVERNOR'", the "DEPARTMENT OF MICHIGAN ATTORNEY

   GENERAL"", the MICHIGAN "ATTORNEY GRIEVANCE COMMISSION", and the other

   entities collectively known as the TRUSTEES "STATE OF MICHIGAN"', and to be "ACTS

   OF COERCING THE POPULATIONS"" of the sovereign People who are designated (by

   even Everett Stem and TACTICAL RABBIT) as being the "poor"", the "elderly"", and the

   "disabled'", like BENEFICIARY David Schied who fails into all three categories of these

    populations,(Bold and underlined emphasis added)




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                                COUNTS AND ARGUMENTS
            SUPPORTING THE BASIS OF THIS''ORIGINAL COMPLAINT'

223.   BENEFICIARY David Schied reiterates paragraphs 1-222 above as if written herein

   verbatim insofar as these paragraphs provide reasonable explanations for naming each of the

   member TRUSTEES and providing generalized explanations for their categorical inclusion in

   this instant lawsuit by way of the FACTUAL allegations against their affirmative acts of

   discrimination, retaliation, RICO crimes, insurrection, and domestic terrorism.


                                         COUNT ONE-
                      COMMON LAW and HUMAN RIGHTS TORTS
                           (Alleged Against All Named TRUSTEES}

224.   As is being presented herein, the civil claims and criminal allegations against the opposing

   parties of CO-TRUSTEES include, in part, those CO-TRUSTEES who are, in large part,

   descriptive of usurpers of the sovereign American People's power and authority, exhibiting

   behaviors that are found to be characteristic of treason and domestic terrorism.

225.   The aim of tort law is to provide corrective justice while that of human rights law is to

   provide distributive justice. Corrective justice is directed at rectifying an injustice between the

   doer and the sufferer ofharm.In this case the''doers''^ are the CO-TRUSTEES;and the suffer(s)

   is/are the BENEFICIAR(IES). Distributive justice, in contrast, is concerned with the proper

   distribution ofbenefits and burdens that are held in common by all who belong to a community.

   In this case the community is the sufferer ofharm. Principles of causation and the distinction

    between acts and omissions form an indispensable part of tort law, for "they connect the

   claimant and the defendant to each other in a manner that simultaneously distinguishes the

   link between themfrom their relationships with the rest ofsociety".(See F Du Bois,"Human

   Rishts and the Tort Liability ofPublic Authorities"(2011) 127 Law Quarterly Review 589)




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226.   In this context, the common law tort of negligence can provide a helpful guide for

   elucidating some ofthe disparate analytical elements that are subsumed under the umbrella of

   positive human rights obligations. Through the lens ofthe common law,these elements can be

   separated, with positive obligations deconstructed so that the limits of CO-TRUSTEES

   responsibility can be better understood. Improved understanding of these elements will be

   beneficial for all the PARTIES involved, as well as the Court, should a common law analysis

   be used in this case rather than applying distinct legal reasoning as CO-TRUSTEES will likely

   prefer and advocate.

227.   Both(common law analysis versus distinct legal reasoning) fi-anieworks aim to delimit the

   circumstances where responsibility for omissions can be found. Both systems also face the

   question as to how to find responsibility for omissions and how to limit tliis responsibility.

   However, the common law analytical approach allows certain issues to be more tlioroughly

   considered and more clearly articulated than with distinct legal reasoning where human rights

    aie concerned. Thus, the common law is better suited for applying to this case a proper

    understanding of the discrete analytical elements that must be tackled for making a

    determination about whether CO-TRUSTEES have failed to fulfil constitutional and

   legal obligations.(Bold emphasis)

228.   A positive obligation under tlie laws and the STATE and UNITED STATES constitutions

    can be defined as one where CO-TRUSTEES must take action to minimally secure human

    rights, and to uphold the rights of tlie sovereign American People to     Liberty, Property,

   and the Pursuit ofHappiness^\ The importance and the pervasiveness of positive obligations

    under the laws and the STATE and UNITED STATES constitutions then camiot be


    overemphasized. The systems designed to protect the public fi-om harm are extensive.




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   Consequently, positive obligations have penetrated all provisions of American laws and there

   are no a priori limits to the contexts in which they may be found to arise.

229.   Legislation, particulaiiy that associated with ^'constitutional law^\ has not developed a

   generally applicable framework for assessing when tliese fiduciary obligations can be triggered

   and set into motion, and how expansive their scope might be. When circumstances arise, as in

   this instant case, whereby positive obligations must be critically evaluated, the common law

   of negligence can better provide a perspective from which to evaluate, because the

   common law tort of negligence establishes the principles that more usefully inform

   Human Rights laws and dissipate controversies about fiduciai*y obligations when they

   are triggered, and inform how expansive these fiduciary obligations can be.

230.   Historically, the Court has declined to develop a general theory of the positive obligations

   which may flow from STATE and UNITED STATES constitutions. This is the likely

   consequence from using the distinct legal reasoning approach, rather than common law

   analysis. In fact, to review positive obligations using the distinct legal reasoning approach too

   often results in judgments which appear incoherent, arbiti'ary, even capricious, which is not

   conductive to certainty and predictability. Distinct legal reasoning appears too open-ended and

   thus, obscures the general conceptual limits of fiduciary obligations.

231.   To illustrate what is meant by tlie above paragraphs, the common law ''Ri^ht to Petition'"

   is used herein as an example. Frequently, Couits adjudicate''backward-looking access''' claims

   under vague notions of "fundamental rights" and/or by using the general rubric for "due

   process" claims.

          "The Court has stated that courts may not look to more generalized rights to
          adjudicate claims that already receive protection under a specific textualsource.
          Applying this lex specialis principle to the context ofbackward-looking access
          claims, courts should look not to vague constitutionalsources such as the Due
          Process or Privileges and Immunities Clauses toframe the access-to-courts

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          doctrine, but should instead examine the history and purposes ofthe Petition
          Clause to define the basic parameters ofthe risht, even ifthe risht may be
          secondarily informed by due process princivles" —
                                                           (Bold and underlined emphasized)

232.   In Bell v. City ofMilwaukee, 746 F.2d 1205 (7th Cir. 1984), the Seventh Circuit refused

   to make any distinction between instances of cover-up before a claim was brought and those

   that occurred after.


         "...that even those abuses that took place during the course of litigation
         contributed in denying the Bells adequate access to the courts. The court stated
         that even though the original claim had been litigated to completion,the denial-
         of-access claim was nonetheless valid because the conspiracy had ^rendered
         hollow* the right to seek redress** —

233.   Indeed, the original ^'•right to petition** in America developed to include a right

   to a fair hearing and a response, thus affording some procedural guarantees to

   petitioning activity. As noted by Professor Steven Higginson,"iVb petition could be

   summarily dismissed without abiding by at least these procedures, and the right to

   fulljudicial consideration came to be one ofthe 'inviolate* principles governing the

   right to petition in America.** — (Bold and underlined emphasis added)

         '7« viewing these principles together with the historical scope of the
         petitioning right, it becomes clear that those protections that guarantee
         the right'sfreedomfrom government interference mustproperly beseen
         as extending to the entire course oflitigation. Ifpetitioning activity was
         protected against arbitrary government interference, and ifpetitioning
         activity historically included the right to afair hearing as well as to a
         response, itfollows that the entire process, rather than simply thefiling
         ofthe claim, must be insulatedfrom government intervention. To this
         end, analysis ofbackward-lookins denial-of-access claims mustinclude


   This is explained more fully by Una A. Kim,''Government Corruption and the Risht ofAccess
to Courts'^(Michigan Law Review, Vol.103, pp. 554-588)
  Bell. 746 F.2d at 1261. The Second Circuit in Barrett v. United States also allowed a denial-of-
access claim to proceed even though the underlying claim had been fully litigated and had resulted
in a settlement. Barrett v. United States. 798 F.2d 565, 577-78(2d Cir. 1986).
   Steven A. Higginson, A Short History ofthe Risht to Petition Government for the Redress of
Grievances. 96 Yale L.J.(at pp.I47-149)(1986); Julie M.Spanbauer, The First Amendment Risht
to Petition Government for a Redress of Grievances: Cut From a Different Cloth. 21 Hastings
Const. L.Q.(atpp.33-34)(1993).
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         those conspiracies that take place after a claim has already been filed
         as well as those that occurred before the claim was brousht."^
                                                    (Bold and underlined emphasis added)

         "This interpretation is also consistent with current jurisprudence
         governing the right of access to courts. The Supreme Court has made
         clear in the past that a mere formal* right of access will not suffice to
         satisfy the r/g/r^.[Citation omitted] It has unequivocally expressed the
         view that fajccess to courts does not only protect one's right to
         physically enter the courthouse halls, but also insures that the access to
         courts will be 'adequate, effective and meaninsfuC —
                                                   (Bold emphasis added)

234.   By the above example, the analytical structure under the common law of negligence has

   been an object ofsophisticated development and justification. In contrast, very little ofthis has

   happened in the area of positive human rights obligations. If an approach to positive

   obligations under the laws and STATE and UNITED STATES constitutions is to be

   fashioned in such a way that is more principled, reasoned and coherent, the common law

   then is to be the more Important source of inspiration.(Bold and underlined emphasis)

235.   Both human rights law and tort law perform similar functions in protecting the most

   fundamental of interests. There is, thus, an important overlap between the fundamental values

    underlying the two, which bring convergence through proper analysis. Many tort actions

   serve defacto as tools for securing the protection ofhuman rights. It is frequently tort law that

    will provide the best fit in terms,of a remedy at the national level. Claims brought against

    public authorities in negligence can also be framed as breaches ofboth common law and human

    rights conventions.

236.   By considering the justifications offered by the common law system and examining their

    relevance in the context of human rights law, there is some likelihood that this Court may be

    better equipped to rationalize its own approach.


  See again, Una A. Kim,supra, p.579.
  Swekel v. City ofRiver Rouse. 119F.3d 1259, 1262(6th Cir. 1997).
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                                          COUNT TWO -
          VIOLATION OF THE FEDERAL TORT CLAIMS ACT(FTCA); and
               the JUDICIAL CONDUCT DISABILITY ACT(JCDA)
                           (Alleged Against All Named TRUSTEES)

237.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNT ONE as if written again herein verbatim.

238.   The FTCA is a 1946 federal statute that permits private parties to sue the CO-TRUSTEES

   of the UNITED STATES in a federal court for most torts committed by persons acting on

   behalfofthe sovereign People-the real''government'^ ofthe UNITED STATES. Among other

   things, the FTCA does not exempt intentional torts committed by ^'investigative or law

   enforcement offlcers'\ thus allowing individuals aggrieved by the actions oflaw enforcement

   officers to have their day in court.

239.   The JCDA of 1980 is a law that sets the procedure for anyone to file a complaint against a

   federal judge or an employee of the federal judiciary on the basis of disability or misconduct.

   The Act-was signed into law by President Jimmy Carter on October 1,1980. It authorizes any

    person to file a complaint alleging that a federal judge has engaged in conduct "prejudicial to

    the effective and expeditious administration of the business of the courts." [The Judicial

    Conduct and Disability Act Study Committee; Implementation of the Judicial Conduct and

   Disability Act of1980: A Report to the Chief Justice (September 2006)]

240.   As BENEFICIARY David Schied has referenced,there ate over seventy(70)boxes of hard

   EVIDENCE against both STATE and UNITED STATES 'judicial usurpers" that have -in so

    many differing and "colorable" ways similar to the recent tortuous affirmative acts of self-

    appointed now "seniorjudge" Victoria Roberts, CO-TRUSTEE named herein as well as her

    cohorts in crime at the USDC-EDM of Denise Page Hood, Avem Cohn, Stephen Murphy,

    Terrence Berg, and numerous other alleged "judicial usurpers" of the "federal" ARTICLE III

   "COURTS OF RECORD". BENEFICIARY has the RECORDS of an exhaustive list of such
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   '■'■judges"' who are operating in the EDM and in the SIXTH CIRCUIT — against whom he has
   many times over filed 'judicial misconduct" complaints that have gone ignored by the existing
   status quo of a "protectionist racket" of insurrectionism and domestic terrorism being allowed
   to operate in that section of the CO-TRUSTEES "UNITED STATES" jurisdiction. These are

   cases whereby "The Accused" have issued subjective and discretionary "summary

   judgment(s)" against BENEFICIARY in a plethora of "backward-looking-access-to-court"

   cases that are tantamount to "abuse ofprocess" amounting to "credibility determinations" on

   FACTUAL issues that were never litigated or allowed before a Petit Jury or Grand Jury, and/or

    for which there was never a genuine dispute.

241.   In such instances, the FTCA overrules various claims of "governmental immunity" when

    suing the ("DEEP") STATE, particularly in cases where outright FRAUD UPON THE

    COURT is a factor, when fraud has been declared, and when fraud is never actually properly

    investigated and subsequently litigated and brought to jury trial for proper remedy. Fraud

    eviscerates all judgments, evictions, theft of private property. Fraud vitiates everything!

242.    Thus, particularly in this instant case where overwhelming but compelling evidence is

    being presented and CLAIMED in connection with a host of backward-looking-access-to-

    court cases, 28 U.S.C. §§ 2674 and 1346b, claims for punitive damages are prosecutable when

    violations of constitutionally guaranteed rights occur, as are RECORDED "in spades" by

    BENEFICIARY and presented herein as the characteristic pattern andpractice that has been

    institutionalized by insurrectionists and domestic terrorists inhabiting the metes and bounds of

    the sovereign People's CONSTITUTIONAL REPUBLIC of the EASTERN DISTRICT OF

    MICHIGAN and elsewhere in the region of the SIXTH CIRCUIT, both within the sovereign

    jurisdiction of We. The Peovle of the United States of America.



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                                      COUNT THREE-
                                 CONSTITUTIONAL TORT
                          (Alleged Against All Named TRUSTEES)

243.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE and TWO as if written again herein
   verbatim.


244. These acts by the CO-TRUSTEES and their various agents constitute constitutional torts^
   which are valid causes of action against which no form of immunity against liability can be

   afforded looking backwards, particularly where the so-called ''''government intentionally

   lied - by OMISSIONS or otherwise - by acting affirmatively in gross negligence and/or

   malfeasance in tacit agreement to prevent the filing of BENEFICIARY'S claims from

   going forward or to thwart the effective litigation of claims. Such intentional acts are at

   contrast with accidental or negligent acts leading to similar results that may result in common

   law tort claims. See Erin Chemerinsky,Federal Jurisdiction 537-40(3d ed. 1999)[hereinafter

    Chemerinsky, Federal Jurisdiction (discussing the Supreme Court's aversion to finding

    constitutional violations for negligent acts).] Such instances occur when the conduct in

    question is shocking and egregious or lacks social utility^ such as is alleged herein against

    the numerous CO-TRUSTEES being enjoined herein.




  See generally, Christina Brooks Whitman, Emphasizins the Constitutional in Constitutional
Torts. 72 Chi.-Kent L. Rev. 661,664-67(1997)[hereinafter Whitman, Emphasizing](explaining
how, before Monroe v. Pape [365 U.S. 167 (1961)], the class of litigants able to challenge
government action in court was limited to those "subject to continuing government control" and
not to those who had suffered harm in the past)See also, Christina Whitman, Constitutional Torts.
79 Mich. L. Rev. 5(1980)[hereinafter Whitman, Constitutional Torts],
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245. The numerous intentional acts presented in this case are themselves constitutional torts -1^
    as well as common law torts      and they are being executed through certain patterns and

   practices by government functionaries who have otherwise publicly sworn their solemn
    oaths and accepted their sworn fiduciary duties of state and federal "'officers^'. These

    include officers ofthe court(i.e., BAR member attorneys and judges) with the sworn duties to,
    for example,"'serve andprotect" and/or to objectively "litigate the merits" ofcases so that the

    underlying ^'^Truths" can be properly determined in the name of both substantive and

    procedural(not''weaponized") ^'justice''.(Bold and underlined emphasis added)




  See Una A. Kim, Government Corruption and the Risht ofAccess to Courts (Michigan Law
Review. Vol.103. p.570),"Awarding victims redress through constitutional tort actions serves
to offset the damage the government wrongdoer may have caused. It accords the victim a
renewed sense of legitimacy and encourages him to remain a productive member of the
community. Imposing liabilityfor constitutional violations also promotes social peace by urging
people to continue to 'embrace their citizenship.'
       In addition, liability for these abuses does more than provide redressfor the individual
claimant. A constitutional violation affects more than anv individual victim: A constitutional
tort committed against one citizen cany and not infrequently does, give other citizens reason to
fear that they too may become the direct victims of some deprivation of due recognition.
Accordingly, government accountability for the violation serves to ameliorate the fear and
 disillusionment aroused in those sympathetic to the victim as well.'[quoting Dauenhauer &
 Wells]".(Bold emphasis)
"Kim continues in footnotes,"The theoreticalfocus on government's unique power to demoralize
can also accountfor the allowance ofnominal damages in constitutional tort actions. See Carey
y. Piphus, 435 U.S. 247 (1978) (awarding nominal damages where plaintiffs demonstrated a
violation oftheir constitutional rights even ifthey suffered no other harm). As Professor Whitman
pointed out, the allowance ofnominal damages, which is not allowedfor common law torts, is
 rooted in the idea that constitutional torts are in part meant to address the dignitary harm caused
 by government abuse ofpower. Whitman, emphasizing, at 669. Dauenhauer & Wells, at 917. In
 the same way that government regulations of property can involve demoralization costs,
 constitutional violations can also result in demoralization. Frank I. Michelman,Property, Utility,
 and Fairness: Comments on the Ethical Foundations of 'Just Compensation' Law. 80 Harv. L,
 Rev. 1165 (1967). See also Akhil Reed Amar, Fourth Amendment First Principles, 107 Harv. L.
 Rev. 757, 790 n.l26, 807-08, 809 n.l88, discussing the ways in which Fifth Amendment takings
 claims are analogous to Fourth Amendment unlawful seizure claims, and Akhil Reed Amar,
 The Future ofConstitutional Criminal Procedure, 33 Am. Crim. L. Rev. 1123(1996), applying the
 demoralization concept to Fourth Amendment actions,for other areas to which the concept of
 demoralization has been applied."
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246.   One such pattern of unconstitutional behavior has been recognized as the thwarting

   and impeding of BENEFICIARY David Schied's constitutionally guaranteed ^'Right to

   Redress^'' through the incorporation, analysis, and dissemination of false information,

   and/or gross omissions of information, and through secondary level tacit agreement with

   - and resulting criminal coverup of through affirmative inaction and silence - the

   underlying pred/cfl/e level civil, criminal, constitutional, and/or civil rights violations.

247. This is particularly true at the STATE level where CO-TRUSTEES at LARA and the

   STATE OF MICHGAN's agent                        and '"'Attorneys Generar have been shown to

   "weaponize^' due process so to DENY due process; therefore, barring BENEFICIARY Schied

   from meaningfully exercising his Right to "ACCESS''government documents otherwise owed

   to him under the STATE laws on"government transparency"           and robbing him of his FIRST

    AMENDMENT guarantees to REDRESS OF GRIEVANCES on the underlying basis of his

    plethora of still unresolved "backward-looking appeals".(Bold and underlined emphasis)

248.   The federal district and circuit courts need to cease adjudicating backward-looking

   "access" claims under vague notions oVfundamental rights" and/or by using the general rubric

    for "due process" claims, rather than using "due process" to adjudicate claims that can be

    considered redundant where there is a specific constitutional right infringed. —




   This paragraph specifically speaks to the CLAIM that when Beneficiary attempted to use
TRUSTEES "STATE OF MICHIGAN' FOIA laws of transparency to become more informed
about the illicit tactics being employed between the CO-TRUSTEES MDHHS and LARA to
deprive BENEFICIARY of his constitutionally owed "due process" rights during "administrative
appeals" the CO-TRUSTEES attempted to extort from him close to $1.5 MILLION in "excessive"
costs, in violation of SCOTUS' ruling of that very month in Timbs v. Indiana. 139 S. Ct. 682
(2019). Then when BENEFICIARY reported these constitutional violations to CO-TRUSTEES
Gretchen Whitmer and Dana Nessell, both resorted to fraud by omissions,rhetoric,and affirmative
silence in their responses.
  For instance, in Graham v. Connor, 490 U.S. 386(1989), a plaintiff sued various police officers
for using excessive force during his arrest in violation of his FOURTEENTH AMENDMENT due
process rights. Id. at 388-90. The SUPREME COURT refused to consider the claim under the
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249.   The Second Circuit has stated that the right-of-aecess to courts protects all property rights,

   including any "vested rightfs]ofaction."[See Barrett v. United States. 798 F.2d 565,575(2d

   Cir. 1986).] Under this broad construction, the constitutional inquiry is straightforward:

   "[ujnconstitutional deprivation of a cause of action occurs when government officials

   thwart vindication ofa claim." — (Bold emphasis)

           ^''Analysis ofPetition Clause history as well as analysis ofcurrent Supreme
           Court jurisprudence governing the right, however, demonstrates that the
           right ofaccess to courts protects more than simplyfundamental rights. In
           its inception, the right to petition itselfwas deemed one ofonly a handful of
           fundamental rights,'[Citation omitted] and in colonial America this right
           was not restricted to protect only a narrow class of essential rights but
           was used to vindicate a broad range ofprivate interests,fundamental or
           not.21 Whether petitioning to resolve debt actions, estate distributions,
           divorce proceedings, or land disputes, all were protected exercises ofthe
           right." [Citation omitted]

250.   Basic notions ofduty, breach, causation, and damages in cases involving COMMON LAW

    TORTS apply to constitutional actions. Therefore, those acting in the capacity oVgovernment

    officials" need to be punished - both civilly and criminally-in order to deter the furthering of

    unconstitutional behaviors that have, as in this instant case, escalated to STATE insurrection

    and domestic terrorism by definition.

251.    Once a cover-up has interfered with a claimant's underlying cause of action, a breach has

    occurred. The question at this point should become solely one of damages to be proved as a

    matter of fact. See, e.g., Rvland v. Shapiro. 708 F.2d 967,976 (5th Cir. 1983)(discussing the

    calculation of damages once breach has been established). This includes demoralization costs


FOURTEENTH AMENDMENT, ruling that the claim should have been brought instead as a
FOURTH AMENDMENT '^unreasonable seizure" elaim. Id. at 394-95.
  Id. Likewise,the Seventh Circuit in Harrell v. Cook agreed to hear an appeal where the plaintiffs
alleged that police mishandling ofevidence thwarted their ability to recover money stolen from
them by a third party. 169 F.3d 428,430 (7^'' Cir. 1999). The court ultimately dismissed the claim,
but in an important clarification of the access right, stated that had the plaintiffs alleged that
the police intentionally misplaced or destroyed the evidence, the claim would have survived.
Id. at pp.432-33.(Bold emphasis added)
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   caused by the deceit, as well as emotional and mental suffering, humiliation, and/or

   reputational injury engendered by the fraud, such as has long been repeatedly claimed by
   BENEFICIARY David Schied against the CO-TRUSTEES as a matter herein memorialized

   by this instant Article III Court of Record. See again Erin Chemerinsky, Federal Jurisdiction

   537-40 (3d ed. 1999) discussing the Supreme Court's aversion to finding constitutional

   violations for negligent government acts.

252.   In this case filed herein as an ORIGINAL COMPLAINT in this instant Article III COURT

    OF RECORD, the injuries suffered by BENEFICIARY David Schied - and other

   sovereign American People similarly situated as ''poor, elderly, and disabled'^ living in

    Michigan - are twofold; a) the injuries inflicted by the underlying causes of harm; and,

    b) the injuries caused by the ensuing cover-up. Both types of acts implicate those

    compensable injuries, e.g., physical injury, emotional and mental suffering, generally

    addressed by common law torts. [See Kim, Una A. Government Corruption and the Risht of

    Access to Courts(Michigan Law Review, Vol.103) in reference to Kenneth S. Abraham, The

    Forms and Functions ofTort Law (2d ed. 2002)pp.207-8.]

253.   In these and many other ways, the CO-TRUSTEES have been shown to be masquerading

    as legitimate '"'administrative law judges''' and other hierarchical decisionmakers causing

    BENEFICIARY David Schied to totally "exhausF himself with endlessforms and successive

    tiers of open doors of"administrative remedies'", by CO-TRUSTEES using fraudulent written

    "findings" and deafening silence as secondary levels of affirmative acts of gross negligence

    and malfeasance, acting through "tacit agreements" with the underlying causes that otherwise

    undermine the intent of the "Due Process Clause" of the STATE and NATIONAL

    constitutions. This is how CO-TRUSTEES have unconstitutionally set up their pattern and



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   practice of robbing BENEFICIARY of the administrative process itself, resulting likewise in

   the unconstitutional ^^DENIAL OF ACCESS'\

           The district court denied Harbury's claim because it read her claim to
           allege a duty on the part ofgovernment officials to investigate her clainu
           Harburv v. Deutch. No. 96-00438 CKK, 1999 WL 33456919, at *70
           (D.D.C. Mar. 23,1999), rev'd, Harburv v. Deutch. 233 F.3d596(D.C. Cir.
           2000), rev'd, Christopher v. Harburv. 536 U.S. 403 (2002). The D.C,
           Circuit^ however, reframed her complaint as alleging a duty not actively
           to provide false information in hopes of thwarting her ability to seek
          redress in the courts. Harburv v. Deutch 233 F.3d 596, 609 (D.C. Cir.
          2000), rev'd, Christopher v. Harburv. 536 U.S. 403 (2002). In doing so, it
          found a primafacie showing ofa violation. Id. Had the district court read
           correctly Harbury's allegation, it may have ruled differently. See Harburv
           V. Deutch 1999 WL 33456919, at *70(implying that, had Harbury alleged
           an affirmative suppression or destruction of evidence, her claim may
           have stated a valid cause ofaction).—

254.   Indeed, BENEFICIARY Schied has made amply clear his ongoing allegations of a pattern

   and practice of purported STATE LEVEL and NATIONAL LEVEL CO-TRUSTEES aiding

   and abetting in the persistent fraud, "72/CO" CRIMES, STATE INSURRECTION, and

   DOMESTIC TERRORISM being perpetuating by the underlying causes of actions, by their

   ^'^AFFIRMA TIVEA CTS"of acquiescence in silence, as''primafacie" tacit agreements to the

   allegations of underlying crimes ofLOCAL and STATE CO-TRUSTEES.

255.   These same patterns and practices are similarly fashioned in the crimes of TRUSTEES'

   franchised partners as CO-TRUSTEES named herein in both the QUASI-GOVERNMENTAL

    ORGANIZATIONS and NON-GOVERNMENTAL ORGANIZATIONS. Their alleged actions

   are intentionally deceptive at the secondary (i.e., the "appellate review" administrative) levels

   that enable the criminal perpetrators at the predicate level of RICO crimes to continue their

   criminal ENTERPRISING activities. This multi-tiered RICO conspiracy design then is the root

   cause for subsequent new claims of tort being asserted against those conducting these




  See Kim, supra, pp.555-6.
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   fraudulent secondary-level reviews. See Smith v. Citv of Fontana. 818 F.2d 1411, 1415 (9th

   Cir. 1987), overruled on other grounds bv Hodgers-Durgin v. De La Vina, 199 F.3d 1037(9th

   Cir. 1999) {"[C]onstitutional violation is complete at the moment the action or deprivation

   occurs, rather than at the time the state fails to provide requisite procedural safeguards

   surrounding the action")

256.   Each ofthe complaints/claims against the TRUSTEES allege, inter alia, that through the

   CO-TRUSTEES' multi-tiered affirmative acts of deception and tacit-agreement, these CO-

   TRUSTEES foreclosed the efforts of ''totally and permanently disabled'' BENEFICIATY

   David Schied to seek administrative and/or judicial relief by constructively denying

   BENEFICIARY reasonable access to administrative due process, being violative of both the

   RULES ENABLING ACT OF 1934 and the AMERICANS WITH DISABILITIES ACT OF

   1990 as amended in 2008. —

257.   Herein, BENEFICIARY David Schied asserts CLAIMS and EVIDENCE reflecting "over-

   the-line" conduct that imposes civil, as well as criminal liability, by the fact that the pattern

   and practice of the CO-TRUSTEES' alleged acts so clearly violate the most basic of

   constitutional norms that the CO-TRUSTEES must be made to pay for their tortuous conduct.

   See Myriam E. Gilles, In Defense of Makins Government Pav: The Deterrent Effect of

    Constitutional Tort Remedies. 35 GA.L. Rev. 845, 850-53 (2001).

258.   Finding such an appropriate remedy to this problem,therefore, requires that this ARTICLE

   III Court ofRecord define and address BENEFICIARY David Schied's "backward-looking^

    CLAIMS of discrimination, retaliation, and most importantly, "denial of access'' and




  As has been already addressed in COUNT ONE through COUNT THREE pertaining to Torts
and Human Rights, as well as Common Law Rights and Constitutional Rights, violations of the
RULES ENABLING ACT OF 1934 and the AMERICANS WITH DISABILITIES ACT OF 1990
are further properly addressed in subsequent "counts'" to these first three.
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   ''weaponized due process" allegations     in addition to the many other listed causes for this
   instant Court action.



                                       COUNT FOUR-
                           FIRST AMENDMENT VIOLATIONS
                           (Alleged Against All Named TRUSTEES)

259.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through THREE as if written again herein
   verbatim.


260.   To be brief and concise, the FACTS,the EVIDENCE and the other underlying causes of

   this Court action constitute and prove gross - and repeated-patterns and practices ofFIRST

    AMENDMENT violations of BENEFICIARY's FIRST AMENDMENT '^ight to redress".

261.   For these violations, BENEFICIARY is due his ''day in Court" with ACCESS to both a

   PETIT JURY and a GRAND JURY of the sovereign People as the "final arbitrators" of the

    many civil and criminal matters placed before this instant ARTICLE III COURT OF

    RECORD.


262.   Moreover, given the background history and the impending THREAT OF VIOLENCE

    from CO-TRUSTEES and their agents involved in ILLEGAL EVICTION proceedings with

    deliberate defiance of both BENEFICIARY'S rights as a recently totally disabled man,in spite

    of BENEFICIARY having still "paid infull" his rent each month(even when hospitalized and



  See, e.g., Carol Rice Andrews,Jones v. Clinton: A Study in Politically Motivated Suits. Rule 11.
and the First Amendment, 2001 BYU L. Rev. 1 (2001). See generally, Carol Rice Andrews, A
Risht ofAccess to Court Under the Petition Clause ofthe First Amendment: Definins the Risht,
60 Ohio Street L.J. 557, 591 (1999)[hereinafter Rice Andrews, A Risht ofAccess](arguing that
the right of access to courts should be adjudicated under the First Amendment). See also James E.
Pfander,Sovereisn Immunity and the Ri^ht to Petition: Toward a FirstAmendment Ri2ht to Pursue
Judicial Claims Asainst the Government. 91 Nw. U. L. Rev. 899, 929-34 (1997), for the view
that the First Amendment's Petition Clause was intended to allow citizens to sue the
government for unlawful conduct.(Bold emphasis)
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   in a nursing home over six months)-in nearly double the amount reported by CO-TRUSTEES

   Ava Ortner and Donald Thorp to the TRUSTEES of the STATE OF MICHIGAN as being

   beneficiary's actual monthly ''obligatiori" under the active Common Law AGREEMENT

   proven to exist in November 2019 - this Court has the additional reason to EXPEDITE the

   matters forward to JURY TRIAL and GRAND JURY INVESTIGATION,rather than to follow

   the sustained previous pattern and practice of ^^kicking the can down the road' and thus,

   furthering the maxim of'^justice delayed isjustice denied'.


                                        COUNT FIVE-
       FOURTEENTH AMENDMENT and AMERICANS WITH DISABILITIES ACT
                   VIOLATIONS (Alleged Against All Named TRUSTEES)

263.    For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through FOUR as if written again herein

    verbatim.


264.    To be concise, the FACTS,the EVIDENCE,and the other underlying causes of this Court

    action constitute gross - and repeated - patterns and practices of DUE PROCESS and

    ACCESS violations of BENEFICIARY'S numerous Civil Rights under the FIFTH

    AMENDMENT (i.e., as done in the hospital interrogation by the CO-TRUSTEES of the FBI,

    and through coercive FORMS demanding signature '''under penalty ofperjury" subject to

    discretionary interpretation), the FOURTEENTH AMENDMENT (a Constitutional issue

    under the "Due Process Clause") and the AMERICANS WITH DISABILITIES ACT

   ("ADA")as both being Civil Rights claims.




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                                          COUNT SIX-
       (CONSPIRACY TO)DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
        18 use §§ 241-242 and 42 USC S 1983(Alleged Against All Named TRUSTEES)

265.    For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through FIVE as if written again herein

   verbatim.


266.    To be brief and concise, the FACTS,the EVIDENCE,and the other underlying causes of

   this Court action constitute gross - and repeated -patterns and practices of DUE PROCESS

   and ACCESS violations of BENEFICIARY'S numerous Rights under 42 U.S.C. ^1983.

267.    Herein the allegations include those that are so egregious that they ^'shock the conscience''^

   and/or constitute ''state created dangers'^ with "the accused'' CO-TRUSTEES being state

   "actors'" who have usurped and destroyed their legitimate roles as judicial and administrative

   fiduciaries and as other government functionaries.

268.    These are people - acting in their private capacities - who have stepped outside of the

   scope of their discretion, outside the scope of their delegated jurisdiction, their delineated

   power, and their demarcated authority, and who are acting tyrannically and outside of their

   authorized and ordained roles as "officers ofthe court"

269.    These are people who are acting under mere "color oflawf while directing their forceful

   - even affirmatively "passive'^ - aggressions against BENEFICIARY David Schied as a

   "targeted individuar for their own personal gain, for the sake of"racial equity," so to be an

   active participant in "cancel culture" politics, and to purposely undermine constitutional

   checks and balances so to bring down and destroy America's actual government of a

   CONSTITUTIONAL REPUBLIC,and replace it with a Marxist / Socialist / Anarchy called a

   "Democracy" but characterized as an Oligarchy or "Corporatocracy".




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270.   For these violations, BENEFICIARY is due his "day in Courf^ with ACCESS to both a

   PETIT JURY and a GRAND JURY of the sovereign People as the "final arbitrators''' of the

   many civil and criminal matters placed before this instant ARTICLE III COURT OF

   RECORD.


271.   Moreover,given the background history and the persisting THREAT OF VIOLENCE from

   CO-TRUSTEES, this Court has the additional reason to EXPEDITE the matters forward to

   JURY TRIAL and GRAND JURY INVESTIGATION, rather than to follow the current

   pattern and practice of"kicking the can down the road'"' by furthering the maxim of"justice

   delayed isjustice denied'\




                                       COUNT SEVEN-
            RACKETEERING AND CORRUPTION("R/CO" VIOLATIONS)
             18U.S.C. ^\96\etsea.(Alleged Against All Named TRUSTEES)

272.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through SIX as if written again herein

   verbatim.


273.   Herein the allegations include those that are so egregious that they "shock the conscience'''

   and/or constitute "state created dangers'"" with "the accused" TRUSTEES being state "actors'"

   who have usurped and destroyed their legitimate roles asjudicial and administrative fiduciaries

   and as other government functionaries. These are people - acting in their private capacities

   -who have stepped outside ofthe scope oftheir discretion, outside the scope oftheir delegated

   jurisdiction, their delineated power, and their demarcated authority, and who are acting

   tyrannically and outside of their authorized and ordained roles as "officers ofthe court,"" and

   who are acting under mere "color oflawf while directing their forceful - even affirmatively




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   ^^passive"" - aggressions against BENEFICIARY David Schied for their own personal gain,

   and to undermine constitutional checks and balances.

274.   Once a cover-up has interfered with a claimant's underlying ''predicate'^ cause of action, a

   "'"secondary" breach has occurred. The question at this point should become solely one of

   damages to be proved as a matter offact. [See, e.g., Rvland v. Shapiro. 708 F.2d 967,976(5th

   Cir. 1983) (discussing calculation of damages once breach has been established).] This is

   because injuries in denial-of access claims involve not only prejudice to the original cause of

   action but emotional and other harms that the claimants suffer as a result of the breach itself.

275.   This includes demoralization costs caused by the deceit, as well as emotional and mental

   suffering, humiliation and/or reputational injury engendered by the fraud, such as has long

   been repeatedly claimed by BENEFICIARY David Schied (and others, by example of John

   Zupanc as shown by his emails) as a matter of this Article III Court of Record. Many of these

   injuries, particularly humiliation and loss of reputation, take place at the time of the actual

   violation and not simply when it is clear the original claim has been irretrievably harmed.

276.   In the instant cases of backward-looking access claims filed herein as an ""Original

   Complainr in this ARTICLE III COURT OF RECORD by BENEFICIARY David Schied,

   the injuries suffered are twofold: a)the injuries inflicted by the underlying Q^predicate")causes

   of harm; and, b) the injuries caused by the ensuing cover-up at the ""secondary" levels. Both

   types of acts implicate those compensable injuries, e.g., physical injury, emotional and mental

   suffering, generally addressed by common law torts. The cover-up triggers the additional

   moral disenfranchisement that constitutional scholars agree constitutional torts are intended to

   protect against. Because ofthe unique type of harm inflicted in these backward-looking access

   claims, such claims tend to better reflect the policies of constitutional liability than other, more

   controversial classifications ofclaims. This analysis holds true for all backward-looking access

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   cases involving intentional acts because all involve an original cause of action as well as injury

   caused by the intentional concealment ofinformation pertaining to that original claim.

277.   Because ofthe unique type ofharm inflicted in these backward-looking access claims,such

   claims tend to better reflect the policies of constitutional liability than other, more

   controversial, constitutional claims. This analysis holds true for all backward-looking access

   cases involving intentional acts because all involve an original cause ofaction as well as injury

   caused by the intentional concealment ofinformation pertaining to that original claim.

278.   Therefore, in precluding potential counterclaims and motions for sanctions by CO-

   TRUSTEES based upon arguments of res judicata, collateral estoppel, and/or the Rooker-

   Feldman doctrines, it is inappropriate to look only at the prejudice to the underlying

   claims to determine if the BENEFICIARY has stated a yalid cause of action. This is


   because constitutional torts caused by the deceit, conspiracies and abuses by usurpers of

   goyernment power and authority can haye deyastating ramifications in terms of the

   social harm and mistrust of goyernment that these scandals leaye in their wake.

279.   The distinct nature of TRUSTEES' harm stems from the unusual nature of citizen-

   government interactions. Citizens place a certain degree of trust in their government bodies

   and actors to implement rules and regulations, to provide services, create order, mete out

   justice, and in general to safeguard societal interests. People like BENEFICIARY David

   Schied, through forces outside their/his own control, are compelled to place a great deal

   of trust in government actors because of the inherent need to rely on government for

   basic goods, services, and information, among other things, for the poor^ elderly, and

   disabled. This trust is compelled in part by the governmenPs monopoly on police power

   and rule-creation, which creates an unavoidable dependency of the public upon it. The

   resulting power imbalance creates a citizenry particularly vulnerable to government

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   coercion. In all, these factors align to give government officials a unique ability not only

   to harm but to harm a greater number of people with greater ramifications. (Bold

   emphasis added)

280.   Not only is the potential to harm in the context of government actors greater than in

   the realm of private law, but also the harm is itself unique in that these abuses inflict a

   "wora/" injury that is not similarly implicated outside of the context of government

   action. This injury is propagated by the unusual role the state plays in affording

   legitimacy to a person's membership in society. This is compounded for People like

   BENEFICIARY who are disabled.(Bold emphasis)

281.   To the extent the sovereign American People rely upon the CO-TRUSTEES at the LOCAL

   level, at the STATE level, and at the UNITED STATES level, to create a properly functioning

   and ordered society under the PUBLIC TRUSTS of the STATE and UNITED STATES

   constitutions,the CO-TRUSTEES must also relv on tlie sovereign People to engage themselves

   as the CO-TRUSTEES have created. Because of the inherent vulnerability of each

   participant to the whims of the government CO-TRUSTEES,everv violation committed

   against sovereign American People like BENEFICIARY David Schied bv the CO-

   TRUSTEES operating under the auspices of "/gg/t/wate sovernmenf\ in effect de-

   legitimates BENEFICIARY'S(and those similarly situated) membership in societv. risks

    alienating his/their ongoing participation, and upsets the svmbiotic balance of rights and

    obligations bet^veen the two.(Bold and underlined emphasis added)

282.   Thus,the community as a whole must take steps to ensure that the empoweringfunctions"

   of the CO-TRUSTEES prevail over their "dominating, disempowering functions" if the

   community is to prevent a violent collapse of the peaceful social order. This reason alone

   justifies the expediting of this instant case to the highest ^^adjudicative^^ levels ofsovereign

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   People ofthe PETIT JURY and the GRAND JURY,so that they may address the moral"

   injury suffered by BENEFICIARY,as well as other reported victims of these violations;

   so that they may also analyze and adjudicate the social harm engendered by CO-

   TRUSTEES' abuses according to RICO statutes, as well as according to the COMMON

   LAW,and the ADA,as measured up and comporting with the U.S. CONSTITUTION as

   the ^'•Supreme Law ofthe Lan(t\(Bold emphasis added)

283.   In this instant case, BENEFICIARY David Schied's claims, as well as the claims of

   ''others similarly situated''(not yet specifically named in this case), all involve intentional

   acts on the part of CO-TRUSTEES as alleged government usurpers^ who have committed

   acts of FRAUD against not onlv BENEFICIARY Schied. but also FALSE CLAIMS

   against the public, consisting of both government and the taxpavers at large - carried out

   by means of concealing information that otherwise implicates precisely those backward-

   looking access injuries that common law torts (in the case of "predicate''' offenses) and

   constitutional torts (in the case of"secondary'^ level conspiracies and coverups) are intended

   to address. These tvpes of backward-looking access claims, perhaps more than any other

   type of constitutional claim, iustifi^ compensatorv remedies for those impacted bv these

   rebellious and immoral offenses leading to a need for punitive and other damages

   through these numerous personal and social indignities.


284.   Thus, both scholars and courts uniformly recognize that harms inflicted upon victims like

   BENEFICIARY David Schied - through deliberate, intentional, affirmative actions - tend to

   produce more deleterious results than injuries that result from simple negligence or ignorance.

    While both types of acts might lead to similar quantifiable losses, injuries inflicted

   affirmatively, intentionally or maliciously, carry the added demoralization that does not

    usually result from simple negligent actions. And even those who advocate greater

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   limitations on constitutional tort recovery do not advocate limitins recovery in cases of

   intentional and flagrant abuse,such as those demonstrated by CO-TRUSTEES,as in this

   case now being re-presented with the multiple ^Hiers^'' of CO-TRUSTEES herein enjoined

   together in defense of themselves and their affirmative acts.(Bold emphasis added)

285.   Leaving the power to enforce rights exclusively in the hands of public enforcers,such

   as civil lawyers, criminal prosecutors and the state attorney generals, gives those public

   enforcers unauthorized powers that may abusively be used to nullify particular laws, or

   particular applications oflaw simply by declining to prosecute violators, as is alleged in

   this case against multi-tiered CO-TRUSTEES ofa scope ofdeeper and broader hierarchy

   of inexplicably intertwined CO-TRUSTEES as franchised and contractual partners

   involved in a complex mishmash of ENTERPRISES engaged in financial and other

   crimes.        (Bold emphasis)

286.   Thus, amongst many varied allegations, BENEFICIARY'S assertions against TRUSTEES

   in this case include behaviors that constitute, in serious degrees, prosecutorial abuses and other

   types of affirmative acts of nonfeasance, misfeasance and malfeasance of fiduciary duties.

   These CLAIMS assert that the CO-TRUSTEES have all tortuously denied rightful relief to

   BENEFICIARY David Schied as both an already known totally and permanently disabled

    quad-amputee and as repeatedly reported ^'targeted' crime victim.

287.   Some of these DISCRIMINATORY and RETALIATORY denials of access and equal

   treatment have been by the criminally malicious refusal of government officials to ''litigate the

    merits'^ of BENEFICIARY'S over twenty (20)"administrative appeals'^ (filed between late

   2018 and early 2020), and/or to intentionally elicit similar results of case and grievance

   "DISMISSALS'^ and due process "DENIALS^ through outright FRAUD (including fraud upon

   the administrative "court-) or other affirmative acts that have consequentially deprived

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   BENEFICIARY David Schied - and others documented even by the CO-TRUSTEES

   themselves as similarly situated-ofBENEFICIARY'S substantive rights under''color oflaw^\

   by "simulating legalprocess''\ and/or by conducting "legal acts in illegal manners.""

288.   All of the above involve, to some extent or another, the falsification of"official" records,

   the intentional construction of fraudulent paper trails for later use in defense of"secondary

   level" allegations during administrative "appeals'\ and other types of FALSE CLAIMS that

   are tied in COMMERCE with financial and other supporting obligations such as the CO-

   TRUSTEES of STATE OF MICHIGAN refusing to compensate and reimburse

   BENEFICIARY,and well as the debts he owes to others (like his next door neighbor and

   WITNESS Ed Kottke^ providing to him needed transportation to the various medical

   treatment facilities in follow-up to the 2018 ATTEMPTED MURDER and the aftermath of

   doctors saving BENEFICIARY'S life only by sacrifice of surgically amputating

   BENEFICIARY'S only two legs and all but a single pinky finger on BENEFICIARY'S non-

   dominant left hand.(Bold and underlined emphasis added)

289.   Some of these DISCRIMINATORY and RETALIATORY denials of equal access and

   denials of equal treatment have been by the refusal of CO-TRUSTEES,as trusted government

   officials, to "reasonably protect" BENEFICIARY as a reported crime victim from "the

   accusedf in spite ofthe Rights ofcrime victims as written right into ARTICLE 1. S24 of the

    MICHIGAN CONSTITUTION.


290.   Others of BENEFICIARY'S CLAIMS against the CO-TRUSTEES are brought forth with

    evidence of BENEFICIARY being barred from access (e.g., by the OFFICE OF U.S.

    ATTORNEY FOR THE EDM currently occupied by Matthew Schneider and previously

    occupied by Barbara McQuade and many others documented over this past decade and a half

    by BENEFICIARY)- by those CO-TRUSTEES directly involved (at the "secondary" RICO

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   and ^'domestic terrorist^ levels) with STATE and UNITED STATES grand juries otherwise

   charged with the '"'duty of inquiring about crimes in the local community and the federal

   district. {See e.g., 18 U.S.C. ^ 3332.)

291.   As is shown by the People v. Waterstone case —, a case against a former ^^judge" Mary

   Waterstone as the criminally '^accused' that originated with a conspiracy to perjury that took

   place within the territorial boundaries of the CHARTER COUNTY OF WAYNE — and again

   just a few months ago with'^WAYNE COUNTY^ once again being placed as central focus for

   allegations ofSedition and Treason concerning the 2020(PRESIDENTIAL)ELECTIONS in

   the EASTERN DISTRICT OF MICHIGAN - the standard of review for determining

   ''probable cause'' to believe a crime has been committed was laid out as follows by the

    MICHIGAN COURT OF APPEALS, inhabiting positions of CO-TRUSTEES "STATE OF

   MICHIGAN":


          "The purpose ofa preliminary examination is to determine whether there is
          probable cause to believe that a crime was committed and whether there is
          probable cause to believe that the defendant committed it. The prosecution
          need not establish guilt beyond a reasonable doubt; but must present
          evidence sufficient to make a person of ordinary caution and prudence
          conscientiously entertain a reasonable belief of the defendant's guilt.
          Circumstantial evidence and reasonable inferences arising from the
          evidence are sufficient to support the bind over of the defendant ifsuch
          evidence establishes probable cause.Ifprobable cause exists to believe that
          a felony was committed and that the defendant committed it, the district
          court must bind the defendant overfor trial...."

292.   The court also defined an "abuse of(judicial) discretion" as follows:

          "A trial court abuses its discretion when its decisionfalls outside the range
          ofreasonable andprincipled outcomes. People v. Yost, 278 Mich. App 341,
          353; 749 NW2d 753 (2008). A trial court necessarily abuses its discretion
          when it makes an error oflaw. People v. Giovannini, 271 Mich. App 409,
          417; 722 NW2d 237(2006)."



  See ruling by MICHIGAN COURT OF APPEALS in People v. Waterstone (Docket ##303268
and 303703) decided 4/10/12 citing,"The offense ofmisconduct in office was an indictable offense
at common law."
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293. In continuing the above analysis while considering any relevant difference between

   ''^corrupt behaviof and ^'"willful neglect^ CO-TRUSTEES of the MICHIGAN COURT OF

   APPEALS -even as extremelv corrupt as it too is known bv fact to be- determined there was

   no difference      the context of nonfeasance in relationship to a legal duty or obligation

   concerning nondiscretionary or ministerial acts''

294.   The MICHIGAN COURT OF APPEALS went on to state:

          'Wefindfurther supportfor this proposition in thefollowingpassagesfrom
          Perkins & Boyce, Criminal Law (3d ed), p 541-542, 546-547, which is a
           treatise that was cited in Perkins, 468 Mich, at 456, and Coutu, 235
           MickApp at 705-706: '[TJhere should he no conviction of[misconduct in
           office] if the absence of any element of corruption has been clearly
           establishedf unless the prosecution is under a statute substantially
           different from the common law in this respect."

           "It is possible, ofcourse,for legislation to go beyond the common law and
           to include within the area ofpunishability certain acts which were not
           previously criminal Ifthe statute provides that an intentional violation of
           its provisions constitutes suilt, no more is required, but this is not truly an
           enlargement ofthe offense because it is corrupt for an officer purposely
           to violate the duties ofhis office."


           "Any intentional and deliberate refusal bv an officer to do what is
           unconditionally required ofhim bv the oblisations ofhis office is corrupt
           as the word is used in this connection because he is not permitted to set
           UP his own iudsment in opposition to the positive requirement ofthe law.
           Since this is corrupt misbehavior by an officer in the exercise ofthe duties
           ofhis office there is no reason to require morefor conviction. On the other
           hand, when the officer has discretion in regard to a certain matter, his
           intentional and deliberate refusal to act indicates no more, on itsface, than
           that this represents his judgment as to what will best serve the public
           interest. Even in such a case the officer will be Qiiiltv of misconduct in
           office if his forbearance results from corruption rather than from the
           exercise of official discretion, but it will always be necessary to show
           something more than the intentional and deliberateforbearance to do a
           discretionary act."

295.    With regard to defining the types of (judicial) behaviors that constitute judicial

    "misconduct," the court determined the following:

           "In Perkins. 468 Mich, at 456, quoting People v. Coutu. 459 Mich. 348,
           354; 589 NW2d 458 (1999), the Court first indicated that misconduct in
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           office, in general, encompassed 'corrupt behavior,'but it then proceeded to
           make the following statement, which has been the bane of the parties'
           analysis: [CJommitting nonfeasance or acts of malfeasance or
           misfeasance are notenough to constitute misconductin office. In the case
           ofmalfeasance and misfeasancCy the offender also mustact with a corrupt
           intenty Le., with a "sense ofdepravityy perversion or taint."In the case of
           nonfeasance, an offender must willfully neglect to perform the duties of
           his office. Perkins[& Boyce], p 547. [Id. (citations omitted)./'

           "Confusion at thispoint has led to the occasional suggestion that the mental
          element requiredfor the crime ofmisconduct in office is 'wilfulness' ifthe
          act is one of omission and 'corruption' if it is an act of commission
          [misfeasance or malfeasance]. ^Wilfulness,* as so used, is intended to
           mean deliberateforbearance, and to repeat a previous suggestion: what
           should be said is that the wilful refusal of an officer to perform a
           ministerial act required bv law constitutes corruption. [Emphasis
           added.]"

           "Thisproposition is entirely consistent with our discussion ofthe Michigan
           authorities setforth earlier, and it results in an interpretation ofPerkins.
           468 Mich. 448, that is consistent with the mass of cases that include a
           corruption element with respect to all aspects of misconduct in office,
           including misconduct by nonfeasance. There is no need to engage in a
           dicta analysis. Willful neslect of duty and corrupt nonfeasance are
           effectively one and the same for our purposes. Ifa public officer willfully
           neslects to perform a lesal duty, he or she ensaeed in corruption or
           corrupt behavior."


296.   The above analysis is important, and relevant to this case in that - given that felony

    misconduct, government usurpation, treason, and domestic terrorism are all being brought up

    herein as civil claims and criminal allegations justifying backward-looking denial-of-access

    claims and causes of action based upon the FIRST AMENDMENT PETITION CLAUSE-it

    is clear that, nothing further is needed beyond the BENEFICIARY David Schied

    establishing "probable cause" to believe that BENEFICIARY (as well as others similarly

    situated in populations of the poor, the elderly, and the disabled), through state-created

    impediments, were deprived of his/their rights to receive fair opportunities to be heard;

    and that there is sufficient proof of an intent to impede or thwart this/these

    BENEFICIARY'S previous causes of action through various schemes of corruption,

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   racketeering and domestic terrorism. Such an analysis includes the premise that, ifa litisant

   has an avparent risht to pursue a particular cause of action, a state official may not take

   steps to deny that ri2ht. —

297.    Thus, as the Waterstone court reaffirms what BENEFICIARY David Schied's filings

   herein, as well as all other previous filings with CO-TRUSTEES previously asserted in

   this instant federal case,         [such]probable cause exists to believe that a felony was

   committed and that the defendant committed ity the district court must bind the defendant

   overfor trial,..,^^

298.    By application ofthe above then, BENEFICIARY David Schied refers to the MICHIGAN

   PENAL CODES' cursory definition of ^^pattern of racketeering^'' which is articulated as

   follows fi:om MCL 750.159f:

            "Pattern of racketeering activity*^ means not less than 2 incidents of
            racketeering to which all of thefollowing characteristics apply: (i) The
            incidents have the same or a substantially similar purpose, result,
           participant, victim, or method ofcommission, or are otherwise interrelated
           by distinguishing characteristics and are not isolated acts;(ii) The incidents
           amount to or pose a threat ofcontinued criminal activity; (Hi) At least 1 of
            the incidents occurred within this state...''''


299.    Notably, MCL 750.159g provides the complimentary definition of '^racketeering'^ as

    follows in relevant part:

       "[RJacketeering" means committing, attempting to commit, conspiring to commit, or
       aiding or abetting, soliciting, coercing, or intimidating a person to commit an offense
       forfinancial gain, involving any ofthefollowing;
           (b) A violation of section 11151(3) of the natural resources and
            environmental protection act, 1994 PA 451, MCL 324.11151, or section
           48(3) of former 1979 PA 64, concerning felonious disposal of hazardous
            waste;
            (e) A felony violation ofsection 60 ofthe social welfare act, 1939 PA 280,
            MCL 400.60, concerning welfare fraud;

  See Una A. Kim,supra, p.567 with footnote clarifying that Kim's analysis does not presume
that states may never prevent litigants from filing suit, but "only argues that ifa litigant has an
apparent right to pursue a particular cause ofaction, a state official may not take steps to deny
that right."
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           (Q A violation of section 4, 5, or 7 ofthe Medicaid false claim act, 1977
          PA 72, MCL 400.604,400.605,and 400.607, concerning Medicaid fraud,
          (i) A violation of section 508 of the uniform securities act (2002), 2008
          PA 551, MCL 451.2508, concerning fraud;
           (m)A violation ofsection 93,94,95, or 96, concerning bank bonds,bills,
           notes, and property;
          (n) A violation ofsection 110 or 110a, concerning breaking and entering
           or home invasion;
          (o) A violation of section 117, 118, 119, 120, 121, or 124, concerning
           bribery;
          (p) A violation ofsection 120a, concerningjury tampering;
          (v) A violation ofsection 213, concerning extortion;
          (w)Afelony violation ofsection 218, concerningfalse pretenses;
          (hh) A violation ofsection 422, 423, 424, or 425, concerning perjury or
           subornation ofperjury;
           (II) A felony violation ofsection 535 or 535a, concerning stolen, embezzled, or
          converted property;
          (mm)A violation ofchapter LXXXIII-A, concerning terrorism;
          (oo) Afelony violation ofthe identity theft protection act, 2004 PA 452, MCL
           445.61 to 445.77;
           (pp)An offense committed within this state or another state that constitutes
           racketeering activity as defined in 18 USC 1961(1). (Bold emphasis)

300.   Of particular note, the federal RICO ACT defines an "enterprise" as "any individual,

   partnership, corporation, association, or other legal entity, and any union or group of

   individuals associated infact although not a legal entity." 18 U.S.C. §1961(4). Significantly,

   a '"'legal entity" type of enterprise is generally self-explanatory and may include, besides

    corporations and partnerships, sole proprietorships, labor unions and their benefit plans, and

    governmental entities. See, e.g., United States v. Parise, 159 F.3d 790, 795 (3d Cir. 1998);

    United States v. McDade,28 F.3d 283, 295-96(3d Cir, 1994).(Bold emphasis added)

301.   Moreover, in United States v. Irizarrv. the Third Circuit quoted its precedent in stating,

    "[t]o establish a §1962(c) RICO violation, the government must prove the following four

    elements: '(1) existence ofan enterprise affecting interstate commerce;(2) that the defendant

    was employed by or associated with the enterprise;(3) that the defendant participated, either

    directly or indirectly, in the conduct or the affairs ofthe enterprise; and (4) that he or she

   participated through a pattern ofracketeering activity.    United States v. Irizarry, 341 F.3d
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   273,285(3dCir.2003), quoting United States v. Console. 13 F.3d641,652-53(3d Cir. 1993),

   and United States v. Riccobene. 709 F.2d 214,222(3d Cir. 1983), overruled on other grounds

   by Griffin v. United States. 502 U.S. 46, 112 (1991). Also see, e.g., United States v. Parise.

   159 F.3d 790,794(3d Cir. 1998).

302.   ^'There are three different terms used in 18 U,S.C. §1028 to connote the culpable state

   of mind requirementfor an offense. They are:(A) "knowingly";(B) "knowing"; and(C)

   "with the intent." Thefirst two are,for all practicable purposes, the same.""

           A. Knowinsh: Thefirstfive subsections ofsection 1028(a) start with this
              term. A knowing state of mind with respect to an element ofthe offense
               is(1)an awareness ofthe nature ofone's conduct, and(2)an awareness
              ofor afirm belief in the existence ofa relevant circumstance, such as
              the ^stolen,'the 'produced without lawful authority,'or false' nature
               ofthe identification document. The knowing state ofmind requirement
               may be satisfied by proofthat the actor was aware ofa high probability
               ofthe existence ofthe circumstance (e.g., stolen orfalse nature ofthe
               document), although a defense should succeed if it is proven that the
               actor actually believed that the circumstance did not exist after taking
               reasonable steps to ensure that such beliefuyw -warranted. Section 1028
              follows the approach ofthe Model Penal Code[§ 2.02(7)]in dealing
               with what has been called ^willful blindness.' the situation where the
               actor, aware ofthe probable existence ofa material fact, does not take
               steps to ascertain that it does not exist. Willful blindness would require
               an awareness of a high probability of the existence of the
               circumstance. ^ United States v. Jewell. 532 F.2d 697, 700 n. 7 (9th
               dr.), cert, denied, 426 U.S. 951 (1976).
               Knowins — This term appears in sections 1028(a)(2) and (a)(6). As
               such, it applies to a knowledge of a relevant circumstance (e.g., the
               character of the document as "stolen" or 'produced without lawful
               authority). The above, discussion of 'knoM'ingly' is equally applicable
               to 'knowing.'

   This ^^affirmative defense", should there be any attempt by TRUSTEES to use it, will be
voraciously refuted based upon the principles behind "respondeat superiors"', which is to say that
by intentionally constructing a system of hierarchical ''intervenors"- whether derelict front line
receptionist and information processors, or dysfunctional websites and automated ''complaint"
relay and processing pages - within a department as acting on the behalf of the "head'' of that
department- who otherwise are in place to interfere with and serve to provide a protective liability
defense mechanism designed intentionally to conceal facts from department heads and prevent
sovereign People - or to discriminate against sovereign disabled People by denial of access and/or
accommodations - will not hold muster. Such a pre-meditated structure itself will be proven to
cause the high probability that "blindness" will be the likely result ofthese types of designs.
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           C. With the Intent — This term, which appears in sections 1028(a)(3),
              (a)(4), and (a)(5), is intended to mean the same cvlpahle state ofmind
              as that described by the term "purpose" in the Model Penal Code (§
              2.02). The distinction between 'with the intenP (i.e., 'purpose^) and a
              'linowing state of mind* was restated by Justice Rehnquist: 'As we
              pointed out in United States v. United States Gypsum Co., 438U.S. 422,
              445 (1978), a person who causes a particular result is said to act
              purposefully if Ite consciously desires that resulty whatever the
              likelihood ofthat result happeningfrom his conduct,' while he is said
               to act knowinslv ifhe is aware That the result is practically certain to
               follow from his conduct, whatever his desire may be as to that result.'
               United States v. Bailey, 444 U.S. 394, 404 (1980). [cited in USAM 9-
               64.400]"                (Bold and underlined emphasis added)

303.   Consequently, in light of all the above, it is clear that the likelihood is high that, within the

   scope of BENEFICIARY David Schied's breadth and depth of meticulously organized

   EVIDENCE and ALLEGATIONS about ^''patterns and practices''' against CO-TRUSTEES -

   with such accumulation of civil and criminal CLAIMS supported by EVIDENCE of

   SEDITION, TREASON, STATE INSURRECTION, and DOMESTIC TERRORISM comes the

   higher level ofprimafacie likelihood that the ""probable cause'''' criteria will be met for binding

   "the accused" CO-TRUSTEES over for criminal trials as these civil proceedings continue

   against these CO-TRUSTEES. As such,there are plenty ofstatutory references for issuance of

   just punishments and no wiggle room for there being any cause for dismissing

    BENEFICIARY'S CLAIMS "for lack ofstatutory provisionsfor punishments" or for "lack of

    claims upon which reliefmay be granted".

304.   BENEFICIARY David Schied has levied herein a case chock full of ALLEGATIONS and

   EVIDENCE of "Patterns and Practices" of unconstitutional discrimination and retaliation

    against sovereign American People, of which BENEFICIARY Schied is herein acting on the

    behalf of himself(and others similarly situated), with CLAIMS IN COMMERCE against

   the SURETIES of all TRUSTEES, by way of the PUBLIC TRUST(s) guarantees of CO-




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   TRUSTEES' ^^Oaths of Offices" as fiduciary Public '^Officials", '"Agents", and

   "Functionaries".(Bold and underlined emphasis added)

305.   MCL 168.80 of Michigan's election law stipulates that"[ejveryperson elected to the office

   ofsecretary ofstate or attorney general, before entering upon the duties of his office, shall

   take and subscribe to the oath as provided in section 1 ofarticle 11 ofthe state constitution,

   and shall give bond in the amount and manner prescribed by law." Yet the facts show that

   when solicited by BENEFICIARY under the Freedom ofInformation Act("FOIA"), the CO-

   TRUSTEES of the STATE OF MICHIGAN "departments", "bureaus", "divisions",

   "sections","units", and "agencies" repeatedly reported that no such ["performance^^] bonds

   (or even "blanket bonds^\ "blanket insurance", or any other third-party bonding) could

   be found. These are well-preserved, documented FACTS.

306.   Similarly, MCL 15.36 stipulates that "the lieutenant governor, deputy secretary ofstate,

   and deputy treasurer, shall each... take and subscribe the oath ofoffice prescribed in the state

   constitution of1962, and deposit the oath ofoffice, with his or her bond....with the secretary

   ofstate, who shallfile and preserve the oath of office and bond in his or her office." Yet

   again, the facts show that when solicited by BENEFICIARY Schied over the past many years

    under the Freedom ofInformation Act("FOIA"),the Secretary ofState reports tliat such bonds

   cannot be found.


307.   With regard to other state employees, MCL 15.91 states, "[WJhen any civil officer

   appointed by the governor, or senate, or by the governor with the advice and consent ofthe

   senate ofthis state, is required by law to give bond and tofile the same with any other officer

   than the secretary ofstate, he shall procure the certificate ofsuch officer that such bond has

    been dulyfiled with him, andfile the same with the secretary ofstate." Yet consistently with




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   what has been asserted above, when solicited by BENEFICIARY Schied under the Freedom

   ofInformation Act("FOIA"),the Secretary of State reports that such bonds cannot be found.

308.   MCL lOLSm of TRUSTEES ''STATE OF MICHIGAFF REVISED STATUTES OF 1846

   nevertheless maintains that,"Every office shall become vacant, on the happening ofany ofthe

   following events, before the expiration ofthe term ofsuch office:(7) His refusal or neglect to

   take his oath of office^ or to give, or renew any official bond, or to deposit such oath, or

   bond, in the manner and within the time prescribed by law.''

309.   According to information and belief, the reason for these financial instruments as

   guarantees to the sovereign People of Michigan against the derelict and criminal

   "performances" of STATE level TRUSTEES not being found in spite of being required by

   reference to numerous STATE laws, is because the CO-TRUSTEES operating as fiduciary

   Public ^^Officials", "Agents'*^ and ""Functionaries^^ of the "STATE OF MICHIGAN'^ are

   otherwise operating unconstitutionally and illegally while being "self-insured''' rather

   than being necessarily bonded or insured by third parties as financial guarantees against

   the TRUSTEES'wonton and intentional "performance"'^ acts, being a blatant "conflict of

   interesf\ (Bold and/or underlined emphasis added)

310.   Meanwhile, MCL 168.422 holds that, "The office of circuitjudge shall become vacant

    upon the happening of..any offense involving the violation ofhis oath ofoffice...or his neglect

   or refusal to take and subscribe to the constitutional oath ofoffice and deposit the same in

   the manner and within the time prescribed by law."

311.   Yet going back a full decade, when BENEFICIARY David Schied and numerous other

   "concerned citizens and taxpayers" had repeatedly notified the MICHIGAN GOVERNOR,

   the MICHIGAN ATTORNEY GENERAL, and the MICHIGAN COURT OF APPEALS of

   Xhcfact that the imposter sitting as the TRUSTEE 3"-^ CIRCUIT COURT (in "WAYNE

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   COUNTY'') ''''chiefjudgef Virgil Smith, had no Oath of Office on record with the

   SECRETARY OF STATE, and that he was otherwise committing numerous statutory

   crimes and constitutional violations against citizens under a usurped authority, and had

   additionally committed felony election fraud by listing himself by a fraudulently sworn

   petition in 2012 as being the ^Hncumbentjudge''' when,in fact, he was no judge at all, none

   of the MICHIGAN GOVERNOR (Rick Snyder) nor the ATTORNEY GENERAL (Bill

   Schuette) nor the MICHIGAN COURT OF APPEALS bothered to even respond.

312.    The above faetual actions, as supported in Evidence, took place in spite that MCL 201.7

       Removalsfrom OfficC)and MCL 21.47 (^^Uniform system ofaccounting^')together make it

   incumbent upon the state Governor and Attorney General to ''conduct an inquiry into the

   charges made..'\ to obtain "the endorsement of witnesses on the charges...as is required in

   criminal cases...f and to "institute criminal proceedings...in any court of competent

   jurisdictionfor the recovery ofany public money...." In fact, as cited by MCL 21.47."refusal

   or neglect to comply with "the[se] requirements...on the part of the attorney generaL.is

   sufficient causefor his or her removalfrom office by the governor."

313.    Any plausible deniability that may be affirmatively presented by the state Governor

    and Attorney General, such as by reference to MCL 15.1            MCL 15.2 —, and/or MCL



  MCL 15.1 states in relevant part: "Notwithstanding the provisions ofany other law, officers and
employees ofall state departments and agencies that are required by statute or in the discretion
of the director of the department covered, or otherwise to furnish bonds conditioned for their
honesty or faithful discharge of their duties shall be covered by a blanket bond or bonds as a
departmentalgroup or as a state group by corporate surety companies as approved by the director
ofthe department ofadministration."
  MCL 15.2 states, "Notwithstanding the provisions ofany other law, officers and employees of
all state departments and agencies that are required by statute or in the discretion ofthe director
ofthe department covered, or otherwise tofurnish bonds conditionedfor their honesty orfaithful
discharge oftheir duties shall be covered by a blanket bond or bonds as a departmental group or
as a state group by corporate surety companies as approved by the director ofthe department of
administration."
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    15.5    and MCL 45.381 —, presents additional problems that can also be proven as

    matters offact related to the barring of public liability claims against the sureties of the

    fiduciaries operating in state and county public offices,and against citizen claims oVUorf^

    and/or ^^errors and omissions^^ by public functionaries and usurpers of such offices.

   (Bold emphasis)

314.   Interfering with the CLAIMS against quasi-government contracts of interstate

    commerce, CLAIMS against public officials' liabilities, and CLAIMS against statutorily

    ordered sureties and guarantees by constitutional Oaths, are constitutional violations as

    well as ^^matters ofimportant public interesf^, (Bold and underlined emphasis added)

315.    Governments tend to do essentially two things:(1) govern by law, and (2) do business by

    money,contracts,loans, etc. The SUPREME COURT has come to call the second category,in

    many circumstances, ''market participation" and in those spheres the law often treats the

    government more as a private than public actor. As such, though public officials of the state

    can subscribe to the goods or services in the same way as its citizens, when it does so as a




    MCL 15.5 states, ^'This act supersedes all statutes, or parts ofstatutes, relating to amounts,
 terms and conditions, execution, approval and filing of surety bonds required of officers and
 employees ofstate departments and agencies, which are inconsistent with this act.'"'
    MCL 45.381 states, "(7j         officer or employee ofa county that is required by statute to
furnish a bond conditioned on the officer's or employee's honesty or faithful discharge of the
 officer's or employee's duties shall be covered by a blanket bond by a surety company approved
 by the county board ofcommissioners or by an individual bond by a surety company approved by
 the county board of commissioners for the officer or employee. (2) The county board of
 commissioners shall determine whether a single bondfor all officers and employees or individual
 bondsfor all officers or employees or a combination ofa blanket bond and individual bonds best
serves the county. (3) In determining adequate coverage, the county board ofcommissioners may
 obtain bond coverage with provisions relative to problems of a unique nature, including loss
 deductible or coinsurance provisions.
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   market regulator, it very often violates the Dormant Commerce Clause, the Privileses and

   Immunities Clause. — and the Michigan Antitrust Reform Act. —

316.   The above constitutional barriers are equally applicable when all three branches of the

   '^corporate"" municipality," the ''charter'' county and "state" agencies acting in their private

   capacities, are shown to be banding together and conspiring to undermine their fiduciary

   obligations and legal liabilities. This they are clearly doing when treating their own "member"

   officials differently than the sovereign American People as so-called "citizens" who are not

   members ofthose organizations.

317.   The above has been found to be true with regard to who actually receives the benefits of

    public liability coverage that is purchased from taxpayer funds for the purpose of fulfilling, in

   relevant part, "blanket" performance contracts procured by and on behalf of public

   functionaries. Yet these performance contracts are consummated by the public declarations

   those functionaries make, orally and in writing, when they proclaim their Oaths to the state and

    United States constitutions.




   The Dormant Commerce Clause is a limitation on state sovereignty that serves to deter states
from legislating on interstate commerce, which is in Congress's sole discretion, in ways that
discriminate and promote economic provincialism. The Privileses and Immunities Clause, on the
other hand, deters discrimination against protected populations based upon the denial ofimportant
and fundamental rights; See also. See William B. Rubenstein, "On What a Private Attorney
General Is -And Why It Matters," 51 V and. L. Rev. pp.2129-2173 (2004),"Standing remains the
distinction between those who represent the government directly and those who do so (supposedly)
only incidentally to the pursuit oftheir own interests"; pp.270-71,"[L]aw and economics scholars
are correct that there are private interests at stake in small-claims cases. But these private,
compensatoryfeatures are not the only aspects ofthe small claims class action -such cases also
serve the public function of deterring wrongdoing and thereby supplement governmental law
enforcement"; and, p.2141, "The phrase arises most often in Commerce Clause jurisprudence,
where the Court has held that ifa state is acting as a market participant, not as sovereign, it may
prefer the goods or services ofits citizens, even though to do so as market regulator would violate
the Dormant Commerce Clause. E.g., White v. Mass. Council of Constr. Employers, Inc., 460
 U.S. 204, 206-15(1982); Reeves, Inc. v. Stake, 447 U.S. 429, 434-47(1980); Hughes v. Alexandria
Scrap Corp., 426 US 794, 802-10 (1976)."
  See MCL 445.771 - MCL 445.788 et. sea.
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318.    In evaluating the predicate and secondary offenses of the CO-TRUSTEES then, the

   RATIONAL STANDARD TEST is the judicial standard of review that examines whether a

   legislature had a reasonable and not an arbitrary or capricious basis for enacting a particular

   statute that is alleged to violate constitutionally protected interests. A law that touches on a

   constitutionally protected interest must be rationally related to furthering a legitimate

   government interest. In applying the rational basis test, courts begin with a strong presumption

   that the law or policy under review- which happens to be the state and federal constitutions to

   which the agents ofthe co-TRUSTEE have sworn their Oaths -is valid. The burden of proof

   is on the party making the challenge to show that the law or the ^^pattern andpractice*^ of

   policy implementation is unconstitutional. To meet this burden, the party must

   demonstrate that the implementation of the law or policy, by pattern and practice, does

   not have a rational basis. Thus, the RATIONAL STANDARD TEST is the primary

   baseline for determining the constitutionality of classifications that encroach upon

   constitutional rights, economic interests, or actions that blatantly discriminate against

   protected groups.

319.    Beneficiary intends to show how all of these above factors play in proving that not only

   are the actions of the all of CO-TRUSTEES unconstitutional, they also comprise "7?/C0"

   crimes for which "'immunity is never to be either affirmatively offered or tortuously provided.



                                       COUNT EIGHT -
       CONTEMPT OF CONGRESS / CDC ORDER ON EVICTION MORATORIUMS
                           (Alleged Against All Named TRUSTEES)

320.    For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through SEVEN as if written again herein

   verbatim.


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321.   To be brief and concise, the FACTS,the EVIDENCE,and the other underlying causes of

   this Court action constitute gross — and repeated — patterns and practices of violations of

   BENEFICIARY'S numerous Right to be secured in his self-quarantined home,free from being

   maliciously and tortuously evicted during a NATIONAL pandemic and EVICTION

   MORATORIUM issued by the CO-TRUSTEES of CENTERS FOR DISEASE CONTROL by

   the TRUMP PRESIDENTIAL ADMINISTRATION in conjunction with and in extension of

   legislation from CONGRESS via the CARES ACT and other multiple extensions of the

   eviction moratorium from December 2020 to the very present day of this instant ^^ORIGINAL

   COMPLAINT'filing.

322.   The ^^eviction moratorium" was announced on page 55292 of the FEDERAL REGISTER

   (Federal Register / Vol. 85, No. 173 / Friday, September 4, 2020 / Notices)as follows:''The

   Centers for Disease Control and Prevention (CDC), located within the Department ofHealth

   and Human Services (HHS) announces the issuance of an Order under Section 361 of the

   Public Health Service Act to temporarily halt residential evictions to prevent the further spread

   ofCOVID-19. This Order is effective September 4,2020 through December 31, 2020.

323.   The above referenced "CDC ORDER OF EVICTION MORATORIUM' was issued under


   SECTION 361 ofthe PUBLIC HEALTH SERVICE ACT(42U.S.C. §264)and 42 CFR70.2.

324.   The instrument that"activates" the above"CDC ORDER OFEVICTION MORATORIUM'

   is the "Renter's or Homeowner's DECLARATION" (hereinafter referred to as

   BENEFICIARY David Schied's "DECLARATION").


325.   As the EVIDENCE shows that all the named TRUSTEES were properly "served' with

   reasonable notice and copy of BENEFICIARY'S notarized DECLARATION of sworn

   STATEMENTS OF TRUTH, reasonable cause exists that CO-TRUSTEES, by their "tacit

   agreement" of affirmative silence in failing completely to challenge the validity of the

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   DECLARATION while moving forward instead with eviction proceedings in spite ofthe CDC

   ORDER,have long been in VIOLATION OF THE ORDER;and therefore, CO-TRUSTEES

   have proven themselves as subject to the penalties issued by the CDC ORDER, being

   hnth fine of a minimum of $100,000 (if death does not occur) and $200,000 (if an

   organization is involved) and up to a vear in iall.(Bold emphasis added)

326.   The CRIMINAL PENALTIES for violators ofthe CDC ORDER specifically reads:

          "'Criminal Penalties. Landlords may he subject to steep criminalpenalties
          for non-compliance with this new Order, including (1) a fine up to
          $100,000 if the violation does not result in a death, (2) a fine up to
          $250,000 ifthe violation results in a death, or (3) one year injail instead
          ofor in addition to afine. An orsanization violatim this Order may be
          subject to afine ofup to (1) $200,000 per event ifthe violation does not
          result in a death or (2) $500,000 per event ifthe violation results in a
          death"                                                            (Bold emphasis)

327.   As has been the pattern and practice at all "tier" levels of CO-TRUSTEES operating

   "RICO" crime syndicates and domestic terrorist networks while being paid by the sovereign

   American People to be TRUSTEES under Oaths and Duties to ENFORCE THE LAWS.

   BENEFICIARY David Schied has meticulously documented the FACTS (as presented herein

   by this case)that not only are the LOCAL co-TRUSTEES acting criminally in malfeasance

   by condoning and reinforcing CO-TRUSTEES Ava Ortner and Donald Thorpe having

   persisted with an illegal eviction in spite of the CDC ORDER, but so too are all of the

   STATE and        NATIONAL level CO-TRUSTEES supporting these ''predicate"

   CRIMINAL acts through their own "secondary" CRIMINAL of CORRUPT gross

   negligence and malfeasance, predicated through their affirmative acts of "aiding and

   abetting" as facilitated through tacit agreements,

328.   All CO-TRUSTEES-had been placed on proper NOTICE that the impending THREATS

   OF VIOLENCE were being imposed by CO-TRUSTEES Ava Ortner and others involved in

   the underlying FRAUDULENT LAND CONTRACT involving the agents of COLLIERS
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   INTERNATIONAL (acting in their private and CORPORATE capacities) and of the CITY

   OF NOVI (being Bill Gatt and his fellow NOVI CITY COUNCIL members acting in their

   private and public capacities) as fullv explained in BENEFICIARY David Schied's

   DECLARATION - have placed BENEFICIARY Schied in the position acting in his own


   SELF-DEFENSE against these THREATS ^^Damerous to Human Life^\

329.   Thus, all TRUSTEES have also placed BENEFICIARY David Schied in the position

   of ^^SLAVERT^ by forcing Beneficiarv to "p/'cA: up the (proverbial) baW* for the

   NATIONAL level TRUSTEES, and do their jobs for them, without any just

   compensation or even a single offer Qf^'consideration'^ for his ENFORCEMENT actions;

   even as these actions had been and continue to be exerted by BENEFICIARY under


   duress and repeated DEATH THREAT, and of being further ^^evicted*^ from his home

   into the snowy, cold barren, diseased environment of a CORONAVIRUS PANDEMIC-

   as a known ^''totally and permanently disabled auad-'amDutee*^- without any human rights,

   common law,statutory, constitutional, or civil rights intervention whatsoever by ANY of

   the CO-TRUSTEES named herein by this case.(Bold and underlined emphasis added)

330.   For these collective violations, BENEFICIARY is due his '^day in Courr with ACCESS

   to both a PETIT JURY and a GRAND JURY ofthe sovereign People as the '"''final arbitrators"

   of the many civil and criminal matters placed before this instant ARTICLE III COURT OF

   RECORD.


331.   Moreover, given the background history and the potential for continued THREAT

   OF VIOLENCE from CO-TRUSTEES and their agents until REMEDY is established,

   this Court has the additional reason to EXPEDITE the matters forward to JURY TRIAL


   and GRAND JURY INVESTIGATION, rather than to follow the current pattern and




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   practice of kicking the can down the roarP^ by furthering the maxim of'^justice delayed is

   justice denied*^.



                                        COUNT NINE-
   ''FORCED SERVITUDE'- VIOLATION OF THE THIRTEENTH AMENDMENT
                           (Alleged Against All Named TRUSTEES)

332.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through EIGHT as if written again herein

   verbatim.


333.   TRUSTEES' pattern and practice of abandoning their Oaths and Duties as fiduciaries

   under the PUBLIC TRUST, has placed BENEFICIARY as one of the sovereign American

   People who have - through his Posterity as bom and raised an "American" patriot and State

   national-"created and ordained" the constitutions ofthe STATE and the UNITED STATES


   that CO-TRUSTEES have also clearly abandoned, has had to RECALL his sovereign

   Powers under the NINTH AMENDMENT and TENTH AMENDMENTS,and to do the


   jobs of the TRUSTEES for them - without anv form of compensation or consideration

   for his labors.(Bold and underlined emphasis added)

334.   This, by definition, is SLAVERY, being "FORCED SERVITUDE' by which taxpayer

   payments for"law enforcement" is otherwise going to the very CO-TRUSTEES who are civilly

   and criminally violating the laws at BOTH the "predicate" and the "secondary" RICO levels

   in repeated circular patterns of administrative malfeasance; and to such a high degree as to

   create the conditions of STATE INSURRECTIONISM and DOMESTIC TERRORISM.


335.    Again, these matters are known to be "LIFE THREATENING" and "danserous to human

   life" for not only BENEFICIARY in his current "eviction" circumstance, but as CO-

   TRUSTEES Everett Stem and TACTIVAL RABBIT have made amply known,the dangers -

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   even ifjust by the CO-TRUSTEES of MDHHS and the STATE OF MICHIGAN - include

   other sovereign Americans who are categorized in classes and populations of "''similarly

   situated", being "poor","elderly", and/or "disabled'.

336.   Needless to say, all other Americans who are unwittingly supporting these insurrectionists

   and domestic terrorists through the obedience of surrendering their taxation upon their own

   labors to these very same NATIONAL CRIMINALS are also being victimized by CO-

   TRUSTEES' acts "dangerous to human life", as they threaten the Rights to Life, Liberty,

   Property, and to the Pursuit ofHappiness of ALL OTHER PATRIOTIC AMERICANS.

337.   As such, the blatant violations of both OATH and DUTIES as agreed to publicly by

   the CO-TRUSTEES constitutes ''FALSE CLAIMS", for which these TRUSTEES have

   unjustly enriched themselves at the taxpayers' expense. These funds are "ill-gotten gains"

   for these CO-TRUSTEES that are otherwise debts to be paid back to the sovereign

   People. With the demonstrated propensity of TRUSTEES to refuse their obligation to hold

   their fellow TRUSTEES accountable for these FALSE CLAIMS, the job has transferred to

   BENEFICIARY as a "Federal Whistleblower", for which just compensation is hereby owed

   under the FALSE CLAIMS ACT,and likely also owed in the event that this filing evolves into

   a case of "joinder" by "others similarly situated', as ready to also be handled by

   BENEFICIARY David Schied acting in the capacity of a PRIVATE ATTORNEY

   GENERAL22 and/or as a "Private Public Proxy" in the Common Law.(Bold emphasis added)

338.   It is well established that many civil rights statutes rely on private attorneys general for

   their enforcement. In Newman v. Pissie Park Enterprises, one ofthe earliest cases construing


   Here, BENEFICIARY David Schied refers to the PRIVATE ATTORNEY GENERAL
DOCTRINE working in conjunction with the Civil Rights Attomev Fees Award Act of 1976.
which permits courts to award fees to a prevailing party when the suit has furthered a congressional
policy envisioning private enforcement offederal law. See Lee v. Southern Home Sites Corp.,444
F.2d 143 (5th Cir. 1971)and Newman v. Pissv Park Enterprises. 390 US 400(1968)(per curiam)
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   the CIVIL RIGHTS ACT OF 1964. the CO-TRUSTEES ''UNITED STATES SUPREME

   COURr ruled that:


           "A public accommodations suit is thus private inform only. When aplaintiff
           brings an action . . . he cannot recover damages. If he obtains an
           injunctionf he does so notfor himselfalone but also as a ^private attorney
          general,' vindicating a policy that Congress considered of the highest
          priority."

339.   It is well established that many civil rights statutes rely on private attorneys general for

   their enforcement. In Newman v. Pissie Park Enterprises, one of the earliest cases construing

   the CIVIL RIGHTS ACT OF 1964,the United States Supreme Court ruled that:

          "A public accommodations suit is thusprivate inform only. When a plaintiff
          brings an action . . . he cannot recover damages. If he obtains an
          injunction, he does so notfor himselfalone but also as a 'private attorney
          general,' vindicating a policy that Congress considered of the highest
          priority."

340.   The rationale behind that principle is to provide extra incentive to private citizens to pursue

   suits that may be of benefit to society at large or to further a congressional policy envisioning

   private enforcement offederal law.(See Lee v. Southern Home Sites Corp..444 F.2d 143 (5th

   Cir. 1971).

341.   In tandem with the above, with regard to the STATE and NATIONAL CO-TRUSTEES,

   the ALLEGATIONS and EVIDENCE show a "Pattern and Practice" of unconstitutional

   DISCRIMINATION and RETALIATION against BENEFICIARY David Schied - and others

   similarly situated - who have established evidence oftheir having CLAIMS IN COMMERCE

   such as the claims long established by BENEFICIARY David Schied - and agreed to by CO-

   TRUSTEES of the USDOE, the SSA, the U.S. DEPARTMENT OF TREASURY, and the

   quasi-govemment private entities of ECMC, NELNET, PHEAA, and the THREE CREDIT

   BUREAUS through their tacit agreement with the FEE SCHEDULES and past several vears

   of billing statements - with regard to "fraudulent student loan debt collection practices" that

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   have been illegally implemented for the better part of this past decade by these same CO-

   TRUSTEES (along with an extended documentation of ^^conspiracy"^ history involving

   SALLIE MAE SERVICING,the PHEAA fictional name of"EDFUND",and NAVIANT).

342.   As such, there is reasonable cause for believing that such CLAIMS IN COMMERCE

   against CO-TRUSTEES are valid as being now in DEBT COLLECTIONS after

   BENEFICIARY David Schied has:


   a) First, meticulously documented his claims against CO-TRUSTEES of the USDOE,

       NELNET,ECMC,PHEAA (a.k.a.''EDFUND'')the SSA,the U.S. TREASURY,(SALLIE

       MAE and NAVIANT),and the THREE CREDIT BUREAUS; before then ...

   b) Second,submitting FEE SCHEDULES for administratively "servicing" CO-TRUSTEES'

       patterns and practices of tacit agreement, gross negligence and malfeasance, which were

       affirmatively employed in joint effort to COERCE the BENEFICIARY (and others

       similarly situated) into "slavery" - by having BENEFICIARY carry out the functions

       himself of the CO-TRUSTEES such as is the basis of the instant "qui tarn" action under

       the FALSE CLAIMS ACT - being also THIRTEENTH AMENDMENT violations; and

       finally ...

   c) Third, engaging CO-TRUSTEES in common law DEBT COLLECTION action through

       administrative billings, costs of mailings, and a plethora of accounting tasks despite

       BENEFICIARY being a novice in these time-consuming and expensive "jobs" being

       forced upon him by CO-TRUSTEES.

343.   Therefore,the action ofBENEFICIARY David Schied,acting as Qui Tarn "whistlehlower"

   and "debt collector"for the sovereign People as "taxpayers" under the FALSE CLAIMS ACT,

   is reasonably justified and legally warranted for helping BENEFICIARY get out ofthe "fix"-

   and arguably, for helping the sovereign American People get out of theirfix too - that the

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   corrupt CO-TRUSTEES have put him/us in by forced CRIMINAL acts, in this most recent

   situation, to evict BENEFICIARY from his home of the past eight and a half(8 Vi) years of

   his honorable living.



                                         COUNTTEN-
         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           (Alleged Against All Named TRUSTEES)

344.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNT ONE through COUNT NINE as if written again

   herein verbatim.


345.   For the same reasons, BENEFICIARY David Schied - acting as Qui Tarn "whistleblower''^

   and ^'debt collector'''for the sovereign People as ^^taxpayers" under the FALSE CLAIMS ACT,

   the CIVIL RIGHTS ACT of 1964. and PRIVATE ATTORNEY GENERAL DOCTRINE -


   BENEFICIARY is reasonably justified and legally warranted by exposure of to their CO-

   TRUSTEES'fraudulent accounting and various fraudulent debt collection practices.

346.   Similarly, by the long-term track RECORD also amassed as created from the CO-

   TRUSTEES' many years of               agreements" while receiving BENEFICIARY'S equally

   many yem*s of common law FEE SCHEDULES and BILLING STATEMENTS,thus acting

   in silence and without reasonable personal challenge, recognition, or rebuttal,BENEFICIARY

   David Schied has every right to use that track record as a reasonable place to start in

   determining the amounts owed            by   CO-TRUSTEES as official '"'DEBTORS'^ to

   BENEFICIARY, and to the other sovereign American People across the United States of

   America.




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                                      COUNT ELEVEN -
                 MALICIOUS PROSECUTION AND ABUSE OF PROCESS
                           (Alleged Against All Named TRUSTEES)

347.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNT ONE through COUNT TEN as if written again

   herein verbatim.


348.   The term ''process'' refers to the proceedings in any civil lawsuit or criminal prosecution

   and usually describes the formal notice or writ used by a court to exercise jurisdiction over a

   person or property. Such process compels the defending party to appear in court, or comply

   with an order ofthe Court. It may take the form ofa summons,mandate,subpoena,warrant,

   or other written demand issued by a court. When one files suit, one normally has a summons

   issued by the court which compels the defendant to appear within thirty days to contest the

   matter. See American Litisation.


349.   "Abuse ofprocess" refers to the improper use of a civil or criminal legal procedure for an

   unintended, malicious, or perverse reason. It is the malicious and deliberate misuse of

   regularly issued civil or criminal court process that is not justified bv the underlying legal

   action.(Bold and imderlined emphasis added)

350.   Abuse of process includes litigation actions in bad faith that is meant to delay the delivery

   ofjustice. Examples include serving legal papers on someone which have not actually been

   filed with the intent to intimidate; or filing a lawsuit without a genuine legal basis in order

   ^obtain information, force payment through fear of legal entanglement or gain an unfair or

   illegal advantage.(Bold and imderlined emphasis added)

351.   In this case, CO-TRUSTEES at the LOCAL level have blatantly displayed their

   abuses of process by the FACT that they engaged a court case for eviction - during known

   STATE and FEDERAL "eviction moraloriums", and against a totally and permanently

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   disabled quad-amputee who was otherwise fully paid up in obligatory consideration, and who

   was otherwise living peaceably under the protection of "self-quarantine" - is the malicious

   and deliberate misuse of regularly issued civil or criminal court process.

352. Not only was this illegal action executed maliciously and tortuously by the LOCAL CO-

   TRUSTEES, it was done deliberately to obfuscates tlie FACT that these LOCAL CO-

   TRUSTEES were interested only in accomplishing some other improper purpose that would

   otherwise substantiate BENEFICIARY initiating countermanding civil and criminal court

   proceedings AGAINST THEM.

353.   CO-TRUSTEES'abuse of process is an intentional tort. By definition,''abuse ofprocess'''

   encompasses the entire range of procedures incident to the litigation process. Pellegrino Food

   Prods. Co. V. City of Wan'en. 136 F. Supp. 2d 391, 407(W.D. Pa. 2000).

354.   Therefore, the determination of what is unfair and wrong about tlie allegedly "CRIMINAU'

    tactics being by CO-TRUSTEES operating at the so-called "52-1 DISTRICT COURT" as an

    alleged continuing financial crimes enterprise, is simply a matter for a higher ARTICLE III

    COURT OF RECORD to determine.

355.   Thus far, the EVIDENCE against CO-TRUSTEES Travis Reeds and the 52-1 DISTRICT

    COURT shows that while the signing "clerks" on documents of process remain completely

    unidentified, so too are the so-called "judges" of that enterprise representing the CO-

    TRUSTEES of tire STATE OF MICHIGAN also getting away with unidentifiable and

    unaccountable scribbles as "signatures" on purported "official" documents - similarly as the

    clerks - on "SUBPOENAS" and "JUDGMENTS' with no printed names and no "P-#"

    identifying even their membership number to tire STATE BAR OF MICHIGAN crime

    syndicate and domestic terrorist network.




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356.   Further, all of this jokingly appears on FORMS that the CO-TRUSTEES use that profess

   to be required to bear the ''seal ofthe coiirf to be official, but actually do not have such seals.

   Moreover, in "serving^' such documents. CO-TRUSTEES as all principals with memberships

   in the STATE BAR OF MICHIGAN crime syndicate, all disregard the BENEFICIARY is, by

   law. to be provided with proper "accommodations" as a totally and pemianently disabled

   recent quad-amputee. Not that this matters anyway to these domestic terrorists, because tliey

   routinely exhibit the pattern andpractice of depriving unwaiy "defendants" of due process by

   the "plaintiff's''^ attorney intentionally holding off on "service ofprocess''' until less than two

   business days prior to tlie "eviction hearing".

357.   The unidentified CO-TRUSTEES of the 52-1 DISTRICT COURT are even worse. They

   do not send out subpoenas until tlie hearing is over and it accompanies the railroaded so-called

   "jvdgmenf\ In any event, as is the case herein, even when "targeted" BENEFICIARY

   manages to comply in responding by the "due date"" for filing timely and DATE-STAMPED

   (by the 52-1 DISTRICT COURT)disagreements with how tliis entire process was mishandled,

   the CO-TRUSTEES simply ignore that too and go forth with the added criminal action of

   issuing an "ORDER OF EVlCTIOIf\ also sending uniformed officers with GUNS to the door

   to carry out the threat on the forced CRIMINAL eviction.

358.   By the EVIDENCE it is clear that CO-TRUSTEES are altogether affirmatively employing

   illegal tactics of"weaponized due process" and "simulated legal proceedings" under color of

   law to deprive BENEFICIARY David Schied of his STATE and FEDERAL constitutional

   guarantees, as well as his international Human Rights guarantees.

359.   Equally obvious is tlie fact that they executing these crimes in a conspiracy fasliion, witli

   other "wheel" and "chain" entities as CO-TRUSTEES operating a "targeted^ common

   objective of THREATENING THE LIFE, LIBERTY, and PROPERTY of law-abiding

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   BENEFICIARY so to circumstantially place BE^NEFICIARY at a distinct legal disadvantage

   through '"fraud by omissions'^ and other types of FELONY fraud, including "FRAUD UPON

   THE COURT\


360.   "Abuse of process" is demonstrated further by CO-TRUSTEES continuing to LIE BY

   OMISSIONS for the previous full three months after being placed on formal "officiar notice

   about the"CDC ORDER OF EVICTION MORATORIUM"',whereby they have used the "legal

   process" to heighten their initial levels of legal harassments between August and September

   as described many pages back in other sections of "FACTS" and "ARGUMENTS'", and to

   thereafter move more intensively into this form offraudulent"sennce ofprocess" that violates

   all standards and court rules o£"due process" for even any "normal" person.

361.   Cognizable injuiy for abuse of process is limited to the harm caused by the misuse of

   process. Heck v. Humphrey. 512 U.S. 477 (U.S. 1994). In this case, that injury includes

   everything tliat has occurred between mid-September 2020 through the present day as now

   April 2021, witli a FRAUDULENT "Judgment" issued by the unidentified agents of the

   TRUSTEES "52-1 DISTRICT COURT" as otherwise being earlier proven (i.e., years ago by

   BENEFICIARY Schied in a video documentaiy posted publicly since aroimd 2018 posted at:

   httt)s://www.youtube.com/watch?v=kkoin6BP3L0 ) as being ti-uly a CONTINUING

   FINANCIAL CRIMES ENTERPRISE.


362.   In order to establish a cause of action for malicious prosecution of either a criminal

   or civil proceeding, a plaintiff has to prove that the prior action (1) was commenced by

   or at the direction of the defendant and was pursued to a legal termination in his,

   plaintiffs favor; (2) was brought without probable cause; and (3) was initiated with

   malice. See Babb v. Superior Court(19711 3 Cal.3d 841. 845 (92 Cal. Rptr.) 179, 479 P.2d

   379: Grant v. Moore 118661 29 Cal. 644. 648; Albertson v. Raboffmse'i 46 Cal.2d 375, 383

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   (295 P.2d 405). In this case tlie evidence proves all three as FACTS to be presented to both a

   PETIT JURY and a (federal) SPECIAL GRAND JURY.

363.   In this case, the FACTS also prove that:

   a) CO-TRUSTEES Ava Ortner and Donald Thorpe, Jr. actions were initiated with malice, in

       RETALIATION against BENEFICIARY Schied asserting his Rights as a totally and

       pennaneiitly disabled qiiad-amputee, to ADA-required accommodations oftime and other

       factors as openly stated in multiple discussions on RECORDED digital audio just prior to

       RETALIATION taking place, which was also RECORDED in text messages and phone

       discussions;

   b) The ''eviction proceedings'^ were brought "without probable cause"" because

       BENEFICIARY can prove that CO-TRUSTEES were "reasonably informed'' multiple

       times   about   the "CDC     ORDER      OF   EVICTION      MORATORIUM" and            that


       BENEFICIARY Schied was in compliance with that ORDER by way of openly providing

       a written DECLARA TION that CO-TRUSTEES deceitfully treated silently with "tacit

       agreement''^ and never either informally challenged or legally rebutted, despite having

       ample such opportunity to do so;

   c) The "eviction proceedings" were both commenced and "prevailed' by CO-TRUSTEES'

       schemes of FRAUD and "weaponized due process" while incorporating other CO-

       TRUSTEES of the STATE BAR crime syndicate and domestic terrorist network - being

       Dominic Sylvestri, Travis Reeds, and Victoria Roberts - resulting in the "legal

       termination" of BENEFICIARY'S common law Right to continue peacefully inhabiting

       the home.


364.   MOTIVE as an element: Arguing that CO-TRUSTEES had an ulterior motive or purpose

   required in an abuse of process action can be in the form of coercion to obtain a collateral

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   advantage that is not properly involved in the proceeding. Nienstedt v. Wetzel. 133 Ariz.

   348 (Ariz. Ct. App. 1982), In this case, the ''collateral advantage'^ not properly involved with

   the proceeding has been repeatedly proven by the RECORDED FACTS, the availabilit)' of

   multiple WITNESSES,and the undeniable "CDC ORDER OF EVICTION MORATORIUM"

   and EVIDENCE of the "Certified MaiC deliveiy of the sworn, notarized DECLARA TION of

   BENEFICIARY David Schied issued in "good faith''' compliance with that 9/14/20 CDC

   ORDER under the TRUMP ADMINISTRATION and CONGRESS through the predeccor of

   the CARES ACT.


365.   Actual malice is often not required in an abuse of process claim. The improper purpose

   element of an abuse of process claim can take the form of coercion to obtain a collateral

   advantage, not properly involved in the proceeding itself. Therefore, it is the use ofthe process

   to coerce or extort tliat is the abuse, and need not be accompanied by any ill will. [See

   Swicegood v. Lott. 379 S.C. 346(S.C. Ct. App. 2008).]

366.   A want of probable cause need not be established in order to claim for abuse of

    process. United States v. Chatham. 415 F. Supp. 1214(N.D. Ga. 1976). However,facts which

   shows that the person commencing the litigation had knowledge or had reason to know that

    his/her claim was groundless will be relevant to prove that the process was used for an ulterior

   pmpose Fishman v. Brooks. 396 Mass. 643 (Mass. 1986)].

367.   Persons using a legal process with malice in order to attain a personal purpose not similar

   to what is tlie crux of the litigation, are liable for intentional tort of abuse of process. Any

    person who procures unnecessary and improper initiation of a process by a third party

   will also be liable for damages for abuse of process. If a non-litigant who actively

    participate in a civil proceeding that results in an improper initiation of proceeding, s/he

   can be liable for damages for abuse of process. This applies to those such as CO-TRUSTEES

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   Paul Gobeille, Michael Yamada. COLLIERS INTERNATIONAL, and CO-TRUSTEES

   NOVl CITY COUNCIL and CITY OF NOVI, in addition to CO-TRUSTEES Dominic

   Sylvestri, Travis Reeds, and Victoria Roberts. All had interest in and were associated with tlie

   underlying "LAND DEVELOPMENT DEAL" by their tacit agreement with the continuation

   of these FRAUDULENT legal proceedings after they too were notified by BENEFICIARY

   about their land development enterprise^'' being exposed by the FACTS included in the

   formal sworn DECIARA TJON that BENEFICIARY delivered to the CO-TRUSTEES.

368.   The use of criminal process in the court system in an effort to collect a civil debt will

   support an action for abuse ofprocess also. McCornell v. Citv of Jackson. 489 F. Supp. 2d

   605, 610(S.D. Miss. 200). In an action for abuse of process, the injured person has a remedy

   against anyone who intentionally procures, participate in, aid, or abet the abuse of process.

   Anyone who advises or consents to, adopts or ratifies the abusive acts will also liable as

   joint tortfeasors. Again,this applies, minimally,to all of the CO-TRUSTEES named above -

   at minimum - associated witli the underlying '^LAND DEVELOPMENT DEAL".

369.   Beneficiary is also extending his both "civir and ^'criminaL CLAIMS for '^aiding and

   abetting" in tlie "predicate" level abuses by inclusion of''secondary" level CLAIMS for tort

   liability and criminal gross negligence / malfeasance to the NATIONAL level CO-TRUSTEES

   too, by their "tacit agreement" in support of these alleged lower level "RICO" CRIMES.

370.   STATE BAR crime syndicate and domestic terrorist members associated with this case

    may think they are protected from the liability for defamation that occurs as a result of these

   "sham" court proceedings. Flowever. such protection may not provide any attorney with an

    absolute defense to liability for abuse of process. See Alexandru v. Dowd. 79 Coim. App.434

   (Conn. App. Ct. 2003). Therefore, an attorney -even an unidentified "judge" as a CRIMINAL

    co-conspirator such as in this case - can and SHOULD be made liable for damages for abuse

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   of process for acts that include personal acts, or acts of others instigated and can'ied on through

   tliese STATE BAR crime syndicate and domestic terrorist members as the agents for their

   fellow CO-TRUSTEES, being their instigators and conspirators. See Lambert v. Breton. 127

   Me. 510(Me. 1929). See also, Journeymen, Inc. v. Judson. 45 Ore. App. 249 (Or. Ct. App.

   1980): A plaintiff has to establish that tlie alleged misconduct resulted primarily from the

   attorney's ulterior motive or malice to state a claim for abuse of process against an attorney.

371.   Beneficiary asserts herein, by reference to the FACTS and ARGUMENTS delivered

   elsewhere herein, again 'Hn spades'\ that the above conditions are to be proven easily in

   BENEFICIARY'S favor in the future prosecution of BENEFICIARY'S own case - which is

   also a case being prosecuted on behalf of the REAL '''"government of by, and for^^ the

   sovereign People of the United States of America - against these RACKETEERS,

   INSURRECTIONISTS and DOMESTIC TERRORISTS.




                                      COUNT TWELVE-
       SEDITION,TREASON,INSURRECTION,and DOMESTIC TERRORISM
                   (Alleged Against All Named TRUSTEES)

372.   BENEFICIARY David Schied reiterates paragraphs 1-371 above as if written herein

   verbatim insofar as these paragraphs provide reasonable explanations for naming each of the

   member CO-TRUSTEES and providing generalized explanations for their categorical

   inclusion in this instant lawsuit by way of the FACTUAL allegations against their affirmative

   acts of discrimination, retaliation, RICO crimes, sedition, treason, insurrection, and domestic

   terrorism.


373.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNT ONE through COUNT ELEVEN as if written

   again herein verbatim.

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374.   The constitutions of the STATES and of the UNITED STATES governments ^vere

   originally designed as ^''PUBLIC TRUSV documents, establishing fiduciary obligations of

   '-'TRUSTEES" toward the "TRUSTBENEFICIARIES" with certain penalties for breaches of

   duties for public "servants" constituting RICO crimes, Sedition. Treason, Insurrection, and

   Domestic Terrorism against both the people and the government of the STATES and the

   UNITED STATES.


375.   The pattern and practice of discretionary cherry-picking and misapplying administrative

   procedure to substantivelv undermine the outcome of BENEFICIARY David Schied's - or

   any American's - numerous "cases" and "complaints" then, can be found to be intentional

   violations of BENEFICIARY'S "state" and "Federal" constitutional guarantees of Rights

   under those sacred American institutions of the PUBLIC TRUST.

           "Today...a Federal Rule of Civil Procedure is not a valid procedural rule
           under the Rules Enabling Act if it abridges, enlarges or modifies a
           substantive right." —

376.   BENEFICIARY Schied, however, recognizes that the distinction that separates substance

   and procedure is not only vexing but consequential. It appears that wherever the line is drawn

   between the two depends upon the purpose for drawing that line.

          "But of course, flexibility cannot he achieved without severely
          compromising the values ofpredictability and uniformity. ... Thus, this
          jurisprudence is largely ad hoc because the categories ofsubstance and
          procedure were not fully formed when codified and have not been
           crystalizedsince." {ibid)

377. "Procedure is substance" because procedure has had the power and the effect changing the

   outcome of all cases brought to the attention of TRUSTEES."No procedural decision can be



  Main, Thomas 0. The Procedural Foundation ofSubstantive Law. Washington University
Law Review, Vol. 87(2009). pp.17-20. As also found on 4/19/21 at:
https://www.thefi'eelibrarv.com/amp/The+proceduralH-foundation+of+substantive+law."
a0238426220


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   completely neutral in the sense that it does not affect substanceJ*^ {ibid) (Bold emphasis

   added)

378.   Conversely,^'"substantive law...is constructed with a specific procedural apparatus in mind

   to vindicate the rights created or the responsibilities assigned by that substantive law."" So,

   CO-TRUSTEES could not authoritatively use summary and conclusive substantive law that is

   not ''trans-procedurar unless ''the rights and responsibilities assigned are could be fulfilled

   and realized in any procedural system." {ibid)

379.   Perhaps separating procedure and substance for analysis of CO-TRUSTEES' alleged

   Seditious and Treasonous actions will take a hybrid approach to resolve the above

    perplexities involved with the procedure being inherently substantive, and substance

    being inherently procedural. Perhaps the current doctrine and procedures of the instant

   ""'{federal)forum" should be "bound up" with state-created rights to substantially "intertwine

   the rule with the basic right ofrecovery." —

380.   Another analysis applied to this "procedure-substance" dichotomy in deciding upon

   TRUSTEES' affirmative and fiduciary actions in this case is the type of scenarios that are

    being presented by BENEFICIARY'S allegations of there being certain a "patterns and

   practices" involved. Perhaps this Court should consider - given that no procedural decision

   can be completely neutral of its control over substantive consequences - the motives and the



  (ibid)"All informed observers ofthe litigation process should already understand[this]....When
the discovery rules were adopted in 1938 they were expected to make a trial less about sport and
ambush, and more about truth and evidence") Also, when "scholars have analyzed the
substantive capacity ofnumerous procedural devices and doctrines...\]hQy have reported that the
bulk of] procedural reforms have intentionally, relentlessly and successfully weakened civil
rights and discrimination laws....This is dangerous because procedural reforms can have the
effect of denying substantive rights without the transparency, safeguards and accountability
that attend public and legislative decision-making." (As stated by Rep. John Dingell at a
Regulatorv Reform Act Hearing in 1983, "I'll let you write the substance...you let me write the
procedure, and I'll screw you every time.")(Bold emphasis)
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   methodology used by the CO-TRUSTEES who are subjectively exercising their discretion on

   where to ''draw the lines'' in the application of procedural rules.

381.   Such an analysis is comprehensively discussed by Columbia University Law School

   professor George P. Fletcher in his article, "Parochial Versus Universal Criminal Law."

   Fletcher's article centers on treason and his analysis, in so many ways, pitches the self-

   interest (or "parochiar) of the government against the protection of the {"universar)

   interests of the people at large (in the English-speaking world). (Bold and underlined

   emphasis added)

382.   Fletcher begins with the maxim,"nullen crimen sine lege"{"no crime without law"), which

   is presented with the reminder that "[t]he legislation might come in many forms," and "to

   advise potential offenders of the criteria ofliability, to restrain iudses In their exercise of

   discretion and to seek a measure ofuniformity and equality In the prosecution ofoffenders."

   The article explores what actions might be exercised by states (and the people

   intrinsically ''establishing and ordaining" the state) in the expression of their

   "sovereignty." The analyses presented in this article is constitutionally relevant since it

   points out that "thefirst memorable statute to define a crime In English history addressed

   the subject oftreason."(Bold and underlined emphasis added)

383.   Not so coincidentally, the first crime to be referenced by the CONSTITUTION OF

   THE UNITED STATES - and giving cause for the disqualification and removal(of the

   President) from government office - is Treason (followed by Bribery, and "other high

   Crimes and Misdemeanors"). Just as importantly,"Treason" was even given its own section

   ("Section 3")ofthe CONSTITUTION by the Founding Fathers,falling under ARTICLE

   III in reference to "The Judicial Branch." The American CONSTITUTION defines


   treason against the (sovereign People of the) United States ofAmerica as consisting only

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        levying War against[the United States], or in adherim to their Enemies., sivins them

   Aid and Comfort"^(Bold and underlined emphasis added)

384.    Considered historically as a ''parochial crime,'' treason constituted a moral wrong that

    could only be perpetrated by those otherwise expected to have openly professed their

    OATH and ALLEGIANCE to protecting the stability ofthe existing(government)power.

    In other words, "outsiders are not bound by the same [such] duties ofloyalty." Therefore,

   "domestic"'^ nationals, particularly those employed in government and endowed with

    fiduciary governmental power, not foreigners, can and do commit acts of treason.(Bold

    emphasis)




   See U.S. Constitution. Art. Ill, s.3. clause 1. Also note that this definition aligns in certain ways
with the statutory definition of"domestic terrorism" as found in a previous footnote: 18 U.S.C.
§2331 defines "domestic terrorism" as "acte that appear to be intended to influence or coerce a
civilian population or the policy of government.'''' Note that, "[a]s defined here [by Fletcher
(p.21)], treason appears to be an offence committed first in the heart, by ^adhering to the
enemy'.'" Fletcher added,"This subjective element was supplemented by a requirement ofan overt
act." [See generally G. P. Fletcher, Rethinkins Criminal Law (Oxford: Oxford University Press,
reprinted 2000), pp. 207-213.]"Even when nationals owe a duty ofloyalty to the mother country,
the bearers of that duty might have strong moral reasonsfor rejecting it. Americans know this
well, for those who signed the Declaration ofIndependence all committed treason against the
Crown. They were loyal neither in their hearts nor in their deeds." Fletcher. "Parochial Versus
Universal Criminal Law"(p.22)
        Fletcher additionally noted that though "[tjreason has remained on the books in all
 Western countries, but it is invoked less and less often and treated as a suspect crime that reflects
the climate of local political interests." BENEFICIARY Schied concurs with this finding;
however,BENEFICIARY asserts that such "localpolitical interest" rests with numerous state
and federal judges themselves who are protecting their own personal interests and their
"conflict of interests by their associations with others, particularly with their peer group of
other judges and attorneys as all members of the ultra-corrupt TRUSTEES at the STATE
BAR OF MICHIGAN under supervision of what has been otherwise deemed a "thoroughly
corrupt and broken" system operated by TRUSTEES of the MICHIGAN SUPREME
COURT.(This statement comes from BENEFICIARY Schied's personal experience, plus his
having a brief but rewarding relationship with the late Justice Elizabeth Weaver,in which
she had invited BENEFICIARY Schied to her home for lunch and an extensive discussion
on the topics of Tyranny and Treason as these terms related to the content of her book,
"Judicial Deceit: Tvrannv and Unnecessary Secrecy at the Michisan Supreme Court" co-
authored by former newspaper reporter/editor, cold-case investigator and documentary filmmaker,
and university professor, Dr. David Schock.)(Bold emphasis added)
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385.   BENEFICIARY Schied maintains that this would stand true when the criminal (and/or

   '^coercive") acts-even when left unpunished and/or covered up by ^^discretionary*^ acts of

   the STATE ADMINISTRATION and/or of the NATIONAL ADMINISTRATION - are

   substantively committed,either overtly or procedurally''under color oflaw''against the person

   (against a "class" of people, or against the populace at large), against the policies and laws of

   the STATE, and/or against the policies and laws of the federal UNITED STATES. (Bold

   emphasis added)

386.   Acts of individual TRUSTEES and the "patterns and practices" documented by

   BENEFICIARY David Schied, as having been emanated from the CO-TRUSTEES - even if

   by secondarydevel way of affirmative, gross negligent failure to act, by malfeasance, by

   affirmative omissions and misstatements, or by affirmative silence as by "tacit agreement"

   with the predicate-level actions - have presented reasonable questions about "officiaF

   legitimacy of CO-TRUSTEES' various appointed or elected positions and titles. Some of that

   documentation has prompted questions for abstract research analysis. Other of this

   documentation has led to rational questioning and speculation that can be appropriately

   attributed to a tortuous criminal spectrum of "official misconduct" that ranges from

   malicious abuse of discretion^ to routine deprivations of rights under color oflaw^ to the

   commission of treasonous acts ofdomestic terrorism.(Bold emphasis added)

387.   Whatever theories are developed respective of these state and federal government

   activities, these theories can be no more or less as varied and befuddling as the actions of the

   STATE and NATIONAL government officials themselves.




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388.   What we do know is that, according to the research of Dr. Richard Cordero ofJUDICIAL

   DISCIPLINE REFORM in New York City ^ , 98.82 % of the 9,466 formalized "-judicial

   misconducC complaints against federal judges filed in the 12-year period between 1996 and

   2008 were dismissed without even an investigation. Moreover, by that same research, up to

   100% ofcomplainants' petitions for a review ofthose summary dismissals ofcomplaints were

   denied by each of the all-judge judicial councils for the thirteen (13) federal Judicial Circuits

   throughout this nation. To put this in another perspective, astoundingly, in the 225 years since

   the creation of the federal judiciary in 1789 until 2014, only eight (8) judges had been

   impeached and removed from the bench. Compare that to one(1)in every thirty-one(31)adults

   in America being under some type of criminal correction supervision at the year end of 2008.

389.   The acts depicted by BENEFICIARY Schied's documents, as well as the many "civiC and

   "criminaC complaints as referenced herein - inclusive of allegations of ATTEMPTED

    MURDER in March 2018 involving the CO-TRUSTEES named as STATE OF MICHIGAN,

    THE FBI/USDOJ, and DTE ENERGY - give rise to even further questioning about the true

    nature and general character of the CO-TRUSTEES' actions, as well as the various STATE

    and NATIONAL "rules^\ "policies", and "procedures" that are being supposedly used

    affirmatively as the procedural guide for the substantive decisions and conduct of these CO-

    TRUSTEES.


390.   TITLE 28 of the UNITED STATES CODE makes amply clear in its own disclaimer that

    what is written for the "Judiciary and Judicial Procedure" may not be entirely of a legislative

    construction. The FEDERAL RULES OF CIVIL PROCEDURE definitely are not. As a matter

    of practice and by authorization of Congress under 28 U.S.C.        2071 and 2072. these rules


  Cordero, Richard. Exposing Judses' Unaccountabilitv and Consequent Riskless Wromdoins.
A full report to include all these statistics from Dr. Cordero's research can be found in 2016 at:
http://iudicial-discipIinereform.org/ffontpage/OL/DrRCordero-Honest Jud Advocates.pdf
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   are drafted by committees of the JUDICIAL CONFERENCE OF THE UNITED STATES,

   approved by the JUDICIAL CONFERENCE and then submitted to the SUPREME COURT

   for adoption.

391.   Importantly, TITLE 28, as well as the other titles found in the FRCP, was created

   within a ^^continuum of existing            specifically those found in the STATUTES AT

   LARGE that both precede and take substantive precedence over federal procedures.

   Hence, tliere is conditional significance of 28 U.S.C. §      requiring, "Such rules shall

   not abridge, enlarge or modify any substantive right,"

392.   Judges then, are required to apply such rules under context of those STATUTES AT

   LARGE at the federal level, while also acting under superseding state laws in the absence

   of Congressional legislation on the "cases''' and "controversies" before the Court. To do

   otherwise is to transform the Court's ARTICLE III status and jurisdiction into that of

   an ARTICLE I "legislative" court. Similarly, the status of the judge transforms from

    "judicial" decision-making to "legislative" and/or "administrative" decision-making,

   resulting in the consequential waiver of "judicial immunity." When found as a "pattern

   and practice," such violations of federal and state laws are deemed to force or "coerce"

   civilian populations, resulting also in an unconstitutional and unlawful coercion of

    constitutionally recognized governmental policy. This is precisely what the Constitution

    refers to by "treason," and what 18 U.S.C. §2331 legally defines "domestic terrorism,"




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                                     COUNT THIRTEEN -
                 FEDERAL WHISTLEBLOWER {''QUITAAT') ACTIONS
                          UNDER THE FALSE CLAIMS ACT and the
                      PRIVATE ATTORNEY GENERAL DOCTRINE
                             (Alleged Against All Named TRUSTEES)

393.   BENEFICIARY David Schied reiterates paragraphs 1-392 above as if written herein

    verbatim insofar as these paragraphs provide reasonable explanations for naming each of the

    member CO-TRUSTEES and providing generalized explanations for their categorical

    inclusion in this instant lawsuit by way of the FACTUAL allegations against their affirmative

    acts of discrimination, retaliation, RICO crimes, sedition, treason, insurrection, and domestic

    terrorism.


394.   For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

    the paragraphs above as written for COUNT ONE through COUNT TWELVE as if written

    again herein verbatim.

395.   It is a FACT that the organic CONSTITUTION for the United States was constructed as a

    ^'trusf instrument.      thefederal convention, ideals offiduciary government were enunciated

    by James Madison, Alexander Hamilton, Pierce Butler, Nathaniel Gorham, Gouverneur

    Morris, Elbridge Gerry, Luther Martin, Rufus King, and John Dickson'''(Citations omitted);

    with ''public officers'''' being subordinated to the federal and state constitutions as the

    "servants" ofthe American people. —


38 Schied, David. "MEMORANDUM ON RIGHTS OF(WE). 'THE PEOPLE': TO ASSEMBLE:
TO LOCAL GOVERNANCE: AND TO 'WITHDRAW CONSENT' THROUGH STATE AND
FEDERAL JURY NULLIFICATION THROUGH GRAND JURY PRESENTMENTS. THROUGH
PRIVATE PROSECUTIONS. AND THROUGH OTHER EXECUTIONS OF CUSTOMARY LAW
 AND THE LAWS OF COMMERCE [In Evidence and Support of Acts of Self-Defense, and
 Responses to the Unconstitutional Denial of First Amendment Right to Redress of Grievances
 Regarding Previous 'Backward-Looking-Access' Claims]". Here is an excerpt citing Natelson,
 Robert. The Constitution and the Public Trust. 52 Buff. L. Rev. 1077(2004).(p. 1083)Found on
 7/31/16 at: http://schoIarship.law.umt.edu/facultv lawreviews/19 See also p. 1083 -"When the
federal constitutional convention met in 1787, most ofthe state constitutions already contained
fiduciary language.''^
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396.   The organic Constitution of 1787, as ratified by the states in 1789, established and defined

   the newly formed relationships between the federal government, the people, and the states.

   That '''expression ofthe constitution'^ was clearly articulated in Chisholm v. State ofGeorsia.

   2 U.S. 419(1793)as provided in the following summary statements;

   (All citations and footnotes omitted)

       a) "The sovereignty of the nation is in the people of the nation and the residuary

           sovereignty ofeach State in the people ofeach State'"'

       b) The "sovereignty devolved on the people'"' at the time of the Revolution and thereafter,

           revealed the American people as being "joint tenants in sovereignty^ being

           "sovereigns without subjectsf equal to one another, and each free to govern no other

           but themselves.


       c) "Sovereignty is the right to govern....""

              "...In Europe, the sovereignty is generally ascribed to the Prince; here
              [in America], it rests with the people.[TJhere, the sovereignty actually
              administers the Government; here [in America], never a single
              instance. [0]ur Governors are the agents of the people and at most
              stand in the same relation to their sovereign[in which regents in Europe
              stand to their sovereigns]. Their Princes have personalpower, dignities,
              and pre—eminences; our rulers have none but official; nor do they
              partake in the sovereignty otherwise, or in any other capacity, than as
              private citizens."(Bold emphasis)

       d) "Every State constitution is a compact made by and between the citizens ofa State to
           govern themselves [collectively] in a certain manner", with all rights not delegated
           being clearly retained by the people.(Bold emphasis)

       e) The people of the several states drafted and ratified the federal Constitution with the
          intention of binding "the several states"- not themselves-"by the Executive power of
          the national government."

       f) [Nevertheless,] the United States (i.e., the national government)should NOT have any
           claim to authority that the people of the States have notIdelegated and surrendered to
           her. Thus, the States retain their Sovereignty relative to each other; and relative to all
           sovereign powers and authorities not consented to be transferred by the people of the
           States, from the States to the United States.

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       g) ''[TJhe Constitution ofthe United States is likewise a compact made by thepeople ofthe
           United States to govern themselves[as to 'general objects']in a certain mannerC

397.   Hence,as trustees ofthe public trust, those inhabiting government offices have always been

   laden with fiduciary duties ^''that legally bind public officials to standards borrowedfrom the

   laws regulating private fiduciaries.''^ These duties go beyond the fiduciary obligations of

   contract laws, and private and corporate trusts, for some very obvious reasons:

   (Citations and footnotes omitted)

           "/« the public sector, ofcourse, the consequences ofgovernmental abuse
           can be very serious, potentially including not merely the loss ofa citizen's
           property, but oflife, liberty, or reputation. Avoidance ofconsequences of
           governmental abuse is difficult, because while citizens can elect most higher
           officials, the bureaucracy is effectively beyond direct citizen control and
           exit from the government — citizen relationship requires physically
           removing oneselffrom the government's territorialjurisdiction. For these
           reasons, the logic offiduciary law suggests that the standards ofconduct
           binding public trustees ought to befairly demanding^

398.   Thus, all public officials have both moral and legal obligations to the public for which they

   serve. Government ethics refer to those moral conduct requirements while trust laws-as well

   as criminal laws - provide the means of enforcing those commitments and punishing

   breaches thereof through impeachments,liens and/or criminal prosecutions.

399.   The notion of government officials having special fiduciary duties for which they are to be

   held accountable has been around since '"'"time immemorial." For instance, dating back to the

    18th Century B.C.E. the Code ofHammurabi was set into stone and propagated by the King

   ofBabylon. In Ancient Greece,Plato called advocated death as punishment for public officials

   accepting bribes. In Medieval England, King John's signing of the Magna Carta presented his

   assurance that, among other things,'Vo no one we will sell, to no one deny or delay risht or

   justice.'''' About that same time in France (1254), King Louis IX ''''promulgated conflict of

   interest rules for provincial governors in the Grande Ordonnance Pour la Rfforme dii

   Royaume."(Citations and footnotes omitted)(Bold and underlined emphasis added)
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400.   In America, the Declaration of Independence (July 4, 1776) also recognized the

   longstanding practice of delegated authority:(Citations and footnotes omitted)

          ''^We hold these truths to be self-evidenct (sic)^ that all men are created
          equal, that they are endowed by their Creator with certain unalienable
          Rights, that among these are Life, Liberty and the pursuit ofHappiness.
          - That to secure these rights, Governments are instituted among Men,
          deriving theirJust powersfrom the consent ofthe governed,"**

401.   In looking at the pattern and practices of CO-TRUSTEES as ^'actors" in American

   government today - and research into 'judicial oversighf* in response to public outcries of

   "official misconducC as a prime example of how difficult it is for the American people to

   monitor the self-regulating, self-policing, self-reporting, and self-disciplining of public

   officials, it should suffice to state that the CO-TRUSTEES, as these fiduciary employees and

   public "servantsf need to be held to a strict code of ethics and rigorous auditing by private

   American citizens to ensure their faithful compliance with their delegated fiduciary oaths

   and duties of office.(Bold emphasis)(Citations and footnotes omitted)

402.   As a matter of fiduciary policy and practice, this entails the following ^^duties** to be

   carried out by measure of a very high standard, by anyone priyileged to hold the title,


   power and authority of public service for and on behalf of the people of the United States


   or for and on behalf of the people of any State;      (All citations and footnotes omitted)

   a) The Duty to follow instructions - This is "the obligation to act in accordance with the

       purpose and rules of the relationship as set forth in the governing instruments**.

       Importantly, working outside of the governing laws and regulatory system, whether in

       deception or blatantly, constitutes a usurpation of power and authority, being the

       equivalent of criminal dereliction, malfeasance, and theft.

   b) The Duty to work with reasonable care - This "applies irrespective ofgood intent and

       comprehends obligations to manage assets competently, select and supervise agents

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       diligently, and undertake appropriate factual and legal investigations before making

       decisions.""(Citation omitted)

   c) The Duty of being loval- This is the public officer's obligation to subordinate his or her

       own interests to that determined by the TRUST,and to act in good faith for the sole welfare

       ofthe beneficiaries ofthat Trust.


   d) The Duty of being impartial:

           ''The duty of impartiality requires the decision maker to avoid favoring
           some beneficiaries over others, unless otherwise directed by the governing
           documents. Thus, a trustee,for example, must act with due regard to each
           beneficiary's respective interests. By analogy, public trustees should avoid
           targeting particular constituenciesforfavor orfor punishment."
                                                                    (Citation omitted)

   e) The Duty of being accountable - This is the duty not only to account for one's conduct,

       but also includes the obligation to repair any harm caused by any other breach of duty.

   f) The Duty to maintain the public trust in government-

           "Withoutpublic trust, government doesn't work The public is willing to
           delegate authority and sacrifice somefreedoms in exchangefor an orderly
           and civilized society, but only ifit believes that government is acting in the
           public's best interest. When the public loses trust in government, public
           cooperation suffers, compliance with laws fail, and investors and
           consumers lose confidence.                           (Citation omitted)

403.   The PREAMBLE of the organic Constitution for the United States of America clearly

    established the purpose of that Trust document, which included the promoting of the "general

    Welfare"" of the people of the States comprising the same (people) of the United States. While

   this wording,to some extent, provides fiduciaries ofthe Public Trust with discretionary powers

    over the beneficiaries' national assets and interests, to use specialized government knowledge

    and skills to manage the public Treasury, and to create laws that impact the lives of

    beneficiaries, the implied, as well as the expressed^ priority for these fiduciaries is to act

    in the American people's best interest and NOT in the best interest of the American


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   government itself, being otherwise to the detriment ofthe American people.It is the latter

   that is what we see today, being the reason for the instant case now at hand with the given

   provable FACTS.(Bold and underlined emphasis added)

404.   For fiduciary officials wishing to claim that their actions remained within the confines of

   the law, It is important to recognize that fiduciary duties are contextual. Additionally, it

   is a fact that law only become supremely relevant when they were enacted and are applied

   ^'•pursuant to Hhe enumerated and legitimate objects"'' of their legislated jurisdiction.

            Ifthe United States go beyond their powers^ ifthey make a law which the
           Constitution does not authorize, it is void; and the judicial power, the
           national judges, who, to secure their impartiality, are to be made
           independent, will declare it to be void. On the other hand, ifthe states go
           beyond their limits, if they make a law which is a usurpation upon the
           generalgovernment, the law is void; and upright, independent rudses will
           declare it to be so,"
                      (Citation omitted)(Bold and underlined emphasis added)

405.   To ensure that federal judges got the point, the anti-federalists from the original State of

    Maryland, with the added leadership of Luther Martin, Patrick Henry and George Mason,

   insisted on adding the BILL OF RIGHTS to the terms of the Public Trust, as set forth by the

   federal Constitution. To ensure that the federal judges could never forget that their duties to

    deliver the '^steady, upright and impartial administration ofthe laws" the Congressional State

    delegates ratifying the Constitution assured the "^independence" of the federal judiciary by

    uniquely providing them with the privilege of ""life tenure," and with the added benefit of

    employment compensation outside of the purview of Congress. The only condition upon

    which these important fiduciary duties were contingentlv granted however, was that

    based upon ^^good[fiduciary]behavior,''^ This stemmed from the Founders' belief that "Ay

   providing afixed provisionfor[their]support„.the power over[federaljudgesjsustenance

   [would]amount to[a]power over [their] wilP^ to serve the PUBLIC TRUST rather than

    themselves or their political allies.
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406.   Hence, the documents of America's ''Founders" have long established - and (the late)

   Justice Antonin Scalia has more recently reinforced in United States v. Williams [504 U.S. 36

   (1992)] - that ^^fWIhen in the Course of human events^^ there has been a history of

   usurpation and corruDtion in office [such as how we see things today with a "revolving

   door"" between the Three Branches (a.k.a. "branch-jumping") and other factors undermining

   constitutionally guaranteed "checks and balances"^ there are times when the REAL (i.e.,

   not "administrative")"Fourth Branch" of government needs to step in to declare violations

   of the Public Trust. This is needed so to define such breaches of fiduciary duties, and to

   provide impeachments and other remedies against what could otherwise bring fatality

   upon the American nation of united States^ and the sovereign Peoples' rule of a unified

   Republic.(Bold and underlined emphasis added)

407.   As found today - as in a "pattern andpractice" of several decades past and dating at least

   as far back as Abraham Lincoln's "General Order lOOF which demonstrate as matters of

   FACT - the acts committed by CO-TRUSTEES, as the "principals and agents" in the

   Executive and Legislative branches of government,have long been out ofcompliance with

   the federal CONSTITUTION and are in violation of that PUBLIC TRUST. Yet,

    particularly in the light ofthe 2020 ELECTIONS and the subsequent litany oflawsuits in claim

   that the "elections were stolen", the magistrates, judges, and justices of our STATE and

    UNITED STATES courts, despite their "discretionary" independence and ability to bring

    causes of action based upon their own "sua sponte motions" have chosen to abuse their

    discretion bv doing nothing while affirmative acting in tacit agreement, against the

    complaints bringing such causes of action before the Courts. (Bold and underlined

   emphasis)




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408.   This amounts to '"accessory after the fact'" of not only constitutional violations but also

   human rights atrocities against the Laws of Nature, the Law of Nations, and international

   Human Rights Laws. —

409. It is important to recognize that there is some level of covert influence by the American

   Bar Association,the Federalist Society, and other groups of attorneys and judges as '"cohorts'^

   that are determining who gets politically considered and eventually nominated by the President

   of the United States for open positions on the Supreme Court of the United States. These are

   the same BAR association members running a thoroughly corrupted private monopoly on the

   judicial and prosecutorial systems, and from whence such members come that have

   strategically infiltrated and virtually taken over all three Branches of America's governance.

410.    Granted, at the time the PUBLIC TRUST was negotiated '"nearly two-thirds of the

   delegates to      the   Constitutional Convention        had received formal training in

   law...[however,]...many, if not most of the lawyers among the [FJounders had extensive

    experience in private law, of which the law offiduciaries [has long been] a part, and [the

   Founders] were accustomed to thinking ofgovernment in private law terms.''' As such, the

    Founders based their PUBLIC TRUST document upon the same (if not higher)


  See the commentary in the New York Times (6/24/12) written by former (39th) United States
President Jimmy Carter captioned,"A Cruel and Unusual Record'' which points to such human
rights atrocities put into government counter-terrorism policies and practices that "violates at least
10 of the [Universal Declaration of Human Rights], including the prohibition against 'cruel,
inhumane, or degrading treatment or punishment by acts of: a) detaining people indefinitely;
b) targeting American citizens for assassination or indefinite detention; c) unrestrained
violations of privacy by wiretapping and "government mining" of electronic communications;
d) using drones for airstrikes on civilian homes and killing hundreds of innocent people; e) the
torturing of prisoners using egregious tactics. As former President Carter points out, these
unrestrained and atrocious acts have had the overwhelming counter-effect of harming the
"general welfare*^ ofthe American people, by: 1)turning aggrieved families toward terrorists
organizations; 2) arousing civilian populations against the American people; 3) giving just
cause and examples for repressive governments to justify their own despotic actions;
4) alienating Americans from former American allies.(Found on 8/3/16 at:
http://www.nvtimes.com/2012/06/25/opinion/americas-shameful-human-rightsrecord.html?r=Q *)
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   obligations that are expected of private fiduciaries under the maxims set for contracts

   and trust relationships.(Bold emphasis)

411.   Additionally, these Founders were aware that where there were breaches offiduciary

   trust, there were equitable remedies through customary practices of impeachments,

   criminal prosecutions, and through the use of non-judicial commercial liens placed in

   commerce.(Bold emphasis)

412.   The Remedies to the People then, are a matter of               when thev are the victims

   of fraud, waste, and abuse; and when thev are the holders of evidence of such fraud,

   waste, and abuse. They are also the only ones empowered at all times to determine for

   themselves when           government officers' behaviors have ^^nullifierP^ and '^dissolvetP^

   any last vestiges of ^^privilege'^ to government offices.(Bold and underlined emphasis added)

413.   The natural principle, fiduciary obligation, has its origin in the equity of Customary

   Law,i.e., the Law ofNature and the Law ofNations. The legal origin ofequity and the principle

   of fiduciary obligation is derived of the equity and international courts, each having their

   respective roots, again dating back to the time of Edward I, in the rulings of Chancellors.

414.   Equity courts have been used in the past because they provide a wider range of remedies

   than are typically provided in the more restrictive statutory and common law courts. Equity

   then, for persons looking for remedies with the government Court, have typically been

    preferred - when the confinements of common law appeared unsuitable for certain types

    of relief; and purportedly, where there had been no analogous previous case in

   ^''precedence*'' to be found.(Bold emphasis)

415.   This is the very circumstance we have now - with the instant conglomerate ofcase history

   examples at the very doorstep ofevery one of the fiduciary '^Trustees ofthe Public Trustf the

   so-called ""officers of the courtf "administrative judges^* and "elected and appointed

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   government officials"and other FIDUCIARIES ofthe STATES and UNITED STATES — with
   remedies being sought that are inclusive of those readily available: impeachments, criminal

   indictments, and non-judicial commercial liens placed in commerce.

416.   The reason why '^administrative government will not work in resolving matters such as

   those herein brought against the CO-TRUSTEES is because the evidence shows it is the

   administrative governments that provide the means and the modes for top-to-bottom

   discretionary {Seditious and Treasonous) abuses by their agents and officers themselves in the

   first place.

417.   Only by understanding the history of laws and their developmental changes from

   ancient times to the present- and with clear focus on those changes occurring during

   the post-Civil War era and throughout the Twentieth Century - does one come to truly

    understand that the tragedies befalling Americans have been by a slow and systematic

    design to treasonously reverse the tables of power between government officials and the

    people they serve, through an equally slow and systematic shifting of wealth toward a

   seditious oligarchy of rulers and a Fascist form of dominating ^^corporatocracyt (Bold

   emphasis)

418.   The seditious and treasonous activity is quite thoroughly found in the history oflawmaking;

    as it is played out in the Halls of Congress, much of what is clearly unconstitutional, and with

    many legislative bills getting passed without even getting read by the majority (or even a

    healthy minority). Likewise, sedition and treason are played out in the STATE and UNITED

    STATES courts, with rulings being unconstitutionally issued and criminally contrived "under

    color oflawf bearing little semblance to the actual facts presented to (and too often barred

   from being presented to)these so-called "[kangaroo] courtsT




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419.   With regard to State and Federal magistrates,judges,and justices, all the way up the

   chain to the respective State and Federal Supreme Court(s), they are otherwise

   personally responsible, particularly those with ^^li/etime-employmenf\ as ^^independenf^

   fiduciaries ofthe Public Trust,for ensuring that the federal judiciary keeps NOT ONLY

   the other two (Legislative and Executive)Branches constitutionally in "c//ecA:" but so too

   the governments of all of the States in constitutional compliance. It is therefore well

   beyond a reasonable time for exposing the pattern and practice of how the federal

             being operated by the agents ofSCOTUS,really functions to create and sustain

   social chaos, political anarchy, and what amounts to the wholesaling of domestic

   terrorism.(Bold emphasis)

420.   The analysis of such sedition and treason, additionally, strongly implicates all state and

   federal '^judicial officials,^' as members of the private American BAR Association and its

   various ^^STATE BAR''franchises. It is by their actions, as sanctioned by the Supreme Court

   ''justices"- under the auspices of operating both ARTICLE I and ARTICLE III courts, having

   jurisdiction over a wide range of cases varying from those guided by admiralty and maritime

   laws to those guided by civil, administrative and common laws, and operating under more

   recently devised "Federal Rules offCivil and Criminall Procedure" that combine "in equity"

   with "in law"- which have yielded such a wide field of "judicial discretion" that attorneys

   and judges can shamefully do whatever they want (i.e., denying litigants constitutionally

   guaranteed "due process" on "litigation of the merits" of their substantive facts, while

   simultaneously systematically stripping those litigants of their SEVENTH AMENDMENT

   guarantees to a Trial byJuty). The judges,in the meantime, have gotten away with all this with

   a "wink and a nod" to their BAR member cohorts as fellow so-called "officers ofthe court,"




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   while maintaining full impunity and untouchable '^independence'^ through the misapplication

   of"judicial immunity" by others of their judicial peer group in charge of such oversight.

421.    The truth is, however,judicial'•^rulers^^ that abuse their trust forfeit their authority. All

   such fiduciary TRUSTEES should otherwise keep in mind that in all likelihood, the

   sovereign People are always watching. Therefore, whether acting in Congress or in the

   United States Supreme Court, public functionaries having substantive power and

   authority conditionally delegated to them...

            ",.,wUl not be viewed by the people as part ofthemselves, but as a
            body distinct from thenu.,having separate interests to pursue, fTJhe
           consequence will be, that a perpetualjealousy will exist in the minds of
           the people against them; their conduct will be narrowly watched; their
           measures scrutinized; and their laws opposed, evaded, or reluctantly
           obeyed. This is natural, and exactly corresponds with the conduct of
            individuals toward those in whose hands they in trust important
            concerns.'*''                              (Citation omitted)

422.    Thus, it may be said that there is a natural tendency for people who are

    patriotically conscience ofthe terms ofthe PUBLIC TRUST document, who have

   the capacity to share the Founders' awareness that enunciated rights come with

    fiduciary duties, to remember that history furnishes many mortifying examples

    of how much corruption can actually breed in a free Republic such as the one

    instituted centuries ago here in America. Whereby...

            "...persons elevatedfrom the mass of the community, by the suffrages of
            theirfellow-citizens, to stations ofgreatpre-eminence andpower, mayfind
            compensationsfor betraying their trustf]which to any but minds actuated
            by superior virtue, may appear to exceed the proportion of interest they
            have in the common stock, and to overbalance the obligations ofduty."" —


  Natelson, Robert(supra), quoting Alexander Hamilton from The Federalist. No. 22. See also
(same page), Natelson quoting from a letter by Roger Sherman, dated December 8, 1787, which
read:
        "In every government there is a trust, which may be abused; but the greatest
        security against abuse is, that the interest of those in whom the powers of
        government are vested is the same as that ofthe people they govern, and that
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423.   WHEREFORE, each of these named CO-TRUSTEES are aware that loss of capacity or

   corruption might be fatal to the Republic, and any participation, overtly or covertly, in such

   abuses of power warrant the charge of Treason and the consequent ofImpeachment; and,

424.   WHEREFORE,each ofthese named CO-TRUSTEES are aware that whenever the ends of

   government are perverted and the public liberty manifestly endangered, and all other means of

   redress are ineffectual, the people may,and of right ought,to reform the old or establish a new

   government.

425.   THEREFORE, each of the named CO-TRUSTEES, from the ''bottom to the top'' of the

   STATE and the UNITED STATES are being charged herein with:

   a) Treason upon the American people;

   b) High Crimes and Misdemeanors;

   c) Depriving the people of constitutional guarantees to due process, to equal protection, and

       to their rights to life, liberty and property;

    d) Depriving the people of their rights to formulate and operate their own independent grand

       jury systems,free of the unwarranted and unwanted influence ofjudges and attorneys;

    e) Fostering the legal monopoly ofthe American Bar Association and their State franchises

       acting cohesively and in concert as a criminal protection racket against the natural rights

       of men and women advocating for themselves or for their brethren;

    £) Participating in a "meeting of the minds" to deny the American people's "meaningfuV

        access to legitimate state courts and federal Courts ofjustice, and to jury trials in both civil

        and criminal cases.




       they are dependent on the suffrage ofthe peoplefor their appointment to and
       continuance in office."(Bold emphasis)
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426.   Treason, and Misprision of Treason, as refereneed herein, ineludes both affirmative

   acts and the failure to act. Thus, giving aid and comfort to insurrection, rebellion, and force

   against the ultimate ''authority"' of the United States, being the people who have properly
   reported high crimes, misdemeanors, and treason, in addition to being charged with breach of
   fiduciary loyalty, obligation and trust; and constructive fraud, includes the tortuous failure or

   negligence to responsibly and appropriately act against any or all of the preceding lists of

   described offenses as well as the following list:

   a) Depriving the people of constitutional guarantees to due process, to equal protection, to
       their rights to life, liberty, and property;

    b) Fostering and nurturing a nationwide program of government dumbing-down and

       propagandizing that effectively forces "politically correct" secular principles of behavior

       rather than protecting free and open choices of religious observances and expressive

        practices;

    c) Adopting and promoting inappropriate: 1) public education programs (i.e.. Common Core

        was but one element of public schools being used as New World Order political

        indoctrination systems); 2) government-sponsored national health care programs (and

        mandating the purchase thereof); 3) subjectivity of the nation's populace to "chem-trail"

        pollution of air and soil; and, 4) participation in a public-schools-to-private-prisons

        pipeline system targeted at people (mostly male) of color and in the underprivileged

        communities;

    d) Enabling and protecting illegal immigration policies, foreign prisoner releases, and large-

        scale amnesty programs which foster greater criminal victimizations of Americans and

        increased costs for the policing and housing repeated offenders;



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   e) Fostering a nationwide judicial system engaged in the wholesale stealing of children from
       their parents and the corporatized engagement of child trafficking by government-

       sponsored agencies ofFriend ofthe Court and Child Protection Services;

   f) Allowing the federal courts,judges, and nationwide offices ofthe U.S. Attorney to be used
       to support the unscrupulous and unlawful tactics of the Internal Revenue Service (IRS)to
       extort money, to imprison people, to steal property, and to recruit county sheriffs all over

       the country in assuming the risks of stealing home and property from people using

       illegitimate ''notices of liens'' on the books of the county recorders as legitimate "tax-

       levies" which otherwise do not contain the actual cured liens.

   g) Supporting the mass incarceration of large segments of the American population for

       victimless crimes and for exercising their rights to travel, leading to destroyed families,

       people irreparably harmed in their reputations, careers, employment and career

       opportunity, and violated as to their natural rights not to be subject to peonage or unjust

       slavery.

    h) Tolerating the Executive Branch transforming the United States of America "from a

       limited, constitutional,federal republic to a centralized administrative state thatfor the

        most part exists outside the structure of the Constitution and wields nearly unlimited

       power" (citation omitted) ever-increasingly setting up various levels of administrative

        agencies, subjecting American "policies and practices" to international treaties, and

        allowing world trade agreements like the Trans-Pacific Partnership("TPP")to circumvent,

        undermine and bypass constitutional due process through the set-up of extra-judicial

        tribunals, that act with preferential treatment of foreign corporations, acting along with the

        government and quasi-govemment administrators as a "Fourth Branch" of government.



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427.   THEREFORE, the American People have the Natural Right to exercise non-iudicial

   remedies through independent Grand Jury presentments, through private yrosecutions on

   Grand Jury indictments, through Common Law '^distrain and distress'', and through

   ''customary processes of applying liens in Commerce:

           "Ifthe authority ofthe prince is limited and regulated by thefundamental
           laws, the prince, on exceeding the bounds prescribed him, commands
           without any right, and even without aJust title: the nation is not obliged to
           obey him, but may resist his unjust attemps[sic]. As soon as a prince attacks
           the constitution ofthe state, he breaks the contract which bound the people
           to him; the people becomefree by the act ofthe sovereign, and can no longer
           view him but as an usurper who would load them with oppression. This truth
           is acknowledged by every sensible writer, whose pen is not enslaved byfear,
           or soldfor hirel^

428.   History shows that Customary Law (based on Natural Law)and statutory and/or Common

   Law (based on the legalization of custom) are independent of one another, though evolving in

   tandem with one another. The difference between them is as simple as the difference between

    what is popularly considered "private''' with the "natural man'"' and amongst nations of human

    beings operating lawfully in private relationships and in commerce; and "publid' with the

    governing of"persons''in their varied social, legal and political roles.

429.   Therefore, being of "C/ie people" having "created and ordaineeP^ the PUBLIC TRUST

   (i.e., the organic federal CONSTITUTION)which formed the federal government in the

    first place,including the public functionary positions at the Supreme Court ofthe United

    States, as the delegated fiduciaries of that Public Trust,"We," the People - the natural

    men (and women) of the land commonly referred to as "America" - inherently possess

    the natural right, by longstanding (Anglo-Saxon and other international) custom, to

    exercise our own "original jurisdiction" in terms of remedies that lay outside of the

    purview ofthe government's jurisdiction; hence,"non-judicialremedies"(Bold emphasis)



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430.   With regard to the people's use ofindependent Grand Juries for conducting investigations,

   including the lawful and private investigating ofthe fiduciary 'justices'^ ofthe America's state

   and federal courts, and the people's right to issue constitutionally-protected declarations of

   their findings through ''presentments^ the topic has already been well-addressed by reference

   to Jason Hoyt's book ("Consent of the Governed') and to the late Justice Antonin Scalia's

   ruling in United States v. Williams. 504 U.S. 36,(1992).

431.   With regard to the sovereign People's Rights to private prosecutions and Grand Jury

   indictments, it should suffice to state here that "although almost all criminal prosecutions

   today are conducted by public prosecutors, there is a longstanding tradition of Anglo-

   American law for criminal prosecutions to be conducted by private attorneys or even by

   laymen." —



  Roland, Jon. Private Prosecutions.(1996)as found on 8/6/16 at:
http://www.CQnstitution.org/uslaw/priproO 1.htm
         "Theforms ofcriminal procedure are the samefor both kinds ofprosecution
         [i.e., 'public' or 'private'], and they differ only in the official status and
         source of compensation of tHe prosecutor. Most of the cases of private
         prosecution that we find in the federal courts were conducted by private
         attorneys who also represented the victim in a civil action against the
         accused.


         In the early days of our Republic, 'prosecutor' was simply anyone who
          voluntarily went before the grand Jury with a complaint. — United States v.
         Sandford, Fed. Case No.16, 221 (C.Ct.D.C. 1806). But by I87I the principle
         found voice only in a dissent: '[I]t is a right, an inestimable right, that of
          invoking the penalties ofthe law upon those who criminally orfeloniously
          attack our persons or our property. Civil society has deprived us of the
          natural right ofavenging ourselves, but it has preserved to us all the more
         jealously the right ofbringing the offender to justice. By the common law of
          England, the injured party was the actual prosecutor of criminal offenses,
          although the proceeding was in the King's name; but in felonies, which
          involved aforfeiture to the Crown ofthe criminal's property, it was also the
          duty ofthe Crown officers to superintend the prosecution. ...

         To deprive a whole class of the community of this right, to refuse their
         evidence and their sworn complaints, is to brand them with a badge of
         slavery; is to expose them to wanton insults andfiendish assaults; is to leave
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432. It is clear that ifthe public prosecutors were executing their fiduciary functions successfully

   and in good faith, both at the State levels and at the federal level, private prosecutions would

    be needlessly pursued,except by the few. However,as this instant case proves,in spades, when

    government prosecutors tum into usurpers — i.e., when abusing their discretion in either

   refusing to prosecute members of their own peer group of other BAR members of attorneys,

    prosecutors or judges, by fabricating evidence or by withholding exculpatory evidence when

    pursuing malicious prosecutions, or when steering an impartial jury into prejudicial decisions

   - American communities naturally turn into willing hosts for the revival of private

    prosecutors and independent grand juries to meet the increased need for challenging and

    contravening those corrupt environments.

           ^''Filtering outpersonal vendettas is what the grandjury isfor. That was one
            of its major tasksfrom the outset, when most criminal prosecutions were
           privatelyfunded. The present system ofpublic prosecutors is certainly not
           free of personal vendettas. Indeed, that is one of the ways abuse is
            happening. Itjust doesn'tprovide a way to control it when grandjuries have
            been brought under the control ofthe public prosecutors.

            There is no realpossibility ofgovernment officials controlling the abuses of
            other officials over the long term. That might work for a few shining
            moments, but it is not sustainable, and once entrenched, corruption can be
           almost impossible to overcome. The only way to hold officials accountable
           is to allow private partiesfrom outside the system to effectively intervene,
           and ifthe result becomes a tad anarchic, that is not too high a price to pay
           for accountability!''
                           Ibid. Roland, Let's Revive Private Criminal Prosecutions.

          their lives, their families, and their property unprotected by law. It gives
          unrestricted license and impunity to vindictive outlaws and felons to rush
          upon these helpless people and kill and slay them at will, as was done in this
          case. Blvew v. United States. 80 U.S. 581, 598-99 (1871) (Bradley, J.,
          dissenting)."
See also (below), as excerpts from Jon Roland's narrative, ^'Let's Revive Private Criminal
Prosecutions," as also found on 8/6/16 at: http://www.constitution.org/uslaw/privt)ros.htm
         'Frivate prosecution is not an establishedpractice in the United States, but a
         review ofstate andfederal statutesfinds no exclusion ofit, either. Ifwefind
         thejob not being done by public prosecutors, then citizens have the right and
          the duty to initiate private prosecutions, and there is a vast agendafor this
          revivedpractice.'"
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433.   What is becoming much more widely recognized by People throughout America now,

   particularly in light of the complicity of the FBI and USDOJ in publicly ignoring and

   discrediting the outcries of Americans about the 2020 ELECTIONS being ''stolen'' by

   INSURRECTIONISTS and DOMESTIC TERRORISTS operating with impunity at the

   TRUSTEES' STATE Level and as described herein, is that from the time government

   officials abandon their fiduciary obligations and begin to operate deceptively, without

   transparency, through constructive fraudulence, and by means of committing other

   crimes, they "•dissolve''' themselves and cease to be operating as "government.'" In

   simplified terms, these individuals become otherwise known as usurpers^foreign agents^

   infiltrators, traitors, and domestic terrorists.(Bold emphasis added)

434.   Below, constitutional scholar John Roland from Texas, elaborated further on the how and

   why Americans should be getting these institutional customary and private processes - of

   private prosecutors working together with local independent grand juries-ramped back up so

   to become more proliferating in operating across America. If this would occur, the prevailing

   instances of "government" crimes - when the delegated CO-TRUSTEES abandon their

   fiduciary duties and engage in constructive fraud by their authoritative and discretionary

   decision-making as is seen in BENEFICIARY David Schied's case today - would largely

   diminish.


           "One ofthe problems with public prosecutors is that people tend to be less
           skeptical about the arguments and evidence they might present. They are
           invested with an aura ofauthority and respectability that leads both grand
           and trialjuries to go along with them.

           Now suppose a would-be private prosecutorfiles his bill ofindictment with
           a grandjury. Knowing it is a private prosecutor, one would expect the grand
           jury to be more skeptical, both about the evidence and about thefitness of
           the complainant to prosecute. Ifit is convinced the evidence is sufficient, it
            might still doubt the court it serves has jurisdiction, and no-bill. If it is
           independent ofa court, it could return the bill but also pick the court having
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          jurisdiction. And if it had doubts about the fitness or resources of the
           complainant to prosecute, it could pick someone else to prosecute. That
           could be the public prosecutor if he convinced them he was willing, or
          perhaps some lawyer in the community who convinced them he was
          prepared to do thejob well.

          Now suppose the private prosecutor gets before the trial jury. They will
          know he is not a public prosecutor, even though he appears in the name of
          the sovereign, as a private attorney general. They might presume that a
          public prosecutor would never make invalid legal arguments or present
          witnesses he knew were lying, but would they presume thatfor a private
          prosecutor? We can expect they would not.

           A false prosecution can itself be prosecuted. Malicious prosecution and
           abuse ofprocess is notjust about civil cases. A private prosecutor would be
           taking a risk ifhe didn't do everything right. More ofa risk than is incurred
           by a public prosecutor as the system works today. We can also expect that
           in a completely private prosecutorial system, there would emerge a pool of
           competing private prosecutionfirms who would competefor the business of
           prosecution, so that the grand jury could become a commission for
           awarding contracts to them, based on their bid amounts and reputations.

           Upon being appointedprosecutor, the individual member ofthefirm would
           have the same official immunity as a public prosecutor, because that
           appointment makes him a public prosecutor, but a contractor rather than a
           government employee. That would extend to any members ofhisfirm who
           assist, or to public employees who do.

           The problem is not with official immunity for acting within his lawful
          jurisdiction, provided that the government backs torts in respondent
          superior. Theproblem is that the cronyism that develops within departments
           ofgovernment induces them to extend immunity beyond their jurisdiction,
           and that shields them from suit rather than only judgment. Opening the
          system to outsiders and competition would hopefully dispel that cronyism
           and mitigate the problem.

           Abuse ofprocess and malicious prosecution would exceedjurisdiction and
           make the offender liable. Could be negligent, notjust intentional.

           Having a grand jury award defense contracts the same way would be a
           useful extension, although one might want to use a separate grandjuryfor
           that purpose. Another grandjury could hear any issues it chose to hear;
          and could even issue unsought indictments sua sponte (in which case it is
          called a presentment), but not override an indictment ofanother grandjury.
          Ifonly asked to investigate suitable candidates to serve as defense counsel
          and choose one, however, that is probably all they would do. Might not be
          for a particular case. Might be to get a pool of multiple candidates that

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           would then he assigned to defendants at random, with perhaps some choice
           ofthe defendantfrom among members ofthe pool.

           The issue has been raised about whether such prosecution or defense
           contractors would have any immunity from prosecution for errors or
           omissions, as well as misconduct."

           For performing the duties ofa public office they would need to be treated
           identically, and the need to hold contractors accountable would tend to
           require that government employees be held accountable in the same ways.
           None of them should be treated as immune for even the smallest action
           outside their jurisdiction,from one moment to the next. That could come
           down to liability for three words in the same ten-word sentence without
           liabilityfor the other seven.

           Chief Justice Burger in his dissent to Bivens v. Six Unknown Asents
           suggested that government allow direct actions under resDondeatsuperior.
           but he said that Congress should legislate that. That was based on the
           doctrine of sovereign immunity of the federal government, that it must
           consent to being sued, but that doctrine is incorrect in the way it has been
           extendedfrom a monarchy to our republic,for which there can be no
           proper immunityfrom suit, onlyfrom execution ofjudgment on its assets.
           In other words,itshould always be possiblefor anyone to sue government,
           but only collectfromfunds legislated to payjudgments.A suitserves other
           purposes than collecting damages, such as establishing the truth, and
           should not be barredjust because the plaintiff won 7be allowed to actually
           collect.(Bold emphasis added)

           In civil cases there can be cross defendants and cross complainants. That
           could be extended to criminal cases. A criminal defendant might complain
           that the arresting officer assaulted and battered him, or the prosecutor
           entrapped him by extortion, fabricated evidence, or suborned perjury of
           witnesses. Ifthe defendantfiled a criminal complaint it should be handled
           like any other criminal complaint. It is even possible the two opposing cases
           could be heard in the same trial, as a kind ofjoinder. Probably more likely
           the court would grant a motion for severance of the opposing criminal
           complaints. Parties on both sides might wind up going to prison, and share
           a cell.'"


435.    The sovereign People have retained all rights to placing '^Distrain" and '^Distress" and

   ''Liens'^ against wages and property, distrain and distress, to either force government officials

    to compliance through the securitization of their debts on property - such as for back-wages

    upon a grand jury's finding of breach of fiduciaiy obligations - or to bring them to justice

    through the customary channels of grand jury indictments and jury trials. As the process of
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   distrain and distress has been in the Anglo-Saxon, and thus the English, custom since long

   prior to the era of the Magna Carta, it is clear that throughout time to the present this lawful

   practice is both a private and an effective non-judicial and/or extra-judicial debt enforcement

   against those owing a fiduciary and/or a contractual duty to property rights owners.

436.   In distinguishing between the terms, distrain, distress, and lien, it is important to recognize

   first that distrain and distress are synonyms when used as verbs: To ^'"distrain'' means to

   squeeze, press or embrace, to constrain, or oppress (until and obligation is preformed or by

   talcing the goods and chattel to satisfy an unpaid debt).

437.   To '^distress" means to cause strain or anxiety to someone. As only one of the two words

   to be used as a noun, a ''distress" is "the cause ofdiscomfort."

438.   A lien, by contrast, is defined as "any official claim or charge against property orfunds

   for payment ofa debt or an amount owedfor services rendered." A typical lien is a formal

   document constructed and signed by the party to whom a right to money is owed,and by which,

   when filed with the County Recorder carries the enforceable right to sell a debtor's property,

   if necessary, to obtain the money.

439.   Liens have a common law history, like distrain and distress, dating back to ancient times.

   Today, we see various types of liens, including those executed in common law, equity,

   admiralty and special statutes. Examples of liens include mechanic liens, attorney's liens,

    medical liens, landlord liens and tax liens to name a few.

440.   Liens stem from certain principles ofthe Law ofNations and the Law ofNature centering

   from a sovereign right of succession of property versus the right of another sovereign to

   "alienate" or "alien" the first from such right of that succession. Whether speaking of the

    hereditary property of the "crown" of a monarch or the hereditary succession of property by

    male family members,in ancient history,"[t]he right ofsuccession is not always the primitive

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   establishment ofa nation; it may have been introduced by the concession ofanother sovereign,

   and even by usurpation.^'' Herein lay lessons in history to which sovereign Americans must

   take particular heed; because history shows that unless eternally vigilant and ever-

   conscious that sovereignty remains with the people and not with the fiduciaries of the

   Public Trust, when the people have been alienated from their own sovereignty for too

   long, they, in de facto, lose it altogether. As Chitty points out(pp. 23-24), —

           "[JVJhen [succession] is supported by long possession[J the people are
           considered as consenting to it; and this tacit consent renders it lawful
           though the source be vicious.[The people]resists then on thefoundation...a
          foundation that alone is lawful and incapable ofbeing shaken, and to which
           we must ever revert. ...



           It thus remains an undeniable truth, that in all cases the succession is
           established or received only with a view to the public welfare and the
           general safety. If it happens then that the order established in this respect
           became destructive to the state, the nation would certainly have a right to
           change it by a new law. *Salus populi suprema lex, the safety ofthe people
           is the supreme law; and this law is agreeable to the strictest justice, the
           people having united ill society only with a view to their, safety and greater
           advantage....The consequence is evident: ifthe nation plainly perceives that
           the heir of her prince would be a pernicious sovereign, she has a right to
           exclude him. ...


           When the right of succession becomes uncertain in a successive or
           hereditary state, and two or three competitors lay claim to the crown, it is
           asked, "Who shall be the judge of their pretensions?" Some learned men,
           resting on the opinion that sovereigns are subject to no otherjudge but God,
           have maintained that the competitors for the crown, while their right
           remains uncertain, ought either to come to an amicable compromise, enter
           into articles among themselves, chose arbitrators, have recourse even to the
           drawing oflots, or,finally, determine the dispute by arms.... We may affirm,
           then, without hesitation, that the decision ofthis grand controversy belongs
           to the nation alone. ... The nation acknowledges no superior judge in an
           affair that relates to its most sacred duties, and mostprecious rights...

           As soon as the right of succession is found uncertain, the sovereign
           authority returnsfor a time to the body ofthe state, which is to exercise it,
           either by itself, or by its representatives, till the true sovereign be known.
           'The contest on this right suspending the functions in the person of the

  Chitty, Joseph. The Law ofNations or Principles ofthe Law ofNature Applied to the Conduct
and Affairs ofNations and Sovereisns. 6th American Ed.
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          sovereign, the authority naturally returns to the subjects, notfor them to
          retain it, but to prove on which ofthe competitors it lawfully devolves, and
          then to commit it to his hands.

441.   For the same reasons, BENEFICIARY David Schied - acting as Qui Tarn

   ''whistleblowef and '^debt collector'' for the sovereign People as '^'taxpayers" under the

   FALSE CLAIMS ACT - is reasonably justified and legally warranted to bring this case

   into this ARTICLE III COURT OF RECORD for the purposes of:

   a) exposing CO-TRUSTEES' fraudulent patterns and practices^

   b) exposing CO-TRUSTEES violating their OATHS and DUTIES while refusing to disclose

       their financial sources offiduciary guarantees;

   c) exposing CO-TRUSTEES being actually altogether void of such financial guarantees

       against their ^faithfulperformance"" and/or being ridiculously ^^self-insured":

   d) exposing the FACT that, when void offinancial guarantees against violations of their own

       Oaths and Duties to faithful performance, CO-TRUSTEES are bound to be using their

       ^'selves^\ i.e«, their ^^private person^^ as the only available ^^SURETT^ against the civil

       and criminal CLAIMS being made herein against them.


442.   As such, BENEFICIARY hereby not only attaches CLAIMS against the salaries and

   LIENS against the properties of CO-TRUSTEES' by the EVIDENCE in support of the

   allegations that CO-TRUSTEES are INSURRECTIONISTS, American TRAITORS,

   and DOMESTIC TERRORISTS...


443.   BENEFICIARY hereby also DEMANDS the immediate arrest, imprisonment and

   BONDING of CO-TRUSTEES pending public hearings in due course of providing CO-

   TRUSTEES with their own "rfay in courf^ to answer to BENEFICIARY'S allegations

   through more legitimate forms of constitutional **due process*^ through the

   appropriateness of holding CRIMINAL TRIALS against each of the named CO-

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   TRUSTEES, quite possibly with the aid of BENEFICIARY as a ''PRIVATE

   PROSECUTORS^ acting on behalf of himself and the sovereign People.(Bold emphasis)


       ADDENDUM OF CONDITIONS FOR RELEASE OF DONALD THORPE.JR
                      FROM THIS CASE AS A NAMED "TRUSTEE'S


444.   As is established as a matter ofFACT,TRUSTEE Donald Thorpe, Jr. has been the victim

   ofthe agents ofthe UNITED STATES government,as has"WITNESS'S and next door neighbor

   "Ed's ^j(^ottke)- as BENEFICIARY'S friend and transportation driver for BENEFICIARY'S

   continuation of medical treatment in the aftermath of the ATTEMPTED MURDER and

   becoming a totally and permanently disabled quad-amputee - also long been the victim of

   these same agents of the UNITED STATES, by their having dropped "Agent Orangess

   chemicals upon their own American soldiers during the horrific WAR IN VIETNAM.

445.   As such, and given the uncertainty of actual past duration that Donald Thorpe, Jr. as

   considered a"war herd's for his personal sacrifice to the "American causess-even as corrupted

   and senseless as that war turned out to be in CORPORATE America's often shameful history

   offoreign affairs-Thorpe may continue to be honored for his services to America in the same

   spirit that BENEFICIARY David Schied should also be honored as himself, being made a

   "targefss of terrorism on American soil as a result of David Schied's long service to his fellow

   Americans by own private activism, particularly this past two decades, in fighting against the

   type of government tyranny and domestic terrorism that has resulted in Donald Thorpes'

   current dementia and David Schied's current status as a totally and permanently disabled quad-

   amputee, each condition having been sustained by tarseted assaults by the "enemies withinss

   America's own government hierarchy.

446.   In the spirit of recognizing and honoring the battle scars of both Thorpe and Schied,

   BENEFICIARY offers TRUSTEE Donald Thorpe, Jr. the proverbial "olive branchss of peace

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   and to discharge Thorpe from this case on condition that Donald Thome provide a sworn,

   written STATEMENT - an Affidavit - attesting to BENEFICIARY David Schied's

   impeccable credit and payment history these past eight TS") vears ofinhabiting Thorpe's home

   and caring for his property as originally agreed. Such an Affidavit should also attest to the

   authenticity of his own previous statements as RECORDED in September 2020 by

   BENEFICIARY as referenced herein as provable EVIDENCE currently being held against

   Thorpe and his named CO-TRUSTEE of Ava Ortner in this case.




                                 DEMAND FOR JURY TRIAL
                AND REMEDIES FOR BENEFICIARY'S CLAIMS FOR RELIEF
                 AS BASED UPON YEARS OF COMMON LAW LEDGERING


447.   BENEFICIARY David Schied reiterates paragraphs 1-443 above as if written herein

   verbatim insofar as these paragraphs provide reasonable explanations for naming each of the

   member CO-TRUSTEES and providing generalized explanations for their categorical

   inclusion in this instant lawsuit by way of the FACTUAL allegations against their affirmative

   acts of discrimination, retaliation, RICO crimes, sedition, treason, insurrection, and domestic

   terrorism.


448.    For the sake of brevity and the economy of words, BENEFICIARY David Schied repeats

   the paragraphs above as written for COUNTS ONE through THIRTEEN,particularly COUNT

   THIRTEEN, as if written again herein verbatim insofar as the ARGUMENTS assert the

   common law Right of the sovereign People to employ extrajudicial remedies to retain their

   sovereign ""^final say" in persisting FIRST AMENDMENT ''redress" of cases in which

   backward-looking-access-to-court(s) CLAIMS are asserted by reference to sworn VICTIM

   and WITNESS statements and criminalfraud upon the court were factors never investigated

   or actually litigated.

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449.   Moreover, given that certain other "Motions" to this instant case and court are being filed

   simultaneously and in accompaniment with this instant ^'ORIGINAL COMPLAINT^ as

   presented in his PROOF OF SERVICE to this instant ARTICLE III COURT OF RECORD

   offering specific background FACTS and furthering EVIDENCE substantiating the many

   CLAIMS against the CO-TRUSTEES, BENEFICIARY incorporates by reference the

   paragraphs from the following sets of documents as if reiterated herein verbatim:

   a) D^'BENEFICIARY's MOTION TO PROCEED IN DISTRICT COURT WITHOUT

       PREPAYING       FEES     OR     COSTS:        WITH   ACCOMPANYING           COMPLETED


       APPLICATION'FOR THE SAME'x (19 pages)

   b) ''BENEFICIARY'S COMBINED MOTIONS WARRANTING GOOD CAUSE' FOR

       GRANTING BENEFICIARY AN E-FILING'STATUS AND ALLOWING SERVICE OF

       PRINCIPALS'TOBEEOUATED WITH 'SERVICE OF AGENTS'ATBOTHSTATE AND

       NATIONAL LEVELS OF LEGAL SERVICE TO ALL OF THE CO-TRUSTEES," inclusive

       ofEXHIBITS 1-5;(38 pages excluding exhibits)

   c) "BENEFICIARY'S MOTION FOR CERTIFICATION OF SERVICE OF SUBPOENAS

       AND COMPLAINTS BY U.S. MARSHALS WITHOUT PREPAYING FEES OR COSTS"

       inclusive of EXHIBIT presented with individual pages numbered 1 through 95 for Proof

       ofService by U.S. MARSHALS SERVICE:(12 pages excluding ProofofService pages)

       -including the following three "EXHIBITS'''to this particular motion as cited immediately

       below:


       1) "EMERGENCY MOTION TO EXPEDITE and MOTION FOR IMMEDIATE

           TEMPORARYDECLARATORYAND INJUNCTIVE RELIEF on Case ofRealTHREAT

           OF VIOLENCE Asainst Totallv and Permanentlv Disabled Ouad-Amoutee Beins

           CRIMINALLY EVICTED           in suite     the 2020 CDC ORDER          OF EVICTION


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          MORATORIUM and the 2021 CORONAVIRUS PANDEMIC STIMULUS RELIEF

          BILL OF CONGRESS", as mailed (on 1/5/21) to the CO-TRUSTEES of the U.S.

          DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN otherwise

          operating as so-called ''Clerks" and "Judges'" for TRUSTEE UNITED STATES OF

          AMERICA.


      2) "NOTICE       OF    'DEFAULT       JUDGMENT.         COMMON        LAW      'CRIMINAL

          COMPLAINT. LEDGER OF DAMAGES'. AND COMMON LAW 'WRIT OFERROR


          CORBUM rsid NOBIS' IN OPPOSITION TO PRIMA FACIE EVIDENCE OF


          CRIMINAL FRAUD AND CONSPIRACY TO DEPRIVE OF RIGHTS INVOLVING


          JUDICIAL 'USURPERS' AS ALL BONDED MEMBERS OF THE STATE BAR OF


          MICHIGAN CRIME SYNDICATE", as mailed (on 2/19/21) to the CO-TRUSTEES of

          the U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF MICHIGAN.


          Importantly, this document contains the RECORDED FACTS surrounding instant

          allegations of CRIMINAL MALFEASANCE and CONSPIRACY TO DEPRIVE OF

          RIGHTS UNDER COLOR OF LAW committed by the so-called CO-TRUSTEES,

          Kinikia Essix as "Clerk of the Court"^ and Victoria Roberts as "Senior Judge"

          principal and agent(s) for TRUSTEE UNITED STATES OF AMERICA.

      3) "AFFIDA VIT OF TRUTH ofDavid Schied^''- This Affidavit, sworn recently before

          a STATE notary in Michigan on 2/19/21, attests to the authenticity and truthfulness of

          the documents listed above, as well as other documents. It explains, in part, how - as a

          direct result of the affirmative CRIMINAL acts of the CO-TRUSTEES acting

          tortuously in both their private and public capacities, CO-TRUSTEES discriminated

          against, retaliated against, and caused great personal "life-threatening" injury against

          BENEFICIARY by having forcibly threatened him to the point of then causing him to

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           be EVICTED from his home, without ADA accommodations''^ without ^'"access" to

           either STATE or UNITED STATES courts, in the dead of Winter and just after a

           blizzard with deep snow, during a national COVID-19 pandemic, and in criminal

           violation of both STATE and UNITED STATES eviction moratoriums.

450.   As explained thoroughly throughout this instant ORIGINAL COMPLAINT..., these

   documents all reference past cases that no longer warrant or solicit ^^re-litigation" but instead

   focus on the unconstitutional ''denial ofaccess" since all were precluded by CO-TRUSTEES

   - including corrupt judicial usurpers and STATE BAR crime syndicate members - operating

   politically and in criminal malfeasance in the regions of the EASTERN DISTRICT OF

   MICHIGAN and the SIXTH CIRCUIT, to use "summary dismissals" and other "colorful"

   administrative acts to persistently "target" BENEFICIARY'S cases and actions for destruction

   of his otherwise legitimate, constitutionally guaranteed platform for gaining "meaningful

   access" to the STATE and UNITED STATES courts.


451.   Many of the ARGUMENTS contained in COUNT THIRTEEN explain the many ways in

   which the sovereign People may act lawfully, both individually and collectively, to take back

   and reestablish their inherent Rights under the common law.

452.   Indeed, in spite ofthe FACT that the SEVENTH AMENDMENT ofthe CONSTITUTION

   OF THE UNITED STATES for the People of the United States of America holds,"In Suits at

   common law, where the value in controversy shall exceed twenty dollars, the rieht oftrial by

   jury shall be preserved', the correlating FACT remains that, in the past nearly two full decades

   of bringing a litany oflawsuits to both STATE and UNITED STATES courts in the EDM and

   SIXTH CIRCUIT (with some cases paying BENEFICIARY'S life savings to STATE BAR

   attorneys and other subsequent cases being competently presented by BENEFICIARY

   himself), NONE of these cases with damages in excess of"twenty dollars" ever got to see the

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   "right oftrial byjury" exercised. BENEFICIARY herein asserts therefore, that in the light of

   his NINTH and TENTH AMENDMENT guarantees, those Rights are still inherently

   "preserved^ in this case of those previous "backward-lookins-fmeaninsfulj access-to-courf^

   cases.



453.   As the SEVENTH AMENDMENT also guarantees that "no fact tried by a jury shall

   otherwise be re-examined by any Court ofthe UNITED STATES than accordins to the rules of

   the common law"^ this instant ARTICLE III COURT OF RECORD must recognize the


   common law tools that have been employed by BENEFICIARY over the past many years


   to reclaim the DEBTS OWED BY THE CO-TRUSTEES to BENEFICIARY- and to the


   sovereign People of the United States of America. These are debts which have legitimately

   accumulated as by RECORDED common law FEE STATEMENTS and BILLING

   STATEMENTS with a long track record of acquiescence and tacit asreement bv CO-

   TRUSTEES        who    have   been    maliciously     and   tortuously   unwilling   to   address

   BENEFICIARY'S persisting allegations and accusations of illegal RICO activity, sedition,

   treason, insurrection, and domestic terrorism; while being similar unwilling to also offer any

   form of common law refute or rebuttal, or sworn personal denial of BENEFICIARY'S

   accumulating claims, so to properly address the COMMON LAW CLAIMS OF DAMAGES

   IN COMMERCE that BENEFICIARY had otherwise attached to those ever-persisting and

   ever-surmounting allegations and accusations.(Bold and underlined emphasis added)

454.   As the EVIDENCE ofthe above-referenced documents-accompanying and including this

   instant ORIGINAL COMPLAINT- shows, an extensive set of common law RECORDS exist,

   as both "served" upon the CO-TRUSTEES as well as POSTED PUBLICLY for years on the

   Internet for years along with mounds of both digital documents and video documentary

   EVIDENCE, without objection or rebuttal from anyone either publicly or privately. This

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   then attests to the validity of the following as the ''stating points''^ for calculating the COSTS

   IN DAMAGES AND ASSOCIATED REMEDIES, now being claimed as - minimally -

   DEBTS OWED BY CO-TRUSTEES to BENEFICIARY herein acting as ''RELATOR''

   to the ^^sovemment of, for, and by the People ofthe United States ofAmerica'\

455.   First, in the single matter of the case filed in 2015 by BENEFICIARY David Schied that

   was summarily dismissed by CO-TRUSTEES Avem Cohn and the USDC-EDM, that case

   was filed against the $100 BILLION '■^terrorism rider'''' of the '''"errors and omissions"

   insurance policy of the CO-TRUSTEES ''CHARTER COUNTY OF WAYNE" and the

   "UNITED STATES", which was then on the hook for payment of eighty percent (80%) of the

   CLAIMS against that policy with "AIG" and its subsidiary of "PENNSYLVANIA LIFE

   INSURANCE COMPANY' being responsible for the initial twenty percent (20%). The

   ARTICLE III COURT OF RECORD established for that case - as still posted by link for

   access to the public to ALL (even those immorally and unconstitutionally "stricken" from the

   USDCEDM's records by the ARTICLEI"magistrate" brought in by Avern Cohn as a "third

   party intervenor" in that case - shows ver}' clearly that those "proceedings" were

   overwhelmingly controlled by "wheel" and "chain" conspiracies of all joint members of the

   CO-TRUSTEES "STATE BAR OF MICHIGAN' crime syndicate and domestic terrorist

   members, who were engaging in surmounting, variably measurable amounts of criminal

   "perjury" and "fraud upon the court" by FALSE CLAIMS submitted by Oaths and Duties to

   the legal profession as "officers of the court". As both the common law and statutory rule of

   thumb for t^ in such cases is "treble damages" the CLAIM has been long established - as

   proclaimed against CO-TRUSTEES again herein - in the amount of $300 BILLION.

456.   Second, as provided in an earlier section of this ORIGINAL COMPLAINT relevant to the

   CO-TRUSTEES being billed for years according to the FEE STATEMENTS associated with

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   the FALSE CLAIMS against BENEFICIARY David Schied — while fraudulently

   ''misrepresenting" the interests of the sovereign American People relative to the fraudulent

   contractual conditions and fraudulent debt collections practices against "Student Loans"(i.e.,

   see more specifically pages 97 through 100 as paragraphs numbers 151 through 152)- the

   unrebutted amount being provenly invoiced at that time in October 2020 was $389,862.521.39

   PLUS INTEREST EARNED since then as still owed NOW upon that debt.

457.   Thirds there is the matter of CO-TRUSTEES Everett Stem and TACTICAL RABBIT

   offering $10,000 for "intelligence" and "information" against the CO-TRUSTEES "MDHHS'^

   as the agents ofSTATE OF MIICHIGAN having to do with the over DECADE LONG ongoing

   "fraud" and many MILLIONS OF DOLLARS in FALSE CLAIMS being perpetuated against

   the populations ofpoor, elderly, and disabled sovereign Americans living within the metes and

   bounds of the Michigan region in the NORTHWEST TERRITORY covered by the lawful

   features of the Organic Act of CONGRESS (in 1787) known as the NORTHWEST

   ORDINANCE, the CLAIMS against the tortuous conduct of CO-TRUSTEES Everett

   Stern and TACTICAL RABBIT of retracting payment after receiving BENEFICIARY'S

   solicited intelligence and information are ^^trebled*^ in damages to $30.000; with CLAIMS

   (on behalf of Michigan's poor, elderly, and disabled)- also involving the direct personal

   CLAIMS of BENEFICIARY David Schied - pertaining to the exact amount of calculated

   number MILLIONS OF DOLLARS IN DAMAGES assessed by ex-CIA investigator

   turned ^'professional whistleblower" against CO-TRUSTEES                     as the agents of

   STATE OF MIICHIGAN still pending future "leeal discoverv^^ proceedings.

458.   Fourth, as numerous formal"CONSTITUTIONAL CITATIONS'^ have been issued over the
                                      t



   years, according to Common Law standards (similar in fashion that the jurisdiction of "law

   enforcement" entities are allowed to issue "traffic citations" against the sovereign People

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   linking alleged traveling violations to COMMERCE), against numerous named CO-

   TRUSTEES as agents of both the STATE and the UNITED STATES, which are linked IN

   COMMERCE to certain listed VIOLATIONS OF THE CONSTITUTION as the ''Supreme

   Law of the Land". These "CONSTITUTIONAL CITATIONS" have been repeatedly and

   repeatedly "served" upon the CO-TRUSTEES - even by third-party "Notary Presentment"-

   in demand of payment upon these UNREBUTTED RECORDS of DEBTS OWED. These

   RECORDS have been posted publicly for years on the Internet without any form of objections

   from the CO-TRUSTEES as they have been in "certified'^ standing IN DEFAULT and IN

   DISHONOR,and have long been in common law DEBT COLLECTIONS.

459.   The above referenced CONSTITUTIONAL CITATIONS, submitted lawfully by sworn,

   notarized common law AFFIDAVITS along with the "third party notary" certifications of

   "legal process", as well as posted "NOTICE OF DEFAULV and certification of CO-

   TRUSTEES'"dishonor" about these debts, can all be found at the following link(s):

   a) Against CO-TRUSTEES collectively classified as the STATE OF MICHIGAN:

       httDs://constitutionalgov.us/sub/Michigan/Cases/David-

       Schied/2017 StateofMichiganClaimofPamages/




                                See the next two pages below.




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 fiflwn victor Nassar                                                         Hannai Party as Client:
                                    Response Reoaircd in 10 Pavs
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 Westland,Michigan 48186              {from the date ofthis I^ter)
                                                                              P.O. Box 1378
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 4/3/2017

 Governor Rick Snyder                   Attorn^ General BUI Schuette
 P.O. Box 30013                         G.Mennen Williams Building,7Ui Floor
 Lansing. Michigan 48909               525 W.Ottawa St.
 Ccrtilied Mailing #;                  P.O.Box 30212
 7010 1870 0000 7.'50n 2712             Lansing,Michigan 48909
                                        Certified Mailing #;7010 1870 0000 7500 2729


 RE: Mnal Presentment tor Paymenton Claims ofDebtson Human Rights Eolations

 Governor Snyder and Attorn^ General Schuette:

        I am writing each ofyou today as a Notary Witness Edvrin Victor Nassar for the
 harmed and aggrieved party,David Sdiied, who has provided >'our state agents with
 numerous previous "notit^s of'claim ofdebts*"owed but without response from those
 state governing olfrdals.The service ofsuch notices u^Kin those patties have been
 meticulously document^;and for the record,the previous corrsponden(» as separate
 ledgers"in account of the violations have been posted publiclyon the Internet atthe
 web-l(^tioRS list^ below.Please be advised that you ha\%fr^ ao^ssto these variom
 notices ofdaim,criminal complaints, and ledgers of acoiunting and bUling.So too does
 the public,any^"the People"of Michigan,also have access to th^daims,ledgers and
 billing statements. My purpo^ is to act herein as"notary vrftness"to inform you for toe
 last time abouttoese daims,and to request your response,either in point-by-point
 rebuttals with supportii^ eddenc^ or to remit proper payment upon my client's
 demandsfor        remedy.

     Please refer to the following web-based linls as the proi^r locations for where to find
 the previous correspondence as alreadysent to you and other agents ofthe"STATE OF
 MICHIGAN":



                                                                                                             Harmed Party as Clieat:
                                 EDWIN VICTOR NASSAR          Response Reouired in 10 Davs
                                 NOTARY PUBUC                   (from toe date ofthis letter)
                                 2615 S. QuistineSt                                                          David Schied
                                 Westland. MI 48186                                                          P.O. Box 1378
                                                                                                             Novi,MicWggn 48376
                                4/24/2017


                               Governor lUck Snyder                     Attorney General Bill Schuette
                               P.O.Box30013                             G.Mennen Williams Building,
                               Lansing, Michigan 48909                  7th Floor
                                                                        525 W.Ottawa St
                                                                        P.O. Box 30212
                                                                        Lansing,Michigan 48909



                                RE: Notice ofFault ^ and Final Opportunity to Cure


                                Governor Snyder and Attorney General Schuette;

                                I am VkTiting each of you again today as a Notary Witness in follow up to toe Notary Presentment
                                that I sent to you myselfearlier tois month via certified mailing and for which I have received
                                confirmation of your having received. As a reminder,the harmed and aggrieved party,David
                                Schied, had previously provided your state agento wito numerous previous'Koikes of'claim of
                                debts""owed but witoout r^ponse from those state governing officials. I have noted that
                                although my previous correspondence provided you wto 10 days to resporrf, twice that number
                                ofdays has transpired without any response whateoever from either ofyou.


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                                                                NOTARY CERTIMCATION OF
              S I A I E OF NCCHIOAN                             DISHONOR AND NON-RESPONSE

              COUNTY OF WAYNE



                                                          PRESEN TMENT

              Be it known,that as a duly tfmpowered Notary Public, in and for the STATE OF MICHIGAN,
              COUNTY OF WAYNH,a third party and not a party to the matter, at the request of
              CTAIMANT / CRIME VlCri JM. David Schied. I, EDWIN VICTOR NASSAR,did present on
              April 3. 2017(4/5/1 T). a "Final Preseniment for Payment on c:iaims ofUehis on Human Rights
              Violatinns" via Certified Mail of the U.S. Postal Service, addressed to:

                         CHIQAN
              STATE OF MXCHIGAN          — Governor Rick Snyder             and      Attorney General Bill Schuetie
                                           P.O. Box 30013                            525 W, Ottawa St./ P.O. Box 302I2
                                          Eansing, Michigan                          Lansing. Michigan 48909
                                                          48909
                             (Cert. Mail #70101870000075002712 / Cert. Mail #70101870Cr >0075002729)
              hereinafter referred to as"Respondent" and/or "Counter-Party               signed by Cf-AIMANT /
              CRIME VICTIM.David Schied. Included with the above-referenced "Final Presentment for
              Pavmcni..." requesting paytnent was an "A/flam Staiemcnr" and a "Oec/aratian afExistence of
              Human Rishtx Flalatians." each signed before me as witness and bearing my officiaJ Seal a-s
              Notary Public lor the STATE OF MICHIGAN. The "Affiant StaHment" presented utuebuned
              sworn testimony in support of the ■•Declaration ofFjcistence ofHuman Rights Violations in the
              matter oflluman Rights Tribunal C.ase #0170223HRTT D8RD20161229X2017003.
              TTic "Final Pruxentment tor Payment..           also referenced numerous web-based links, whichI
              personally validated as authentic and viably accessible to the public, for when- ^o find previous
              correspondence sent to other agents for the STATE OF" MICHIGAN in ivotice of multiple
              narrative "L£dssr£' and ••CIRIMF^AL dOMPLAINTfSr' also constituting sworn and notarized
              "Brie/Ys) oPIn/itrmation / AffitiavUfsi of Clblieation / Cltximls) in Commerce (or PamaBeS." again
              witnessed by me and affixed with my otTiciat Seal as Notary Public for the STATE OF
              MICHIGAN. The amounts in claims on the debts owed, as served upon the Michigan "State
              Treasurer" Nick IChouri via Certified Mail delivery (#70142120000048224047) on March 27,.
              20l 7 (3/27/17), is in the amounts of SfO,OOOjOOOj20^^and_SljSl^                      as su|:^K>rted by d>e
               above-referenced ledgers.

              Despite that the "Final Presentnitrni for Payment..." commanded a back, directly to
              me, KDWtN VICTOR NASSAR. within lO days, no response whatsoevcr-wa;- received from the
               Respondent / Counter-Party back to me

                                  NOTICE OF FAULT / OPPORTUNITY TO CURE

             Be it also known that, on April 24, 2017 (4/24/17). I. EDWIN VICTOR NASl^-AR, did send to
             the above-named "Respondent / Counter-Party," being the STATE OF MICIIIGAN's executive
              agenu of Governor Rick Snyder and Attorney General Bill Schuette. a "Notice ofFault and
              OoDortunitv to tHure" which referenced the above "Final Presentment for Payment...,'' also
              commanding a rcspottse within lO days. In that "Notice ofFault anei Ooportunirv to Cure" I
              issued notice that if no response was received after 10 days,I would issue this instant
              "Clertiffcate ofDishonor andNon-RestMtnse". As attested to herein, compliance by "Respontteni /
              Counter-Party''' remained to no avail both on die initial "Final Presentment for FavmeMt—" and
              In the subsequent "Notice afFault and (Jtmoriunitv to Cure."
                                                                PROTEST

              Whereupon, I, EDWIN VICTOR NASSAR, signed below, for the purpose and reason of
              Dishonor and Non-Response does publicly and solemnly certify the dirficmor as against
              "Responttent / Counter-Party," being the STA TE OF MICHIGAN, for liability equivalent to
              three lim«» the face value of dtc claims cited above, and any hereafter incurred, by reason of
              nonperformoRce thereof and as stipuiated k«rein.



              I. EDWTN VICTOR NASSAR do certify that on the 3i" day of Mav. 2017. this "Nst.my.
              ClertIffcation ofDishonor andNon-Resoonse" was sent to "Respondmt / Counter-Pfflty" STATE
              OF MICHIGAN. Governor Rick Snyder. by United States Mail, Certified Delivery.
                                                              XFSXIMONV


               In testiinony of the above,IImivc hoeunto signed my name and testamesnt to said herein is feet
              and true.                       ^




              EDWIN VICTOR NASS/

                                                                            - •v.y

                               US POSTAL 8eRw:e            riegryqcaTE or i



                                                                                          £ at


                                                   i HI iii M .»■ gSgJtpS




                             PS Form 3817. JaeoatyZKI
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   b) Against CO-TRUSTEES collectively classified as the UNITED STATES:

       httDs://constitutionaIgov.us/sub/Michigan/Cases/David-Schied/2Q17"

       FederalClaimsinCommerce/


    David Schied                       This is a ElGIfra(foiloW'-ap)'^Swom Crime ReDorir \Q ldi<^
    P.O. Box 1378                      Attorney Gehe^ of the USDOJ and the SECOl^ to The
    Novi,Michigan 48376                Pr^ident and Jeff S^sions.I sent seven previous ones on
    248-974-7703                       7/18/16 fID #3482im and 8^0/16;and 9/12/16. and lO/S/lfc
    descbie<^vahoo.com                 10/12/16,12/5/17, and 1/4/17 with only one UNSIGNED
                                       response fromthe"/nvesrfgctfons PbHsion'^ ofihe*'Officeof/fee
    mini                               Inspector Generar REFUSING TO EVEN INVESTIGATE

    Attn: Donald Tramp,President ofthe United States
    The White House
    1600 Pennsylvania Avenue,N.W.                             NOTICE TO AGENT IS
    Washington,DC 20500                                                 NOTICE TO PRINCIPAL
                                                                                     (and vice versa)
    Attn: JeffSessions, United States Attorney General        Tfflsis A SWORN AND
    U.S. Departntent ofJustice                                NOTARIZED CRI^ REPORT
    950 Pennsylvania Avenue,NW                                ASDA
    Washington,D.C.20530-0001                                 NATION^^SECUfev'AEERTt
    Attn: Jessie Panuccio, Acting Associate Attorney General
    U.S. D^artment ofJustice
    950 Pennsylvania Avenue,NW
    Washington, D.C.20530-0001

    Attn: Rex Tillerson, Secretary ofState
    U.S. Department of State
    2201 "C"SL N.W.
    Washington,D.C. 20520

   Attn: Steven Temer Mnuchin, Secretary ofthe United Stat^ Tre^ury
    1500 Pennsylvania Avenue, N.W.
    Washington,D.C.20220

   Re:Follow-up "Criminal Complaint/Affidavit ofObligation/Claim ofDamages in Commerce^*

   To Pr^ident Tramp, Mr Seasons, Mr.Panuccio, Mr.Tillerson, and Mr. Mmuchin:

   I find there to be a real problem with having received on a single paragraph letter dated 1/31/17,
    that was unsioned (i.e., ftom an unaccountable human being as decision-maker) from the
   "Investigative Division*^ ofthe Office ofthe Inspector General ofthe U.S. Department ofJustice,
   which did not reference the above Case ID #3482111.and simply stated,"The Investigations
   Division ofthe Office oftheInspector General has thoroughly reviewed the material and
   concluded that the issues raised do not warrant an investigation by this office." You should be
   advised that such a r^pon^ \s in the "pattern and practice" ofthe crira^ about which I have
   been reporting, both at die state level and at the federal level; and thus,I have added additional
   criming complaints against the following named individuals, along with additional"Claims of
   Damages in Commerce"a^nst die UNITED STATES on this notice to you about these crimes
    minimally consisting of Seditious Conspiracy and Mispiision ofTreason. I suggest that while
    you have started by eliminating some ofth^e people from your new Executive Administration,


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            1) 18 U.S.C. $4-"Misprision ofFeloav^^
            2) 18 U.S.C. ^ 2382-"Misprision ofTreason"
            3) 18 U.S.C.$242-"Deprivation ofRights Under Color ofLaw"
            4) 18 U.S.C.$241 -"Conspiracy Against Rights"
            5) 18 U.S.C.$ 1341 -"Frauds and Swindles"
            6) 18 U.S.C. $ 1505-"Obstruction ofProceedings Before Departments,Agencies, and
               Committees"
            7) IBU.S.C. $ 1512-"TamDering With a Witness, Victim,or an Informanf
            8) IBU.S.C.$ 1513-"Retaliating Against a Witness,Victim,or an Informanf

     III.   Tabulation ofdebt owed by EACH the named counter-parties to the Criminal Complaint
            by Claim in Damam:

     510,000,000-individually being engaged in a "conlinuingjinancial crimes enterprise"
     520,000,000-severally being engaged in a '^continuingfinancial crimes enterprise"
     $ 2,000,000-being $250,000 for each ofthe eight felony crimes depicted above
     S 1,080,000- being $10,000 for each ofthe one-hundred and eight Constitutional infractions
                  depicted by the Criminal Camplamt by which each oV'TheAcaised"is a
                 "prittcipar or an ''gccessorf' to the crimes listd above

     $10|00,00®i owlH byMch ofthe at least 8^nam^"/?rmap&"ofthe fman^
                  bnteiprises

     As all the listd organizations and individuals are alleged to be involved in at leaM ei^t(8)
                  felony crimes(i.e.fsee the list belOw)with lin^ up tb SSOQ.QOO for each
                  organization on^ch listed crime,cdcidatiohsfpr'^^ of 32
                  included herein aretonservatively ^oiarimg to 1160,000,000:


                  $5,000 for each ofthe eight(8)f^erai ^jnfiactionf rather than the $250,000 for
                  felonies^ thatamount would stillconservatively comeloan a           ^^60,001:
     Thus;when added together,the TOTAL OWED ON THE UNMBUTTED CRIMmL
                                                                 .053.560.1




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460.     As such, the above documented DEBTS are herein altogether included as the MINIMUM

   for the CLAIMS being calculated for remedy ofthis instant case; which is NOT to also include

    additional amounts to be further included with these calculations by consideration of the past

   three years of CLAIMS associated with the ATTEMPTED MURDER of BENEFICIARY

    David Schied in retaliation for much ofthe above,and for BENEFICIARY spotlighting crimes

   of CO-TRUSTEES in over twenty-five video documentaries; and associated with the

   subsequent three years of deprivation of"cr/we victims services^' and ^'services to the severely

   disabled" to BENEFICIARY David Schied leading up to his eventually also being

   TARGETED FOR CRIMINAL EVICTION by CO-TRUSTEES between the end of 2020

   through beginning of 2021 during the nationwide eviction moratorium.




                 AFFIDAVIT OF BENEFICIARY / RELATOR David Schied
          in STATEMENT OF TRUTH Submitted Herein Under '"''Penalty ofPeriurv^^


I David Schied, do hereby declare, under penalty of perjury, that the paragraphs one (1) through
four-hundred-sixty (460) above herein containing statements of facts and references to evidence
and laws are all honorably true, accurate, and certifiably authentic to the best of my knowledge
and belief.


I am one of the Sovereign American People, who has also become a bona fide crime victim, a
totally and permanently disabled recent quad-amputee,a grievant, a common law claimant, and an
official keeper of records for at least one Article III Court of Record. I am also professing to be of
sound mind; and acting in the capacity of Relator -'Vv reV - on behalfof others similarly situated
as a Private Public Proxy and/or in such fashion as a Private Attorney General.

As a sovereign American man and constitutionally recognized ''Free Person"^ I am retaining all
Rights guaranteed by the constitutions of the STATE and the UNITED under the fiduciary
contracts of Public Trust documents. I hereby certify that I am additionally acting privately on my
own behalf as a federally protected government whistle-blower in possession of official evidence
of crimes committed by certain named and yet unnamed perpetrators as "The Accused', against
whom I have established sound Claims in Commerce, and whom I am now rightfully pursuing in
redress while prosecuting then to the furthest extent of the Law.
                                                                 DISABLED / BENEFICIARY
Truthfully submitted.                                            David Schied - RELATOR
                                                                 P.O. Box 321
       /s/ David Schied                       Date: 4/20/21
                                                                 SPEARFISH,^ DAKOTA
                                                                 57783
                                                                 605^80-5 L
